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   16
                            UNITED STATES DISTRICT COURT
   17                      CENTRAL DISTRICT OF CALIFORNIA
   18
        VERNON UNSWORTH,                          Case No. 2:18-cv-08048-SVW (JC)
   19

   20        Plaintiff,
                                                  DECLARATION OF G. TAYLOR
   21
        v.                                        WILSON IN SUPPORT OF
   22                                             PLAINTIFF’S OPPOSITION TO
        ELON MUSK,                                DEFENDANT’S MOTION FOR
   23
                                                  SUMMARY JUDGMENT
   24        Defendant.
                                                  Date:              October 28, 2019
   25
                                                  Time:              1:30 pm
   26                                             Courtroom:         10A
                                                  Complaint Filed:   Sept. 17, 2018
   27
                                                  Trial Date:        Dec. 3, 2019
   28
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    1          I, G. Taylor Wilson, declare as follows:
    2          1.     I am an attorney at the law firm of L. Lin Wood, P.C., counsel of record
    3   in this action for Plaintiff Vernon Unsworth. I am a member in good standing of the
    4   State Bar of Georgia and am admitted pro hac vice to practice before this Court. I
    5   have personal knowledge of the facts set forth in this declaration and, if called to
    6   testify, I would testify thereto.
    7          2.     Attached hereto as Exhibit 1 is a true and correct copy of excerpts from
    8   the August 22, 2019, deposition of Elon Musk in this case.
    9          3.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts from
   10   the September 10, 2019, deposition of Jared Birchall in this case.
   11          4.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts from
   12   the August 14, 2019, deposition of Vernon Unsworth in this case.
   13          5.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts from
   14   the August 27, 2019, deposition of Vanessa Unsworth in this case.
   15          6.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts from
   16   the August 28, 2018, deposition of Woranan (“Tik”) Ratrawiphukkun in this case.
   17          7.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts from
   18   the September 30, 2019, deposition of Samuel Teller in this case.
   19          8.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts from
   20   the October 1, 2019, deposition of David Arnold in this case.
   21          9.     Attached hereto as Exhibit 8 is a true and correct copy of excerpts from
   22   the October 1, 2019, deposition of Steven Davis in this case.
   23          10.    Attached hereto as Exhibit 9 is a true and correct copy of excerpts from
   24   the September 9, 2019, deposition of Armor Harris in this case.
   25          11.    Attached hereto as Exhibit 10 is a true and correct copy of the
   26   Declaration of Dr. Rob Harper.
   27          12.    Attached hereto as Exhibit 11 is a true and correct copy of the
   28   Declaration of Mr. Martin Ellis.

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    1         13.    Attached hereto as Exhibit 12 is a true and correct copy of the
    2   Declaration of Mr. Richard William Stanton MBE GM.
    3         14.    Attached hereto as Exhibit 13 is a true and correct copy of the
    4   Declaration of Mr. Ben Svasti-Thomson.
    5         15.    Attached hereto as Exhibit 14 is a true and correct copy of Elon Musk’s
    6   July 15, 2018, tweets stating, inter alia, “Never saw this British expat guy who lives
    7   in Thailand (sus) … Sorry pedo guy, you really did ask for it.”
    8         16.    Attached hereto as Exhibit 15 is a true and correct copy of Elon Musk’s
    9   July 15, 2018, tweet stating, inter alia, “Bet ya a signed dollar it’s true.”
   10         17.    Attached hereto as Exhibit 16 is a true and correct copy of e-mail
   11   correspondence dated July 17, 2018, between Elon Musk and Sam Teller, produced
   12   as MUSK_1706-07.
   13         18.    Attached hereto as Exhibit 17 is a true and correct copy of Elon Musk’s
   14   July 18, 2018, tweets.
   15         19.    Attached hereto as Exhibit 18 is a true and correct copy of Elon Musk’s
   16   August 28, 2018, tweets.
   17         20.    Attached hereto as Exhibit 19 is a true and correct copy of e-mail
   18   correspondence dated August 29 – September 4, 2018, between Elon Musk and
   19   BuzzFeed reporter Ryan Mac, produced as MUSK_000967-71.
   20         21.    Attached hereto as Exhibit 20 is a true and correct copy of excerpts
   21   from Plaintiff Vernon Unsworth’s Responses and Objections to Elon Musk’s First
   22   Set of Interrogatories.
   23         22.    Attached hereto as Exhibit 21 is a true and correct copy of e-mail
   24   correspondence dated August 24-25, 2018, between Jared Birchall and James
   25   Howard, produced as MUSK_000112-17.
   26         23.    Attached hereto as Exhibit 22 is a true and correct copy of e-mail
   27   correspondence dated August 26-27, 2018, between Jared Birchall and James
   28   Howard, produced as MUSK_000052-56.

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    1         24.   Attached hereto as Exhibit 23 is a true and correct copy of e-mail
    2   correspondence dated August 30, 2018, at 11:04 am between James Howard and
    3   Jared Birchall, produced as MUSK_000439-46.
    4         25.   Attached hereto as Exhibit 24 is a true and correct copy of e-mail
    5   correspondence dated September 4-18, 2018, between James Howard and Jared
    6   Birchall, produced as MUSK_000361-73.
    7         26.   Attached hereto as Exhibit 25 is true and correct copy of a text message
    8   chain dated August 24-October 2, 2018, between Jared Birchall and James Howard,
    9   produced as MUSK_000199-216.
   10         27.   Attached hereto as Exhibit 26 is a true and correct copy of e-mail
   11   correspondence dated September 1, 2018, between James Howard and Jared
   12   Birchall, produced as MUSK_000448-61.
   13         28.   Attached hereto as Exhibit 27 is a true and correct copy of e-mail
   14   correspondence dated July 17, 2018, from James Howard to Elon Musk, among
   15   others, produced as MUSK_000001-03.
   16         29.   Attached hereto as Exhibit 28 is a true and correct copy of e-mail
   17   correspondence dated August 15, 2018, between James Howard and Jared Birchall,
   18   produced as MUSK_000253-59.
   19         30.   Attached hereto as Exhibit 29 is a true and correct copy of the first page
   20   of the Google search results for “James Howard Jupiter” set to “Before August 15,
   21   2018.”
   22         31.   Attached hereto as Exhibit 30 is a true and correct copy of the article
   23   that is the first google result of Exhibit 29, authored by Alex Winter, headlined
   24   Businessman stole £426,000 from company’s accounts despite being given
   25   “numerous second chances”, Daily Echo (Nov. 3, 2016), available at
   26   https://www.bournemouthecho.co.uk/news/14839251.businessman-stole-426000-
   27   from-companys-accounts-despite-being-given-numerous-second-chances/.
   28         32.   Attached hereto as Exhibit 31 is a true and correct copy of Elon Musk

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    1   Hired A Convicted Felon To Investigate The Cave Rescuer Who Is Now Suing Him,
    2   Ryan Mac and Mark Di Stefano, BuzzFeed News (Oct. 3, 2019), available at
    3   https://www.buzzfeednews.com/article/ryanmac/elon-musk-hired-felon-james-
    4   howard-higgins-dirt-pedo-guy.
    5          33.   Attached hereto as Exhibit 32 is a true and correct copy of e-mail
    6   correspondence dated July 15, 2018, between Sam Teller, Dave Arnold, Laura
    7   Hardy, and Sarah O’Brien, produced as TESLA001455.
    8          34.   Attached hereto as Exhibit 33 is a true and correct copy of e-mail
    9   correspondence dated August 28, 2018, between Jared Birchall and James Howard,
   10   produced as MUSK_000410-14.
   11          35.   Attached hereto as Exhibit 34 is a true and correct copy of e-mail
   12   correspondence dated September 4-5, 2018, between, among others, Elon Musk and
   13   Juleanna Glover. The document was produced as TESLA000600-39, however,
   14   because the .TIF file is largely unintelligible, the copy attached hereto is the
   15   associated .txt file produced by TESLA, TESLA000600.txt, which is only a five
   16   page e-mail chain.
   17          36.   Attached hereto as Exhibit 35 is a true and correct copy of the
   18   September 12, 2019, Declaration of Ryan Mac in Support of Motion to Quash
   19   Subpoena Issued from a Civil Case Pending Before the United States District Court
   20   for the Central District of California and Served on Non-Party Journalist Ryan Mac
   21   in a related action.
   22          37.   Attached hereto as Exhibit 36 is a true and correct copy of e-mail
   23   correspondence dated July 16-17, 2018, between Tesla’s communications team,
   24   listing and discussing media coverage of Mr. Musk’s July 15 “pedo guy” tweets,
   25   produced as TESLA000269-75.
   26          38.   Attached hereto as Exhibit 37 is a true and correct copy of People
   27   Really Aren’t Here for Elon Musk’s Rescue Submarine, Racheal Krishna, BuzzFeed
   28   News             (July          10,          2018),          available          at

                                                 4
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    1   https://www.buzzfeednews.com/article/krishrach/elon-musk-built-a-submarine-to-
    2   rescue-the-thai-boys-and.
    3         39.   Attached hereto as Exhibit 38 is a true and correct copy of Elon Musk
    4   Didn’t Help Save The Thai Boys. Now He’s Attacking Someone Who Did, Remy
    5   Smidt,      BuzzFeed        News      (July    15,     2018),      available      at
    6   https://www.buzzfeednews.com/article/remysmidt/elon-musk-attacks-diver-who-
    7   helped-rescue-thai-boys.
    8         40.   Attached hereto as Exhibit 39 is a true and correct copy of Elon Musk
    9   Has Revisited His Baseless Pedophile Claims, Ryan Mac, BuzzFeed News (August
   10   28, 2018), available at https://www.buzzfeednews.com/article/ryanmac/elon-musk-
   11   revisits-baseless-pedophile-claims.
   12         41.   Attached hereto as Exhibit 40 is a true and correct copy of The Cave
   13   Rescuer Elon Musk Called A “Pedo” Has Lawyered Up And Is Preparing A Libel
   14   Claim, Ryan Mac, BuzzFeed News (August 29, 2018), available at
   15   https://www.buzzfeednews.com/article/ryanmac/the-british-diver-elon-musk-
   16   called-a-pedo-threatened-to-sue.
   17         42.   Attached hereto as Exhibit 41 is a true and correct copy of a May 23,
   18   2018, tweet published by Elon Musk.
   19         43.   Attached hereto as Exhibit 42 is a true and correct copy of e-mail
   20   correspondence dated September 4, 2018, between, among others, Dave Arnold,
   21   Ryan Mac, and Ben Smith (editor at BuzzFeed), produced as TESLA000559-60.
   22         44.   Attached hereto as Exhibit 43 is a true and correct copy of a collection
   23   of Google alerts sent to Elon Musk regarding his accusation of pedophilia, produced
   24   as MUSK_000849-55, MUSK_000821-23, MUSK_000793-95, MUSK_000805-07,
   25   MUSK_000811-12, MUSK_000827-29, and MUSK_000833-40.
   26         45.   Attached hereto as Exhibit 44 is a true and correct copy of e-mail
   27   correspondence dated July 16-17, 2018, between SpaceX’s communications team
   28   and listing and discussing media coverage of Mr. Musk’s July 15 “pedo guy” tweets,

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    1   produces as SPACEX00000094-104.
    2          46.   Attached hereto as Exhibit 45 is a true and correct copy of a collection
    3   of press inquiries sent to Tesla and SpaceX’s public relations teams inquiring about
    4   accusations of pedophilia, produced as TESLA000201-03, TESLA000209-12,
    5   TESLA000214, and SPACEX00000080.
    6          47.   Attached hereto as Exhibit 46 is a true and correct copy of What’s the
    7   full story behind Elon Musk’s involvement with the Thai cave rescue effort?, Jeremy
    8   Arnold, Quora (July 16, 2018), available at https://www.quora.com/Whats-the-full-
    9   story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort,          same
   10   being the article tweeted by Elon Musk on July 18, 2018, described as a “well-written
   11   article.”
   12          48.   Attached hereto as Exhibit 47 is a true and correct copy of Defendant
   13   Elon Musk’s Notice of Motion and Motion to Dismiss Plaintiff Vernon Unsworth’s
   14   Complaint; Memorandum of Points and Authorities [Dkt. 30].
   15          49.   Attached hereto as Exhibit 48 is a true and correct copy of Elon Musk’s
   16   weakness for self-promotion masks his potential, Pilita Clark, Financial Times (July
   17   13, 2018), available at https://www.ft.com/content/39f4d1a6-85d0-11e8-a29d-
   18   73e3d454535d.
   19          50.   Attached hereto as Exhibit 49 is a true and correct copy of e-mail
   20   correspondence dated July 10, 2018, between James Gleeson, SpaceX public
   21   relations, and reporter Timothy Lee, produced as TESLA001250-51.
   22          51.   Attached hereto as Exhibit 50 is a true and correct copy of e-mail
   23   correspondence dated July 10, 2018, from Sam Teller to various reporters, produced
   24   as TESLA001256.
   25          52.   Attached hereto as Exhibit 51 is a true and correct copy of e-mail
   26   correspondence dated August 24, 2018, from Martin Schmidbaur to various
   27   individuals, produced as TESLA000481-502.
   28          53.   Attached hereto as Exhibit 52 is a true and correct copy of e-mail

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    1   correspondence dated July 10-11, 2018, between Sara O’Brien and Caroline Liddle,
    2   produced as TESLA001402-05.
    3         54.   Attached hereto as Exhibit 53 is a true and correct copy of e-mail
    4   correspondence dated July 9-10, 2018, between Elon Musk, Steve Davis, and Sam
    5   Teller, produced as SPACEX00000612-14.
    6         55.   Attached hereto as Exhibit 54 is a true and correct copy of a text
    7   message conversation between Steve Davis and Sam Teller, produced by Davis at
    8   his deposition on October 1, 2019.
    9         56.   Attached hereto as Exhibit 55 is a true and correct copy of a text
   10   message conversation between Steve Davis and Elon Musk, produced by Davis at
   11   his deposition on October 1, 2019.
   12         57.   Attached hereto as Exhibit 56 is a true and correct copy of e-mail
   13   correspondence dated July 10, 2018, from Sam Teller to various reporters, produced
   14   as TESLA001242.
   15         58.   Attached hereto as Exhibit 57 is a true and correct copy of a WhatsApp
   16   chain with individuals involved in Elon Musk’s mini-submarine or tube, produced
   17   as MUSK_003203-35.
   18         59.   Attached hereto as Exhibit 58 is a true and correct copy of e-mail
   19   correspondence dated July 17, 2018, between Sam Teller, Juleanna Glover, and
   20   Sarah O’Brien, produced as TESLA001561-71.
   21         60.   Attached hereto as Exhibit 59 is a true and correct copy of an
   22   unexecuted agency agreement, never signed, between Mr. Unsworth and Mr.
   23   William Robinson, produced as VU03429-36.
   24         61.   Attached hereto as Exhibit 60 is a true and correct copy of e-mail
   25   correspondence dated September 6, 2018, between my law office and Elon Musk,
   26   produced as VU00731, VU00810-13.
   27         62.   Attached hereto as Exhibit 61 is a true and correct copy of a July 11,
   28   2018, tweet published by Elon Musk.

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    1         63.   Attached hereto as Exhibit 62 is a true and correct copy of e-mail
    2   correspondence dated July 10-15, 2018, between Sam Teller, Elon Musk, Mark
    3   Juncosa, and others, produced as SPACEX000000702-03.
    4         I declare under penalty of perjury under the laws of the State of Georgia and
    5   the United States that the foregoing is true and correct and that this document was
    6   executed in Atlanta, Georgia.
    7   Dated: October 7, 2019                L. LIN WOOD, P.C.
    8
                                              By: /s/G. Taylor Wilson
    9                                             G. Taylor Wilson
   10

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                                EXHIBIT 1




                                EXHIBIT 1



                                                                       Exhibit 1
                                                                      Page 009
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     1                 UNITED STATES DISTRICT COURT

     2                 CENTRAL DISTRICT OF CALIFORNIA
     3

     4

     5    VERNON UNSWORTH,
     6               Plaintiff,
     7               vs.                      Case No. 2:18-cv-8048
     8    ELON MUSK,
     9              Defendant.
          _______________________________________________________
    10

    11              VIDEOTAPED DEPOSITION OF ELON MUSK
    12                     BEVERLY HILLS, CALIFORNIA
    13                         AUGUST 22, 2019
    14

    15

    16

    17

    18

    19    Reported By:
          PATRICIA Y. SCHULER
    20    CSR No. 11949
    21    Job No. 45176
    22

    23

    24

    25

                                                                                1


                                                                    Exhibit 1
                                                                   Page 010
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     1    BBC.    And it was just out of the blue this guy -- I         09:36:59

     2    never heard of him before -- makes this unprovoked            09:37:03

     3    attack; says those lies about me.       I'm like what         09:37:05

     4    the heck is this guy doing, and then this is crazy.           09:37:12

     5    Who is this guy?                                              09:37:16

     6                And then I asked my team, anyone heard of         09:37:17

     7    this guy?   Nope.   Was he on the actual dive team            09:37:20

     8    that rescued the kids?     They said, "Nope."     Okay,       09:37:24

     9    this is it pretty suspicious situation.                       09:37:26

    10           Q.   What did you learn about Vernon Unsworth          09:37:36

    11    from the time that you first saw his name, whether            09:37:39

    12    it was on Twitter or Google Alert?       What did you         09:37:42

    13    learn about Mr. Unsworth from that time until the             09:37:49

    14    15th of July when you tweeted about him?                      09:37:54

    15           A.   I am not sure of the exact dates here.            09:38:03

    16    Is the 15th -- is that when I referred to him as a            09:38:07

    17    sort of suspicious pedo guy, or is that a different           09:38:12

    18    date?                                                         09:38:15

    19           Q.   I believe that was on July the 15th.      You     09:38:16

    20    don't recall the date?                                        09:38:19

    21           A.   Not the specific date, no.                        09:38:20

    22           Q.   July the 15th.   Am I right, gentleman?           09:38:22

    23    Yeah, July the 15th.                                          09:38:25

    24                What did you learn about Mr. Unsworth             09:38:27

    25    from the time you first saw his name, either on               09:38:32

                                                                             24


                                                                     Exhibit 1
                                                                    Page 011
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     1    Google alert or Twitter --                                   09:38:36

     2          A.   Sure.                                             09:38:39

     3          Q.   -- and the time that you started tweeting         09:38:39

     4    about him on July the 15th?                                  09:38:41

     5          A.   I literally just saw this article.       I        09:38:45

     6    think it was on Twitter.     I think somebody had            09:38:48

     7    retweeted the story or something like that.        But it    09:38:51

     8    might have been a Google newsletter; I am not sure.          09:38:55

     9    But I did not really know much of anything of this           09:39:00

    10    guy except that he had gone on TV with a major news          09:39:05

    11    organization, and had been -- had attacked me for            09:39:13

    12    no reason, unprovoked, was incredibly rude, and you          09:39:16

    13    know, to be totally frank, looked sort of like a             09:39:24

    14    pedo guy, you know.                                          09:39:27

    15               And then I was like -- googled him, oh,           09:39:30

    16    he was like, lives in Thailand.      Okay, that's            09:39:34

    17    pretty suspicious.     English expat, doesn't seem to        09:39:35

    18    be -- have been on the dive team, in a very dodgy            09:39:42

    19    part of the world.                                           09:39:46

    20          Q.   What type of the world?                           09:39:47

    21          A.   Dodgy.                                            09:39:50

    22          Q.   Anything else?    Sorry I interrupted.            09:39:51

    23          A.   No.   And so it's like, okay, some guy            09:39:56

    24    sort of attacks me and insults me, I -- you know, I          09:40:00

    25    was upset, and I insulted him back.                          09:40:08

                                                                            25


                                                                    Exhibit 1
                                                                   Page 012
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     1          Q.   So other than knowing that he was                 09:40:12

     2    connected with the cave rescue --                            09:40:20

     3          A.   I did not know that he was connected with         09:40:24

     4    the cave rescue.                                             09:40:26

     5          Q.   Oh, you did not know that he was in any           09:40:28

     6    way present working with the other volunteers and            09:40:29

     7    individuals --                                               09:40:33

     8          A.   No.                                               09:40:33

     9          Q.   -- who were trying to rescue the kids?            09:40:33

    10          A.   No.    At the time, I thought he was              09:40:36

    11    unconnected and just some random person who lived            09:40:37

    12    in Thailand.                                                 09:40:39

    13          Q.   I see.                                            09:40:41

    14               And so if I hear you correctly, well, let         09:40:42

    15    me just ask you.    You said he looked -- did you            09:40:47

    16    watch the video --                                           09:40:49

    17          A.   Yes.                                              09:40:50

    18          Q.   -- interview that he gave?                        09:40:50

    19          A.   Yes.                                              09:40:52

    20          Q.   It was on CNN International?                      09:40:53

    21          A.   Okay, CNN.                                        09:40:54

    22          Q.   Does that ring a bell?                            09:40:56

    23          A.   It was some major news network.                   09:40:57

    24          Q.   When did you watch the video?                     09:41:00

    25          A.   It was shortly before the tweet.                  09:41:05

                                                                            26


                                                                    Exhibit 1
                                                                   Page 013
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     1          Q.   Before the tweet on the 15th?                      09:41:07

     2          A.   Yeah.   I think just perhaps like --               09:41:08

     3    really shortly before -- it was like it might have            09:41:14

     4    been less than an hour or a few hours before my               09:41:18

     5    tweet.                                                        09:41:21

     6          Q.   And when was the last time you watched             09:41:24

     7    the video?                                                    09:41:26

     8          A.   Probably several months ago; a year ago.           09:41:30

     9          Q.   Would that have been after your tweet of           09:41:33

    10    the 15th of July?                                             09:41:36

    11          A.   I think I watched it maybe twice, yes.             09:41:38

    12          Q.   So you think you watched it once, shortly          09:41:40

    13    before you did the July 15 tweets, and then                   09:41:43

    14    sometime thereafter you watched it again?                     09:41:45

    15          A.   I think so.                                        09:41:50

    16          Q.   And when did you form the impression that          09:41:50

    17    Mr. Unsworth looked like a pedo guy?       Was that the       09:41:54

    18    first time you watched it, or was it the second               09:41:58

    19    time you watched it?                                          09:41:59

    20          A.   It was the first time.                             09:42:00

    21          Q.   What does a pedo guy look like?                    09:42:00

    22          A.   Old angry white guy living in Thailand.            09:42:04

    23          Q.   So any old angry guy living in Thailand            09:42:08

    24    looks to you like a pedo guy?                                 09:42:12

    25          A.   It's a sort of a look.      I don't know,          09:42:16

                                                                             27


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     1    yeah.   And why is he talking about shoving a                09:42:19

     2    submarine up my butt.     That's pretty weird and rude       09:42:26

     3    and uncalled for.                                            09:42:29

     4               And why is he living in Thailand with no          09:42:30

     5    apparent job or anything?      Why is he, you know --        09:42:34

     6    at the time I didn't -- I thought he was                     09:42:39

     7    unconnected with the cave rescue and simply just             09:42:41

     8    jumping in to claim credit and talk to the press             09:42:46

     9    and whatever.                                                09:42:49

    10          Q.   I want to make sure I've covered your             09:42:50

    11    interpretation of his looks.                                 09:42:53

    12               MR. WOOD:    Now, y'all can't be -- let's         09:42:56

    13    don't be passing notes back and forth, please.               09:42:57

    14               MR. SPIRO:    You were doing this during          09:42:59

    15    Mr. Unsworth's deposition.                                   09:42:59

    16               MR. WOOD:    No, I was not.    No, I was not.     09:43:01

    17               MR. SPIRO:    Of course you were.     I saw       09:43:02

    18    you doing it.    And it will be on the videotape.            09:43:03

    19               MR. WOOD:    I did not -- let me tell you         09:43:06

    20    this --                                                      09:43:06

    21               MR. SPIRO:    You want to take a break so I       09:43:06

    22    can confer with him for a second?       There is no          09:43:07

    23    question pending.                                            09:43:09

    24               MR. WOOD:    No, I don't want writing             09:43:10

    25    statements or something to the witness and showing           09:43:12

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     1                MR. WOOD:    -- and he doesn't allow it in        09:43:44

     2    the deposition.                                               09:43:44

     3                MR. SPIRO:    We can take a break.                09:43:44

     4                MR. WOOD:    Please abide by the rules.           09:43:44

     5                Let's go.                                         09:43:47

     6                (Exhibit 35 was marked for                        09:43:48

     7                identification.)                                  09:43:48

     8    BY MR. WOOD:                                                  09:43:48

     9           Q.   Sir, I want to make sure I have covered           09:43:48

    10    what you -- you said he was an angry-looking man?             09:43:52

    11           A.   He was --                                         09:43:56

    12           Q.   An old man?                                       09:43:56

    13           A.   In the video he was clearly, like an              09:44:00

    14    angry old white guy, and his background was                   09:44:02

    15    Thailand, and he was like talking about my ass,               09:44:09

    16    which is weird, and shoving something up there.               09:44:13

    17    That is pretty bizarre.                                       09:44:18

    18                He lied about the government throwing me          09:44:22

    19    out.    This is absolutely not true.     We were              09:44:25

    20    welcomed there by the prime minister himself.        So       09:44:28

    21    he lied on TV.    He's obviously a liar.     Seems like       09:44:31

    22    a pretty suspicious person.                                   09:44:37

    23           Q.   Suspicious in what way?                           09:44:39

    24           A.   Just in general.    Why does somebody do          09:44:41

    25    that?   People with integrity don't do that.                  09:44:43

                                                                             30


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     1           Q.   He didn't call you a fucking asshole, did        09:44:47

     2    he?                                                          09:44:50

     3           A.   Effectively, yes.                                09:44:55

     4           Q.   What did you think about that?                   09:44:56

     5           A.   Well, I was very upset that he said these        09:45:01

     6    things.                                                      09:45:04

     7           Q.   Do you think that's rude?                        09:45:04

     8           A.   Yes, I do think that is rude.                    09:45:11

     9           Q.   But you say that to people, do you not?          09:45:13

    10           A.   Not frequently; only if I think they are.        09:45:14

    11           Q.   And did you think Ryan Mac was a fucking         09:45:17

    12    asshole?                                                     09:45:20

    13           A.   I did.                                           09:45:21

    14           Q.   So you didn't hesitate to say "You are a         09:45:22

    15    fucking asshole," did you?                                   09:45:24

    16           A.   Not literally.    I mean, that is a figure       09:45:27

    17    of speech.                                                   09:45:29

    18           Q.   It is an idiom.                                  09:45:30

    19           A.   I don't --                                       09:45:31

    20           Q.   You know what an idiom is, don't you?            09:45:32

    21           A.   Yes.                                             09:45:34

    22           Q.   What is it, as you understand it?                09:45:35

    23           A.   It is idiot with o-m at the end.                 09:45:39

    24           Q.   An idiom is an idiot with an o-m at the          09:45:43

    25    end?                                                         09:45:44

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     1          A.   Yes.                                              09:45:47

     2          Q.   Do you have any better understanding of           09:45:47

     3    what an idiom is other than that?                            09:45:48

     4          A.   Yes.   It's a colloquial expression where         09:45:51

     5    the -- you don't mean literally the thing that you           09:45:56

     6    are saying; it's sort of like a metaphor sometimes.          09:45:58

     7    It's a figure of speech.                                     09:45:59

     8          Q.   Shove it up your ass.     Wouldn't that be        09:46:03

     9    an idiomatic phrase?                                         09:46:06

    10          A.   Well, given --                                    09:46:08

    11          Q.   As you understand idiom?                          09:46:09

    12          A.   Well, my ass is not quite that big, so            09:46:10

    13    therefore I would think this is not physically               09:46:12

    14    possible, so I would say that is an idiom, most              09:46:15

    15    likely.                                                      09:46:19

    16          Q.   You would have recognized that when you           09:46:19

    17    saw or heard Mr. Unsworth's statements?                      09:46:21

    18          A.   Yes.                                              09:46:24

    19          Q.   You knew he wasn't literally saying take          09:46:25

    20    the tube and shove it where it hurts.       He was           09:46:30

    21    speaking figuratively as an idiomatic phrase, true?          09:46:32

    22          A.   Yes.   It's still weird, but yes.                 09:46:37

    23          Q.   Now, just so that I am clear, during the          09:46:44

    24    time frame that you were on Twitter about                    09:46:46

    25    Mr. Unsworth on July 15th, you would have still              09:46:49

                                                                            32


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     1          A.   That's right.                                     09:48:59

     2          Q.   And he lied about you?                            09:49:00

     3          A.   That's correct.                                   09:49:02

     4          Q.   Is there anything else that you knew              09:49:03

     5    about Vernon Unsworth or your impressions of                 09:49:07

     6    Vernon Unsworth prior to the time you started                09:49:11

     7    tweeting about him on July the 15th, including the           09:49:14

     8    tweet referring to him as a pedo guy?                        09:49:20

     9          A.   Well, obviously, he also made an                  09:49:24

    10    unprovoked attack on me using a very rude metaphor.          09:49:28

    11          Q.   An idiomatic --                                   09:49:35

    12          A.   A very rude idiomatic expression.                 09:49:37

    13          Q.   Anything else?                                    09:49:38

    14          A.   Not that I can recall at this time.               09:49:44

    15    There may have been other things, but I can't                09:49:45

    16    recall at this time.                                         09:49:47

    17          Q.   You've given me your best recollection as         09:49:48

    18    you sit here right now under oath --                         09:49:49

    19          A.   Yes.                                              09:49:51

    20          Q.   -- today, right?                                  09:49:51

    21          A.   Yes.                                              09:49:52

    22          Q.   You said that, I think you referred to            09:49:53

    23    maybe -- I don't want to put words in your mouth,            09:49:56

    24    so correct me.                                               09:49:59

    25               You used the phrase "dodgy."      And I           09:49:59

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     1    thought it was in reference to Thailand?                      09:50:02

     2          A.   Yes.                                               09:50:04

     3          Q.   What did you mean, or what do you mean             09:50:05

     4    when you say that Thailand is dodgy?                          09:50:07

     5          A.   Thailand is a place where dodgy people             09:50:16

     6    go, in my experience.     People who are often up to          09:50:22

     7    no good.                                                      09:50:30

     8          Q.   So that's what dodgy means?      People that       09:50:31

     9    are up to no good?                                            09:50:32

    10          A.   Yes.                                               09:50:36

    11          Q.   And how many people do you know that have          09:50:37

    12    been to Thailand that you would say were dodgy?               09:50:39

    13          A.   Well, I would not say "know."      "Heard of"      09:50:45

    14    perhaps is a better word.                                     09:50:48

    15          Q.   Tell me how many you have heard of.                09:50:50

    16          A.   I mean, there's like that -- Jared, the            09:50:53

    17    Subway guy.    You know, he went to Thailand a lot.           09:50:56

    18          Q.   I have heard about him.                            09:50:59

    19          A.   For bad reasons.                                   09:51:00

    20          Q.   The Twitter guy.     He is on Twitter?             09:51:02

    21          A.   Perhaps he is; I don't know.      But he was       09:51:04

    22    the Subway spokesman for many years before losing a           09:51:06

    23    lot of weight, and was going to Thailand for, you             09:51:10

    24    know, bad reasons.                                            09:51:14

    25          Q.   What do you mean "bad reasons"?                    09:51:17

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     1          A.   Sort of -- I don't know.      Engaging in            09:51:22

     2    activity that would be -- he couldn't do here, I                09:51:29

     3    assume, because it's a far way to go.                           09:51:34

     4          Q.   What is the activity that you are                    09:51:36

     5    referring that he could do in Thailand that you                 09:51:38

     6    couldn't do here?    I guess "here," meaning the                09:51:40

     7    United States?                                                  09:51:43

     8          A.   Well, in his case, which is not to say               09:51:43

     9    all cases, he was, you know, engaged in pedophilia              09:51:50

    10    or something.                                                   09:51:55

    11          Q.   And how did you define "pedophilia"?        In       09:51:57

    12    your mind's eye what does that mean?                            09:52:00

    13          A.   I believe the definition would be                    09:52:09

    14    sleeping with people below an age -- below the age              09:52:12

    15    of consent in the United States, essentially.                   09:52:14

    16          Q.   Having sexual relations, physical                    09:52:16

    17    relations with a child under the age of consent?                09:52:20

    18          A.   In the U.S., yes.                                    09:52:24

    19          Q.   That would be a pedophile in your mind?              09:52:25

    20          A.   Yes.                                                 09:52:28

    21          Q.   Anything else when you think of a                    09:52:29

    22    pedophile that you think of, other than a person                09:52:30

    23    that you believe or know has been having sex                    09:52:34

    24    physically with children under the age of consent?              09:52:37

    25          A.   I believe there is a standard definition             09:52:45

                                                                               37


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     1    of pedophile.                                                09:52:47

     2          Q.   I just want to make sure I've got yours.          09:52:48

     3    Anything else that you think of when you use the             09:52:50

     4    phrase "pedophile," other than an individual                 09:52:52

     5    involved in physical sexual activity with a child            09:52:55

     6    under the age of consent?                                    09:52:59

     7          A.   I believe that is an accurate definition          09:53:02

     8    of a pedophile, yes.                                         09:53:05

     9          Q.   Is that your definition?      The one that        09:53:06

    10    you accept as the definition?                                09:53:08

    11          A.   Pedophile, yes.                                   09:53:11

    12          Q.   Anything else that you would add to that          09:53:12

    13    definition from your perspective when you say                09:53:14

    14    someone is or you believe they are a pedophile?              09:53:16

    15          A.   Well, I mean, they wouldn't necessarily           09:53:19

    16    have had to had relations with underaged men or              09:53:22

    17    women or boys or girls.     They could simply -- they        09:53:26

    18    could have pornography, or they could have simply            09:53:29

    19    the desire.    That -- "pedophile" simply means lover        09:53:32

    20    of children, I guess, or something like that.                09:53:39

    21          Q.   Minor children?                                   09:53:42

    22          A.   Below the age of consent.                         09:53:44

    23          Q.   The line for you, whether it's thinking           09:53:47

    24    about them or watching something on a film or the            09:53:50

    25    internet, the line that you draw is that these are           09:53:54

                                                                            38


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     1    thoughts or activities that are related to sexual             09:54:03

     2    acts or thoughts --                                           09:54:08

     3          A.   Or thoughts.                                       09:54:11

     4          Q.   -- or desires --                                   09:54:11

     5          A.   Yes.                                               09:54:13

     6          Q.   -- with respect to a minor child, that is          09:54:13

     7    to say a child under the age of consent, true?                09:54:17

     8          A.   That is true.                                      09:54:21

     9          Q.   So we've got Jared, the sub guy.       What        09:54:25

    10    did you call him?    Jared?                                   09:54:33

    11          A.   The Subway.                                        09:54:34

    12          Q.   Subway guy.    That all came out publicly,         09:54:36

    13    didn't it?                                                    09:54:38

    14          A.   It did, yes.                                       09:54:38

    15          Q.   So other than Jared the Subway guy, do             09:54:39

    16    you know any other person that you would classify             09:54:42

    17    as a pedophile because of visits to Thailand?                 09:54:48

    18          A.   Gary Glitter.                                      09:54:57

    19          Q.   And who is Gary Glitter?                           09:54:59

    20          A.   I believe he is an old English rock star.          09:55:01

    21    I am not sure if he is English or not.       I think he       09:55:05

    22    is.                                                           09:55:09

    23          Q.   What did he do?                                    09:55:10

    24          A.   He went to Thailand from England to have           09:55:10

    25    sex with underage kids.                                       09:55:14

                                                                             39


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     1          Q.   Anybody besides Gary Glitter, the Subway           09:55:17

     2    guy, and Mr. Unsworth?                                        09:55:25

     3          A.   Yeah, there is another rock star that was          09:55:32

     4    into autoerotic asphyxiation in Thailand.        He was       09:55:34

     5    also believed to have engaged in pedophilia.        I         09:55:41

     6    forget his name.    I think it was an Australian              09:55:44

     7    band.   I'll just put it this way:      Over the years        09:55:44

     8    there's just, you know, you hear of someone, some             09:55:49

     9    sort of famous or semi-famous sketchy -- and                  09:55:52

    10    there's some sketchy activity.      And Thailand is           09:55:57

    11    often involved.                                               09:56:01

    12          Q.   Well, you wouldn't call Mr. Unsworth               09:56:01

    13    famous or semi-famous, would you?                             09:56:05

    14               He's not in the same category as these             09:56:06

    15    celebrities that you mentioned?                               09:56:08

    16          A.   He is semi-famous these days.                      09:56:12

    17          Q.   I'm sorry?                                         09:56:15

    18          A.   I mean, he's at least semi-famous these            09:56:15

    19    days.                                                         09:56:18

    20          Q.   Well, are you saying because of the                09:56:18

    21    litigation and the controversy that arose regarding           09:56:20

    22    his interview and your tweets?                                09:56:24

    23          A.   Well, I think he is certainly taking a             09:56:27

    24    lot of credit for the cave rescue, and has given              09:56:30

    25    many speaking engagements from what I've heard.               09:56:34

                                                                             40


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     1    that.                                                           09:57:34

     2                Go ahead.   You want to add something.      I       09:57:37

     3    don't want to stop you.                                         09:57:38

     4          A.    Yeah.    Just I did just sort of a Google           09:57:40

     5    search on Chiang Rai and this article came up from              09:57:51

     6    the Straits Times about -- for a Singapore - one                09:57:52

     7    newspaper about how Chiang Rai was essentially the              09:57:58

     8    capital of sex trafficking in the world.        That was        09:58:02

     9    also a data point.                                              09:58:08

    10          Q.    Anything else?                                      09:58:10

    11          A.    I was --                                            09:58:10

    12          Q.    I was asking about your trips to                    09:58:10

    13    Thailand.   You said you have never been except for             09:58:13

    14    one time when you took the tube over.                           09:58:15

    15                And then you started telling me that you            09:58:19

    16    had done a Google search about Chiang Rai?                      09:58:19

    17          A.    Yes --                                              09:58:23

    18          Q.    You did not go to Chiang Rai?                       09:58:24

    19          A.    You asked me everything that I could                09:58:27

    20    recall about this.      And obviously, you know, the            09:58:28

    21    human memory is fallible.      So this is one extra             09:58:29

    22    thing that I remember was just googling Chiang Rai              09:58:33

    23    and reading the Straits Times article about how                 09:58:37

    24    Chiang Rai, which is where Mr. Unsworth is from, or             09:58:40

    25    was still living, or near there, and how it being a             09:58:44

                                                                               42


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     1    child sex trafficking capital of the world.                  09:58:49

     2          Q.    When did you do that research?                   09:58:51

     3          A.    I would not call it research.     It was a       09:58:54

     4    google --                                                    09:58:54

     5          Q.    So when do you the search?                       09:58:55

     6          A.    It was shortly before the tweet.      I typed    09:58:57

     7    in his name in Google and his name came up -- not            09:58:59

     8    his name.    I typed in Chiang Rai I should say.             09:59:04

     9          Q.    Why Chiang Rai?                                  09:59:08

    10          A.    That is where the caves were.                    09:59:09

    11          Q.    Not anything related to Mr. Unsworth?            09:59:12

    12          A.    No.    Just --                                   09:59:16

    13          Q.    Just the caves' location being at or near        09:59:17

    14    Chiang Rai?                                                  09:59:20

    15          A.    Yes.                                             09:59:20

    16          Q.    How many times have you done any cave            09:59:22

    17    exploration?                                                 09:59:25

    18          A.    When you say cave exploration, do you            09:59:32

    19    mean -- I have not engaged in new caves, anything            09:59:34

    20    like that.    I've certainly walked through caves a          09:59:39

    21    few times in my life.                                        09:59:41

    22          Q.    Where?                                           09:59:43

    23          A.    South Africa.    Some caves in Canada and        09:59:44

    24    the U.S.    I would not say I spent any significant          09:59:51

    25    time in caves.                                               09:59:54

                                                                            43


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     1          A.   Yes.                                              10:03:26

     2          Q.   Do you have any knowledge as you sit here         10:03:27

     3    today about how many times prior to July the 15th            10:03:29

     4    Mr. Unsworth had visited and explored the Tham               10:03:34

     5    Luang cave system?                                           10:03:43

     6          A.   No.                                               10:03:45

     7          Q.   Have you ever tried to find out his               10:03:46

     8    knowledge or his experience?                                 10:03:48

     9          A.   I did a Google search of him and of               10:03:53

    10    Chiang Rai.                                                  10:03:56

    11          Q.   When did you do the Google search of              10:03:57

    12    Vernon Unsworth?                                             10:04:00

    13          A.   That was after I saw his very rude                10:04:01

    14    interview with, I guess, CNN.                                10:04:05

    15          Q.   And that would have been before your pedo         10:04:08

    16    guy tweet?                                                   10:04:10

    17          A.   Yes.                                              10:04:11

    18          Q.   So when you went -- when it was brought           10:04:12

    19    your attention that Mr. Unsworth had given this              10:04:18

    20    interview, and as you perceived it at least, made            10:04:21

    21    these rude attacks and told lies about you, you              10:04:24

    22    didn't know who in the world he was, did you?                10:04:27

    23          A.   No.    I thought -- I thought this -- I did       10:04:31

    24    not know who he was, so I searched -- did the                10:04:33

    25    search, Google search, and that's the -- and from            10:04:35

                                                                            47


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     1    what I could tell this guy, at least at the time,             10:04:41

     2    it seemed like he didn't have anything to do with             10:04:43

     3    the rescue and had not been on the dive team where            10:04:46

     4    they risked their life.                                       10:04:49

     5               And so my impression was that he was just          10:04:51

     6    some -- at the time, just some random expat that              10:04:53

     7    the media had found to interview.       And so here was       10:04:57

     8    some random, some creepy expat guy living in                  10:04:59

     9    Thailand attacking me for no reason.                          10:05:08

    10          Q.   And that was the sole -- that was the              10:05:11

    11    full extent of your knowledge about Vernon Unsworth           10:05:12

    12    when you tweeted about him on the 15th of July,               10:05:17

    13    true?                                                         10:05:21

    14          A.   Yes.                                               10:05:22

    15          Q.   Basically what you had learned on Google?          10:05:23

    16          A.   Yeah, this is all in the space of maybe            10:05:26

    17    an hour or so; maybe an hour.      Less than an hour.         10:05:29

    18          Q.   Hour.   Could have been an hour and a half         10:05:33

    19    you spent looking for him?                                    10:05:35

    20          A.   It was maybe an hour, well, maybe less.            10:05:37

    21          Q.   Just somewhere close to the amount of              10:05:39

    22    time you spent preparing for this deposition,                 10:05:41

    23    wouldn't you say?                                             10:05:43

    24          A.   Similar, maybe less.     Probably less.            10:05:44

    25          Q.   And that is it; that is all you knew,              10:05:47

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     1    except you knew one other thing.       You had seen the       10:05:50

     2    video, had you not?                                           10:05:54

     3          A.   I saw the CNN interview.                           10:05:56

     4          Q.   Before you tweeted?                                10:05:59

     5          A.   Yes.   I saw the interview.     Did some           10:06:00

     6    Google searches.    And I got upset because this guy          10:06:05

     7    had insulted me for no reason, and I insulted him             10:06:09

     8    back.                                                         10:06:13

     9          Q.   You heard and saw the interview.       You did     10:06:14

    10    some searching on Google for Vernon Unsworth and              10:06:16

    11    Chiang Rai, and then you tweeted about him,                   10:06:19

    12    including referring to him as a "pedo guy," true?             10:06:22

    13          A.   Yes.                                               10:06:25

    14          Q.   And that was the sum total of your                 10:06:25

    15    knowledge of Vernon Unsworth at the time you                  10:06:27

    16    published those tweets on July 15, true?                      10:06:29

    17          A.   To the best of my recollection, yes.               10:06:32

    18          Q.   I'm trying to see if you can help me with          10:06:35

    19    this, Mr. Musk.    You got this information on Google         10:06:51

    20    about Chiang Rai.    Apparently you got information           10:06:55

    21    from Google that Mr. Unsworth had at some time                10:06:59

    22    lived in the UK and was spending most of his time             10:07:04

    23    or had moved to Thailand, right?                              10:07:08

    24          A.   Yes.   Something like that.                        10:07:10

    25          Q.   Now, stopping there, would that have been          10:07:13

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     1    enough information for you to refer to Mr. Unsworth           10:07:16

     2    as a pedo guy, or did you need the information that           10:07:21

     3    you got when you saw him on the interview and                 10:07:26

     4    surmised that he looked like a pedo guy?                      10:07:30

     5                MR. SPIRO:   If can you answer that.     If       10:07:33

     6    you understand the question.                                  10:07:34

     7                THE WITNESS:   I'm not sure I -- let me be        10:07:37

     8    clear.     I had never seen this guy before or heard          10:07:38

     9    of him before until I saw this interview on CNN.              10:07:41

    10    BY MR. WOOD:                                                  10:07:45

    11          Q.    And you said he looked like a pedo guy?           10:07:45

    12          A.    Yeah, he looked like a pedo.                      10:07:48

    13          Q.    Did you need to see the interview to              10:07:51

    14    reference him as a pedo guy?      Was that what kind of       10:07:53

    15    tipped the scales, or was it enough that he had               10:07:55

    16    simply lived in UK and apparently started spending            10:07:57

    17    time in Thailand?                                             10:08:01

    18                MR. SPIRO:   Yeah.   I'm going to object          10:08:02

    19    just because of the timing sequence.       He said that       10:08:02

    20    he saw the interview first.      He didn't start              10:08:03

    21    googling him randomly first.                                  10:08:05

    22                MR. WOOD:    I didn't mean to suggest --          10:08:06

    23                MR. SPIRO:   Yeah.   That's why -- it can         10:08:09

    24    be confusing.                                                 10:08:09

    25                THE WITNESS:   Right.                             10:08:11

                                                                             50


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     1    BY MR. WOOD:                                                 10:08:11

     2          Q.   So you saw him first?                             10:08:11

     3          A.   I saw his interview.     And it's like,           10:08:12

     4    well, who the hell is this guy, and what the hell            10:08:16

     5    is he doing insulting me, insulting everything my            10:08:18

     6    team did, the hard work everyone put in to try to            10:08:22

     7    help these kids.                                             10:08:26

     8               We tried hard to be helpful and do the            10:08:27

     9    right thing, and this guy is just unprovoked                 10:08:31

    10    attacking us for no reason, being rude as hell, and          10:08:32

    11    looking like a huge creep.                                   10:08:35

    12          Q.   I am just trying to figure out how much           10:08:37

    13    of his looks on the interview influenced your                10:08:38

    14    thoughts that he was a pedo guy or --                        10:08:41

    15          A.   He just looked creepy, essentially.               10:08:46

    16          Q.   So if you look creepy you think of                10:08:48

    17    pedophilia?                                                  10:08:52

    18          A.   No.   I think if you look creepy and are          10:08:53

    19    in Thailand that you look like a pedo guy.        It's       10:08:55

    20    just a bad look.                                             10:08:59

    21          Q.   But you did not tweet that he looked like         10:09:00

    22    a pedo guy, did you?     You called him a pedo guy,          10:09:02

    23    right?                                                       10:09:05

    24          A.   Pedo guy is just kind of a common insult.         10:09:06

    25          Q.   Common insult?                                    10:09:10

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     1          A.    Yes.    Especially where I grew up.              10:09:11

     2          Q.    Intending to say you're a pedophile?             10:09:13

     3          A.    Not really.                                      10:09:15

     4          Q.    What is it intended to convey?                   10:09:16

     5          A.    It just basically means are you a creepy         10:09:18

     6    old man, which I believe actually he did seem like           10:09:21

     7    a creepy old man to me.                                      10:09:23

     8          Q.    And how many people have you used the            10:09:25

     9    insult pedo guy against?                                     10:09:27

    10          A.    Growing up in South Africa, it was a             10:09:34

    11    common insult.      Any old creepy guy would be              10:09:36

    12    referred to pedo guy.     It was pretty normal.              10:09:41

    13          Q.    You said growing up in South Africa it           10:09:43

    14    was an insult.      Is that talking about, you know, in      10:09:44

    15    your youth?    Y'all used to call people pedo guys?          10:09:44

    16          A.    Yeah.   It was like, oh, creepy old man;         10:09:49

    17    pedo guy.                                                    10:09:52

    18          Q.    I'm more talking about as an adult any           10:09:53

    19    other times that you have described someone as a             10:09:54

    20    pedo guy, not from your youth in South Africa.               10:09:58

    21          A.    Actually, I've not used those words              10:10:09

    22    publicly.                                                    10:10:11

    23          Q.    Have you used them in private?                   10:10:11

    24          A.    Yes, in a few cases.                             10:10:14

    25          Q.    Against whom?                                    10:10:16

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     1    adult.                                                       10:14:53

     2          Q.   Correct.    Meaning over the age -- being         10:14:54

     3    older than that age of consent?                              10:14:59

     4          A.   At a minimum, yes.                                10:15:01

     5          Q.   That is key for you?                              10:15:02

     6          A.   Yes, I mean -- yes.                               10:15:04

     7               MR. WOOD:    All right.   We've been going        10:15:06

     8    for about an hour.     Do you want to take a quick           10:15:06

     9    break?                                                       10:15:07

    10               MR. SPIRO:    We don't have to.                   10:15:07

    11               MR. WOOD:    Let's take a quick break.            10:15:09

    12    Usually try to do it about every hour, stretch your          10:15:10

    13    back.                                                        10:15:12

    14               THE VIDEOGRAPHER:     And we're going off         10:15:14

    15    the record at 10:15 a.m.                                     10:15:14

    16               (Recess taken.)                                   10:25:16

    17               THE VIDEOGRAPHER:     And we are back on the      10:25:18

    18    record at 10:25 a.m.                                         10:25:19

    19    BY MR. WOOD:                                                 10:25:23

    20          Q.   Mr. Musk, since the time of your search           10:25:25

    21    on Google about Mr. Unsworth and Chiang Rai, which           10:25:32

    22    I believe you told me was done after you saw the             10:25:37

    23    interview on CNN or the one he gave to CNN                   10:25:41

    24    International, and before you tweeted about                  10:25:45

    25    pedo guy on the 15th of July -- since that time              10:25:48

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     1    And you know, are these -- you know, is he up to no          10:29:41

     2    good there, or is he there for legitimate reasons.           10:29:44

     3          Q.   I'm sorry.                                        10:29:49

     4          A.   Is Unsworth up to no good there, or is he         10:29:49

     5    there for legitimate reasons.                                10:29:55

     6          Q.   There for --                                      10:29:59

     7          A.   There in Thailand or in Chiang Rai.               10:29:59

     8          Q.   Okay.                                             10:30:01

     9          A.   Which is an odd place to be.                      10:30:01

    10               So Jared had this investigator move               10:30:06

    11    forward.   Jared, I think, thought this guy was              10:30:11

    12    legitimate, and Jared told me that, you know, the            10:30:15

    13    investigator was saying that Unsworth had been up            10:30:24

    14    to all sorts of bad things in Thailand, and lived            10:30:27

    15    in places that were equivalent to like a red-light           10:30:32

    16    district or something like that.                             10:30:36

    17               And told me -- these things subsequently          10:30:38

    18    turned out not to be correct, but these were what            10:30:42

    19    were told to me by Jared, who was told to us by              10:30:45

    20    this investigator.                                           10:30:49

    21               And Jared said that this investigator is          10:30:49

    22    saying this guy had like a 12-year-old bride or              10:30:54

    23    something like that, and that he lived in Pattaya            10:30:58

    24    Beach in a hotel noted for underage sex tourism.             10:31:03

    25    These were just things that were related to me --            10:31:09

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     1    or that were relayed to me by Jared.                         10:31:13

     2               And I was like, wow, this is sounding             10:31:14

     3    pretty bad, you know, maybe, you know, this sort of          10:31:17

     4    offhand insult that I had done in kind -- in                 10:31:24

     5    response to his offhand insult -- maybe there's              10:31:29

     6    actually some merit to this.      We should, you know,       10:31:30

     7    try to find out more and see if this is a serious            10:31:33

     8    matter or not.                                               10:31:39

     9               And then for some reason some guy at              10:31:40

    10    BuzzFeed reached out to me about this.       I am not        10:31:45

    11    sure why he reached out to me.      But he emailed me.       10:31:49

    12    And I was like, well, what if this is a real                 10:31:53

    13    situation?   What if what we have here is another            10:31:59

    14    Jeffrey Epstein.    We should, you know -- I have            10:32:02

    15    this -- I am told this information.       I don't know       10:32:06

    16    if it is true.    But what if we have another                10:32:09

    17    Jeffrey Epstein on our hands?      And what if he uses       10:32:11

    18    whatever celebrity he gains from this cave rescue            10:32:15

    19    to shield his bad deeds?     This would be terrible.         10:32:20

    20               And so this was like, wow, somebody               10:32:23

    21    should really look into this and just find out what          10:32:27

    22    is the real situation here.      When I said                 10:32:30

    23    "pedo guy," I didn't mean that he was literally a            10:32:35

    24    pedophile; it was just an insult.       But after            10:32:38

    25    getting this information from this investigator              10:32:41

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     1    through Jared, I was like, well, maybe he is                 10:32:43

     2    actually a pedophile.     Is this possible?                  10:32:47

     3               And so when this BuzzFeed guy says "Off           10:32:49

     4    the record," meaning this is not for any                     10:32:54

     5    publication or any further -- this is told in                10:32:57

     6    confidence, you should go and look into it.        You       10:33:00

     7    know, and so the BuzzFeed guy broke journalistic             10:33:04

     8    ethics and published an email that was never meant           10:33:13

     9    to be published.    I just wanted them to just make          10:33:17

    10    sure this guy is not actually up to very bad                 10:33:21

    11    things.                                                      10:33:25

    12               So please go -- this is what journalists          10:33:25

    13    are supposed to go do is look into these things,             10:33:29

    14    try to find out if it is real, and if is we put a            10:33:33

    15    stop to it.                                                  10:33:39

    16          Q.   So you actually had the thought at the            10:33:40

    17    time back in August of 2018, this guy might be like          10:33:43

    18    another Jeffrey Epstein?                                     10:33:50

    19               Is that what you told me?                         10:33:50

    20          A.   Is that the BuzzFeed correspondence date?         10:33:53

    21    I'm not sure of -- this is a year ago, so please if          10:33:57

    22    you could -- if I could trouble you to refresh me            10:33:59

    23    as to what you mean by that date.                            10:34:01

    24          Q.   Well, let me see.                                 10:34:03

    25               MR. WOOD:    This will be 36.    I had one        10:34:03

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     1    marked earlier as 35, but I'll come back to that.            10:34:13

     2               (Exhibit 36 was marked for                        10:34:27

     3               identification.)                                  10:34:27

     4    BY MR. WOOD:                                                 10:34:28

     5          Q.   I'm going to hand you, Mr. Musk, what has         10:34:29

     6    been marked for purposes of identification to your           10:34:30

     7    deposition as Exhibit 36.      And you may feel free to      10:34:35

     8    take the time to review that document.                       10:34:40

     9          A.   Sure.                                             10:34:42

    10          Q.   But for purposes of my question, I'm just         10:34:43

    11    trying to answer your question about the timeline.           10:34:45

    12          A.   Thank you.    If you could allow me to take       10:34:50

    13    a moment to review it.                                       10:34:54

    14          Q.   If this helps.    Yes.                            10:34:57

    15               Have you had a chance to review Exhibit           10:35:00

    16    No. 36?                                                      10:35:59

    17          A.   I did.                                            10:36:00

    18          Q.   Have you seen it before?                          10:36:01

    19          A.   No.                                               10:36:03

    20          Q.   You see that the email correspondence and         10:36:03

    21    the nondisclosure agreement are dated August 15th            10:36:10

    22    of 2018?                                                     10:36:15

    23          A.   Yes.                                              10:36:16

    24          Q.   Does that refresh your recollection as to         10:36:17

    25    when you would have asked Jared Birchall to reach            10:36:21

                                                                            65


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     1    out to the investigator to find out what he knew or          10:36:25

     2    might be able to find out?                                   10:36:28

     3          A.   Yeah, I mean, that would have                     10:36:30

     4    precipitated -- Jared had mentioned that there was           10:36:31

     5    this investigator who -- I think he had mentioned            10:36:33

     6    this before August, but we didn't take action                10:36:38

     7    because, you know, there was -- didn't seem like             10:36:45

     8    good reason to move forward.                                 10:36:50

     9               So -- but then if I can recall correctly,         10:36:52

    10    it was after I got what seemed like a shakedown              10:36:59

    11    letter from you.    I'm like, wait a second, hey,            10:37:02

    12    let's just find out if this is a real thing or not.          10:37:04

    13    And so this investigator -- I asked Jared does this          10:37:07

    14    investigator seem like he's got a credible                   10:37:15

    15    background?                                                  10:37:16

    16               And Jared says he sounds credible.       He       10:37:16

    17    claimed to work for Paul Allen and George Soros,             10:37:24

    18    and I mean, these are some credible people.                  10:37:29

    19    Sounded like he would be perhaps credible.        Just       10:37:31

    20    get to the bottom of the situation; find out what            10:37:35

    21    is real and what is not.                                     10:37:38

    22          Q.   So you were -- your reason for reaching           10:37:41

    23    out and retaining Mr. Howard on or about                     10:37:46

    24    August 15th would be because you had gotten the              10:37:52

    25    shakedown letter from me, and you thought maybe              10:37:57

                                                                            66


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     1    you'd better see what was going on here with                 10:38:00

     2    Unsworth, right?                                             10:38:03

     3          A.   Yes.                                              10:38:05

     4               (Exhibit 37 was marked for                        10:38:05

     5               identification.)                                  10:38:05

     6    BY MR. WOOD:                                                 10:38:06

     7          Q.   Let me hand you -- this is 37.       The court    10:38:06

     8    reporter has handed you what has been marked for             10:38:18

     9    purposes of identification to your deposition as             10:38:21

    10    Exhibit 37.                                                  10:38:23

    11               Mr. Musk, if you want to take a moment            10:38:23

    12    and look at that document.                                   10:38:26

    13          A.   Right.                                            10:38:45

    14          Q.   Is Exhibit 37 the letter from me that you         10:38:46

    15    have earlier characterized as "the shakedown                 10:38:50

    16    letter"?                                                     10:38:53

    17          A.   Yes.   This is the letter that came across        10:38:54

    18    certainly as a shakedown letter.                             10:38:58

    19          Q.   And you had this letter, and you had seen         10:39:00

    20    it before you engaged Mr. Howard, true?                      10:39:02

    21          A.   That is correct.                                  10:39:07

    22          Q.   What is Excession LLC?                            10:39:20

    23          A.   Excession LLC is basically my family              10:39:26

    24    office company.                                              10:39:31

    25          Q.   And what -- generally speaking -- I don't         10:39:33

                                                                            67


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     1          Q.   What is his position at Excession LLC?            10:40:59

     2          A.   It's really just a -- a small -- like             10:41:04

     3    holding company.    It's not really -- there's               10:41:10

     4    essentially two people in it.      He would be the           10:41:12

     5    president, I guess, of Excession.                            10:41:15

     6          Q.   Take a look if you would back at                  10:41:18

     7    Exhibit 36, the NDA.                                         10:41:20

     8          A.   Yes.                                              10:41:25

     9          Q.   If you look at the last page of that              10:41:26

    10    exhibit, do you see where Mr. Birchall has signed            10:41:27

    11    the NDA on behalf of Excession LLC?                          10:41:30

    12          A.   Yeah, as manager.                                 10:41:35

    13          Q.   And he describes his title as "manager."          10:41:35

    14               Would you agree with that?                        10:41:37

    15          A.   Sure.   Yeah, I would agree with that.            10:41:39

    16          Q.   Is he a salaried employee?                        10:41:41

    17          A.   Yeah.                                             10:41:44

    18          Q.   He works for you?                                 10:41:46

    19          A.   Yes.                                              10:41:46

    20          Q.   He answers to you?                                10:41:47

    21          A.   That is correct.                                  10:41:50

    22          Q.   You are his direct report?                        10:41:50

    23          A.   Yes.                                              10:41:52

    24          Q.   You obviously give him instructions on            10:41:54

    25    what he is to do and not to do, right?                       10:41:56

                                                                            69


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     1           Q.   I'm going to hand you what has been              10:53:31

     2    marked for purposes of identification as                     10:53:33

     3    Exhibit 35, Mr. Musk.     And if you take a moment, my       10:53:33

     4    first question is simply going to be:       Are you          10:53:34

     5    familiar with that document?                                 10:53:35

     6           A.   Let me take a moment to read it, if I            10:53:44

     7    may.                                                         10:53:46

     8           Q.   Certainly.   Take all the time you need.         10:53:47

     9           A.   Twitter hellswamp is a funny phrase.      But    10:54:29

    10    it's accurate at times.                                      10:54:34

    11                Yes, I've read it.                               10:54:36

    12           Q.   Are you familiar with the document?              10:54:41

    13           A.   Yes.   Sam sent it to me in July of last         10:54:44

    14    year.   I wouldn't say familiar.     He sends me a lot       10:54:49

    15    of emails.                                                   10:54:51

    16           Q.   Before I showed it to you today, when is         10:54:54

    17    the last time you recall seeing it?                          10:54:56

    18           A.   This was shown to me briefly last night.         10:54:57

    19           Q.   Before last night, when was the last time        10:55:00

    20    you recall having seen it?                                   10:55:02

    21           A.   I guess that would have been July of last        10:55:05

    22    year.                                                        10:55:08

    23           Q.   If you will follow along with me,                10:55:08

    24    Mr. Musk, on Mr. Teller's email to you at the top.           10:55:10

    25    Who is Gwynne?                                               10:55:16

                                                                            80


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     1          A.   Gwynne is the president of SpaceX, the            10:55:20

     2    chief operating officer.                                     10:55:22

     3          Q.   What is her last name?                            10:55:24

     4          A.   Shotwell.                                         10:55:25

     5          Q.   How long as she been the president of             10:55:25

     6    SpaceX?                                                      10:55:25

     7          A.   Since 2008.                                       10:55:29

     8          Q.   Do you find her to be a valued and                10:55:30

     9    trusted employee?                                            10:55:32

    10          A.   Yes, she is great.                                10:55:33

    11          Q.   Respect her judgment?                             10:55:34

    12          A.   Yes, absolutely.                                  10:55:36

    13          Q.   And who is Shallman?                              10:55:36

    14          A.   Shallman.    He's like a -- I think he's in       10:55:39

    15    PR or something.    I don't know him well at all.            10:55:43

    16          Q.   Do you even know his name, other than             10:55:48

    17    Shallman; whether that's first name or last name?            10:55:51

    18          A.   I believe that is his last name.                  10:55:53

    19          Q.   Do you know his first name?                       10:55:55

    20          A.   No.                                               10:55:57

    21          Q.   Do you know who he works for?                     10:55:58

    22          A.   I don't know what company he works for.           10:56:01

    23          Q.   Can you pull what he looks like up in             10:56:04

    24    your mind's eye?                                             10:56:08

    25          A.   No.                                               10:56:09

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     1           Q.   You don't know him?                              10:56:09

     2           A.   I don't really know him.                         10:56:12

     3           Q.   How about Saltsman?    Who is Saltsman?          10:56:12

     4           A.   Saltsman.   I believe he is a lawyer.            10:56:15

     5           Q.   In-house lawyer?                                 10:56:20

     6           A.   No.   He's I think with some law firm in         10:56:21

     7    DC.    I'm not sure.    Sam knows him but I don't know       10:56:26

     8    him.   I have met him once.                                  10:56:32

     9           Q.   Do you know his name?    Is Saltsman his         10:56:34

    10    last name or name first?                                     10:56:36

    11           A.   That's his last name; I don't know his           10:56:37

    12    first name.                                                  10:56:39

    13           Q.   So if I asked you --                             10:56:40

    14           A.   I actually met him once for only five            10:56:40

    15    minutes.                                                     10:56:43

    16           Q.   In his mind's eye can you even pull up           10:56:44

    17    and recognize who he is visually?                            10:56:45

    18           A.   I might be able to recognize Saltsman.       I   10:56:48

    19    am not sure.      But in as much as you meet                 10:56:49

    20    somebody -- I think I met him once two years ago             10:56:52

    21    for five minutes.                                            10:56:53

    22           Q.   Do you know what he does, if anything, in        10:56:55

    23    his role as an attorney for any of your companies?           10:56:58

    24           A.   Not really, no.                                  10:57:00

    25           Q.   You've never -- you have no recollection         10:57:02

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     1    of retaining him or his law firm for any type of             10:57:04

     2    matter, do you?                                              10:57:07

     3          A.   I think there was some Tesla thing                10:57:09

     4    that -- Sam is the one who engaged him for some              10:57:11

     5    Tesla-related stuff, but I am not sure what it was           10:57:15

     6    about.                                                       10:57:18

     7          Q.   What about Todd?     Who is Todd?                 10:57:20

     8          A.   Todd was the general counsel of Tesla.            10:57:23

     9          Q.   How long did Todd -- what is Todd's full          10:57:26

    10    name?                                                        10:57:27

    11          A.   Todd Maron.                                       10:57:27

    12          Q.   And how long has Todd been the general            10:57:27

    13    counsel for Tesla?                                           10:57:33

    14          A.   He left earlier this year, but he was             10:57:34

    15    general counsel for about four or five years.                10:57:36

    16          Q.   Did he do a good job?                             10:57:39

    17          A.   Yes.                                              10:57:41

    18          Q.   Would you view him as a -- at the time he         10:57:41

    19    was with you a valued and respected employee?                10:57:44

    20          A.   Yes.                                              10:57:46

    21          Q.   Whose judgment you trusted?                       10:57:46

    22          A.   Yes.                                              10:57:48

    23          Q.   And how about Sarah?     Who is Sarah?            10:57:50

    24          A.   Sarah was head of communications for              10:57:52

    25    Tesla.                                                       10:57:54

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     1          Q.   What is Sarah's full name?                        10:57:57

     2          A.   Actually, I should know this.      I'll           10:58:02

     3    recall it soon, but I don't recall it offhand.               10:58:06

     4          Q.   How long has she -- is she still the head         10:58:09

     5    of communications with Tesla?                                10:58:11

     6          A.   No.    She's moved to Facebook.                   10:58:14

     7          Q.   She moved to Facebook?                            10:58:16

     8          A.   Yes.                                              10:58:18

     9          Q.   How long was she head of communications           10:58:18

    10    with Tesla?                                                  10:58:20

    11          A.   She was head of communications for, I             10:58:21

    12    believe, about two years but was working for Tesla           10:58:21

    13    for two or three years before that in like a number          10:58:25

    14    two and number three role in communications.                 10:58:26

    15          Q.   Did you find her to be a valued and               10:58:33

    16    respected employee?                                          10:58:34

    17          A.   Generally.                                        10:58:35

    18          Q.   And trusted her judgment?                         10:58:36

    19          A.   Not in all matters, but generally, yes.           10:58:38

    20          Q.   Anything that stand out in your mind's            10:58:41

    21    eye that raised some concerns about her judgment?            10:58:44

    22          A.   I think she was perhaps overly sensitive          10:58:46

    23    to what the press say at times.                              10:58:47

    24          Q.   Anything other than sensitivity to the            10:58:49

    25    media?                                                       10:58:51

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     1           A.   Not really, no.    She's great.                  10:58:52

     2           Q.   Would you consider yourself sensitive to         10:58:54

     3    the media coverage of you?      Or have you kind of got      10:58:56

     4    thick skin?                                                  10:59:00

     5           A.   It's a pretty thick skin at this point.          10:59:01

     6    I mean, it's a torrent of media.       And I don't know.     10:59:03

     7    The media, to be very frank, is -- especially over           10:59:09

     8    the last few years, has caused me to lose some               10:59:12

     9    faith in humanity.     Not good.                             10:59:16

    10           Q.   Have you had to kind of steel yourself           10:59:19

    11    against what you feel has been unfair attacks on             10:59:21

    12    you by the media, as well as, I know, there's some           10:59:22

    13    other people like short sellers you're not happy             10:59:27

    14    with?                                                        10:59:28

    15                But I mean, from the media perspective,          10:59:28

    16    have you had to kind of toughen up your skin to              10:59:29

    17    just kind of deal with it and not let it bother              10:59:32

    18    you?                                                         10:59:36

    19           A.   I mean, it's hard to not -- you know, we         10:59:36

    20    all have feelings here.     It is not quite like water       10:59:39

    21    off a duck's back.     If the media is making vicious        10:59:44

    22    attacks, especially very hurtful ones, then                  10:59:47

    23    obviously, that's -- thick skin doesn't mean an              10:59:51

    24    impenetrable skin.                                           10:59:56

    25           Q.   Right, but certainly means tougher skin?         10:59:58

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     1          A.   It's inevitable.                                  11:00:01

     2          Q.   And you have had to develop that type of          11:00:04

     3    toughness with respect to comments about you?                11:00:07

     4          A.   Generally.                                        11:00:09

     5          Q.   For the past several years?                       11:00:10

     6          A.   Last few years especially.      Past two or       11:00:12

     7    three years.                                                 11:00:14

     8          Q.   And what about Deepak?      Who is Deepak?        11:00:15

     9          A.   Deepak Ahuja was the CFO of Tesla for             11:00:18

    10    about eight years.                                           11:00:23

    11          Q.   When did he leave?                                11:00:24

    12          A.   Earlier this year.                                11:00:25

    13          Q.   Is it a he?                                       11:00:26

    14          A.   Yes.                                              11:00:27

    15          Q.   And where did he go?     Do you know?             11:00:28

    16          A.   He retired.                                       11:00:30

    17          Q.   Was he viewed by you as a loyal and               11:00:31

    18    respected employee?                                          11:00:36

    19          A.   Yes.                                              11:00:37

    20          Q.   Whose judgment you trusted?                       11:00:37

    21          A.   Yeah, he's great.                                 11:00:39

    22          Q.   And then who is Antonio?      What is             11:00:41

    23    Antonio's full name?                                         11:00:44

    24          A.   Antonio Gracias is a board member of              11:00:46

    25    Tesla, and he has been instrumental in Tesla's               11:00:54

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     1    success ever since 2007.                                     11:00:57

     2          Q.    Is he a shareholder?                             11:01:04

     3          A.    He is a shareholder, but he has also been        11:01:06

     4    actively helpful in solving production issues and            11:01:11

     5    other issues at Tesla.                                       11:01:15

     6          Q.    So you've been -- he's been around for           11:01:19

     7    almost 12 years?                                             11:01:21

     8          A.    Yeah, that's right.                              11:01:23

     9          Q.    You trust his judgment?                          11:01:25

    10          A.    Yeah, he's great.                                11:01:27

    11          Q.    Respected employee or actually not an            11:01:29

    12    employee?                                                    11:01:31

    13          A.    He is not an employee.                           11:01:32

    14          Q.    Not an employee, but he rolls up his             11:01:33

    15    sleeves and does get involved with you?                      11:01:35

    16          A.    Yeah, he is great.                               11:01:37

    17          Q.    And Anthony Romero.    Who is that?              11:01:41

    18          A.    He is, I believe, executive director of          11:01:44

    19    the ACLU.                                                    11:01:48

    20          Q.    Not connected in any type of employment          11:01:52

    21    with any of your companies?                                  11:01:54

    22          A.    No.                                              11:01:57

    23          Q.    How long have you known Anthony Romero?          11:01:57

    24          A.    I don't know him well, but we've met             11:02:00

    25    several times over the course probably about five            11:02:03

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     1    years.                                                       11:02:05

     2          Q.   In what capacity?     Socially or business?       11:02:09

     3          A.   No, just he -- he's asked for my support          11:02:12

     4    of the ACLU.    I have provided some financial               11:02:16

     5    support of the ACLU because I believe in some, but           11:02:19

     6    not all of the things that they do.       A lot of the       11:02:22

     7    things that they do.                                         11:02:25

     8          Q.   Is he a friend?                                   11:02:27

     9          A.   I wouldn't say I know him well enough to          11:02:31

    10    consider him a friend, but you know, we are                  11:02:34

    11    certainly on friendly terms, and he seems like he            11:02:38

    12    cares a lot about doing good things.                         11:02:41

    13          Q.   You value his judgment in the times he's          11:02:44

    14    expressed his feelings to you?                               11:02:47

    15          A.   Yeah, sure.                                       11:02:49

    16          Q.   And who is Davis?                                 11:02:50

    17          A.   Steve Davis.    Steve is a sort of                11:02:52

    18    president/CEO, basically running and building                11:02:56

    19    The Boring Company.                                          11:02:59

    20          Q.   And how long has he been with The Boring          11:03:01

    21    Company?                                                     11:03:03

    22          A.   He was really part of the formation -- or         11:03:06

    23    really very close to the formation, so it's been --          11:03:07

    24          Q.   2017?                                             11:03:10

    25          A.   Yes, that's about right.      Been a couple       11:03:11

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     1    years.     But he was -- his first job out of college          11:03:13

     2    was SpaceX.    So when he graduated Stanford, he               11:03:17

     3    joined SpaceX in 2003 or 2004, only a year or two              11:03:22

     4    after the company was created.                                 11:03:29

     5          Q.    And he is still with The Boring Company?           11:03:31

     6          A.    Yes.                                               11:03:33

     7          Q.    So he's been around for a number of                11:03:34

     8    years?                                                         11:03:36

     9          A.    Yeah.   Very smart guy.                            11:03:37

    10          Q.    Do you find him to be a respected and              11:03:40

    11    trusted employee?                                              11:03:42

    12          A.    I really don't think of people as                  11:03:44

    13    employees to be totally frank, but I worked with --            11:03:45

    14    Steve Davis could do anything he wants.       So it's          11:03:48

    15    like I wouldn't call him my employee.       He could           11:03:50

    16    go --                                                          11:03:52

    17          Q.    Talented guy?                                      11:03:52

    18          A.    Very talented guy.                                 11:03:54

    19          Q.    Trust him?                                         11:03:54

    20          A.    So he could do anything he wants, yeah.            11:03:55

    21          Q.    Respect his judgment?                              11:03:59

    22          A.    Yeah.   Not in all things, but yeah.     His       11:04:00

    23    technical judgment.                                            11:04:00

    24          Q.    Anything about his judgment that stands            11:04:02

    25    out to you that you have a little bit of an issue              11:04:05

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     1    with?   I remember you had one lady you thought was            11:04:07

     2    really sensitive to media.                                     11:04:10

     3               I'm just asking you similarly:       Is there       11:04:11

     4    anything about Mr. Davis where in your judgment his            11:04:12

     5    judgment is not quite as solid in your mind?                   11:04:17

     6          A.   Well, I think his engineering judgment is           11:04:21

     7    very good.   You know, I mean, I really never had              11:04:26

     8    any kind of sort of social judgment discussions                11:04:33

     9    with him, but it's like we have had many design --             11:04:39

    10    engineering design discussions.                                11:04:43

    11          Q.   Any media discussions about how to deal             11:04:45

    12    with the media?                                                11:04:49

    13          A.   Nothing in a serious -- nothing serious,            11:04:50

    14    no, where we sold some hats and flamethrowers, you             11:04:52

    15    know.                                                          11:04:54

    16          Q.   So what about Elissa?     Who is that?              11:04:57

    17          A.   Elissa Butterfield.     She was my                  11:05:02

    18    assistant.                                                     11:05:05

    19          Q.   How long has she -- was she your                    11:05:07

    20    assistant?                                                     11:05:08

    21          A.   I think it's three or four years.       She         11:05:10

    22    still works at SpaceX and works -- is currently                11:05:16

    23    running events and merchandise, I believe.                     11:05:20

    24          Q.   Marketing person?                                   11:05:24

    25          A.   Sort of a marketing person.      Sort of            11:05:25

                                                                              90


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     1    operations get-it-done sort of person.                       11:05:28

     2          Q.   And have you found her to be a loyal and          11:05:30

     3    respected employee?                                          11:05:37

     4          A.   Yes.                                              11:05:38

     5          Q.   Trust her judgment?                               11:05:39

     6          A.   Generally, yes.                                   11:05:41

     7          Q.   Anything that jumps out about her                 11:05:42

     8    judgment that might cause you some concern?                  11:05:47

     9          A.   No.                                               11:05:50

    10          Q.   And now we get to Omead.                          11:05:50

    11          A.   Omead.                                            11:05:59

    12          Q.   Who is Omead?                                     11:06:01

    13          A.   Omead, primarily -- well, I shouldn't say         11:06:04

    14    primarily.   He works at Tesla.     And he works in my       11:06:04

    15    executive office at Tesla.      He is an engineer;           11:06:17

    16    great -- a technical problem solver.                         11:06:19

    17          Q.   How long has he been with your company --         11:06:27

    18    one of your companies?                                       11:06:29

    19          A.   I think it's been about three years.              11:06:31

    20          Q.   Find him to be someone you can respect            11:06:33

    21    and trust?                                                   11:06:35

    22          A.   Yes.   I mean, as with Steve Davis, our           11:06:36

    23    interactions are primarily regarding engineering             11:06:38

    24    and manufacturing and solving technical problems.            11:06:41

    25          Q.   Any issues with his judgment?                     11:06:47

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     1          A.    No.                                               11:06:49

     2                MR. WOOD:   What number are we on?                11:06:49

     3                THE REPORTER:   38 is next.                       11:06:49

     4                MR. WOOD:   Mark this as 38.                      11:06:49

     5                (Exhibit 38 was marked for                        11:06:49

     6                identification.)                                  11:06:49

     7    BY MR. WOOD:                                                  11:07:28

     8          Q.    The court reporter has handed you what            11:07:28

     9    has been marked for purposes of identification to             11:07:31

    10    your deposition, Mr. Musk, as Exhibit 38.                     11:07:34

    11                If you'll take a moment.     Look over that       11:07:35

    12    document.   And my question is:     Are you familiar          11:07:38

    13    with those tweets?                                            11:07:40

    14          A.    Yes.                                              11:07:47

    15          Q.    Those tweets were published by you on             11:07:47

    16    Twitter on July 15, 2018, true?                               11:07:50

    17          A.    Yes.                                              11:07:55

    18          Q.    Did you write them yourself?                      11:07:56

    19          A.    Yes.                                              11:07:57

    20          Q.    Did anyone give you any input into the            11:08:00

    21    wording of those tweets?                                      11:08:02

    22          A.    No.                                               11:08:04

    23          Q.    Did anyone review those tweets for you            11:08:05

    24    before you published them on Twitter?                         11:08:10

    25          A.    No.                                               11:08:13

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     1               MR. WOOD:    Did I just misstate the               11:08:13

     2    exhibit number?    Is it 38 or 39?                            11:08:13

     3               THE REPORTER:    38.   Did I write 39?    It's     11:08:13

     4    38.                                                           11:08:13

     5               MR. SPIRO:    We have no objection to you          11:08:13

     6    correcting it later, obviously.                               11:08:13

     7               Yeah, we have no objection to you                  11:08:13

     8    correcting it later.                                          11:08:13

     9    BY MR. WOOD                                                   11:08:13

    10          Q.   Well, Exhibit 38.      Three tweets that you       11:08:13

    11    published on Twitter July 15, 2018, right?                    11:08:43

    12          A.   Yes.                                               11:08:48

    13          Q.   Before you published those tweets, had             11:08:51

    14    you received any expressions of concern from                  11:08:56

    15    principals at Tesla or SpaceX about                           11:09:04

    16    Vernon Unsworth?                                              11:09:12

    17          A.   No.    Never heard of him.                         11:09:14

    18          Q.   After those tweets on Exhibit 38, did you          11:09:17

    19    receive any communications from any of the folks at           11:09:22

    20    Tesla or SpaceX or any of your other companies                11:09:27

    21    expressing concern about the tweets set forth in              11:09:31

    22    Exhibit 38?                                                   11:09:36

    23               MR. SPIRO:    Objection; relevance.                11:09:37

    24               THE WITNESS:    Certainly there were, I            11:09:43

    25    think, many expressions of concern, yeah.                     11:09:45

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     1    BY MR. WOOD:                                                 11:09:49

     2          Q.   What was the nature of the concerns --            11:09:49

     3    the share price took a hit after these tweets?               11:09:52

     4          A.   I guess, yeah.                                    11:09:58

     5          Q.   4 percent?    Does that sound right?              11:09:59

     6          A.   Sounds about right.                               11:10:02

     7          Q    I mean, not a good day.      I mean, not as

     8    bad as -- worse than yesterday, but not a good day.          11:10:06

     9               Did you feel like the drop in the stock           11:10:06

    10    had some nexus to your tweets about Mr. Unsworth?            11:10:08

    11          A.   It's hard to say what drives the stock.           11:10:14

    12    It randomly goes up and down.      As Warren Buffet          11:10:17

    13    says -- I'm sorry.     Do you need a minute?                 11:10:23

    14          Q.   I'm sorry.                                        11:10:26

    15          A.   As Warren Buffet says, having a -- being          11:10:27

    16    a publicly traded stock is like having some manic            11:10:32

    17    depression person at the border of your house just           11:10:34

    18    yelling out house prices every day.                          11:10:38

    19               It can be -- it may or may not be related         11:10:40

    20    to the reality, but actually most of it -- it's not          11:10:45

    21    like the, you know, house or company's actually              11:10:49

    22    changed their value; it's just the betting on Wall           11:10:53

    23    Street changed.                                              11:10:57

    24          Q.   Do you know Mr. Buffet?                           11:10:59

    25          A.   I have talked to him on a number of               11:11:01

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     1          Q.   Is that right?                                    11:11:42

     2          A.   Yes.                                              11:11:43

     3          Q.   And whether or not you connected the              11:11:44

     4    stock drop or not, some people did?                          11:11:47

     5          A.   Some people -- people -- this generally           11:11:52

     6    occurs where the stock will move up or down and              11:11:54

     7    there will be some event, but this is what I mean            11:11:57

     8    by referring to Buffet's statement that the stock            11:12:03

     9    market is like, you know, with a manic depressive.           11:12:06

    10               It moves whether there is news or not.            11:12:10

    11    And if there is some news -- the press will often            11:12:14

    12    interpret it as the price moving just due to the             11:12:20

    13    news, because they don't have anything else to go            11:12:23

    14    on.   But it's really -- actually, most of the time          11:12:25

    15    it is not related to the news.                               11:12:28

    16               It's more related to some investor woke           11:12:30

    17    up this morning and decided the company was more or          11:12:34

    18    less valuable, changed their portfolio allocation,           11:12:36

    19    but it is not related specifically to the news.              11:12:39

    20               Most of the time it's just -- even if             11:12:43

    21    there was no news whatsoever about a company, you            11:12:45

    22    would still see significant price movements.                 11:12:48

    23          Q.   Well, the price movement after your pedo          11:12:50

    24    guy tweet, at least in market value -- it was about          11:12:54

    25    a $2 billion hit to the company, true?                       11:12:57

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     1          A.    4 percent is perhaps a better way to look        11:13:04

     2    at it.     If -- 4 percent is not a particularly             11:13:07

     3    unusual movement for Tesla.      There have been many        11:13:11

     4    changes in value far in excess of that on a daily            11:13:14

     5    basis.                                                       11:13:19

     6          Q.    While you weren't concerned that the drop        11:13:20

     7    had related to the tweet, others did have some               11:13:22

     8    concern.    Would that be a fair statement?                  11:13:25

     9          A.    Others did have some concern, yes.               11:13:27

    10          Q.    In fact, you kind of thought they were           11:13:29

    11    panicking?                                                   11:13:31

    12          A.    That's correct.                                  11:13:32

    13          Q.    And you said you know, stop panicking?           11:13:32

    14          A.    Yeah.   Don't panic.   Number one rule.          11:13:36

    15          Q.    Number what?                                     11:13:39

    16          A.    Number one rule.    Don't panic.                 11:13:39

    17          Q.    Don't panic.    I won't bore you with the        11:13:45

    18    guy in the seventh grade who came to our elementary          11:13:45

    19    school and he taught first aid.      He was a big guy        11:13:45

    20    with a great voice, and anything that he described           11:13:48

    21    to you, he started off by saying "Don't panic."              11:13:52

    22          A.    That's right.                                    11:13:59

    23          Q.    Snake bites you; don't panic.      Slice your    11:13:59

    24    arm; don't panic.                                            11:14:00

    25                So that's kind of your mantra:      Don't        11:14:01

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     1    just caused a lot of strife that was unnecessary.            11:16:41

     2           Q.   What strife?                                     11:16:47

     3           A.   Just, you know, a lot of negativity,             11:16:49

     4    negative press.     Grief.   Probably caused                 11:16:51

     5    unreasonable grief to Unsworth as well, you know.            11:16:57

     6    I --                                                         11:17:00

     7           Q.   Are you talking about your tweets?               11:17:00

     8           A.   Yeah.                                            11:17:03

     9           Q.   Yeah.   So just so it's clear -- so did          11:17:03

    10    you feel genuinely remorseful about what you had             11:17:06

    11    said about Mr. Unsworth suggesting that he was a             11:17:11

    12    pedophile?                                                   11:17:15

    13           A.   I did not suggest he was a pedophile.            11:17:17

    14           Q.   Strike that.                                     11:17:17

    15           A.   I --                                             11:17:17

    16           Q.   Strike that.                                     11:17:17

    17                Did you feel genuinely remorseful about          11:17:17

    18    describing Mr. Unsworth as a pedo guy?                       11:17:23

    19           A.   I felt -- I felt remorseful for -- you           11:17:26

    20    know, insulting this guy and for the grief that it           11:17:29

    21    caused the people of my companies who had tried              11:17:39

    22    hard especially to do some good for these kids.              11:17:42

    23           Q.   Well, you had heard from some people with        11:17:45

    24    your companies, and they were not happy with you,            11:17:47

    25    were they, Mr. Musk?                                         11:17:49

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     1          A.   No.    They were dismayed.    This is true.       11:17:52

     2          Q.   By your tweets and use of "pedo guy"?             11:17:56

     3          A.   Yes.                                              11:17:59

     4          Q.   And so this was in part to respond to             11:18:00

     5    their concerns.    You decided to publish this               11:18:06

     6    explanation of what you did and why, right?                  11:18:10

     7          A.   I mean, I could have not done it.       It        11:18:13

     8    would have been -- I mean, the companies would have          11:18:16

     9    gone about their business.      Nobody was making me do      11:18:18

    10    it.   But I did feel bad about having done it.       I       11:18:21

    11    should not have done it.                                     11:18:24

    12          Q.   Do you feel bad about having done it to           11:18:27

    13    Vernon Unsworth?                                             11:18:29

    14          A.   In part.    Although -- that's part of it.        11:18:30

    15    It's not the main reason, but it's part of it, yes.          11:18:33

    16          Q.   What is the other part?                           11:18:36

    17          A.   Well, mostly I feel bad for the team who          11:18:40

    18    worked so hard to try to help those kids.         And, you   11:18:44

    19    know, they worked day and night to do some good,             11:18:48

    20    and you know, that tweet made them sad, and that             11:18:56

    21    wasn't good.                                                 11:19:01

    22          Q.   Well, I understand that.      And you             11:19:03

    23    expressed that when you say "apologize to the                11:19:05

    24    companies I represent as leader," right?        But I        11:19:07

    25    want to talk about Mr. Unsworth.       When you              11:19:12

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     1          A.   Of course.                                        11:21:34

     2          Q.   -- wouldn't you?                                  11:21:34

     3          A.   Of course.                                        11:21:36

     4          Q.   Because I think you would agree with me,          11:21:37

     5    Mr.
            . Musk, there is probably very little in this              11:21:38

     6    life that is worse, more heinous than an adult who           11:21:42

     7    would take sexual advantage of a minor child, true?          11:21:47

     8          A.   I think murdering people is worse.                11:21:53

     9          Q.   I don't know.    The murder victim doesn't        11:21:55

    10    have to live with it.     The victim of pedophilia           11:21:57

    11    lives with it all their lives.                               11:21:58

    12               So I won't debate it with you, so perhaps         11:22:02

    13    you want to put murder ahead of that.                        11:22:04

    14          A.   Serial killers, cannibals, yeah, that             11:22:07

    15    kind of thing.                                               11:22:07

    16          Q.   So would you say that pedophilia is right         11:22:09

    17    up there with serial killers and murders?                    11:22:10

    18          A.   It's pretty bad.                                  11:22:15

    19          Q.   It is despicable.                                 11:22:18

    20          A.   It is.                                            11:22:18

    21          Q.   It's disgusting.                                  11:22:18

    22          A.   Agreed.                                           11:22:22

    23          Q.   It is not to be tolerated in a civilized          11:22:22

    24    society to have adults engaged in sexual activities          11:22:26

    25    or fantasies about minor children.       It's just not       11:22:31

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     1    proper in any form or fashion, true?                          11:22:35

     2           A.   True.   You sound a bit like Bill Clinton,        11:22:38

     3    but yes.                                                      11:22:43

     4           Q.   I don't know if that's a compliment or            11:22:43

     5    not.   But you know what?                                     11:22:47

     6           A.   Just the way you said it.                         11:22:47

     7           Q.   I'm going to take it -- I'm going to take         11:22:47

     8    it as a compliment.                                           11:22:48

     9           A.   Probably a mixture.                               11:22:50

    10           Q.   Hmm?                                              11:22:52

    11           A.   Probably a mix.                                   11:22:53

    12           Q.   I'm just kidding you.                             11:22:54

    13           A.   It's a mixed bag.                                 11:22:54

    14           Q.   I probably should reflect on that.      You       11:22:54

    15    aren't here to compliment me, huh?       So we'll let         11:22:56

    16    that one go.    I'll just take it as a compliment.            11:22:58

    17           A.   Yeah.                                             11:23:05

    18           Q.   I mean, I just can't -- but after you             11:23:06

    19    published this statement on -- this was on the 17th           11:23:18

    20    of July.    This was literally two days after you had         11:23:24

    21    described him or insulted him by saying he was a              11:23:27

    22    pedo guy, right?                                              11:23:31

    23           A.   Yeah.                                             11:23:33

    24           Q.   You said at the end "The fault is mine            11:23:36

    25    and mine alone."    Your words, right?                        11:23:37

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     1          A.    Yes.                                             11:23:40

     2          Q.    Did you mean that?                               11:23:40

     3          A.    Yes.                                             11:23:41

     4          Q.    That was sincere?                                11:23:42

     5          A.    Yes.                                             11:23:42

     6          Q.    Do you still feel that way today?                11:23:43

     7          A.    Yes.                                             11:23:46

     8          Q.    You don't put any fault on Mr. Unsworth.         11:23:46

     9    The fault is mine and mine alone, right?                     11:23:50

    10          A.    Actually, I think I was referring to             11:23:54

    11    anyone associated with the company.       I do have -- I     11:23:57

    12    do think there is some fault of Unsworth, of                 11:23:58

    13    course, because he did an unprovoked attack and              11:24:03

    14    lied on CNN about me.     So is there some fault of          11:24:07

    15    Unsworth.   Of course.    But did that justify me            11:24:12

    16    insulting him back?     No.                                  11:24:16

    17          Q.    Let me see if I -- help me make sure I           11:24:18

    18    understand what you're telling me.       When you say        11:24:22

    19    "The fault is mine and mine alone," were you saying          11:24:23

    20    that as it relates to the employees of my                    11:24:26

    21    companies --                                                 11:24:31

    22          A.    Yes.   No one else at the companies --           11:24:32

    23          Q.    It was my fault and mine alone, and              11:24:32

    24    nothing with respect to the people at the                    11:24:35

    25    companies, right?                                            11:24:37

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     1          A.   That is correct.     No one at the                11:24:37

     2    company -- no one else at the companies was to               11:24:39

     3    blame or in any way responsible for my                       11:24:41

     4    counter-insult to Unsworth.                                  11:24:46

     5          Q.   So then when you said "The fault is mine          11:24:50

     6    and mine alone," you were not intending to refer to          11:24:52

     7    Mr. Unsworth with that statement; is that true?              11:24:56

     8          A.   In that particular statement I was                11:24:59

     9    referring to the prior statement of the companies I          11:25:00

    10    represented as leader.                                       11:25:02

    11          Q.   Not Mr. Unsworth?                                 11:25:03

    12          A.   Correct.    I would not regard Unsworth as        11:25:06

    13    fault-free.                                                  11:25:10

    14          Q.   Would you describe him as being at fault          11:25:11

    15    for what you said?                                           11:25:13

    16               MR. SPIRO:    You can answer that.                11:25:17

    17               THE WITNESS:    He is partly at fault.            11:25:18

    18    BY MR. WOOD:                                                 11:25:19

    19          Q.   And you felt that way at the time you             11:25:19

    20    published this tweet on the 17th.       You weren't          11:25:21

    21    saying the fault is mine and not Vernon Unsworth's.          11:25:23

    22    You were only saying the fault is mine and not the           11:25:29

    23    fault of anybody with my companies, true?                    11:25:33

    24          A.   That is correct.                                  11:25:36

    25          Q.   Because you thought he was at fault?              11:25:36

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     1           Q.   Well, so you were saying "I am sorry,             11:28:12

     2    Mr. Unsworth, for saying what I said, but you were            11:28:15

     3    at fault for setting up a situation where I said              11:28:20

     4    it."                                                          11:28:23

     5                Would that be accurate?                           11:28:23

     6           A.   I was apologizing without any conditions.         11:28:25

     7    It was an unreserved apology; no question about               11:28:29

     8    that.                                                         11:28:34

     9                The -- you know, his bad behavior does            11:28:34

    10    not excuse my bad behavior.      And it would have            11:28:41

    11    been -- so just because somebody does something bad           11:28:46

    12    and there's an unprovoked attack and lies about               11:28:49

    13    you, doesn't mean that you should insult them back.           11:28:52

    14           Q.   Well, there were a number of people               11:28:55

    15    before Mr. Unsworth or right around the time that             11:28:57

    16    his interview was broadcast, you were aware of the            11:28:59

    17    fact that there were reports in the media of                  11:29:02

    18    criticism of your efforts with regard to the cave             11:29:05

    19    rescue as a publicity stunt.                                  11:29:09

    20                You were aware of that, weren't you?              11:29:11

    21           A.   I'm frequently accused of such things,            11:29:13

    22    but -- I'm frequently accused of many things.        I        11:29:16

    23    mean, if you want to see insults, just look at                11:29:17

    24    Twitter.    Twitter is rife with insults.     It is not       11:29:21

    25    the most polite place on earth.      Twitter is kind of       11:29:25

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     1    a war zone on insults.     It is -- insulting is quite        11:29:32

     2    common on Twitter.     This is a par for the course.          11:29:38

     3          Q.   Does that make it right?                           11:29:42

     4          A.   No.                                                11:29:44

     5          Q.   Mr. Unsworth didn't insult you on                  11:29:44

     6    Twitter, did he?                                              11:29:50

     7          A.   No, he insulted me on -- with CNN, an              11:29:51

     8    international news organization.       That's worse.          11:29:51

     9    Insults on Twitter are common.      Insults to a major        11:29:56

    10    international news organization -- this is a much             11:30:02

    11    more serious affair.                                          11:30:04

    12          Q.   And given that you have -- and I don't             11:30:09

    13    want to put the word "frequently."       Maybe you tell       11:30:13

    14    me what word you would use.      Let's just say that          11:30:14

    15    you are periodically accused in the media by                  11:30:16

    16    certain publications or reporters of engaging in              11:30:20

    17    publicity stunts.                                             11:30:23

    18               You know that, don't you?                          11:30:25

    19          A.   I am accused of everything by the media,           11:30:27

    20    and random people, and thousands of -- I mean, I am           11:30:29

    21    accused of good things that I probably shouldn't              11:30:34

    22    get credit for.    Actually for sure, certainly, I'm          11:30:38

    23    often given credit for things I don't deserve.         I'm    11:30:42

    24    often attacked for things I don't deserve.        Or          11:30:44

    25    given -- this is a wild world out there.                      11:30:48

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     1          Q.   But one of those things that you're                11:30:53

     2    frequently attacked for is engaging in publicity              11:30:53

     3    stunts.                                                       11:30:57

     4          A.   I don't engage in publicity stunts.                11:30:58

     5          Q.   I didn't say whether you did or not.       I       11:30:59

     6    am saying that you recognize that you are often               11:31:00

     7    attacked for engaging in publicity stunts?                    11:31:03

     8          A.   I mean, I find it ironic, because the              11:31:07

     9    very media that the vast majority of them who might           11:31:10

    10    accuse me of being a publicity stunt are the same             11:31:14

    11    ones who are demanding an interview, which I                  11:31:16

    12    refuse.                                                       11:31:17

    13          Q.   And I appreciate that.      But I'm just           11:31:19

    14    trying to establish, sir, the answer to my question           11:31:21

    15    is yes.    "Yes, Mr. Wood, I have -- in the last              11:31:22

    16    several years, I get accused" --                              11:31:26

    17          A.   It's not Mr. Wood.     Just so you know.           11:31:27

    18          Q.   Don't what?                                        11:31:27

    19          A.   Nothing. nothing.                                  11:31:27

    20          Q.   I -- I get accused of engaging in                  11:31:27

    21    publicity stunts, and it's an unfair and untrue               11:31:34

    22    accusation, but I've been accused of it.                      11:31:38

    23               Would that be a correct statement of your          11:31:39

    24    testimony?                                                    11:31:40

    25          A.   I'm been accused of many things; that's            11:31:41

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     1    one of them.                                                 11:31:44

     2          Q.   That's one of them?                               11:31:45

     3          A.   Yeah.                                             11:31:47

     4          Q.   And it's -- you know, I use the phrase            11:31:47

     5    "It's like let it run off your back like water on a          11:31:47

     6    duck's back."     You ever heard that idiom?                 11:31:49

     7          A.   Yeah.   This is more like acid off a              11:31:52

     8    duck's back.                                                 11:31:55

     9          Q.   It's what?                                        11:31:55

    10          A.   It feels more like acid off a duck's              11:31:55

    11    back.                                                        11:31:56

    12          Q.   When somebody accuses you of a publicity          11:31:57

    13    stunt?                                                       11:32:00

    14          A.   Yes.    It rolls off, but it hurts.               11:32:02

    15          Q.   But you get that from a lot of people             11:32:04

    16    other than the one time Mr. Unsworth said it, true?          11:32:06

    17          A.   Yes.                                              11:32:12

    18          Q.   And have you ever had anybody tell you to         11:32:12

    19    shove it up your ass?                                        11:32:17

    20          A.   Not specifically, no.     I don't recall          11:32:19

    21    that exact phrase or a phrase quite like that, no.           11:32:22

    22          Q.   Stick it where the sun don't shine?               11:32:26

    23          A.   No.    Actually, now that you mention it,         11:32:30

    24    I've not heard that phrase.                                  11:32:30

    25          Q.   You have never used that phrase?                  11:32:32

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     1          A.    It's not an idiom I use, no.                     11:32:33

     2          Q.    But you know it's an idiom?                      11:32:38

     3          A.    Yes.    It is physically impossible, of          11:32:41

     4    course.                                                      11:32:44

     5          Q.    Pardon?                                          11:32:44

     6          A.    It's physically impossible, so yes.              11:32:44

     7          Q.    Well, I don't know if it's physically            11:32:52

     8    impossible or not, but I understand what you are             11:32:53

     9    telling me.                                                  11:32:56

    10          A.    You are insulting me?                            11:32:57

    11          Q.    I'm sorry?                                       11:33:02

    12          A.    Are you insulting me?                            11:33:03

    13          Q.    What makes you think I was insulting you?        11:33:05

    14          A.    I don't know.                                    11:33:05

    15          Q.    Mr. Musk, I have lot of things to do in          11:33:05

    16    life, but insulting you is just not something I              11:33:06

    17    care about doing.                                            11:33:08

    18          A.    Okay.                                            11:33:10

    19          Q.    If I wanted to insult you, sir, I'd              11:33:10

    20    probably know how to do.     I'm just here to ask            11:33:11

    21    questions, representing my client, to get the truth          11:33:13

    22    from you.   That's all.     So if I say something you        11:33:17

    23    think is an insult, please -- I don't mean for it            11:33:20

    24    to be.                                                       11:33:23

    25          A.    I was just curious.                              11:33:23

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     1          Q.    If I do -- I'll make you a deal.      If I       11:33:23

     2    decide to insult you, I'll go "Mr. Musk, I'm                 11:33:24

     3    getting ready to insult you."                                11:33:26

     4          A.    I'll take your words at face value.              11:33:29

     5          Q.    I'm not here to do that.     Do you feel         11:33:30

     6    insulted?                                                    11:33:35

     7          A.    Not really.                                      11:33:36

     8          Q.    39.    Look at the first tweet, 11:38 p.m.       11:33:39

     9          A.    Yes.                                             11:33:43

    10          Q.    Would it be fair to say that in that             11:33:43

    11    first tweet on the 17th of July, Exhibit 39, that            11:33:53

    12    you were conveying blame on the part of                      11:33:58

    13    Mr. Unsworth for what had happened and what you had          11:34:03

    14    said?                                                        11:34:06

    15          A.    Yeah.                                            11:34:19

    16          Q.    I'm sorry?                                       11:34:19

    17          A.    Yes.    I think, you know, he was -- I was       11:34:19

    18    upset with Unsworth for saying things that weren't           11:34:27

    19    true and using this metaphor, telling me to shove            11:34:31

    20    this up my ass -- shove the sub up my ass,                   11:34:38

    21    basically.                                                   11:34:39

    22          Q.    Stick it where it hurts?                         11:34:40

    23          A.    Yeah.                                            11:34:43

    24          Q.    And you blamed him because he provoked           11:34:43

    25    you that led you to refer to him as pedo guy; is             11:34:47

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     1    that right?                                                  11:34:52

     2          A.    He upset me greatly with his lies and            11:34:56

     3    insults that were unprovoked.                                11:35:00

     4          Q.    So and you're making that clear --               11:35:02

     5          A.    Statement of fact.                               11:35:04

     6          Q.    -- in your first email or tweet on the           11:35:05

     7    17th of July on Exhibit 39, you are clearly                  11:35:08

     8    conveying that you felt like Mr. Unsworth was in             11:35:11

     9    part at fault or to blame for what you said, right?          11:35:16

    10          A.    I was essentially saying that his insults        11:35:22

    11    and lies are what led to me insulting him back, but          11:35:29

    12    his insults and lies do not justify me insulting             11:35:35

    13    him back.   As my mother said, it's just best not to         11:35:40

    14    respond in these situations.                                 11:35:43

    15          Q.    But you were conveying, look "I accept           11:35:45

    16    that I'm at fault in part, but also Mr. Unsworth             11:35:49

    17    was also at fault"?                                          11:35:54

    18          A.    Definitely.   He's definitely at fault.          11:35:55

    19          Q.    So it was, in your words, you would have         11:35:56

    20    been saying "I want to apologize to you,                     11:35:58

    21    Mr. Unsworth, for what you in part caused"?                  11:36:02

    22          A.    No.   It's -- make sure people understand.       11:36:05

    23    This guy attacked me first; he insulted me first.            11:36:13

    24    He was super rude and lied.                                  11:36:17

    25                That said, my insult back to him is not          11:36:18

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     1          Q.   Did you think when he said it was just a          11:39:09

     2    PR stunt that that was an attack on you, Elon Musk?          11:39:11

     3          A.   Attack on me and my team and everyone who         11:39:16

     4    tried to be helpful.                                         11:39:21

     5          Q.   So the insult part was directed, you              11:39:23

     6    felt, toward you, and that that was the "stick it            11:39:26

     7    where it hurts"?                                             11:39:27

     8          A.   Yes.                                              11:39:29

     9          Q.   Talking about your tube.                          11:39:30

    10          A.   That was directed at me, yes.                     11:39:32

    11          Q.   Do you know what the idiom means when you         11:39:32

    12    tell somebody to "stick it where the sun doesn't             11:39:37

    13    shine" or "stick it where it hurts" or "stick it up          11:39:40

    14    your ass"?                                                   11:39:41

    15               Do you know what that generally is meant          11:39:41

    16    to convey?   Figuratively, I guess I should say?             11:39:44

    17          A.   I think it's especially an idiomatic              11:39:55

    18    expression for bullshit something.                           11:39:56

    19          Q.   Bullshit?                                         11:39:59

    20          A.   Yeah.                                             11:40:00

    21          Q.   He was calling bullshit on your tube?             11:40:00

    22          A.   Yeah.                                             11:40:03

    23          Q.   And you took that as a personal attack?           11:40:03

    24          A.   Of course.    And an attack on my team as         11:40:07

    25    well.                                                        11:40:10

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     1          Q.   Right.   How many members of your team are        11:40:11

     2    presently working on the minisub?                            11:40:14

     3               MR. SPIRO:    Presently?                          11:40:17

     4               MR. WOOD:    Presently.                           11:40:17

     5               MR. SPIRO:    Today you mean?                     11:40:17

     6               THE WITNESS:    Why on earth would they be        11:40:17

     7    working on it now?                                           11:40:17

     8               MR. WOOD:    Let's start with today.              11:40:17

     9               MR. SPIRO:    I Just want to make sure I          11:40:21

    10    understand the question.                                     11:40:22

    11               MR. WOOD:    No, no, no.    You understood it     11:40:24

    12    exactly.                                                     11:40:25

    13               THE WITNESS:    Why on earth would they be        11:40:26

    14    working on this now?     Of course not.                      11:40:26

    15    BY MR. WOOD:                                                 11:40:30

    16          Q.   When did they last --                             11:40:30

    17          A.   The minisub was made -- the Thai Navy             11:40:33

    18    thought it was great.     They saw that they could           11:40:39

    19    possibly use it in the future, and so it is                  11:40:41

    20    currently owned by the Thai Navy.                            11:40:46

    21          Q.   Right.   I got that.    You left it there.        11:40:49

    22          A.   Yeah.                                             11:40:50

    23          Q.   Did you bring the inflatable one back?            11:40:50

    24          A.   I'm not sure.    We may have left that            11:40:53

    25    there or -- I'm not sure.                                    11:40:56

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     1          Q.    So all I -- and I was precise about               11:40:58

     2    today.     But let's talk about since your guys left          11:40:59

     3    there -- or girls.     How many members of your team          11:41:03

     4    were there when you arrived?      They had gone out           11:41:06

     5    there a couple days earlier?                                  11:41:07

     6          A.    Yeah, there were five to ten people.        I'm   11:41:09

     7    not sure how many -- I got there very late at                 11:41:14

     8    night, so I don't know how many people were there             11:41:17

     9    exactly, but there were five to ten, I think.                 11:41:19

    10          Q.    And you left very early the next morning?         11:41:20

    11          A.    Yes.                                              11:41:23

    12          Q.    Those folks, however many it was -- they          11:41:26

    13    pulled out after the kids and the coach were                  11:41:27

    14    successfully rescued --                                       11:41:29

    15          A.    That's right.                                     11:41:31

    16          Q.    -- without the use of the tube.      They         11:41:31

    17    came home?                                                    11:41:33

    18          A.    Yes.                                              11:41:35

    19          Q.    My question is:    Since the time that they       11:41:37

    20    returned to their regular task at their companies,            11:41:39

    21    your companies, has there been any work done on               11:41:43

    22    trying to further test, refine, or develop this               11:41:49

    23    minisub in the event of a future rescue that might            11:41:58

    24    be underwater?     Have you done anything else on the         11:42:04

    25    tube at all?                                                  11:42:08

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     1           A.    Since then, no.                                  11:42:09

     2           Q.    So you worked on it.    You took it over         11:42:12

     3    there.      It wasn't used.   The children, thank God,        11:42:13

     4    and the coach were safely rescued.       You went to --       11:42:17

     5    where did you go?                                             11:42:24

     6           A.    I went to --                                     11:42:24

     7           Q.    You went to Shanghai afterwards, didn't          11:42:24

     8    you?                                                          11:42:27

     9           A.    Yes.                                             11:42:28

    10           Q.    Your folks came home.   And your companies       11:42:29

    11    and your employees have never since that time ever            11:42:31

    12    done anything further with respect to the                     11:42:34

    13    minisub --                                                    11:42:37

    14                 MR. SPIRO:   Objection as to form.               11:42:39

    15    BY MR. WOOD:                                                  11:42:39

    16           Q.    -- or the theory of the minisub, true?           11:42:39

    17                 MR. SPIRO:   Objection as to form.               11:42:42

    18                 You can answer.                                  11:42:43

    19    BY MR. WOOD:                                                  11:42:44

    20           Q.    True?                                            11:42:45

    21           A.    No, I think there was some work after --         11:42:45

    22    after the rescue there was ongoing correspondence             11:42:47

    23    with the Thai Navy, but then everyone went back to            11:42:51

    24    their normal job, which is designing and building             11:42:55

    25    rockets or electric cars.                                     11:42:58

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     1          Q.   And you knew that?                                11:46:50

     2          A.   If it had not been for the Thai Navy SEAL         11:46:54

     3    dying, and it hadn't been for the monsoon coming,            11:46:58

     4    we wouldn't -- there wouldn't have been any need to          11:47:02

     5    help.   I just thought, well, I tried -- I tried --          11:47:05

     6    I was urged by many people on Twitter to say like,           11:47:09

     7    hey, isn't there something you could do.                     11:47:13

     8               And I was like, I'm sure they've got it           11:47:14

     9    under control.     I'm sure there's not going to be          11:47:17

    10    any need for me to do anything.      And then that is        11:47:19

    11    when the Thai Navy SEAL died, and then they said             11:47:22

    12    the monsoon is coming.     And then I checked with           11:47:25

    13    Stanton and a few others.      And Stanton said "Yes,        11:47:29

    14    we could really use your help."      I checked with the      11:47:33

    15    Thai government, and they said "Yes, we could                11:47:37

    16    really use your help."     So I said "Okay, we better        11:47:40

    17    take action then."                                           11:47:43

    18          Q.   You reached out to them --                        11:47:44

    19          A.   True.                                             11:47:45

    20          Q.   -- to offer your help?                            11:47:46

    21          A.   No.   I was asked repeatedly on social            11:47:48

    22    media to help.                                               11:47:53

    23          Q.   But not by the Thai officials or                  11:47:54

    24    Rick Stanton?    Just by Twitter folks saying "Is            11:47:56

    25    there anything you can do, Elon"?                            11:47:57

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     1          A.     There were some people in the Thai               11:48:01

     2    government who asked.                                         11:48:03

     3          Q.     Who?                                             11:48:09

     4          A.     A member of their space agency or team --        11:48:10

     5    Thai space team.                                              11:48:13

     6          Q.     Once you landed with -- well, you flew           11:48:15

     7    into where?                                                   11:48:17

     8          A.     I believe it was the Chiang Rai airport.         11:48:18

     9          Q.     And then you went immediately to the             11:48:20

    10    cave, or did you first meet with someone at the               11:48:23

    11    airport?                                                      11:48:27

    12          A.     The prime minister insisted on meeting           11:48:27

    13    with me.                                                      11:48:30

    14          Q.     And how long did that meeting last?              11:48:30

    15          A.     I think about a half an hour.                    11:48:34

    16          Q.     What was the substance of that                   11:48:36

    17    discussion?     What did he say to you?    What did you       11:48:38

    18    say to him?                                                   11:48:40

    19          A.     He wanted to thank me for these efforts,         11:48:42

    20    and express appreciation of the people of Thailand.           11:48:45

    21                 This did not delay our progress to the           11:48:50

    22    cave, so we were unloading the sub, getting it on             11:48:53

    23    transport.     This is no way delayed our progress.           11:48:56

    24          Q.     Right.   I'm not suggesting that it did.         11:48:59

    25          A.     It was not my interest to meet with the          11:49:03

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     1    sir?                                                         11:59:13

     2           A.   I think Rick Stanton may have said some          11:59:14

     3    additional testing would be needed.                          11:59:16

     4                (Exhibit 40 was marked for                       11:59:19

     5                identification.)                                 11:59:19

     6    BY MR. WOOD:                                                 11:59:30

     7           Q.   Let me hand you -- is this 40?                   11:59:31

     8                You see Exhibit 40 that's been marked for        11:59:33

     9    purposes of identification as such?                          11:59:44

    10           A.   Sure.                                            11:59:46

    11           Q.   Are you familiar with that document?             11:59:47

    12           A.   Yes.                                             11:59:48

    13           Q.   That's a tweet that you posted on                11:59:50

    14    July 15th at 11:11 a.m.?                                     11:59:51

    15           A.   Yes.                                             12:00:01

    16           Q.   Your words?                                      12:00:02

    17           A.   Yes.                                             12:00:03

    18           Q.   Anybody help you write that tweet?               12:00:04

    19           A.   No.                                              12:00:06

    20           Q.   Anybody review that tweet before you             12:00:07

    21    published it?                                                12:00:09

    22           A.   No.                                              12:00:11

    23           Q.   "Betcha a signed dollar it's true."              12:00:11

    24                Have I read it correctly?                        12:00:15

    25           A.   Yes.                                             12:00:17

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     1           Q.    What was "it's"?   What was the "it" you          12:00:18

     2    were referring to when you said "it's true"?                   12:00:24

     3    "Betcha a signed dollar it's true"?                            12:00:26

     4           A.    Oh, that Unsworth was a creepy pedo guy.          12:00:32

     5           Q.    That he was a pedophile?                          12:00:39

     6           A.    I mean, obviously this is not a                   12:00:40

     7    high-stakes bet.                                               12:00:41

     8           Q.    I'm not suggesting it's a high-stakes             12:00:43

     9    bet.   I'm just simply trying to find out:       You say       12:00:45

    10    on Twitter "Betcha a signed dollar it is true."                12:00:47

    11    Right?                                                         12:00:52

    12           A.    Yeah.   Essentially I am saying that this         12:00:54

    13    is -- who knows what the deal is, but you know, a              12:00:57

    14    dollar if it's true; I'll pay you, you pay me,                 12:01:02

    15    whatever.                                                      12:01:05

    16           Q.    The "it" that you were referring to is            12:01:06

    17    the idea that Mr. Unsworth was a pedophile?                    12:01:07

    18                 MR. SPIRO:   Pedo guy.                            12:01:14

    19                 MR. WOOD:    You can ask the questions when       12:01:14

    20    you want to.     That's not my question.                       12:01:14

    21                 THE WITNESS:   My point was that is he            12:01:16

    22    some pedo guy, whatever.      Just a creepy old man.           12:01:18

    23    Bet you a dollar it's true.      Obviously I'm not             12:01:22

    24    certain about this, and nor is it a high-stakes                12:01:26

    25    thing.      It's just suspicious.                              12:01:26

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     1    BY MR. WOOD:                                                 12:01:29

     2          Q.    Why would you even say that?                     12:01:29

     3          A.    It was a flippant comment.                       12:01:30

     4          Q.    I thought you were trying to better              12:01:33

     5    humanity.   Why are you sitting here saying on               12:01:35

     6    Twitter "Betcha a signed dollar it's true"?                  12:01:36

     7                Don't you think people would have come           12:01:38

     8    away from that tweet believing that you were                 12:01:41

     9    conveying the idea that it was true that                     12:01:43

    10    Mr. Unsworth was a pedo guy?                                 12:01:48

    11          A.    No.   Because I would have said "It's            12:01:50

    12    true," as opposed to "It's suspicious."                      12:01:51

    13          Q.    You said it's true.    You didn't --             12:01:55

    14          A.    No, I didn't.                                    12:01:57

    15          Q.    -- say it's suspicious.                          12:01:58

    16                "Betcha a signed dollar it is true."             12:01:58

    17                What do you see there?                           12:02:01

    18          A.    That is why it is some low-stakes bet.           12:02:02

    19    This guy seems suspicious; that's all.       It's            12:02:06

    20    obviously not a high-stakes bet, nor does a bet              12:02:11

    21    convey certainty.    A bet conveys maybe this is             12:02:15

    22    true; maybe it's not.                                        12:02:17

    23          Q.    Have you looked up the urban dictionary          12:02:18

    24    or any type of dictionary for what that phrase               12:02:20

    25    means "Betcha a signed dollar it's true" or "Bet             12:02:24

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     1    your bottom dollar it's true"?                               12:02:26

     2          A.    I didn't say bottom dollar.     "Bottom          12:02:28

     3    dollar" means all your money, but "bet you a                 12:02:31

     4    dollar" is nothing, basically.                               12:02:35

     5          Q.    Why a signed dollar?    It's going to have       12:02:36

     6    more value with Elon Musk's signature on it?                 12:02:39

     7          A.    Yeah, I guess.                                   12:02:44

     8          Q.    Is what you were conveying?     Signed by        12:02:44

     9    me?   I betcha a signed dollar it's true?                    12:02:47

    10          A.    Yeah, I mean, obviously this is a case           12:02:50

    11    where I would be -- yeah, maybe it's true; maybe             12:02:51

    12    it's not.   It's pretty suspicious.                          12:02:52

    13          Q.    You didn't say maybe it's true; maybe            12:02:54

    14    it's not, did you?                                           12:02:56

    15          A.    That is what a bet is.                           12:02:57

    16          Q.    But you bet on the side of it being true,        12:02:59

    17    right?                                                       12:03:02

    18          A.    Yeah, some chance.    But this is more           12:03:04

    19    like, you know, this is like -- this is just saying          12:03:06

    20    it's suspicious.    It's a likely -- who knows what's        12:03:11

    21    going on there.                                              12:03:15

    22          Q.    What was -- what were you -- I mean,             12:03:15

    23    don't you -- I would think, Mr. Musk, that you're a          12:03:15

    24    very goal-oriented person.      In other words, you          12:03:17

    25    define your objective and you work to achieve it.            12:03:24

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     1                Would that be a generally true statement           12:03:26

     2    about you?                                                     12:03:29

     3           A.   Yes.    But I wouldn't say -- everyone             12:03:29

     4    makes mistakes, including me, obviously.                       12:03:32

     5           Q.   It was a mistake what you said about               12:03:35

     6    Mr. Unsworth, wasn't it?                                       12:03:38

     7           A.   Oh, of course.   I said I wish I had not           12:03:41

     8    said it.                                                       12:03:43

     9           Q.   And it was a mistake for you to tweet              12:03:43

    10    out, "Betcha a signed dollar it's true."        That was       12:03:43

    11    mistake too, wasn't it?                                        12:03:47

    12           A.   Yeah.                                              12:03:50

    13           Q.   Because there was no goal here.      I mean,       12:03:50

    14    what were you trying -- maybe I should just ask                12:03:51

    15    you:   What in the world were you trying to                    12:03:53

    16    accomplish by posting this on Twitter?       What was          12:03:54

    17    your mission?                                                  12:03:59

    18           A.   No.    I would just regard this as Twitter         12:04:02

    19    banter, essentially.                                           12:04:04

    20           Q.   But you know Twitter banter sometimes is           12:04:07

    21    not just banter; that factual information is                   12:04:09

    22    conveyed on Twitter, true?                                     12:04:13

    23           A.   Twitter is a conversation.     And so when         12:04:16

    24    there are conversations, sometimes conversations               12:04:18

    25    involve banter; sometimes they involve serious                 12:04:21

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     1    matters.   It's like a conversation.                         12:04:27

     2          Q.   The rescue of these children was a                12:04:27

     3    serious matter, true?                                        12:04:30

     4          A.   Of course.                                        12:04:32

     5          Q.   And you had posted any number of videos           12:04:32

     6    on Twitter to demonstrate the efforts that your              12:04:34

     7    people were undertaking to develop the rescue                12:04:38

     8    vehicle, right?                                              12:04:42

     9          A.   Yes.   I thought it would be interesting          12:04:45

    10    for people to see what was happening along the way.          12:04:46

    11          Q.   It was a way of publicizing what you were         12:04:50

    12    doing, true?                                                 12:04:52

    13          A.   I didn't care about publicity.                    12:04:53

    14          Q.   You've never cared about publicity?               12:04:55

    15          A.   Not particularly.                                 12:04:57

    16          Q.   Why did you tell your team to make sure           12:04:59

    17    that when the tube arrived and the Navy Thai SEALs           12:05:02

    18    were dealing with it in some form or fashion, to be          12:05:07

    19    sure and get photographs and videos?                         12:05:10

    20          A.   I don't recall saying that.                       12:05:17

    21               MR. WOOD:    12:05.   Let's break for lunch.      12:05:26

    22               THE VIDEOGRAPHER:     And we're going off         12:05:31

    23    the record at 12:05 p.m.                                     12:05:35

    24               (Recess taken.)                                   12:05:38

    25               THE VIDEOGRAPHER:     And we are back on the      12:45:04

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     1    he learned this, and depending on when he learned            12:53:20

     2    it, it is completely irrelevant.                             12:53:22

     3    BY MR. WOOD:                                                 12:53:24

     4          Q.   Will you answer my question, please.              12:53:24

     5          A.   I read, I think, in some news articles,           12:53:27

     6    that he had suggested the location.                          12:53:30

     7          Q.   Do you have any idea how many --                  12:53:37

     8          A.   I don't know if others did too, but he            12:53:39

     9    was one of them, certainly.                                  12:53:41

    10          Q.   Do you have any information about how             12:54:32

    11    many days Vernon Unsworth was on the site working            12:54:41

    12    with the other people engaged in the effort?                 12:54:46

    13          A.   I don't know.                                     12:54:51

    14          Q.   Do you know how many hours he was there           12:54:51

    15    trying to assist in rescuing these boys?                     12:54:55

    16          A.   I don't.                                          12:55:00

    17          Q.   You have never seen --                            12:55:00

    18          A.   I might have seen some estimate of                12:55:03

    19    Unsworth's hours.                                            12:55:06

    20          Q.   Can we agree that what you have reviewed          12:55:07

    21    would have revealed to you that Mr. Unsworth was an          12:55:07

    22    important part of the effort to save the boys?               12:55:10

    23          A.   Based on my reading in the media, he              12:55:16

    24    played an important role in identifying the                  12:55:17

    25    location of the boys.                                        12:55:20

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     1          Q.   And he understood where the cave                  12:55:22

     2    system -- he had been in the cave system many times          12:55:24

     3    in the seven years prior, and was very familiar              12:55:28

     4    with it.   In other words, where you might have              12:55:31

     5    problems getting through the passageway, things              12:55:34

     6    like that?                                                   12:55:39

     7          A.   I mean, those caves have been mapped              12:55:40

     8    since the '60s to my understanding, and many people          12:55:42

     9    knew those caves, and he was one of them.                    12:55:46

    10          Q.   Well, you're not trying to take away from         12:55:48

    11    Mr. Unsworth's role in this rescue, are you?                 12:55:50

    12          A.   I --                                              12:55:53

    13          Q.   I know you've said he wasn't a diver.             12:55:53

    14          A.   No.    I'm just saying that he's not the          12:55:56

    15    only one who knows those caves.                              12:55:58

    16          Q.   Do you believe that Mr. Unsworth should           12:56:01

    17    be commended for what he did at that cave system             12:56:02

    18    for those boys for several days?                             12:56:07

    19               MR. SPIRO:    Objection; completely               12:56:11

    20    irrelevant.                                                  12:56:12

    21    BY MR. WOOD:                                                 12:56:12

    22          Q.   Please answer my question.                        12:56:12

    23          A.   Yes.   Yes, I do.                                 12:56:13

    24          Q.   He should be commended?                           12:56:14

    25          A.   I agree.                                          12:56:16

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     1          A.     He probably should have clarified it.           13:01:44

     2          Q.     How about you?    All the articles that         13:01:47

     3    came out after your July 15th tweet where they were          13:01:49

     4    saying that you had called him a pedophile -- did            13:01:52

     5    you ever write one email, make one phone call, lift          13:01:56

     6    a finger to correct those people and say "I didn't           13:02:01

     7    say that.     I just said he was a 'pedo guy' because        13:02:05

     8    he was creepy-looking."                                      13:02:08

     9                 Did you ever try to correct all the mass        13:02:10

    10    of information that was describing you as having             13:02:12

    11    called this man a pedophile?                                 13:02:16

    12          A.     I didn't call him a pedophile.                  13:02:18

    13          Q.     There was a massive -- there were any           13:02:20

    14    number of media reports about you calling him a              13:02:21

    15    pedophile.                                                   13:02:24

    16                 My question is:   Did you do anything --        13:02:24

    17    send an email, make a phone call, give an                    13:02:27

    18    instruction to Jerry Birchall, anything to get that          13:02:32

    19    corrected?                                                   13:02:34

    20                 MR. SPIRO:   Just to clarify --                 13:02:36

    21    BY MR. WOOD:                                                 13:02:36

    22          Q.     Saying that you didn't call him a               13:02:37

    23    pedophile?                                                   13:02:39

    24                 MR. SPIRO:   -- issue a correction, or you      13:02:40

    25    mean anything?     Meaning, deleting the tweet,              13:02:41

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     1    apologizing --                                               13:02:43

     2    BY MR. WOOD:                                                 13:02:44

     3          Q.   Contacting the media to say "That's not           13:02:44

     4    what I said.    That's incorrect."                           13:02:47

     5               Did do you anything?                              13:02:48

     6               MR. SPIRO:    Well, again, you're --              13:02:50

     7    contacting the media.                                        13:02:51

     8    BY MR. WOOD:                                                 13:02:53

     9          Q.   Contacting the media.     You said he should      13:02:53

    10    have contacted the media to correct that he wasn't           13:02:56

    11    married to Tik.                                              13:02:58

    12               Did do you anything to try to get the             13:02:58

    13    media to correct what you would have tell -- tell            13:03:03

    14    me today was this misinterpretation that you had             13:03:06

    15    not intended to call him a pedophile?                        13:03:09

    16          A.   Yes.                                              13:03:11

    17          Q.   Did you?                                          13:03:11

    18          A.   Yes.   I apologized on Twitter and said my        13:03:11

    19    comments were a mistake.     On the other hand,              13:03:16

    20    Unsworth has done nothing.                                   13:03:20

    21          Q.   Done nothing for what?                            13:03:23

    22          A.   Nothing to correct his statements, his            13:03:24

    23    insults, and attacks.     Nothing.   Nothing.                13:03:26

    24          Q.   What do you want him to do?      He thought       13:03:30

    25    your tube was bullshit.     He didn't think it would         13:03:37

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     1           Q.   You'd never had any dealings with him            13:08:14

     2    where you had developed a relationship with him,             13:08:16

     3    true?                                                        13:08:20

     4           A.   Not with him specifically, but certainly         13:08:23

     5    there had been many interactions with BuzzFeed.              13:08:25

     6           Q.   Right.   And now you weren't a BuzzFeed          13:08:28

     7    fan?                                                         13:08:30

     8           A.   No.   I mean, it's --                            13:08:31

     9           Q.   Have you seen their tweets?                      13:08:31

    10           A.   I should take that back.     You know,           13:08:33

    11    they've got some pretty good listicles.                      13:08:34

    12           Q.   But you've always taken the position that        13:08:38

    13    you would not comment to anything BuzzFeed said.             13:08:38

    14           A.   No.   We have commented on BuzzFeed              13:08:42

    15    before.                                                      13:08:44

    16           Q.   You think BuzzFeed is -- do you have a           13:08:45

    17    great deal of journalistic respect for BuzzFeed?             13:08:47

    18           A.   Not particularly.                                13:08:52

    19           Q.   How long has that been true?                     13:08:54

    20           A.   Since I heard of them.     They have the         13:08:55

    21    name BuzzFeed.                                               13:08:56

    22           Q.   How many years ago was that?                     13:08:58

    23           A.   This was -- doesn't -- it's not the most         13:08:58

    24    credible name in the world.
                                    .      It's feed the buzz?         13:09:03

    25    You know, I mean...                                          13:09:07

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     1          Q.   How long have you held that kind of               13:09:07

     2    opinion of BuzzFeed?     Several years?                      13:09:10

     3          A.   I don't think a lot about BuzzFeed.               13:09:15

     4          Q.   I didn't say you thought a lot about              13:09:17

     5    them.    I just wanted to find out when you first --         13:09:17

     6          A.   I don't have much of an opinion, really,          13:09:19

     7    apart from they seem a bit frivolous.                        13:09:19

     8          Q.   So how long has that been your feeling            13:09:24

     9    about BuzzFeed?                                              13:09:27

    10          A.   Since I heard of them.                            13:09:28

    11          Q.   Which would be about how long?       Two,         13:09:29

    12    three, four years?     Longer?                               13:09:31

    13          A.   Probably, I don't know, about three years         13:09:33

    14    ago or something?                                            13:09:34

    15          Q.   You didn't think much about them as a             13:09:34

    16    journalistic member of the media?                            13:09:35

    17          A.   I don't think they are the New York               13:09:40

    18    Times.                                                       13:09:40

    19          Q.   What?                                             13:09:40

    20          A.   I don't think they're the New York Times.         13:09:40

    21          Q.   Well, I mean, did you have any respect            13:09:42

    22    for them as a journalist?                                    13:09:43

    23          A.   They have good lists.                             13:09:46

    24          Q.   They what?                                        13:09:49

    25          A.   Good lists.                                       13:09:50

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     1          A.    My recollection is dozens of times.              13:13:46

     2          Q.    Name just one person in the last couple          13:13:49

     3    of years.   Has it happened in the last couple of            13:13:49

     4    years?                                                       13:13:52

     5          A.    I think so.                                      13:13:52

     6          Q.    Sorry?                                           13:13:53

     7          A.    I think so.                                      13:13:53

     8          Q.    So do you have the ability to go back and        13:13:53

     9    to try to find where you would have sent                     13:13:54

    10    information to someone saying "off the record"               13:13:56

    11    without having talked to them and decided, number            13:13:58

    12    one, what does "off the record" mean, and two, do            13:14:00

    13    you agree to it?     You have done that before?              13:14:04

    14          A.    I think so.   My recollection is that I          13:14:08

    15    have done this several times.                                13:14:10

    16          Q.    And so you're comfortable under oath             13:14:12

    17    stating that you have done that several times?               13:14:15

    18          A.    No.   I just said I believe I have done          13:14:17

    19    this.    So I would have to go ahead and check.              13:14:19

    20          Q.    You may not have?                                13:14:20

    21          A.    It's possible.   My recollection is that I       13:14:21

    22    have, but I would need to confirm it.                        13:14:23

    23          Q.    Why did you want the information that you        13:14:26

    24    sent to Mr. Mac to be off the record?                        13:14:29

    25          A.    Because I was not sure that it was               13:14:33

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     1    accurate.   But if it was, and we have another                 13:14:36

     2    Jeffrey Epstein on our hands, then we should find              13:14:40

     3    out and take action.                                           13:14:41

     4          Q.    Jeffrey Epstein not been in the news               13:14:45

     5    since he was convicted in Florida as of August of              13:14:49

     6    2018.   The new charges against him were in 2019.              13:14:52

     7    Do you recognize that?                                         13:14:55

     8          A.    Yes.   I'm using this as an example of,            13:15:00

     9    you know, if this guy is actually doing bad things             13:15:03

    10    and could potentially be using the good reputation             13:15:08

    11    acquired from the cave rescue to do bad things,                13:15:15

    12    then this is something that should be stopped.        So       13:15:20

    13    shouldn't we like, look into it; find out if it is             13:15:23

    14    true.                                                          13:15:26

    15          Q.    So you wanted Mr. Mac to have the                  13:15:27

    16    information, right?                                            13:15:32

    17          A.    I wanted him to investigate, because I'd           13:15:37

    18    heard these -- what sounded like a pretty bad                  13:15:40

    19    information pattern from this investigator related             13:15:47

    20    to me through Jared, and it sounded pretty bad, so             13:15:49

    21    maybe this guy has got some serious issues, and if             13:15:54

    22    so, we -- they should find out.      Just trying to do         13:16:00

    23    the right thing here.                                          13:16:05

    24          Q.    So but at the time you wrote this                  13:16:06

    25    information to Mr. Mac, you tell me you didn't know            13:16:07

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     1    whether it was true or not, right?                           13:16:10

     2          A.   Yes.   I specifically said try to find out        13:16:12

     3    if this is true.    I had been told directly that            13:16:16

     4    there were very suspicious situations, that there            13:16:23

     5    was -- I had been told by Jared that this                    13:16:26

     6    investigator had said that -- that it looked quite           13:16:29

     7    bad, and that, you know, what he is up to in                 13:16:35

     8    Thailand sounded pretty bad, so it seems like, if            13:16:41

     9    you are a journalist and you care about doing the            13:16:44

    10    right thing, you should go and find out if it's              13:16:46

    11    true, and if it is, then take action.                        13:16:50

    12          Q.   But sir, the point is, you didn't know            13:16:52

    13    whether the investigator's information was true or           13:16:56

    14    not or had been verified, right?       Isn't that right?     13:17:00

    15          A.   That's right.    That's why I said "Please        13:17:06

    16    go and investigate."                                         13:17:09

    17          Q.   So why, if you were so interested in              13:17:10

    18    Mr. Mac investigating, why did you not tell Mr. Mac          13:17:12

    19    the source of your information, what your                    13:17:17

    20    information precisely was, and ask him to go out             13:17:20

    21    and see if he could verify whether it was true?              13:17:24

    22          A.   Because as soon as he said he was going           13:17:28

    23    to ignore my "off the record" -- that, you know, my          13:17:30

    24    comments that these were off the record, then he --          13:17:37

    25    this was like this guy obviously cannot be trusted.          13:17:40

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     1    This is my opinion that he had no journalistic               13:17:44

     2    ethics, and so any further correspondence was                13:17:48

     3    pointless.                                                   13:17:50

     4          Q.   Who told you that Mr. Unsworth was a              13:17:52

     5    child rapist?    Did Jared tell you that?                    13:18:01

     6          A.   No.   I didn't say that he was.      I think I    13:18:10

     7    said we need to find out if he is.                           13:18:11

     8          Q.   Why did you use the term "child rapist"?          13:18:15

     9    Who had used that term with you that made you                13:18:18

    10    repeat it in your email to Mr. Mac?                          13:18:21

    11          A.   Well, I think anyone who is -- if                 13:18:25

    12    somebody is sleeping with someone who is 12 years            13:18:27

    13    old, I would say that that person is a child                 13:18:31

    14    rapist.                                                      13:18:32

    15          Q.   What information did you have at the              13:18:33

    16    time -- and that's what you told Mr. Mac in the              13:18:35

    17    "off the record," as you called it, email -- that            13:18:38

    18    he was a child rapist, married to a 12-year-old              13:18:41

    19    child bride, right?                                          13:18:44

    20          A.   I told him this is -- you should go and           13:18:46

    21    find out if this is true.                                    13:18:49

    22          Q.   What were you basing that on?                     13:18:51

    23          A.   I was basing that on what this                    13:18:53

    24    investigator had told Jared who had told me.                 13:18:56

    25          Q.   Did you ever pick up the phone say "I             13:18:59

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     1    want to talk to this investigator myself"?                     13:19:00

     2           A.    I did not talk to this guy directly.              13:19:04

     3           Q.    Did you ever ask to?                              13:19:06

     4           A.    No.   I have faith that what Jared was            13:19:09

     5    conveying to me was an accurate retelling of this              13:19:11

     6    guy.                                                           13:19:15

     7           Q.    Jared was not the source the information.         13:19:15

     8           A.    Right.                                            13:19:18

     9           Q.    Jared couldn't verify it or not.     It had       13:19:18

    10    to come from the source.      The source was the               13:19:20

    11    investigator.      You made no effort to -- before you         13:19:22

    12    wrote Ryan Mac, you didn't lift a finger to try to             13:19:26

    13    find out whether the investigator was telling you              13:19:29

    14    the truth or whether the investigator was taking               13:19:31

    15    you for a ride for $52,000, did you, sir?                      13:19:34

    16           A.    This investigator appeared to be                  13:19:41

    17    credible.     I did not make these comments on the             13:19:43

    18    record.     I didn't mean for them ever to be                  13:19:47

    19    published in any way, shape, or form.                          13:19:48

    20                 I just -- I'd just been informed of a bad         13:19:50

    21    fact pattern.      It seems like if a journalist cares         13:19:56

    22    about finding out what's going on, they should go              13:20:00

    23    and find out what's going on.       This is what I've          13:20:02

    24    been told.     May or may not be true; please                  13:20:05

    25    investigate.                                                   13:20:08

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     1    that if I say "off the record," it is off the                13:23:18

     2    record.                                                      13:23:21

     3          Q.   So the answer is "No, Mr. Wood, I didn't          13:23:21

     4    do that," right?    "And the reason I didn't do that         13:23:23

     5    is because I assumed that by writing 'off the                13:23:31

     6    record,' he wouldn't put it on the record."                  13:23:32

     7               Have I got it right?                              13:23:34

     8          A.   I assumed, and I had -- since I've really         13:23:39

     9    never had this happen to me before, that if I say            13:23:42

    10    "off the record" with a journalist, it is off the            13:23:45

    11    record.                                                      13:23:48

    12          Q.   Sir, you didn't -- one more time.       You       13:23:48

    13    didn't ask him first before you provided the                 13:23:50

    14    information whether he would agree with you that it          13:23:54

    15    was off the record.     You didn't do that, did you?         13:23:56

    16          A.   That is correct.                                  13:23:59

    17          Q.   Because you assumed that Mr. Mac, who you         13:24:01

    18    did not know very well if at all -- you just                 13:24:05

    19    assumed that your statement, unilateral "off the             13:24:08

    20    record," would be honored by him, true?                      13:24:13

    21          A.   That is my expectation in dealing with            13:24:18

    22    journalists.    And so I assumed that statement "off         13:24:21

    23    the record" would be treated as such.                        13:24:26

    24          Q.   Have you looked at any search yourself            13:24:30

    25    about how the journalistic community generally               13:24:32

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     1    record at 2:10 p.m.                                            14:10:26

     2    BY MR. WOOD:                                                   14:10:27

     3          Q.   Mr. Musk, back to Exhibit 38.                       14:10:28

     4          A.   Yes.                                                14:10:31

     5          Q.   What was your point in tweeting "Never              14:10:32

     6    saw this British expat guy into lives in Thailand              14:10:36

     7    (SUS) at any point when we were in the caves."                 14:10:40

     8               What was the point that you were trying             14:10:44

     9    to make?                                                       14:10:46

    10          A.   That I had no knowledge of this guy.       At       14:10:47

    11    the time I didn't think he had anything to do with             14:10:50

    12    the rescue process at all.      I'd never heard his            14:10:52

    13    name or seen him.                                              14:10:58

    14          Q.   Once you saw, whether it was on Twitter             14:11:00

    15    or Google Alerts -- whenever you saw the story                 14:11:02

    16    first about Vernon Unsworth, you assumed that he               14:11:08

    17    had had nothing to do with the rescue, true?                   14:11:15

    18          A.   Yes.                                                14:11:20

    19          Q.   Before you tweeted on July the 15th about           14:11:23

    20    Mr. Unsworth, had you undertaken any efforts to                14:11:28

    21    investigate who he was before you went out and                 14:11:35

    22    talked about him?                                              14:11:40

    23          A.   Yes.   I'd sort of tried to sort of                 14:11:43

    24    search -- do a Google search, yeah.                            14:11:46

    25          Q.   There was nothing there except the                  14:11:50

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   1   interview he gave to CNN International, right?               14:11:52

   2         A.    That's right.                                    14:11:55

   3         Q.    So you didn't have any information about         14:11:56

   4   who he was, what he had done, if anything.         You       14:11:58

   5   didn't look into who Vernon Unsworth was except to           14:12:01

   6   take a look at Google search, right?                         14:12:04

   7         A.    Yes.                                             14:12:09

   8         Q.    Had you --                                       14:12:09

   9         A.    Obviously I had heard many names                 14:12:09

 10    associated with the rescue, but so I had assumed             14:12:12

 11    that if I had not heard somebody's name at all or            14:12:16

 12    seen them, that they were not closely involved with          14:12:21

 13    the rescue.                                                  14:12:24

 14          Q.    Who were the British divers?     You             14:12:25

 15    mentioned Rick Stanton.     Who else were the British        14:12:29

 16    divers that you were aware of their names?                   14:12:32

 17          A.    I don't recall their names right now.            14:12:35

 18          Q.    Who is the name of the prime minister            14:12:36

 19    that you met with?                                           14:12:38

 20          A.    I do not recall the name of the prime            14:12:40

 21    minister.                                                    14:12:44

 22          Q.    And the Thai Navy SEALs that you met with        14:12:44

 23    at the cave when you went -- the Thai Navy Army              14:12:47

 24    guys -- can you identify any one of those                    14:12:52

 25    individuals by name as we sit here today?                    14:12:55

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   1   unfair to Mr. Unsworth, wouldn't you agree?                  14:15:43

   2          A.   That was just a statement of fact.               14:15:46

   3          Q.   For what purpose?    What were you trying        14:15:48

   4   to convey with that statement of fact in your                14:15:49

   5   Twitter?                                                     14:15:52

   6          A.   I am saying this is my experience.               14:15:52

   7          Q.   Did I understand you that you wrote              14:15:59

   8   Ryan Mac "Off the record," as you titled it,                 14:16:04

   9   because you felt like this could be another Jeffrey          14:16:07

 10    Epstein.    I've gotten this information from the            14:16:11

 11    investigator.    I don't know whether it's true or           14:16:15

 12    not.    But you wanted Ryan Mac to investigate it.           14:16:17

 13                Is that a fair characterization of your          14:16:20

 14    testimony?                                                   14:16:22

 15           A.   Yeah.                                            14:16:23

 16           Q.   And if he discovered that it was true,           14:16:23

 17    you fully would have expected him to publish that,           14:16:26

 18    true?                                                        14:16:29

 19           A.   I have expected him to, yes, take some           14:16:29

 20    action if -- if this -- you know, Unsworth was up            14:16:32

 21    to no good, to bring that to light.                          14:16:38

 22           Q.   Publish it and let folks know, right?            14:16:42

 23           A.   If true.                                         14:16:44

 24           Q.   That's what you thought when you sent it         14:16:45

 25    to him?                                                      14:16:48

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   1         A.   Yes.                                              14:16:48

   2         Q.   And if he did not find any evidence to            14:16:49

   3   support it, did you likewise expect that he would            14:16:52

   4   report that.    That he had looked into it and could         14:16:55

   5   not find any substantiation?                                 14:16:57

   6         A.   Yes.                                              14:16:59

   7         Q.   So you were relying on Mr. Mac to                 14:17:00

   8   ascertain whether the accusations against                    14:17:02

   9   Mr. Unsworth were true or not; is that right?                14:17:08

 10          A.   When you say "accusations," whether what          14:17:13

 11    I had been told by what appeared to be a credible            14:17:16

 12    investigator; whether those things were true?                14:17:22

 13          Q.   He was making the accusations.      We can go     14:17:24

 14    through it in a minute.     He was, wasn't he?               14:17:26

 15               MR. SPIRO:    Who is "he"?                        14:17:30

 16    BY MR. WOOD:                                                 14:17:31

 17          Q.   The investigator.                                 14:17:31

 18          A.   Which accusations?     I mean, he was saying      14:17:33

 19    things that he believed to be true or that he -- he          14:17:36

 20    was claiming that he believed these things to be             14:17:38

 21    correct, yes.                                                14:17:42

 22          Q.   How do you know that he was saying he             14:17:43

 23    believed them to be correct?                                 14:17:45

 24          A.   This is what Jared conveyed to me.                14:17:47

 25          Q.   Did Jared convey to you that he himself           14:17:49

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   1   had complained to the investigator, Mr. Howard,              14:17:52

   2   that his information was not verified?                       14:17:55

   3         A.    No.                                              14:17:58

   4         Q.    Did Jared tell you that?                         14:17:59

   5         A.    No.                                              14:18:01

   6         Q.    Should he have told you that?                    14:18:01

   7               MR. SPIRO:   Objection to form.                  14:18:04

   8   BY MR. WOOD:                                                 14:18:06

   9         Q.    Should Jared have told you "I am not get         14:18:06

 10    any verification here, Mr. Musk"?                            14:18:10

 11          A.    He did convey later -- as the                    14:18:16

 12    communication with the investigator continued, I             14:18:19

 13    believe Jared did raise some concerns.       This is         14:18:22

 14    after the Ryan Mac stuff.      He raised some concerns       14:18:26

 15    like maybe this guy isn't -- maybe this guy is               14:18:31

 16    making it up.                                                14:18:35

 17          Q.    He was making it up.    Didn't you conclude      14:18:36

 18    that after -- I know it's after --                           14:18:38

 19          A.    I did conclude that, because we said             14:18:39

 20    "Okay, you've got to produce -- if you keep saying           14:18:43

 21    these things, you've got to produce some kind of             14:18:46

 22    firm evidence."    And he was unable to produce firm         14:18:48

 23    evidence.   And then he went radio silent on us.             14:18:52

 24          Q.    He was not able to produce any verified          14:18:57

 25    evidence, was he?                                            14:19:00

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   1         A.   That is correct.                                  14:19:02

   2         Q.   Why would you not wait until you had              14:19:02

   3   gotten his final report before communicating it to           14:19:05

   4   a member of the media?                                       14:19:10

   5         A.   Well, if something bad was going on, it           14:19:12

   6   could be literally a crime in progress.                      14:19:15

   7         Q.   Did you ever contact any member of law            14:19:18

   8   enforcement about Mr. Unsworth in an effort to stop          14:19:20

   9   the idea that something could be going on and a              14:19:24

 10    crime could be in progress?                                  14:19:27

 11          A.   I was told through Jared that this                14:19:31

 12    investigator had reached out to the Thai -- sort of          14:19:34

 13    police, but I suspect this is probably not actually          14:19:41

 14    true.                                                        14:19:44

 15          Q.   The investigator from all appearances now         14:19:46

 16    you know was probably a con man that took your               14:19:48

 17    money?                                                       14:19:51

 18          A.   That is correct.     That is my impression        14:19:52

 19    at this point.                                               14:19:53

 20          Q.   So how did you determine that this guy            14:19:54

 21    you ultimately believed to be a con man that                 14:19:56

 22    took -- I think took $52,000, maybe more?                    14:19:59

 23          A.   Right.                                            14:20:04

 24          Q.   How did you determine before you hired            14:20:04

 25    him that that he was credible?      What due diligence       14:20:08

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   1   did you do or Jared do?                                        14:20:12

   2              MR. SPIRO:    If you know.                          14:20:15

   3              THE WITNESS:    I don't know what all due           14:20:17

   4   diligence Jared did.     He claimed to have worked for         14:20:19

   5   credible people.                                               14:20:26

   6   BY MR. WOOD:                                                   14:20:28

   7         Q.   Paul Allen and George Soros.                        14:20:28

   8         A.   That's right.                                       14:20:31

   9         Q.   Do you know George Soros?                           14:20:32

 10          A.   I don't know him, no.                               14:20:32

 11          Q.   Do you know Paul Allen?                             14:20:33

 12          A.   He is deceased, but yes.                            14:20:35

 13          Q.   I can't remember when he died.      Was he          14:20:37

 14    alive in 2018?    I think he was.                              14:20:37

 15          A.   I mean, if he was, he was not well.                 14:20:42

 16          Q.   But you did not yourself make any effort            14:20:44

 17    to reach out to verify this guy's credibility.                 14:20:47

 18    This guy being James Howard the investigator.        You       14:20:49

 19    yourself didn't do anything, right?                            14:20:53

 20          A.   I did not.                                          14:20:55

 21          Q.   And to your knowledge, Jared didn't do              14:20:56

 22    anything except accept what Mr. Howard had told him            14:20:59

 23    about Paul Allen and George Soros, right?                      14:21:02

 24          A.   Yes, that's correct.                                14:21:05

 25          Q.   So whatever the investigator told you               14:21:10

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   1   about the authorities, you yourself, Elon Musk, or           14:21:13

   2   Jared at your direction, did not in any way contact          14:21:17

   3   any member of law enforcement to alert them to the           14:21:20

   4   possibility this man may be a pedophile committing           14:21:25

   5   crimes against minor children; am I right?                   14:21:28

   6         A.   We didn't directly reach out to the               14:21:31

   7   authorities.                                                 14:21:33

   8         Q.   Or indirectly?                                    14:21:34

   9         A.   No, indirectly through this investigator,         14:21:36

 10    the investigator told us that he had contacted the           14:21:38

 11    authorities to find out if there were issues, but            14:21:43

 12    obviously in retrospect, he probably just made it            14:21:46

 13    up.                                                          14:21:50

 14          Q.   So but your goal was to have someone look         14:21:51

 15    into these very serious statements about                     14:21:59

 16    Mr. Unsworth to determine whether or not he was a            14:22:03

 17    pedophile and might be committing crimes against             14:22:04

 18    minor children, true?                                        14:22:08

 19          A.   Yeah.                                             14:22:09

 20          Q.   Did you ever ask any member of the                14:22:10

 21    media -- for example, the New York Times, The                14:22:11

 22    Washington Post, CNN -- did you ever yourself ask            14:22:14

 23    anyone else in the media besides Ryan Mac to look            14:22:23

 24    into what you were learning from this investigator?          14:22:27

 25          A.   I believe I did suggest on Twitter, and           14:22:30

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   1   I'm followed by a lot of journalists, that they               14:22:32

   2   should just find out whether these things were                14:22:36

   3   true; like they should look into it.       You've got         14:22:39

   4   Drew Olanoff, the Yoda guy, @yoda.       It's like, Yo,       14:22:41

   5   man, why don't you just like see if there is any              14:22:41

   6   veracity to the situation?                                    14:22:52

   7          Q.   Well, actually, you tweeted back @yoda?           14:22:53

   8          A.   Yoda.    Yeah.                                    14:22:56

   9          Q.   Well, @yoda.     That was his name.   You         14:22:56

 10    made reference to him.                                        14:23:01

 11           A.   Yes.                                              14:23:02

 12           Q.   Your name is Yoda.    You go by Yoda, but         14:23:02

 13    you don't seem very yodaish.      Something like that.        14:23:03

 14           A.   That's right.                                     14:23:05

 15           Q.   I mean, you tweeted @yoda "Don't you              14:23:10

 16    think it's strange that he hasn't sued me," didn't            14:23:12

 17    you?                                                          14:23:16

 18           A.   Yes.                                              14:23:17

 19           Q.   Strange in what way?                              14:23:19

 20           A.   Strange implying perhaps there is some            14:23:20

 21    guilt there.                                                  14:23:23

 22           Q.   Right.   The tweet that you published in          14:23:24

 23    response to Yoda's tweet conveyed that, the idea              14:23:28

 24    that here's a guy that's got three lawyers I think            14:23:31

 25    you referenced.                                               14:23:37

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   1         A.   Yes.                                               14:23:38

   2         Q.   Don't you think it's strange he hasn't             14:23:38

   3   sued me, conveying the idea that this guy may be              14:23:38

   4   guilty and that's why he's not suing me, true?                14:23:43

   5         A.   Yes.                                               14:23:47

   6         Q.   That he might in fact be a pedophile,              14:23:47

   7   right?                                                        14:23:49

   8         A.   Possibly.                                          14:23:52

   9         Q.   Yeah, I mean, that's what you were                 14:23:53

 10    conveying?                                                    14:23:54

 11          A.   Possibly.                                          14:23:55

 12          Q.   Well, no, not possibly conveying.       When       14:23:56

 13    you made that tweet, you were conveying in your               14:23:58

 14    mind's eye just what you've told me.       It's strange       14:24:01

 15    that he hadn't sued me, and it suggests he might be           14:24:04

 16    guilty of pedophilia.                                         14:24:08

 17          A.   I think --                                         14:24:10

 18          Q.   Right?                                             14:24:10

 19          A.   You're putting words in my mouth here.             14:24:10

 20          Q.   I am not trying to do that.      I'm trying        14:24:11

 21    to -- I think that's what you told me.                        14:24:12

 22          A.   No.    I simply said it's strange that -- I        14:24:14

 23    meant those words literally.      That's strange.    That     14:24:19

 24    does not mean that he was a pedophile; just means             14:24:22

 25    perhaps he has something to hide.                             14:24:25

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   1   going on.    Pedophilia being potentially one of               14:25:24

   2   those things.                                                  14:25:26

   3         Q.    That was the issue.    That was the issue          14:25:28

   4   on the forefront, whether or not he was a                      14:25:33

   5   pedophile.    You were aware that that was the                 14:25:35

   6   controversy that you sparked with "pedo guy."        You       14:25:40

   7   know that, don't you, sir?                                     14:25:43

   8         A.    The pedo guy was certainly not intended            14:25:48

   9   to be any kind of accusation of pedophilia.        It was      14:25:52

 10    simply an insult.                                              14:26:01

 11                The investigator who merely was, in                14:26:03

 12    retrospect, just taking us for a ride, came back               14:26:08

 13    with what sounded like very serious information                14:26:12

 14    that, you know, perhaps there was something                    14:26:18

 15    problematic going on.                                          14:26:23

 16                I mean, he claimed that Unsworth had a             14:26:25

 17    12-year-old bride.     I mean, that's obviously -- in          14:26:30

 18    that case it would be pedophilia of course.                    14:26:35

 19          Q.    As you sure as you sit here today that             14:26:39

 20    the investigator conveyed that Mr. Unsworth had a              14:26:41

 21    12-year-old bride?                                             14:26:45

 22          A.    That is my recollection of what Jared              14:26:47

 23    told me, yes.                                                  14:26:50

 24          Q.    Well, Jared told you he was getting                14:26:50

 25    written reports, right?                                        14:26:53

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   1         A.    Yes.                                             14:26:54

   2         Q.    And did you say "Let me see what you've          14:26:55

   3   got there"?                                                  14:26:57

   4         A.    I asked Jared to convey the essence of           14:27:02

   5   the reports.    I don't recall seeing the reports.           14:27:05

   6   And he conveyed the essence of the reports; one of           14:27:07

   7   which that it's rumored to have a 12-year-old                14:27:11

   8   bride.                                                       14:27:14

   9         Q.    Do you deny under oath seeing any of the         14:27:16

 10    written reports or emails sent by the investigator           14:27:20

 11    to Jared?                                                    14:27:24

 12          A.    I do not -- I'm confident -- I'm                 14:27:28

 13    confident I didn't see the reports.       I don't --         14:27:32

 14    maybe there was an email.      I don't know if there         14:27:35

 15    was an email.      There was an email that was sent,         14:27:39

 16    but --                                                       14:27:44

 17          Q.    There were several?                              14:27:45

 18          A.    I have seen emails, but --                       14:27:47

 19          Q.    From the investigator?                           14:27:49

 20          A.    Yes.                                             14:27:50

 21          Q.    To Jared?                                        14:27:51

 22          A.    Yes.   But you're confusing emails and           14:27:53

 23    reports.                                                     14:27:55

 24          Q.    I didn't mean to.    Well, maybe I did.          14:27:57

 25    There were some reports that were kind of more               14:27:57

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   1   formal?                                                       14:28:00

   2         A.   Yeah.                                              14:28:01

   3         Q.   Columned off.      Do you remember those?          14:28:02

   4         A.   I don't recall seeing those.                       14:28:04

   5         Q.   Have you ever seen anything like that?             14:28:05

   6         A.   To the best of my knowledge, no.                   14:28:07

   7         Q.   And then there were emails that contained          14:28:08

   8   information, and you believe you saw those emails?            14:28:10

   9         A.   The emails I would have seen, yes.                 14:28:14

 10          Q.   And --                                             14:28:16

 11               MR. WOOD:    What number are we up to now?         14:28:16

 12               THE REPORTER:      41.                             14:28:16

 13               MR. WOOD:    41?                                   14:28:16

 14               (Exhibit 41 was marked for                         14:28:16

 15               identification.)                                   14:28:16

 16    BY MR. WOOD:                                                  14:28:56

 17          Q.   We were talking about this.      I thought I       14:28:58

 18    would present it to you.      Exhibit 41.   That is, in       14:29:03

 19    fact, a true and correct copy of your tweet on                14:29:06

 20    August 29th?                                                  14:29:10

 21          A.   Yes.                                               14:29:12

 22          Q.   In response to Drew Olanoff, who is known          14:29:12

 23    as @yoda, right?                                              14:29:16

 24          A.   That is correct.                                   14:29:18

 25          Q.   And follow me -- Drew Olanoff.      Do you         14:29:19

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   1   know who he is?                                                14:29:21

   2         A.    He is a reporter at National, I think, or          14:29:25

   3   something like that.                                           14:29:29

   4         Q.    A reporter?                                        14:29:29

   5         A.    A reporter.                                        14:29:30

   6         Q.    "One other thing, Elon, your dedication            14:29:31

   7   to facts and truth would have been wonderful if                14:29:35

   8   applied to that time when you called someone a                 14:29:38

   9   pedo."                                                         14:29:41

 10                Have I read that correctly?                        14:29:42

 11          A.    Yes.                                               14:29:43

 12          Q.    And then read for me your response on              14:29:44

 13    Twitter.                                                       14:29:46

 14          A.    "You don't think it's strange he hasn't            14:29:48

 15    sued me?    He was offered free legal services.      And       14:29:50

 16    you call yourself @yoda."                                      14:29:52

 17          Q.    Referring to what he had just tweeted              14:29:55

 18    regarding you calling Mr. Unsworth a pedo, right?              14:29:58

 19          A.    Yes.   Yes.                                        14:30:05

 20          Q.    Suggesting that there may be truth to it,          14:30:06

 21    right?     Because he hadn't sued me, right?                   14:30:09

 22          A.    "You don't think it's strange he hasn't            14:30:15

 23    sued me," seems like there is something suspicious             14:30:17

 24    going on.                                                      14:30:20

 25          Q.    In response to his commenting on you               14:30:21

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   1   calling Mr. Unsworth a pedo, right?                          14:30:23

   2         A.   It seems suspicious.                              14:30:26

   3         Q.   If you read this in context "it looks             14:30:27

   4   like it's strange he hasn't sued me" meant it may            14:30:32

   5   be true; otherwise, he would have sued me.        True       14:30:35

   6   that he is a pedo, right?                                    14:30:38

   7         A.   No.    I just think it's suspicious that he       14:30:42

   8   didn't sue me.                                               14:30:42

   9         Q.   Why?   Suspicious in what way?                    14:30:47

 10          A.   Maybe he's got something to hide.                 14:30:52

 11          Q.   Maybe he's a pedo?                                14:30:54

 12          A.   Maybe he's many things.                           14:30:57

 13          Q.   But you're responding to Mr. Olanoff              14:30:59

 14    saying "applied to that time you called someone a            14:31:00

 15    pedo," and you say "You don't think it's strange he          14:31:03

 16    hasn't sued me," right?                                      14:31:06

 17               MR. SPIRO:    Objection; asked and answered       14:31:09

 18    several times.                                               14:31:10

 19    BY MR. WOOD:                                                 14:31:11

 20          Q.   Right?                                            14:31:11

 21          A.   I think it is very, very suspicious.              14:31:11

 22          Q.   And possibly suggesting that he might be          14:31:14

 23    a pedo, a pedophile, right?                                  14:31:17

 24          A.   I think I just thought it was suspicious.         14:31:20

 25          Q.   How did you -- what were you trying to            14:31:21

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   1   convey?    "Don't you think it's strange he hadn't             14:31:22

   2   sued me."   Maybe it's true that he's a pedo.       Isn't      14:31:25

   3   that what you were trying to say?                              14:31:28

   4         A.    No.   I was just saying he was suspicious.         14:31:30

   5         Q.    Suspicious in what way?     The issue is           14:31:32

   6   whether he is a pedo or not.                                   14:31:35

   7         A.    Something to hide.    Who knows what.              14:31:37

   8         Q.    Could he be a pedophilia?                          14:31:38

   9         A.    Suspicious.                                        14:31:42

 10          Q.    Including the allegation that Olanoff's            14:31:43

 11    referring to about being a pedo?      That he might be?        14:31:46

 12          A.    He's suspicious of many things.      I don't       14:31:50

 13    know.                                                          14:31:52

 14          Q.    Including being a pedo?                            14:31:53

 15          A.    It is one of many possibilities.                   14:31:54

 16          Q.    And you had that in your mind when you             14:31:57

 17    wrote that tweet, didn't you?                                  14:31:59

 18          A.    I just thought he was suspicious.                  14:32:01

 19          Q.    And might be a pedophile because you               14:32:04

 20    wanted him investigated because you were afraid he             14:32:06

 21    might be another Jeffrey Epstein, and you wanted to            14:32:10

 22    stop what may be a crime in progress, right?                   14:32:14

 23          A.    He seemed suspicious.                              14:32:16

 24          Q.    About being a pedo?                                14:32:18

 25          A.    He seemed suspicious.                              14:32:19

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   1         Q.   Am I right?    About being a pedophile?           14:32:21

   2         A.   He seemed suspicious.                             14:32:23

   3         Q.   In that regard?                                   14:32:24

   4         A.   He seemed suspicious.                             14:32:24

   5         Q.   Suspicious of potentially being a                 14:32:24

   6   pedophile?                                                   14:32:26

   7         A.   He seemed suspicious.                             14:32:26

   8         Q.   Is the answer "Yes, Mr. Wood, I thought           14:32:28

   9   he was suspicious and might be a pedophile"?                 14:32:29

 10          A.   He seemed suspicious.                             14:32:32

 11          Q.   Why would you say you thought he might be         14:32:32

 12    another Jeffrey Epstein?                                     14:32:34

 13          A.   He seemed --                                      14:32:34

 14          Q.   We're talking about a pedophile.                  14:32:34

 15          A.   I've been clear.      How many times do you       14:32:40

 16    want me to answer this question?                             14:32:40

 17          Q.   One more time, because I didn't get the           14:32:40

 18    answer.                                                      14:32:43

 19               MR. SPIRO:    Okay.   One more time.              14:32:43

 20    BY MR. WOOD:                                                 14:32:43

 21          Q.   You keep saying he was suspicious.                14:32:43

 22    Weren't you suggesting that one of the things that           14:32:44

 23    was suspicious is that in response to you calling            14:32:48

 24    him "pedo guy," he had not sued you.                         14:32:51

 25               MR. SPIRO:    One of the many possible            14:32:56

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   1   things?    Is that the question?                               14:32:58

   2              MR. WOOD:    You want to answer?    Because I       14:32:59

   3   don't really want to cross-examine you today.        Let       14:32:59

   4   me finish.    I got to start all over again because            14:33:01

   5   you interrupted me.                                            14:33:03

   6   BY MR. WOOD:                                                   14:33:04

   7         Q.   Sir.   Seems simple.    Maybe it's not.    It       14:33:05

   8   may be my problem I'm not articulating it well.                14:33:07

   9              The guy writes you and says "Your                   14:33:11

 10    dedication to facts and truth would have been                  14:33:15

 11    wonderful if applied to that time when you called              14:33:17

 12    someone a pedo"?                                               14:33:20

 13          A.   He seemed suspicious.                               14:33:21

 14          Q.   Of being -- potentially being a pedo?               14:33:23

 15          A.   He seemed suspicious.                               14:33:25

 16          Q.   Sir, that's answering -- I know you said            14:33:27

 17    he was suspicious.     Was one of things that he was           14:33:27

 18    suspicious about was potentially being a pedophile?            14:33:31

 19          A.   He seemed suspicious.                               14:33:35

 20          Q.   Including being a pedophile?                        14:33:37

 21          A.   He seemed suspicious.                               14:33:39

 22          Q.   Does that mean being a pedophile?                   14:33:41

 23          A.   He seemed suspicious.                               14:33:43

 24          Q.   Why did you draw the analogy to                     14:33:43

 25    Jeffrey Epstein?    What did you know about                    14:33:46

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   1   Mr. Epstein?    Didn't you know he was accused of            14:33:48

   2   pedophilia?                                                  14:33:50

   3          A.   I was aware Jeffrey Epstein was accused          14:33:52

   4   of pedophilia.                                               14:33:57

   5          Q.   And you wanted Ryan Mac to investigate           14:33:57

   6   Mr. Unsworth because you thought he might be like            14:34:01

   7   Jeffrey Epstein and be involved in pedophilia,               14:34:03

   8   true?                                                        14:34:08

   9          A.   Well, you're changing context, but I --          14:34:09

 10    in the case of Ryan Mac, based on what I had been            14:34:09

 11    told through Jared from the investigator, it seemed          14:34:13

 12    like this guy could indeed be engaged the                    14:34:16

 13    pedophilia for the Ryan Mac thing, not the Drew              14:34:20

 14    Olanoff thing.                                               14:34:23

 15           Q.   Mr. Howard?                                      14:35:00

 16           A.   Yes.                                             14:35:01

 17           Q.   Excuse me.    Let me know when you're done.      14:35:01

 18           A.   Yes.                                             14:35:06

 19           Q.   You done?                                        14:35:07

 20           A.   Yes.                                             14:35:07

 21           Q.   Mr. Howard was investigating on your dime        14:35:07

 22    the question of whether Vernon Unsworth was a                14:35:15

 23    pedophile, right?                                            14:35:18

 24           A.   Yes.   Well, he was investigating this           14:35:19

 25    guy.    It was like let's go find -- let's find out          14:35:24

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   1   what is the situation here.                                  14:35:26

   2         Q.   Find out, among other things, he's a              14:35:32

   3   pedophile?                                                   14:35:35

   4         A.   That was one of the possible outcomes.            14:35:36

   5         Q.   And you were aware of that at the time            14:35:41

   6   that you engaged his services?      Mr. Howard's             14:35:43

   7   services, true?                                              14:35:45

   8         A.   His services were engaged to figure out           14:35:47

   9   what is Unsworth really up to.                               14:35:50

 10          Q.   But he had contacted you suggesting that          14:35:53

 11    he might have information that Vernon Unsworth was,          14:35:58

 12    in so many words, engaged in potentially                     14:36:01

 13    pedophilia.    And y'all hired him on the 15th of            14:36:03

 14    August to go investigate that and tell you what he           14:36:08

 15    learned, right?                                              14:36:10

 16          A.   I think, as I recall, he said -- he               14:36:14

 17    contacted Jared and said he might have -- be able            14:36:17

 18    to learn the truth about Unsworth.       I don't think       14:36:20

 19    there was a specific mention of pedophilia at the            14:36:23

 20    time.                                                        14:36:27

 21          Q.   But it was in response to the lawsuit, in         14:36:27

 22    response to my letter where my letter was clear as           14:36:29

 23    a bell that we said you accused him of being a               14:36:32

 24    pedophile, right?                                            14:36:34

 25          A.   It was --                                         14:36:38

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   1              Have I read that correctly?                       14:47:48

   2         A.   Yes.                                              14:47:50

   3         Q.   Wouldn't you agree that your                      14:47:51

   4   characterization of Mr. Mac would apply to your              14:47:54

   5   knowledge about Vernon Unsworth when you tweeted on          14:47:57

   6   July 15th, that with respect to Mr. Unsworth you             14:48:00

   7   essentially knew nothing and had not even bothered           14:48:03

   8   to research the basic facts about him?                       14:48:07

   9              MR. SPIRO:    Objection; vague and                14:48:09

 10    confusing.                                                   14:48:10

 11    BY MR. WOOD:                                                 14:48:11

 12          Q.   You may answer my question, please, sir.          14:48:12

 13          A.   Can you repeat the question.                      14:48:14

 14               MR. WOOD:    Could you it read it back,           14:48:14

 15    please, or do you want me to do it, Patricia?                14:48:15

 16               (Record read.)

 17               MR. SPIRO:    Objection.   Same objections.       14:48:37

 18    Incomprehensible, but he can answer it.                      14:48:37

 19               THE WITNESS:    That is incomprehensible.         14:48:38

 20    BY MR. WOOD:                                                 14:48:40

 21          Q.   What part is it you don't understand?             14:48:40

 22    I'll try to make it more clear.                              14:48:41

 23          A.   Let's try maybe ask it a different way.           14:48:43

 24          Q.   Well, let me try it a different way.              14:48:45

 25               You had not done any basic research on            14:48:45

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   1   Vernon Unsworth on or before July the 15th, other            14:48:49

   2   than to google his name, right?                              14:48:53

   3         A.    Yes. Oh, yeah.                                   14:48:55

   4         Q.    I'm sorry?                                       14:48:56

   5         A.    Yes.                                             14:48:57

   6         Q.    You didn't really know essentially               14:48:57

   7   anything about him, did you, except that he had              14:48:58

   8   given the interview on CNN International?                    14:49:00

   9         A.    On which date?                                   14:49:02

 10          Q.    The interview that you -- well, I'm              14:49:03

 11    sorry.     On or before the 15th of July.                    14:49:05

 12          A.    Correct.                                         14:49:08

 13          Q.    Yeah.   You essentially knew nothing about       14:49:09

 14    him, right?                                                  14:49:11

 15          A.    Yes.                                             14:49:12

 16          Q.    So then he writes you back and says "Hey         14:49:13

 17    Elon, thanks for getting back.      He actually prefers      14:49:17

 18    to be called a spelunker."      Did I get that right?        14:49:19

 19                Thank you.                                       14:49:20

 20                "And we've confirmed that he actually            14:49:23

 21    does do cave diving, but do you have any comment on          14:49:26

 22    the letter you received?"                                    14:49:29

 23          A.    Yeah.                                            14:49:32

 24          Q.    And you didn't respond to that, did you?         14:49:32

 25          A.    No.                                              14:49:36

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   1   from England who's been traveling to or living in            14:57:25

   2   Thailand for 30 to 40 years; mostly Pattaya Beach,           14:57:26

   3   until moving to Chiang Rai for a child bride who             14:57:32

   4   was about 12 years old at the time.                          14:57:35

   5                "There's only one reason people go to           14:57:37

   6   Pattaya Beach.     It isn't where you would go for           14:57:38

   7   caves, but it is where go would go for something             14:57:41

   8   else.    Chiang Rai is known for --                          14:57:42

   9           Q.   Renowned.                                       14:57:44

 10            A.   -- "renowned for child sex trafficking.         14:57:44

 11    He may claim to know how to cave dive, but he                14:57:50

 12    wasn't on the cave dive rescue team, and most of             14:57:51

 13    the actual dive team refused to hang out with him.           14:57:53

 14    I wonder why."     Google search for child sex               14:57:57

 15    trafficking in Chiang Rai.                                   14:58:01

 16                 "As for this alleged threat of a lawsuit        14:58:01

 17    which magically appeared when I raised the issue             14:58:06

 18    (nothing was sent or raised beforehand), I fucking           14:58:08

 19    hope he sues me."                                            14:58:12

 20            Q.   Now, in your statement, he's an old             14:58:17

 21    white -- "He's an old single white guy from England          14:58:26

 22    who's been traveling to or living in Thailand for            14:58:29

 23    30 to 40 years, mostly Pattaya Beach, until moving           14:58:31

 24    to Chiang Rai for a child bride who was about                14:58:35

 25    12 years old at the time."                                   14:58:37

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   1              I've read that correctly, just as you've          14:58:39

   2   read it, right?                                              14:58:41

   3         A.   Right.                                            14:58:42

   4         Q.   You are stating that as a matter of fact,         14:58:43

   5   aren't you?                                                  14:58:44

   6         A.   No.   I am saying -- like these -- you            14:58:47

   7   know, I was conveying what I was told by this                14:58:51

   8   investigator.                                                14:58:56

   9         Q.   You didn't tell Ryan Mac that.      You           14:58:56

 10    didn't say "I have been told by an investigator              14:58:57

 11    that..."                                                     14:58:59

 12               You didn't say that, did you?                     14:58:59

 13          A.   No.   I probably should have.                     14:59:04

 14          Q.   You didn't mention anything about your            14:59:05

 15    investigator to Ryan Mac in this email, did you?             14:59:07

 16          A.   No.                                               14:59:11

 17          Q.   I mean, wouldn't you expect that a                14:59:11

 18    reasonable person would look at this email and               14:59:14

 19    believe that you were making specific statements of          14:59:16

 20    fact about Mr. Unsworth?                                     14:59:19

 21               MR. SPIRO:    Objection.                          14:59:22

 22    BY MR. WOOD:                                                 14:59:22

 23          Q.   "He's an old single white guy from                14:59:22

 24    England who's been traveling to or living in                 14:59:25

 25    Thailand for 30 to 40 years, mostly Pattaya Beach,           14:59:26

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   1   this one.                                                    15:00:29

   2               MR. SPIRO:   He's been answering questions       15:00:29

   3   for hours and hours.                                         15:00:29

   4               MR. WOOD:    I'm just trying to make a           15:00:31

   5   lighthearted comment.     Loosen up.                         15:00:31

   6   BY MR. WOOD:                                                 15:00:35

   7          Q.   Mr. Musk, it seems simple.     You didn't        15:00:35

   8   mention a word about having an investigator, did             15:00:38

   9   you?                                                         15:00:40

 10           A.   I mean, not in this email, no.                   15:00:40

 11           Q.   Had he published any of the information          15:00:41

 12    in your email where it says "off the record" by the          15:00:46

 13    time he responded to you on September 4th, at                15:00:52

 14    8:49 a.m.?                                                   15:00:55

 15           A.   Pardon?   I don't understand you.                15:01:05

 16           Q.   You sent this information to him on              15:01:06

 17    August 30th.    He writes you back on September 4th.         15:01:08

 18           A.   Right.                                           15:01:13

 19           Q.   Had he published any information                 15:01:13

 20    contained in your August 30 email as September 4th           15:01:15

 21    at 8:49 a.m.?                                                15:01:19

 22           A.   Had he published it?    You're asking if he      15:01:26

 23    had published anything?                                      15:01:27

 24           Q.   Yeah.    That was in your email of               15:01:30

 25    August 30th?                                                 15:01:32

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   1         A.   I -- I don't recall.     I don't think so.        15:01:37

   2   I don't recall.                                              15:01:39

   3         Q.   I'm sorry?                                        15:01:42

   4         A.   You're asking me did he publish something         15:01:42

   5   between August 30th and September 4th?       Is that         15:01:45

   6   what you're asking?                                          15:01:47

   7         Q.   I think so, yeah.                                 15:01:49

   8         A.   I don't recall.     I don't know if he did        15:01:51

   9   during those days.                                           15:01:53

 10          Q.   While he finds the article, I'll go back          15:02:20

 11    to Exhibit No. 42.                                           15:02:23

 12               On September 4th, he wrote you and                15:02:24

 13    said -- among other things, I did not -- "I didn't           15:02:35

 14    agree for the conversation to be off the record,             15:02:39

 15    but appreciate the response."                                15:02:42

 16               Have I read that correctly?                       15:02:43

 17          A.   Yes.                                              15:02:47

 18          Q.   So you knew at that time that Mr. Mac was         15:02:48

 19    not treating your email as being off the record,             15:02:50

 20    didn't you, sir?                                             15:02:55

 21          A.   Yeah, it's -- it's clear that Ryan Mac            15:03:01

 22    was not behaving according to the accepted rules of          15:03:03

 23    journalism in my view.                                       15:03:07

 24          Q.   When he told you that he was not -- you           15:03:08

 25    knew he wasn't -- yeah, you knew he wasn't going to          15:03:09

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   1   treat this as off the record, he said "I didn't                 15:03:13

   2   agree to it," right?                                            15:03:15

   3         A.    He says "I didn't agree for the                     15:03:18

   4   conversation to be off the record," right.                      15:03:19

   5         Q.    And you write back and you say "Off the             15:03:24

   6   record.    We haven't had a conversation at all.        I       15:03:27

   7   sent you an off the record email which very clearly             15:03:31

   8   and unambiguously said 'off the record.'       If you           15:03:32

   9   want to publish off-the-record comments and destroy             15:03:39

 10    your journalistic credibility, that is it up to                 15:03:42

 11    you."                                                           15:03:45

 12                Right?                                              15:03:45

 13          A.    Obviously I cannot control this guy's               15:03:47

 14    behavior.                                                       15:03:50

 15          Q.    Never could.    From the first email                15:03:53

 16    forward, you had no control over his behavior.                  15:03:55

 17          A.    It's my expectation that journalists                15:03:59

 18    adhere to off the record.       In this case he did not.        15:04:02

 19                MR. WOOD:   44?                                     15:04:05

 20                THE REPORTER:     Yes.                              15:04:05

 21                (Exhibit 44 was marked for                          15:04:05

 22                identification.)                                    15:04:05

 23    BY MR. WOOD:                                                    15:04:49

 24          Q.    Let me just say this, Mr. Musk.      This           15:04:51

 25    exhibit has the article published by Mr. Mac and                15:05:00

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   1         A.    Yes.   So this is the morning -- morning         15:07:12

   2   before the article is printed that evening.                  15:07:14

   3         Q.    And then at 10:53 a.m., you write him and        15:07:22

   4   you again say "Off the record.      We haven't had a         15:07:25

   5   conversation at all.     I sent you an off-the-record        15:07:30

   6   email which very clearly and unambiguously said              15:07:31

   7   'off the record.'     If you want to publish                 15:07:34

   8   off-the-record comments and destroy your                     15:07:35

   9   journalistic credibility, that's up you to.        As for    15:07:38

 10    answering more questions, I would happy to do so,            15:07:40

 11    but not with someone who has just told me that they          15:07:43

 12    will not honor accepted rules of journalism."                15:07:45

 13    Right?                                                       15:07:47

 14          A.    That's accurate.                                 15:07:49

 15          Q.    So you said "if you want to publish it           15:07:50

 16    and destroy your journalistic credibility, that's            15:07:52

 17    up to you," right?                                           15:07:54

 18          A.    Yeah, I mean, I don't -- obviously, if he        15:07:57

 19    cannot be -- I don't have, like, mind control over           15:07:59

 20    this guy.                                                    15:08:04

 21          Q.    No.    But did you write him back and say        15:08:04

 22    "Do not publish that information.       If you publish       15:08:04

 23    that information, I will take action against you             15:08:07

 24    because I gave it to you off the record."                    15:08:09

 25                You didn't say anything like that, did           15:08:12

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   1   you, sir?                                                      15:08:14

   2         A.    I mean, I was clearly extremely unhappy            15:08:15

   3   that he was violating journalistic integrity in my             15:08:18

   4   view and publishing off-the-record comments that               15:08:23

   5   were never meant to be published.                              15:08:26

   6         Q.    Sir, you didn't write him back and say             15:08:30

   7   "Do not publish that information because I sent it             15:08:33

   8   off the record."    You say "Publish it if you want            15:08:35

   9   to destroy your journalistic credibility; that's up            15:08:43

 10    to you."                                                       15:08:45

 11                Those were your words, right?                      15:08:45

 12          A.    This is obviously not suggesting that he           15:08:49

 13    publish anything.                                              15:08:50

 14          Q.    Nor is it telling him specifically that            15:08:51

 15    you did not want it published, other than to say --            15:08:53

 16          A.    No --                                              15:08:57

 17          Q.    -- you choose -- excuse me -- other than           15:08:57

 18    to say you choose whether you want to publish it               15:08:57

 19    and destroy your journalistic credibility.        That's       15:09:00

 20    up to you.                                                     15:09:02

 21          A.    No.                                                15:09:05

 22          Q.    That's not what you said?                          15:09:05

 23          A.    You are mischaracterizing the situation.           15:09:05

 24          Q.    "If you want to publish off-the-record             15:09:06

 25    comments and destroy your journalistic credibility,            15:09:08

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   1   Mr. Unsworth and find out that he had a 30-year                15:10:57

   2   history of visiting Thailand, and he'd spent a lot             15:11:00

   3   of time in Pattaya Beach without looking and/or                15:11:02

   4   visiting caves?                                                15:11:07

   5         A.   Yeah.   This is a full-on hope that this            15:11:15

   6   guy would actually investigate, but obviously he               15:11:16

   7   had no interest in doing so.                                   15:11:19

   8         Q.   I'm sorry?                                          15:11:20

   9         A.   I just had a full-on hope that this                 15:11:20

 10    reporter would investigate, do something, would                15:11:24

 11    actually care about doing the right thing, but                 15:11:28

 12    obviously at this point he was just -- that was not            15:11:30

 13    realistic.                                                     15:11:34

 14          Q.   At 1:18 on the 4th, you were still hoping           15:11:35

 15    that this reporter, Mr. Mac, would do right thing              15:11:38

 16    and investigate Vernon Unsworth, right?                        15:11:43

 17          A.   Yeah.   I was hoping he would look into             15:11:54

 18    it.                                                            15:11:56

 19          Q.   The same reporter, who you had a few days           15:11:57

 20    earlier accused him of defending a child rapist and            15:12:00

 21    called him a fucking asshole, right?       Same guy?           15:12:04

 22          A.   Yeah, I was pretty upset with that guy.             15:12:09

 23          Q.   And then he wrote back "Hey, Elon, I'm              15:12:13

 24    sure you have seen the story at this point.        Still       15:12:17

 25    happy to talk with you on whatever terms you want              15:12:19

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   1   as long as we set them beforehand.       Let me know if       15:12:21

   2   you want to do a phone call.      Best, R."                   15:12:24

   3              And what did you write back and say?               15:12:26

   4         A.   "Get lost, you creep."                             15:12:29

   5         Q.   I thought you wanted this guy to                   15:12:31

   6   investigate, to try to stop a potential crime in              15:12:33

   7   progress, an act of pedophile.      Why all of a sudden       15:12:35

   8   now are you saying "Get lost, you creep"?                     15:12:39

   9         A.   He obviously had no -- at this point it            15:12:41

 10    was obvious that he had no intention of doing any             15:12:43

 11    real investigation on his own.                                15:12:46

 12          Q.   And who did you turn to in the media that          15:12:48

 13    you respected to provide them with this information           15:12:50

 14    you had gotten from your investigator to see if               15:12:54

 15    another member of the media would investigate it in           15:12:58

 16    hopes of finding out if it was true, and if so,               15:13:01

 17    stop pedophilia before it continues to occur?                 15:13:04

 18               Who did you turn to after you wrote "get           15:13:08

 19    lost, you creep"?                                             15:13:11

 20          A.   I didn't -- I don't recall turning to              15:13:13

 21    anyone.                                                       15:13:14

 22          Q.   Didn't ask any other member of the media           15:13:15

 23    or journalist to investigate, right?                          15:13:18

 24          A.   I had lost faith in the media at this              15:13:20

 25    point.                                                        15:13:22

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   1   claimed?                                                     15:38:25

   2         A.    I had heard from some of the SpaceX              15:38:31

   3   engineers that he -- that they had talked to                 15:38:39

   4   somebody who had said that he had -- they -- his             15:38:41

   5   name didn't come up.     And he was not -- you know,         15:38:46

   6   they either hadn't -- didn't know who he was, or if          15:38:50

   7   they did know who he was, they said they didn't              15:38:55

   8   want him there.    That was my recollection.                 15:39:01

   9         Q.    If they didn't know who he was, they did         15:39:04

 10    not want him there?                                          15:39:06

 11          A.    Some people didn't know who he was, and          15:39:09

 12    the others didn't want him there.                            15:39:10

 13          Q.    Who were these people?    First, who were        15:39:11

 14    the SpaceX employees that reported that to you?              15:39:11

 15          A.    I believe it was a conversation with             15:39:14

 16    Armor Harris.                                                15:39:14

 17          Q.    Anybody else besides Mr. Harris?                 15:39:18

 18          A.    I think I asked a couple people.      I'm not    15:39:19

 19    sure who else.                                               15:39:19

 20          Q.    Mr. Harris, though, was somebody you             15:39:22

 21    definitely know said that to you?                            15:39:24

 22          A.    I believe -- that's my recollection.             15:39:25

 23          Q.    And did he tell you who had actually told        15:39:28

 24    him that?                                                    15:39:30

 25          A.    I'd asked him to inquire with people that        15:39:33

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   1   think your comments were going to do in terms of             15:44:03

   2   how they impacted Mr. Unsworth's life?       Did you         15:44:06

   3   ever think about that?                                       15:44:09

   4              MR. SPIRO:    Can I ask you to specify            15:44:20

   5   which comments.                                              15:44:22

   6   BY MR. WOOD:                                                 15:44:23

   7         Q.   Do you know what comments I'm talking             15:44:24

   8   about?                                                       15:44:26

   9         A.   Yeah, it was -- it's difficult to say,            15:44:30

 10    you know, if -- you know, if he -- if he was up to           15:44:34

 11    no good, then, you know, then obviously this would           15:44:45

 12    have been appropriate, but if he was not up to no            15:44:47

 13    good, then obviously this is a tragic outcome;               15:44:51

 14    tragic situation.                                            15:44:53

 15          Q.   That he will live with for the rest of            15:44:54

 16    his life, true?                                              15:44:56

 17          A.   I mean, these -- you know, I'm not sure           15:45:00

 18    what you mean by that.                                       15:45:08

 19          Q.   Google is forever; the internet is                15:45:10

 20    forever.                                                     15:45:11

 21          A.   Actually, technically in Europe you can           15:45:12

 22    delete Google stuff.                                         15:45:15

 23          Q.   Not in the United States?                         15:45:16

 24          A.   Not in the United States.                         15:45:17

 25          Q.   So it's there forever?                            15:45:18

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   1         A.   If you google things, they are there for          15:45:19

   2   a long time; that is true.      I wouldn't say forever,      15:45:23

   3   but it's a long time.                                        15:45:25

   4         Q.   Do you have any idea of the cost that one         15:45:27

   5   person might incur if they tried to hire someone to          15:45:29

   6   remediate all of the accusations that are published          15:45:32

   7   on the internet?                                             15:45:36

   8         A.   I -- I don't.                                     15:45:40

   9         Q.   It would be millions of dollars, wouldn't         15:45:41

 10    you agree?                                                   15:45:44

 11          A.   I don't know.                                     15:45:45

 12          Q.   Well, it turned out not to be true,               15:45:47

 13    didn't it?                                                   15:45:53

 14          A.   It appears not to be true.                        15:45:55

 15          Q.   No, no.    It turned out not to be true.          15:45:56

 16    Your investigator was a con man you've concluded,            15:45:57

 17    right?                                                       15:46:00

 18          A.   He was not the -- the investigator was            15:46:04

 19    not being truthful.                                          15:46:06

 20          Q.   And so the result is tragic as it relates         15:46:08

 21    to Mr. Unsworth, true?                                       15:46:13

 22          A.   This is very regrettable situation.               15:46:16

 23          Q.   That you started at least in calling him          15:46:18

 24    a "pedo guy."                                                15:46:20

 25          A.   No, this --                                       15:46:22

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   1         Q.   I understand he made the -- as you                15:46:22

   2   perceived it, he insulted you about the tube --              15:46:24

   3         A.   Yes.                                              15:46:27

   4         Q.   -- saying it was bullshit, saying it was          15:46:27

   5   a PR stunt, saying it wouldn't work.                         15:46:29

   6         A.   He made an unprovoked and uncalled-for            15:46:33

   7   attack on me, and with false statements.                     15:46:35

   8         Q.   How did that impact your life?      Was it        15:46:39

   9   tragic?                                                      15:46:43

 10          A.   It was deeply hurtful --                          15:46:44

 11          Q.   What was the impact --                            15:46:46

 12          A.   -- as well as --                                  15:46:46

 13          Q.   -- other than --                                  15:46:47

 14          A.   -- an insult -- may I finish?                     15:46:48

 15          Q.   Yeah.   I want you to tell me fully.              15:46:50

 16          A.   As well as an insult to the great efforts         15:46:53

 17    of my team in a very difficult time.                         15:46:57

 18          Q.   How has that tragically impacted you?             15:47:03

 19          A.   I think it's hurt me greatly.                     15:47:07

 20          Q.   How?                                              15:47:10

 21          A.   It has damaged my reputation greatly.             15:47:11

 22          Q.   How?                                              15:47:15

 23          A.   What are you talking about?                       15:47:16

 24          Q.   How has it damaged your reputation?       What    15:47:17

 25    Mr. Unsworth said on CNN International?                      15:47:20

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   1         A.   He -- this guy is like basically saying I          15:47:31

   2   did this for a publicity stunt.       He's questioning        15:47:37

   3   my motives; I questioned his motives.       He insulted       15:47:41

   4   the efforts of a great many people who tried to be            15:47:48

   5   helpful.   His actions were not good.                         15:47:52

   6              Now, my actions were not good either.              15:47:55

   7   Two wrongs don't make a right, that is for sure.              15:48:00

   8         Q.   But you suggested over the course of your          15:48:03

   9   communications that Mr. Unsworth may have been                15:48:07

 10    involved in pedophilia, right?                                15:48:11

 11          A.   In the later comments, yes, this is what           15:48:17

 12    I was told by the investigator.                               15:48:20

 13          Q.   So you've got the tragedy you suffered by          15:48:23

 14    someone describing your tube as a publicity stunt,            15:48:27

 15    calling it bullshit through use of an idiom "Stick            15:48:31

 16    it where it hurts."                                           15:48:40

 17               And then you've got the tragedy of                 15:48:41

 18    Mr. Unsworth with a billionaire, one of the world's           15:48:45

 19    most influential and powerful people, suggesting              15:48:46

 20    that he was a pedophile.                                      15:48:49

 21               Which one -- which tragedy strikes you as          15:48:50

 22    being greater?    Who suffered the most; you or               15:48:54

 23    Mr. Unsworth?                                                 15:48:58

 24               MR. SPIRO:    Objection.                           15:48:59

 25               You don't have to answer that.                     15:48:59

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   1         Q.   Isn't that what you just told me?                 15:52:16

   2         A.   Obviously people decide what they want to         15:52:18

   3   decide.                                                      15:52:20

   4         Q.   "Elon Musk.    Weakness for self-promotion        15:52:20

   5   masks his potential."                                        15:52:25

   6              Do you agree?                                     15:52:26

   7         A.   No.                                               15:52:27

   8         Q.   "The billionaire's meddling in the Thai           15:52:27

   9   cave rescue looks like a narcissistic PR stunt."             15:52:32

 10               Do you see that?                                  15:52:36

 11          A.   As I said, are you going back one page?           15:52:38

 12          Q.   Yeah, this was an article published in            15:52:40

 13    the Financial Times.     That's a respected                  15:52:43

 14    publication, isn't it, sir?                                  15:52:46

 15               MR. SPIRO:    Opinion piece.    Very nice.        15:52:48

 16               THE WITNESS:    It's an opinion piece.            15:52:50

 17               MR. WOOD:    So is that an objection?             15:52:51

 18               THE WITNESS:    There is a difference             15:52:53

 19    between --                                                   15:52:54

 20               MR. WOOD:    Was that an objection?     I         15:52:54

 21    missed it.                                                   15:52:56

 22               THE WITNESS:    Opinions necessarily are --       15:52:56

 23    an opinion piece is just an opinion piece.        It's       15:52:56

 24    not the same as regular journalism.       That is why        15:53:01

 25    they call it opinion.                                        15:53:05

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   1   BY MR. WOOD:                                                 15:53:07

   2         Q.    "The billionaire's meddling in the Thai          15:53:07

   3   cave rescue looks like a narcissistic PR stunt."             15:53:07

   4               Does that offend you?                            15:53:11

   5         A.    I can see how this would look like a             15:53:14

   6   "narcissistic PR stunt."     It wasn't, but it can           15:53:16

   7   look like that.                                              15:53:20

   8         Q.    Well, why would you be upset with                15:53:21

   9   Mr. Unsworth if he looked at it and thought it               15:53:24

 10    looked to him, like it did to this writer, as a PR           15:53:27

 11    stunt.     He didn't say anything different than what        15:53:31

 12    this person is opining about in Exhibit 45?                  15:53:35

 13          A.    That doesn't mean I agree with this              15:53:38

 14    person.                                                      15:53:39

 15          Q.    I didn't say that.                               15:53:40

 16          A.    Yeah.                                            15:53:40

 17          Q.    I'm just saying:    You tell me that this        15:53:40

 18    is the most damaging thing that's ever happened to           15:53:42

 19    you in terms of Vernon Unsworth's comments?                  15:53:46

 20          A.    No.   This whole fiasco is the most              15:53:48

 21    damaging thing.                                              15:53:51

 22          Q.    What do you mean?                                15:53:51

 23          A.    His original comments were, of course,           15:53:53

 24    hurtful, but this whole fiasco I'd say has damaged           15:53:54

 25    my reputation more than anything.                            15:53:58

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   1         Q.   What do you mean when you say "this whole             15:54:00

   2   fiasco"?                                                         15:54:02

   3         A.   This is like, these tweets.                           15:54:05

   4         Q.   What do you mean when you say "this whole             15:54:12

   5   fiasco"?                                                         15:54:15

   6         A.   The series of tweets, the interaction                 15:54:20

   7   with BuzzFeed.    These have all been very damaging,             15:54:22

   8   and has hurt me greatly.                                         15:54:24

   9         Q.   But they were your tweets?                            15:54:26

 10          A.   It's, you know, I think self-inflicted                15:54:31

 11    wounds are the worst ones.                                       15:54:33

 12          Q.   And so the damage that you've suffered                15:54:34

 13    from this fiasco, to your reputation -- the tragic               15:54:35

 14    damage, is, in fact, you believe fairly described                15:54:42

 15    as self-inflicted, true?                                         15:54:46

 16          A.   This isn't -- not entirely -- it was                  15:54:49

 17    partly self-inflicted, yes; partly inflicted by                  15:54:54

 18    others.    But what I regret most here are the --                15:55:00

 19    the -- whatever foolish actions I made.       Generally          15:55:11

 20    I am attacked constantly from all angles.                        15:55:15

 21               When the wound is partly                              15:55:19

 22    self-inflicted -- these are the worst ones.          These       15:55:28

 23    are the ones that cause the most damage.       I'm               15:55:32

 24    attacked all the time constantly.                                15:55:35

 25          Q.   You gave them a sword here.      The people           15:55:37

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   1   that wanted to attack you, didn't you?                       15:55:41

   2         A.    Yes.                                             15:55:42

   3         Q.    And then you can say other people might          15:55:42

   4   have had a role to play, but I think you would               15:55:44

   5   admit to me, Mr. Musk, the damage that you feel you          15:55:46

   6   have suffered here has been largely self-inflicted,          15:55:50

   7   true?                                                        15:55:54

   8         A.    No.                                              15:55:56

   9         Q.    Equally?   Who else do you blame besides         15:55:56

 10    yourself?                                                    15:56:03

 11          A.    No, but it has a significant element of          15:56:03

 12    self-inflicted.    Essentially, without the                  15:56:08

 13    self-inflicted element, these attacks would have --          15:56:10

 14    would not resonate.                                          15:56:11

 15          Q.    I am not sure I -- explain that to me.           15:56:13

 16    What do you mean?                                            15:56:16

 17          A.    As I gave those who -- the haters of the         15:56:20

 18    world ammunition.                                            15:56:26

 19          Q.    Do you include Mr. Unsworth as a hater of        15:56:29

 20    the world?    Hater of you?                                  15:56:33

 21          A.    He did launch an unprovoked attack on me.        15:56:33

 22          Q.    He didn't know who you were.                     15:56:34

 23          A.    Well, then why did he launch --                  15:56:36

 24                MR. SPIRO:   Objection.   Assuming facts         15:56:36

 25    not in evidence.                                             15:56:37

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   1   probably right.                                              17:21:18

   2         Q.   And up to about 27 million now?                   17:21:18

   3         A.   Sure.                                             17:21:21

   4         Q.   Do you recognize the influence you have           17:21:22

   5   when you speak publicly?                                     17:21:24

   6         A.   Sure.   Yes.   Somewhat influential.     So       17:21:29

   7   people -- so more influential to some than others,           17:21:33

   8   but it's not to...                                           17:21:36

   9         Q.   There used to be a great commercial, you          17:21:37

 10    may remember it, EF Hutton?      When EF Hutton speaks,      17:21:39

 11    people listen.     Remember the room would get still?        17:21:41

 12          A.   I don't remember that ad.                         17:21:45

 13          Q.   You don't remember it?                            17:21:48

 14          A.   No.                                               17:21:49

 15          Q.   I'm dating myself.                                17:21:49

 16          A.   I have heard of that ad.                          17:21:51

 17          Q.   But don't you recognize that you carry a          17:21:53

 18    lot of power and influence because of not only who           17:21:55

 19    you are, but what you've accomplished and what you           17:21:59

 20    seek to accomplish?                                          17:22:01

 21          A.   Yes.    There is -- this influence is             17:22:04

 22    certainly mixed.    There's people that like me;             17:22:08

 23    people that don't like me.                                   17:22:13

 24          Q.   But knowing that you carry that type of           17:22:15

 25    weight and influence --                                      17:22:19

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   1         A.   Mm-hmm.                                           17:22:21

   2         Q.   -- doesn't that make you more careful             17:22:21

   3   about what you say publicly?                                 17:22:24

   4         A.   I'm no Justin Bieber.     I think he's got        17:22:26

   5   100 million.                                                 17:22:28

   6         Q.   But my question is, sir:      Knowing the         17:22:34

   7   influence that you do have --                                17:22:35

   8         A.   Mm-hmm.                                           17:22:36

   9         Q.   -- doesn't that tell you to be careful            17:22:36

 10    about what you say because people tend to believe            17:22:40

 11    Elon Musk?                                                   17:22:45

 12          A.   I think it's -- I wouldn't say that just          17:22:48

 13    because I have a lot of followers people believe             17:22:51

 14    what I say.                                                  17:22:53

 15          Q.   I'm not talking about your followers.             17:22:55

 16    I'm talking about -- you're -- I think like the              17:22:58

 17    40th richest man in the world based on your net              17:22:58

 18    worth, somewhere in that neighborhood.                       17:23:00

 19          A.   If you say so.                                    17:23:01

 20          Q.   You're building space rockets.      You're        17:23:03

 21    building Tesla, the automobile, you know, the wave           17:23:06

 22    of the future.    You're a powerful man.     You know        17:23:09

 23    that, don't you?                                             17:23:13

 24          A.   I build rockets and cars.                         17:23:16

 25          Q.   You could bring the weight of your money          17:23:18

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                             EXHIBIT 2




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   1

   2                 UNITED STATES DISTRICT COURT
   3                CENTRAL DISTRICT OF CALIFORNIA
   4

   5

   6   VERNON UNSWORTH,
   7              Plaintiff,
   8              vs.                 Case No. 2:18-cv-8048-svw
   9   ELON MUSK,
 10              Defendant.
       _______________________________________________________
 11

 12           VIDEOTAPED DEPOSITION OF JARED BIRCHALL
 13                     LOS ANGELES, CALIFORNIA
 14                       SEPTEMBER 10, 2019
 15

 16

 17

 18

 19

 20    Reported By:
       PATRICIA Y. SCHULER
 21    CSR No. 11949
 22    Job No. 45748
 23

 24

 25

                                                                             1


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   1         Q.   And did you search your email for                 09:44:15

   2   relevant records, that email being your                      09:44:17

   3   Excession.com --                                             09:44:23

   4         A.   Correct.                                          09:44:26

   5         Q.   -- email?                                         09:44:26

   6         A.   Yes.                                              09:44:27

   7         Q.   And what is that email address?                   09:44:28

   8         A.   It's Jared@Excession.com.                         09:44:30

   9         Q.   When you were emailing Mr. Howard, did            09:44:35

 10    you email from Jared@Excession.com?                          09:44:39

 11          A.   No.                                               09:44:44

 12          Q.   Why not?                                          09:44:44

 13          A.   I used, I guess, an assumed name when I           09:44:47

 14    corresponded with Mr. Howard.      I was being asked         09:44:52

 15    to -- to do something that was very much out of my           09:44:56

 16    wheelhouse, and to help gather information about a           09:45:04

 17    matter in an area that had things that I -- I just           09:45:15

 18    felt I would be better -- it would be better not to          09:45:21

 19    have my personal name, both for me as well as                09:45:24

 20    Mr. Musk, to not to have my personal name attached           09:45:27

 21    to that.                                                     09:45:31

 22          Q.   Why?   Why were you concerned about your          09:45:32

 23    personal name being attached to email                        09:45:36

 24    communications?                                              09:45:38

 25          A.   Well, first and foremost, my job involves         09:45:39

                                                                         12


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   1   finance, right, and that is what I do.       So when it       09:45:43

   2   comes to being asked to go and facilitate, you                09:45:47

   3   know, communication from someone who is gathering             09:45:50

   4   information about a legal matter or about a                   09:45:56

   5   seemingly seedy topic.                                        09:46:00

   6               I -- You know, I work in finance.      I have     09:46:06

   7   a family.   This isn't what I do, and my preference           09:46:09

   8   was to not be personally tied to something of that            09:46:14

   9   nature.                                                       09:46:18

 10          Q.    Did anyone suggest that you should use a          09:46:19

 11    different name?                                               09:46:23

 12          A.    No.                                               09:46:24

 13          Q.    Mr. Musk know that you were using a               09:46:25

 14    different name?                                               09:46:29

 15          A.    He may have, but he did not                       09:46:29

 16    specifically -- I did not specifically discuss that           09:46:31

 17    with him.                                                     09:46:34

 18          Q.    Did Mr. Musk have access to the email             09:46:35

 19    address that you came up with?      I think it was            09:46:40

 20    J. Brickhouse?                                                09:46:50

 21          A.    James Brickhouse.                                 09:46:53

 22          Q.    James Brickhouse at -- let me make sure           09:46:55

 23    I've got that email:     JBrickhouse11@Gmail.com?             09:47:03

 24          A.    That is the email address, but no, he             09:47:09

 25    didn't have access to that.                                   09:47:11

                                                                          13


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   1         Q.   You are sure of that?                             09:47:13

   2         A.   100 percent.                                      09:47:14

   3         Q.   When did you establish that Gmail                 09:47:16

   4   account?                                                     09:47:18

   5         A.   I couldn't tell you the date, but it was          09:47:20

   6   in conjunction with initiating this effort.                  09:47:22

   7         Q.   And does it remain active today?                  09:47:27

   8         A.   Yes.                                              09:47:29

   9         Q.   Have you gone through and searched that           09:47:32

 10    email address to determine if you have given to              09:47:34

 11    lawyers for Mr. Musk --                                      09:47:39

 12          A.   Yes.                                              09:47:40

 13          Q.   I haven't asked you the question yet.             09:47:41

 14          A.   Oh.                                               09:47:43

 15          Q.   -- to provide all of the emails relevant          09:47:43

 16    to this issue of the investigation by Mr. Howard             09:47:47

 17    and information about Mr. Unsworth?                          09:47:52

 18               Have you given to the lawyers all of the          09:47:55

 19    emails from the JBrickhouse11@Gmail.com account?             09:47:59

 20          A.   I have.                                           09:48:06

 21          Q.   And were there any emails in that account         09:48:06

 22    that would have addressed any other subject matter           09:48:12

 23    other than Mr. Unsworth, Mr. Howard, and the                 09:48:16

 24    information you were receiving?                              09:48:22

 25               MR. SPIRO:    Objection; relevance.               09:48:24

                                                                         14


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   1         A.   That's right.                                     09:49:40

   2         Q.   And so Mr. Howard always knew you as              09:49:41

   3   Jim Brickhouse, right?                                       09:49:45

   4         A.   Yes, though at one point he does -- he            09:49:48

   5   either said on the phone or maybe it's somewhere he          09:49:52

   6   said something to the effect of -- something to the          09:49:55

   7   effect I realize who you represent, or I know -- I           09:50:00

   8   don't know how they do this, but because my email            09:50:05

   9   was being sent in a certain way, he said something           09:50:09

 10    to the effect of "I realize your name is not                 09:50:15

 11    James Brickhouse" or something like that.                    09:50:19

 12          Q.   Where in the -- on the timeline would he          09:50:22

 13    have raised that with you?      "He" being Mr. Howard?       09:50:26

 14          A.   I mean, probably two-thirds of the way            09:50:29

 15    into my correspondence with him.                             09:50:32

 16          Q.   Which would date about what date?                 09:50:35

 17          A.   Hard to say, but I mean, I -- I don't             09:50:41

 18    know.   Maybe early September.                               09:50:43

 19          Q.   So when he was initially engaged to               09:50:45

 20    investigate he did not know your real name?                  09:50:49

 21          A.   I don't believe he knew my real name, no.         09:50:55

 22          Q.   And he did not know that it was being             09:50:57

 23    undertaken for Elon Musk?                                    09:50:59

 24          A.   I actually think he -- I mean, he is the          09:51:01

 25    one that reached out to us.      And so I think he did       09:51:03

                                                                         16


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   1   know that it was being -- that this -- his work was            09:51:11

   2   being done for Mr. Musk.     But he just didn't know           09:51:15

   3   that -- didn't know who I personally was.                      09:51:19

   4              And you know, I was also preventing a --            09:51:22

   5   you know, someone's ability to just forward an                 09:51:25

   6   email exchange and easily tie that to myself or                09:51:28

   7   Elon or someone, you know.      So that was just               09:51:31

   8   another reason behind the anonymity on that.                   09:51:37

   9         Q.   When was the anonymity -- when was the              09:51:42

 10    curtain drawn back?     You said about two-thirds of           09:51:42

 11    the way into your correspondence with him?                     09:51:48

 12          A.   Well, I never -- there was never that               09:51:49

 13    moment where I said -- and by the way, here is my              09:51:52

 14    name, and here is what I do, and -- you know, that             09:51:54

 15    moment never happened, though he made a reference.             09:51:58

 16    Like I said, I don't know the exact date.        I could       09:52:01

 17    probably get that for you if you gave me time to               09:52:05

 18    look for it, but there was a moment where he -- he             09:52:08

 19    felt it necessary to tell me that he knew who I                09:52:13

 20    was, basically.                                                09:52:18

 21          Q.   Did he do that by email?                            09:52:20

 22          A.   I don't recall.                                     09:52:23

 23          Q.   Well, if he did, you would have produced            09:52:25

 24    it?                                                            09:52:27

 25          A.   Of course.                                          09:52:28

                                                                           17


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   1         Q.   So if you assume that you were -- you may          09:52:29

   2   know the precise date.     Do you know when you               09:52:32

   3   started working with Mr. Howard?                              09:52:35

   4         A.   Yeah, I -- like I said, I mean, it's all           09:52:39

   5   in the emails, but I don't have the exact date, no.           09:52:41

   6         Q.   What is your best recollection?                    09:52:44

   7         A.   I mean, my first -- I would guess that it          09:52:47

   8   was mid-August.                                               09:52:50

   9         Q.   When you first started working with him?           09:52:54

 10          A.   When I first had exchanged any                     09:52:56

 11    information with him.     Approximately, yes.                 09:52:58

 12          Q.   Do you have in your mind's eye, from your          09:53:02

 13    preparation or otherwise, that the story published            09:53:05

 14    by Ryan Mac was, I believe published on                       09:53:09

 15    September 4.    That was based on an email that               09:53:13

 16    Mr. Musk had sent him on the 30th of August.                  09:53:15

 17               Does that sound right?                             09:53:19

 18          A.   Yes.                                               09:53:20

 19          Q.   At that time had Mr. Howard indicated to           09:53:21

 20    you that he had figured out who you were, or was it           09:53:27

 21    after that?                                                   09:53:31

 22          A.   Yeah, I couldn't tell you.      I would need       09:53:32

 23    to go back and look.                                          09:53:34

 24          Q.   But you were very conscious that you did           09:53:35

 25    not want him to know your real name, true?                    09:53:36

                                                                          18


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   1          A.   True.                                            09:53:41

   2          Q.   And you made every effort you could to           09:53:41

   3   prevent him from knowing your real name, true?               09:53:43

   4          A.   Yeah, yeah.                                      09:53:48

   5          Q.   And that was important to you because --         09:53:49

   6   why?                                                         09:53:52

   7          A.   Well, again, there are maybe a few               09:53:55

   8   reasons, but one of those was so there was no                09:53:58

   9   ability to forward correspondence, as people do in           09:54:07

 10    today's electronic communication, and have him               09:54:10

 11    forward an email exchange that so easily ties him            09:54:13

 12    to me personally or to Mr. Musk.                             09:54:17

 13                And again, I was a novice being asked to         09:54:21

 14    do something that I'd never done before, and didn't          09:54:26

 15    know what it entailed, and wanted to err on the              09:54:30

 16    side of conservatism, and not unnecessarily tie my           09:54:35

 17    personal name to an investigation in a random                09:54:39

 18    country about a random matter.      That's really what       09:54:46

 19    it was.                                                      09:54:50

 20           Q.   Were you trying to limit the information         09:54:51

 21    that could be sent by Mr. Howard to your Jim                 09:54:56

 22    Brickhouse@Gmail?                                            09:55:03

 23                MR. SPIRO:    Objection to form.                 09:55:07

 24                You can answer that.                             09:55:08

 25                THE WITNESS:   You said I can?                   09:55:13

                                                                         19


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   1              MR. SPIRO:    You can.                             09:55:14

   2              THE WITNESS:    No.   I was encouraging that       09:55:15

   3   all information possible would be sent to that                09:55:16

   4   email address.                                                09:55:19

   5   BY MR. L. WOOD:                                               09:55:20

   6         Q.   And no one -- I mean, you said you were a          09:55:20

   7   novice.    No one at all suggested to you that you            09:55:21

   8   might want to consider setting up a fake Gmail                09:55:24

   9   account?                                                      09:55:29

 10          A.   No.                                                09:55:29

 11          Q.   That was done on your own?                         09:55:29

 12          A.   100 percent.                                       09:55:31

 13          Q.   And did you tell Mr. Musk that you had             09:55:32

 14    done it that way?                                             09:55:34

 15          A.   I didn't.                                          09:55:35

 16          Q.   Why not?                                           09:55:36

 17           .
             A.   I didn't feel like it was relevant.       He       09:55:36

 18    asked me to -- to gather information, and how I               09:55:39

 19    went about doing that -- I didn't feel like it was            09:55:48

 20    relevant to -- to share.                                      09:55:52

 21          Q.   Did he want you to share the information           09:55:54

 22    that you were learning with him?      Mr. Musk?               09:55:57

 23          A.   Yes.                                               09:56:01

 24          Q.   And you would have made sure that you              09:56:02

 25    provided him accurate information about                       09:56:04

                                                                          20


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   1   Mr. Howard's investigation, true?                            09:56:06

   2         A.   True.                                             09:56:09

   3         Q.   You would not in any way have provided            09:56:09

   4   information from Mr. Howard -- that you obtained             09:56:12

   5   from Mr. Howard -- to Mr. Musk that would be                 09:56:15

   6   misleading, true?                                            09:56:18

   7         A.   True.                                             09:56:20

   8         Q.   You wanted to give him a complete report          09:56:21

   9   on the information you were receiving from                   09:56:24

 10    Mr. Howard on any and all significant issues that            09:56:27

 11    were being investigated, true?                               09:56:32

 12          A.   True.                                             09:56:33

 13               (Exhibit 61 was marked for                        09:56:33

 14               identification.)                                  09:56:33

 15    BY MR. L. WOOD:                                              09:56:33

 16          Q.   So if you look at what's been identified          09:56:36

 17    for purposes of your identification to your                  09:56:45

 18    deposition as Exhibit 61 -- you're familiar with             09:56:47

 19    that document?                                               09:56:52

 20          A.   I am.                                             09:56:53

 21          Q.   That's the only document that we have             09:56:54

 22    from Excession in response to the subpoena.                  09:56:57

 23          A.   Okay.                                             09:57:00

 24          Q.   Did you only find that one document?              09:57:00

 25          A.   Yeah.   I mean, in doing all of the -- I          09:57:03

                                                                         21


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   1   didn't actually identify this as the one missing             09:57:05

   2   piece, but I went through, and with modified search          09:57:09

   3   terms and whatnot per direction from Alex, and               09:57:14

   4   apparently this was the one piece of information             09:57:18

   5   that was missing from the original searches.                 09:57:23

   6         Q.    What search terms were you given?                09:57:25

   7         A.    I don't remember all of them right now,          09:57:27

   8   but of course they involved Unsworth, Thailand,              09:57:28

   9   pedophile, child rapist, and some combinations of            09:57:37

 10    those.     And there may have been a few others.             09:57:44

 11          Q.    Was that sent to you -- do you have the          09:57:50

 12    search terms in writing somewhere?                           09:57:51

 13          A.    I believe I do, yes.                             09:57:54

 14          Q.    Email?                                           09:57:56

 15          A.    Yes.                                             09:57:56

 16          Q.    So if asked to produce those, you would          09:57:57

 17    have them?                                                   09:57:59

 18          A.    I think so, yeah.                                09:58:01

 19          Q.    Do you know when you were asked to               09:58:03

 20    conduct that search?                                         09:58:05

 21                MR. SPIRO:   Objection; form.    Which           09:58:07

 22    search?                                                      09:58:10

 23    BY MR. L. WOOD:                                              09:58:10

 24          Q.    The search for Excession.                        09:58:11

 25          A.    Well, I was asked to search all of my            09:58:14

                                                                         22


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   1   such that I asked all of the -- all of the people            10:20:45

   2   that I know would have received that type of                 10:20:51

   3   correspondence, whether or not it had been                   10:20:54

   4   received.   And if those people hadn't received it,          10:20:59

   5   it for sure had not been received.                           10:21:02

   6          Q.   So you feel good having done the search          10:21:05

   7   that in your mind knowing how Mr. Musk -- his                10:21:07

   8   routine or requirements, whatever he calls them --           10:21:11

   9   you are comfortable in saying that you checked all           10:21:14

 10    the available avenues on how he could have himself           10:21:18

 11    received it, and you were comfortable and confident          10:21:21

 12    that he didn't get it at least as of August 29,              10:21:24

 13    true?                                                        10:21:28

 14           A.   True.                                            10:21:29

 15           Q.   Let me ask you:    Did you engage the            10:21:30

 16    services of Mr. Howard by written agreement with             10:21:37

 17    him?                                                         10:21:41

 18           A.   There was a written agreement, yes.              10:21:42

 19           Q.   And who was that agreement between?              10:21:44

 20           A.   I believe it was between Excession and           10:21:47

 21    Mr. Howard.                                                  10:21:53

 22           Q.   And this would have been dated when?             10:21:55

 23           A.   Again, that goes back to -- I mean, it           10:21:59

 24    would have been later August when he was, I guess            10:22:01

 25    formally retained.                                           10:22:07

                                                                         45


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   1         Q.   And you left out part of it?                      10:24:45

   2         A.   On behalf of James Brickhouse.                    10:24:47

   3         Q.   So here you have communicated your name           10:24:51

   4   and your email address to Mr. Howard, right?                 10:24:54

   5         A.   Correct.    This was a mistake.                   10:24:59

   6         Q.   Well, it was not -- look at the last              10:25:02

   7   page.    Musk Bates 0259 of Exhibit 36.                      10:25:04

   8         A.   The last page of this --                          10:25:10

   9         Q.   Exhibit 36, Bates No. 0259.                       10:25:12

 10          A.   Yes.                                              10:25:16

 11          Q.   Is that your signature?                           10:25:16

 12          A.   It is.                                            10:25:18

 13          Q.   You signed this document on                       10:25:19

 14    August 15, 2018, true?                                       10:25:21

 15          A.   True.                                             10:25:24

 16          Q.   And you signed it as the manager of               10:25:25

 17    Excession LLC, right?                                        10:25:28

 18          A.   Correct.                                          10:25:30

 19          Q.   Mr. Musk's family office corporation,             10:25:31

 20    right?                                                       10:25:33

 21          A.   That's right.                                     10:25:34

 22          Q.   Identifying yourself as Jared Birchall,           10:25:35

 23    right?                                                       10:25:37

 24          A.   That's right.                                     10:25:38

 25          Q.   On August the 15th?                               10:25:39

                                                                         48


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   1         A.   "Attached is the NDA which should be from           10:26:52

   2   you to me."    Yes.                                            10:26:56

   3         Q.   He is calling you "Jim," right?                     10:27:00

   4         A.   Yes.                                                10:27:01

   5         Q.   Your alias for purposes of this                     10:27:02

   6   investigation, right?                                          10:27:05

   7         A.   Yes.                                                10:27:06

   8         Q.   And then you write him back from                    10:27:07

   9   Jared Birchall on behalf of James Brickhouse.                  10:27:09

 10          A.   Yes, so --                                          10:27:14

 11          Q.   And then -- excuse me.                              10:27:16

 12               And then you signed the Excession LLC NDA           10:27:16

 13    as Jared Birchall, manager of Excession LLC.        Have       10:27:21

 14    I got it right?                                                10:27:25

 15          A.   You have got it right.                              10:27:26

 16          Q.   So were you trying to convey to                     10:27:27

 17    Mr. Howard that there were two people involved;                10:27:29

 18    you, Jared Birchall, and a man named Jim Brickhouse            10:27:32

 19    who was different than you?                                    10:27:38

 20          A.   This was -- so in every email                       10:27:41

 21    correspondence that I sent to -- to James Howard --            10:27:44

 22    so the mechanics of me sending that email in my                10:27:49

 23    Gmail is that I need to change the "from" address              10:27:56

 24    to the James Brickhouse email address.                         10:28:01

 25               And in this case it was an oversight that           10:28:04

                                                                           50


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   1   I did not change that, because you can see that I             10:28:09

   2   signed it "Jim" -- that email "Jim," and I did not            10:28:12

   3   take that extra step of changing the "from" to be             10:28:14

   4   the Brickhouse email.                                         10:28:20

   5              And so really all this highlights is that          10:28:23

   6   an inexperienced novice trying to do what I thought           10:28:29

   7   was the right thing to do, and I missed a step                10:28:33

   8   there and sent -- sent it from an unintentional               10:28:36

   9   email address because I didn't change the "from."             10:28:42

 10          Q.   When you say "change the from," are you            10:28:45

 11    talking about changing it -- like typing a                    10:28:47

 12    different "from" on it, or are you talking about              10:28:51

 13    changing to a different account?                              10:28:51

 14          A.   My email accounts -- some of them --               10:28:54

 15    James Brickhouse and JaredBirchall@Gmail.com are              10:28:57

 16    part of the same -- one merges into the other.        I       10:29:02

 17    have folder within JaredBirchall.com.       And so -- so      10:29:06

 18    I have the ability to, while in the                           10:29:12

 19    JaredBirchall@Gmail.com, send an email from the               10:29:15

 20    JamesBrickhouse email address.      So I don't have to        10:29:19

 21    toggle between email accounts.                                10:29:26

 22          Q.   And you meant to be careful and only send          10:29:30

 23    something to Mr. Howard that referred to you as               10:29:32

 24    Jim Brickhouse?                                               10:29:36

 25          A.   In this case, yes.                                 10:29:38

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   1         A.   I -- typically, daily.                            11:14:44

   2         Q.   So you knew from the beginning that this          11:14:56

   3   was a sensitive and delicate project that you were           11:15:00

   4   going to be involved in as it pertains to                    11:15:03

   5   Mr. Howard.                                                  11:15:05

   6              Can we agree on that?                             11:15:06

   7         A.   Yes, I -- I think that's probably a               11:15:10

   8   fair...                                                      11:15:12

   9         Q.   This is your first investigative role or          11:15:13

 10    a role in an investigation, right?                           11:15:16

 11          A.   Correct.                                          11:15:20

 12          Q.   You wanted to make sure that from your            11:15:21

 13    standpoint, in terms of your role, that you got it           11:15:24

 14    done and done right, true?                                   11:15:27

 15          A.   To my best ability, yes.                          11:15:30

 16          Q.   Tell me what you did to perform any               11:15:32

 17    diligence on Mr. Howard.                                     11:15:35

 18          A.   So first -- again, it is important to             11:15:43

 19    understand that he came to us, and --                        11:15:48

 20          Q.   I understand that.                                11:15:50

 21          A.   I only mention that because it would have         11:15:51

 22    been -- there would have maybe been a slightly               11:15:54

 23    different process if someone said go out and                 11:15:58

 24    identify the best investigator in the world to go            11:16:00

 25    and find information in Thailand.                            11:16:03

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   1              With that said, there was some high-level          11:16:07

   2   online looking into -- you know, was his company              11:16:15

   3   that he claimed to represent a real company?        Did       11:16:18

   4   he have any experience working with similar                   11:16:21

   5   high-net-worth individuals?      Did he have, you know,       11:16:25

   6   a résumé that pointed to someone that could -- you            11:16:32

   7   know, could potentially handle investigative work?            11:16:36

   8   And we -- we checked each of those boxes.                     11:16:38

   9         Q.   Who is "we"?                                       11:16:47

 10          A.   When I say "we," I mean, I felt like I'd           11:16:48

 11    checked each of those boxes, and certainly that is            11:16:49

 12    not to say that, you know, with hindsight being               11:16:55

 13    20/20 could have been done better or different.               11:16:58

 14          Q.   Well, you said -- you said your words              11:17:02

 15    were "There was some high-level online looking"?              11:17:04

 16          A.   Um-hmm.                                            11:17:07

 17          Q.   Who performed the high-level online                11:17:08

 18    looking at Mr. Howard?                                        11:17:10

 19          A.   That would have been me.                           11:17:12

 20          Q.   Anyone else?                                       11:17:13

 21          A.   Not that I know of.                                11:17:14

 22          Q.   So what exactly did you look for, and              11:17:15

 23    what did you find before you signed the NDA and               11:17:20

 24    entered into the agreement with him?                          11:17:25

 25          A.   Again, it would have -- it would have              11:17:31

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   1   just been a simple search for his information, his           11:17:32

   2   company, and then a discussion about his experience          11:17:36

   3   with him, specifically.                                      11:17:41

   4              He had a fairly convincing story to tell          11:17:44

   5   about his experience, which involved British, you            11:17:47

   6   know, Special Forces, and time spent working for             11:17:50

   7   George Soros and Paul Allen and some others.                 11:17:59

   8              It seemed like he was, you know,                  11:18:06

   9   experienced enough to be able to produce the                 11:18:10

 10    information that he came to us saying that he                11:18:14

 11    suspected existed.                                           11:18:17

 12          Q.   Well, when you say that he had a fairly           11:18:18

 13    convincing story, I'm talking about now, you,                11:18:21

 14    Jared Birchall --                                            11:18:23

 15          A.   Um-hmm.                                           11:18:24

 16          Q.   You're the manager.     Maybe you have a          11:18:24

 17    corporate title for Excession as you do for other            11:18:26

 18    of Mr. Musk's corporations.      You want to make sure       11:18:29

 19    you get this done right.                                     11:18:32

 20               And what did you do specifically to               11:18:34

 21    verify that in fact this man, Mr. Howard, is or was          11:18:38

 22    who he claimed to be?     Did you reach out to anybody       11:18:44

 23    connected with the British Special Forces?                   11:18:48

 24          A.   No, I did not.                                    11:18:54

 25          Q.   Did you reach out to anybody connected            11:18:55

                                                                         74


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   1   with George Soros?                                           11:18:57

   2         A.   No.                                               11:18:58

   3         Q.   Did you reach out to anybody connected            11:18:58

   4   with Paul Allen?                                             11:19:00

   5         A.   No.                                               11:19:02

   6         Q.   What did you do to verify the reliability         11:19:03

   7   of the information that Mr. Howard was giving you            11:19:08

   8   concerning his experience and background?                    11:19:12

   9         A.   Again, I used what I would probably now           11:19:16

 10    consider as somewhat rudimentary, you know, big              11:19:19

 11    high-level vetting process.      He came to us, and the      11:19:21

 12    need to reach out to him was brought to me by                11:19:30

 13    someone internal.     It wasn't an outward                   11:19:33

 14    investigative search for the best in the world.              11:19:37

 15               It was someone who came to us, and so the         11:19:41

 16    manner in which he came to us probably affected the          11:19:44

 17    amount or type of research that was done.                    11:19:54

 18          Q.   I'm still trying to figure out the                11:19:57

 19    research that was done.     Did you google his name?         11:19:59

 20          A.   Well, yeah, that's what I'm saying.               11:20:02

 21          Q.   Did you google his name?                          11:20:03

 22          A.   Yeah, absolutely.                                 11:20:04

 23          Q.   Do you do anything besides google his             11:20:05

 24    name?                                                        11:20:07

 25          A.   And probably the name of his company.             11:20:08

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   1         Q.   Anything besides googling his name and              11:20:10

   2   the name of his company?                                       11:20:13

   3         A.   Not that I can recall.                              11:20:15

   4         Q.   And you knew when he came to Mr. Musk               11:20:16

   5   that he was suggesting that he had some dirt on                11:20:19

   6   Vernon Unsworth, true?                                         11:20:24

   7         A.   Yes.                                                11:20:29

   8         Q.   So he was not an independent investigator           11:20:30

   9   from day one, wouldn't you agree?                              11:20:32

 10               MR. SPIRO:    Objection to form.                    11:20:34

 11               THE WITNESS:    I actually did think he was         11:20:35

 12    an independent investigator that just happened to              11:20:37

 13    have some information.                                         11:20:40

 14    BY MR. L. WOOD:                                                11:20:41

 15          Q.   What information did he tell you he had             11:20:42

 16    about Mr. Unsworth before you engaged his services             11:20:45

 17    on behalf of Mr. Musk?                                         11:20:51

 18          A.   Purely the inference that -- that he                11:20:55

 19    believed there were skeletons in the closet.        That       11:20:56

 20    there may have been information that existed that              11:21:00

 21    would be -- that we would want to have.                        11:21:03

 22          Q.   Did he -- when he said he believed there            11:21:10

 23    were skeletons in the closet, did he tell you that?            11:21:15

 24          A.   That he didn't use those words                      11:21:17

 25    necessarily to me.     That's what was obviously in            11:21:19

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   1   being -- as to questioning his motives for being in          11:22:34

   2   Thailand in my initial conversation with him.        Just    11:22:40

   3   that he believed that there could -- where there is          11:22:43

   4   smoke, there's fire.     That's there are reasons to         11:22:46

   5   question his motives for being in Thailand.                  11:22:49

   6         Q.   Did you let Mr. Musk know that you had,           11:22:52

   7   in fact, retained him following up on the emails he          11:22:54

   8   had earlier sent in July?                                    11:22:59

   9         A.   Yes.   At some point I'm sure I did.              11:23:01

 10          Q.   Well, he -- you would have done that as a         11:23:03

 11    matter of course because you -- you had to get               11:23:04

 12    Mr. Musk's authority to pay him?                             11:23:06

 13          A.   Typically, yeah.     I mean, absolutely.    At    11:23:08

 14    some point there was no question that that                   11:23:10

 15    conversation was had.                                        11:23:13

 16          Q.   And it would have been early, because you         11:23:14

 17    wouldn't have tapped -- you wouldn't have retained           11:23:15

 18    him and started spending, you know, $20,000 to               11:23:16

 19    retain his guy without getting it approved by                11:23:20

 20    Mr. Musk, true?                                              11:23:22

 21          A.   I mean, there is -- to say -- there is,           11:23:25

 22    on the spectrum of things that go on in a day in             11:23:34

 23    Elon's life, there is such a magnitude that there            11:23:39

 24    are times where he does expect me to make decisions          11:23:43

 25    like that; that involve tens of thousands of                 11:23:47

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   1          A.   Among -- among others, yes.                      11:27:09

   2          Q.   So it had priority in your mind, true?           11:27:10

   3          A.   There were other things that had higher          11:27:15

   4   priority, but it was an important matter for sure.           11:27:16

   5          Q.   It was a high priority matter.     I'm not       11:27:19

   6   suggesting it was the highest, but it was a high             11:27:22

   7   priority matter for you to find out what Howard was          11:27:24

   8   getting and to get that information to Mr. Musk,             11:27:27

   9   true?                                                        11:27:29

 10           A.   Sure.   Yes.                                     11:27:31

 11           Q.   So you've never done this before.      Who       11:27:32

 12    told you to hire Mr. Howard?                                 11:27:58

 13           A.   So again, going back to my previous              11:28:00

 14    comment about Sam Teller coming and sharing the              11:28:04

 15    nature of Mr. Howard's reach-out and saying that             11:28:13

 16    Elon wanted us to see what information this guy              11:28:20

 17    had.                                                         11:28:24

 18           Q.   Did you let Elon know that you were going        11:28:24

 19    to hire him?                                                 11:28:27

 20           A.   Yes.    I mean, again, the sequence of that      11:28:29

 21    and cadence -- I'm not clear exactly how that --             11:28:32

 22    but of course there was that initial -- I mean,              11:28:37

 23    eventual -- that information would have been shared          11:28:39

 24    that yes, we were having -- we were engaging him.            11:28:44

 25           Q.   Well, you were engaging him because it           11:28:46

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   1   had been made clear to you from Mr. Teller that              11:28:48

   2   Elon wanted you to see what information Mr. Howard           11:28:51

   3   had.                                                         11:28:56

   4          A.   Correct.                                         11:28:57

   5          Q.   True?                                            11:28:58

   6          A.   True.                                            11:28:58

   7          Q.   So that the reason for hiring Mr. Howard         11:28:59

   8   was because it was at the request and the desire of          11:29:03

   9   Mr. Musk, true?                                              11:29:06

 10           A.   That's true.                                     11:29:08

 11           Q.   Let me hand you 64.                              11:29:10

 12                (Exhibit 64 was marked for                       11:29:12

 13                identification.)                                 11:29:12

 14    BY MR. L. WOOD:                                              11:29:22

 15           Q.   Hand what you has been marked for                11:29:26

 16    purposes of identification to your deposition as             11:29:29

 17    Exhibit 64.                                                  11:29:29

 18           A.   Yes.                                             11:29:30

 19           Q.   This is what appears to be an email from         11:29:33

 20    James Brickhouse to Jupiter Private.       That would be     11:29:38

 21    Mr. Howard, right?                                           11:29:43

 22           A.   Yes.                                             11:29:44

 23           Q.   Project Rowena, right?                           11:29:46

 24           A.   Yes.                                             11:29:48

 25           Q.   Do you know how Mr. Howard came up with          11:29:49

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   1   that name?    Did he tell you?                               11:29:51

   2          A.   No idea.                                         11:29:52

   3          Q.   But he came up with it, not you?                 11:29:53

   4          A.   Correct.                                         11:29:56

   5          Q.   And you say in the first paragraph "Some         11:29:56

   6   of the specific questions that would be good to              11:29:58

   7   answer are," okay.     And then you bullet list out a        11:30:01

   8   series of questions, true?                                   11:30:06

   9          A.   True.                                            11:30:09

 10           Q.   Mr. Musk had input into the questions            11:30:10

 11    that you sent.      You and he discussed those, didn't       11:30:13

 12    you?                                                         11:30:17

 13           A.   I'm sure, yes.                                   11:30:18

 14           Q.   And do you know which ones Mr. Musk was          11:30:19

 15    saying "Ask him this," or would you just say that            11:30:23

 16    it was a collaboration between you and Mr. Musk to           11:30:26

 17    come up with this list of questions?                         11:30:30

 18           A.   A collaboration.                                 11:30:32

 19           Q.   On each one of them?                             11:30:33

 20           A.   Yeah.    I mean, I -- I can't say each one       11:30:35

 21    of them, but I'm sure there were some here that              11:30:38

 22    were being asked because of his input.                       11:30:40

 23           Q.   Right.   These are questions that you            11:30:43

 24    believe from your discussions with Mr. Musk that he          11:30:45

 25    wanted answers to, true?                                     11:30:49

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   1         A.    Yes.   And specifically he had shared              11:30:52

   2   information regarding most of these matters, and               11:30:56

   3   had shared some information that had evolved.        And       11:31:01

   4   so I was trying to nail him down on some                       11:31:08

   5   specific --                                                    11:31:11

   6         Q.    Well, it was actually you and Mr. Musk             11:31:11

   7   were trying to nail him down, true?                            11:31:13

   8         A.    Well, yeah, I mean, this ultimately was            11:31:16

   9   for him.                                                       11:31:19

 10          Q.    Yeah, well, but he was talking with you            11:31:19

 11    about it.   You collaborated on the questions, and             11:31:21

 12    those were in fact questions that you believed from            11:31:23

 13    your discussions with Mr. Musk that he wanted                  11:31:25

 14    answers to, true?                                              11:31:27

 15          A.    Again, I don't know which of these                 11:31:31

 16    specific would have been his ones where he said                11:31:33

 17    "This is an answer to your question," but yes,                 11:31:36

 18    there was some collective effort to determine what             11:31:39

 19    we were trying to get from Mr. Howard.                         11:31:41

 20          Q.    And you advised Mr. Musk on which -- on            11:31:45

 21    the questions that you were going to have                      11:31:48

 22    Mr. Howard answer, true?                                       11:31:51

 23          A.    Not always.   I mean, there --                     11:31:54

 24          Q.    I am talking about this one; Exhibit 64.           11:31:55

 25          A.    I mean, I didn't then review this with             11:31:58

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   1              When did he meet Tik in Thailand?       What       11:35:07

   2   did you learn?                                                11:35:10

   3         A.   It depends at what point you're asking me          11:35:13

   4   that.   If -- if I was answering on this date versus          11:35:17

   5   what I know today -- I mean, to be honest there               11:35:20

   6   were numerous answers given over time to where for            11:35:24

   7   me to clearly state this is exactly when he met               11:35:27

   8   her -- it honestly is not clear in my head, because           11:35:31

   9   the answer evolved over time.                                 11:35:35

 10               But from what I recall -- if you're                11:35:39

 11    asking me what I understand today?                            11:35:41

 12          Q.   No.   I'm asking you the simple question:          11:35:43

 13    What did you learn as to when Mr. Unsworth met Tik            11:35:45

 14    in Thailand?                                                  11:35:52

 15          A.   So the answer to that question evolved             11:35:55

 16    over time.    And there were different answers.               11:35:57

 17          Q.   Okay.   Let's start with the first answer.         11:35:59

 18    What was the first information you got on when he             11:36:01

 19    met her?                                                      11:36:05

 20          A.   So I can't think of the date, but as it            11:36:06

 21    pertains to her age, it would have been when she              11:36:07

 22    was a young teenage girl.                                     11:36:10

 23          Q.   Young teenage girl.     Would that be an 18-       11:36:13

 24    or 19-year-old girl?                                          11:36:14

 25          A.   No.   12 or 13.                                    11:36:17

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   1          Q.   Because now we're talking about him               11:37:27

   2   having met her when she was a minor, true?        Under       11:37:29

   3   the age of 15 or 16?                                          11:37:40

   4          A.   Yes.                                              11:37:42

   5          Q.   And that's not the kind of information            11:37:42

   6   you would pass to Mr. Musk unless you were clear as           11:37:44

   7   to what Mr. Howard had told about it, true?                   11:37:47

   8          A.   True.                                             11:37:49

   9          Q.   So you were clear in telling Mr. Musk             11:37:50

 10    "Howard tells me they met when Tik was 12 or 13,"             11:37:52

 11    true?                                                         11:37:57

 12           A.   Yes.                                              11:37:59

 13           Q.   He didn't -- Mr. Howard didn't tell you           11:38:00

 14    that Mr. Unsworth married Tik at age 12 or 13, did            11:38:02

 15    he?                                                           11:38:09

 16           A.   Not that I recall, no.                            11:38:10

 17           Q.   He didn't tell you -- Mr. Howard didn't           11:38:11

 18    tell you that Mr. Musk had some type of a sexual              11:38:13

 19    relationship with Tik when she was 12 or 13?        He        11:38:18

 20    never told you that, did he?                                  11:38:25

 21           A.   No.    He would have never had that               11:38:27

 22    evidence.                                                     11:38:29

 23                (Off-the-record comment from counsel.)            11:38:29

 24                MR. L. WOOD:   I did misstate that.     Thank     11:38:29

 25    you.                                                          11:38:29

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   1   BY MR. L. WOOD:                                                11:38:29

   2          Q.   I meant to say Mr. Howard did not tell             11:38:32

   3   you that Mr. Unsworth had had some type of a sexual            11:38:36

   4   relationship with Tik when she was 12 or 13.        He         11:38:41

   5   never told you that, did he?                                   11:38:44

   6          A.   No.                                                11:38:47

   7          Q.   At what age -- he didn't tell you that at          11:38:52

   8   any time, did he?                                              11:39:02

   9               MR. SPIRO:   Objection to form.                    11:39:05

 10    BY MR. L. WOOD:                                                11:39:07

 11           Q.   Is that correct?                                   11:39:07

 12           A.   He did not have photographic or -- you             11:39:08

 13    know, other direct evidence that that was the                  11:39:10

 14    case --                                                        11:39:13

 15           Q.   I am not asking about that.                        11:39:14

 16           A.   He -- he implied on numerous occasions             11:39:16

 17    that he believed that was the case.                            11:39:17

 18           Q.   I'm not asking you what he implied.      I'm       11:39:19

 19    asking what he told you.     He did not tell you that          11:39:23

 20    Vernon had married Tik at 12 or had had any type of            11:39:29

 21    a sexual relationship with Tik at 12 or 13 years of            11:39:33

 22    age?                                                           11:39:36

 23                MR. SPIRO:   Objection; form.    Compound.         11:39:37

 24    Argumentative.                                                 11:39:38

 25    ///

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   1   and green, what we know is it fact, right?                   11:46:43

   2          A.   Right.                                           11:46:45

   3          Q.   In that report of August the 27,                 11:46:46

   4   Exhibit 65, where does he report that                        11:46:51

   5   Vernon Unsworth met Tik when she was 12 or 13 years          11:46:56

   6   old?                                                         11:47:04

   7          A.   I don't -- I don't see that outlined here        11:47:07

   8   in this specific correspondence.                             11:47:10

   9          Q.   Well, take a look at the next to last            11:47:12

 10    bullet point where it was "What was her age when             11:47:14

 11    they met."    You see that on Bates No. 053?                 11:47:17

 12           A.   Yes.                                             11:47:19

 13           Q.   And this is answered in orange, meaning          11:47:19

 14    we are in the process of verifying, right?                   11:47:21

 15           A.   Correct.                                         11:47:24

 16           Q.   And what he told you was -- read with me.        11:47:25

 17    "The target is 63 years old.      His wife" -- and           11:47:27

 18    that's referring to Tik, right?                              11:47:30

 19           A.   Yes.                                             11:47:32

 20           Q.   "His wife, we believe, is 30, which would        11:47:33

 21    have put her at 18/19 when they first met."                  11:47:36

 22                Have I read that correctly?                      11:47:43

 23           A.   Yes.                                             11:47:44

 24           Q.   So this is not when he told you that he          11:47:45

 25    had information that she was 12 or 13.       He told you     11:47:48

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   1   on the 27th that he was trying to verify                     11:47:51

   2   information that he had that suggested that she was          11:47:55

   3   18 or 19 when they first met --                              11:48:00

   4         A.   Um-hmm.                                           11:48:03

   5         Q.   -- based off of what he believed to be            11:48:03

   6   her age -- present agent of 30, right?                       11:48:06

   7         A.   Correct.                                          11:48:10

   8         Q.   Turned out down the road that you                 11:48:12

   9   learned, because you got the birth certificate               11:48:14

 10    before he provided it to you -- you learned that             11:48:17

 11    she was in fact 40 years old at the present time             11:48:18

 12    that this was going on in September of -- August             11:48:21

 13    and September of 2018, right?                                11:48:26

 14          A.   That's right.                                     11:48:28

 15          Q.   Which, under this analysis, would have            11:48:29

 16    put at age of 28 to 29 when they first met, right?           11:48:31

 17          A.   Yes.                                              11:48:37

 18          Q.   Okay.   Where did he ever tell you that he        11:48:39

 19    believed that she was 25 or 20 years old when they           11:48:42

 20    first met -- I mean, strike that.                            11:48:50

 21               When did he ever tell you that he thought         11:48:51

 22    her present age was less than 30?                            11:48:52

 23          A.   So on multiple occasions he said that             11:48:57

 24    they met seven years prior to being married at 18            11:49:01

 25    or 19, and that was shared on multiple occasions.            11:49:08

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   1         Q.    So now let me ask you to take a look             11:51:51

   2   at -- did you -- as part of your reporting to                11:52:04

   3   Mr. Musk, did you give Mr. Musk the benefit of the           11:52:21

   4   answers to the questions you had posed to                    11:52:26

   5   Mr. Howard; that you had posed on the 26th, he then          11:52:29

   6   answered on the 27th, Exhibit 65?                            11:52:36

   7               Did you give that information or the             11:52:38

   8   significant or key points in that report to                  11:52:41

   9   Mr. Musk?                                                    11:52:44

 10          A.    I'm sure I would have communicated, you          11:52:45

 11    know, in some form, the responses.                           11:52:47

 12          Q.    Accurately?                                      11:52:54

 13          A.    As accurately as I could of in whatever          11:52:57

 14    summary I was giving him.                                    11:53:00

 15          Q.    Well, this is a key and significant issue        11:53:01

 16    of when they met, right?     You would have told --          11:53:02

 17    you believe you told Mr. Musk what this report               11:53:04

 18    said.   That Howard believes that Tik was 30 when            11:53:08

 19    they met -- or it's 30 at the present time, and              11:53:13

 20    would have put her at 18 or 19 when they first met.          11:53:15

 21    You would have told that to Mr. Musk, wouldn't you?          11:53:18

 22          A.    I -- I'm sure I would have mentioned             11:53:21

 23    that, because his assertion of the age when they             11:53:24

 24    met had been repeatedly presented to us as a young           11:53:29

 25    teenager, that -- that that assertion was evolving.          11:53:36

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   1   And I would imagine that I would have shared that            11:53:41

   2   with him.                                                    11:53:44

   3         Q.    So before sharing with him that -- that          11:53:44

   4   Howard had said he believed they were 18 or 19 when          11:53:46

   5   they met, do you believe prior to that you had told          11:53:50

   6   Mr. Musk that Howard had reported that they were --          11:53:53

   7   that Tik was 12 or 13 when they met?                         11:53:56

   8         A.    I'm sure at some point that I did                11:54:00

   9   communicate with them.                                       11:54:02

 10          Q.    I know that.   I'm trying to find out at         11:54:03

 11    what point.    Do you believe that Mr. Howard had            11:54:07

 12    suggested to you that he had information that Tik            11:54:08

 13    was 12 or 13 when they met prior to him writing you          11:54:11

 14    on the 27th of August saying that he calculated the          11:54:14

 15    age of Tik when they met at 18 to 19?                        11:54:20

 16          A.    Yes.                                             11:54:25

 17          Q.    So now you've got conflicting information        11:54:25

 18    from Mr. Howard.    Earlier he's told you 12 or 13.          11:54:27

 19    Now he's telling you 18 to 19, true?                         11:54:32

 20          A.    True.                                            11:54:36

 21          Q.    And he's telling you that that's -- he's         11:54:36

 22    in the process of verifying that, right?       It's          11:54:39

 23    unverified?                                                  11:54:42

 24          A.    Correct.                                         11:54:44

 25          Q.    And you would have told Mr. Musk that            11:54:44

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   1   this is what he's telling me, but it's not verified          11:54:45

   2   yet.   He's in the process of verifying it, right?           11:54:50

   3                MR. SPIRO:   Objection; calls for               11:54:52

   4   speculation.     Form.                                       11:54:52

   5   BY MR. L. WOOD:                                              11:54:53

   6          Q.    Okay.    Answer my question, please.            11:54:53

   7          A.    Yeah.    I would -- I mean, I don't know        11:54:56

   8   what verbiage I used with Mr. Musk that day, but I           11:54:57

   9   would have attempted to summarize this in the best           11:55:00

 10    way possible to him.                                         11:55:04

 11           Q.    Well, this is a key and significant             11:55:05

 12    issue.      What age were they when they met, right?         11:55:08

 13           A.    It's an important part of this, yes.            11:55:11

 14           Q.    Yeah, so you had earlier told Mr. Musk          11:55:13

 15    that you had information from Howard that they met           11:55:16

 16    when Tik was 12 or 13?                                       11:55:19

 17           A.    Um-hmm.                                         11:55:21

 18           Q.    Yes?                                            11:55:21

 19           A.    Yes.                                            11:55:22

 20           Q.    Prior to August 27, right?                      11:55:23

 21           A.    Correct.                                        11:55:26

 22           Q.    And now on August the 27th, you're              11:55:26

 23    getting different information that says 18 to 19             11:55:28

 24    that they're trying to verify, right?                        11:55:32

 25           A.    Right.                                          11:55:34

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   1         Q.    And you would have told Mr. Musk "Hey,           11:55:35

   2   he's changed it.     12 or 13, and now he's telling me       11:55:37

   3   18 or 19."                                                   11:55:41

   4               MR. SPIRO:   Objection; form.                    11:55:42

   5   BY MR. L. WOOD:                                              11:55:42

   6         Q.    You would have told him that, would you          11:55:43

   7   not, sir?                                                    11:55:44

   8               MR. SPIRO:   You can answer.                     11:55:45

   9               THE WITNESS:   Oh, there were multiple           11:55:46

 10    changes in the story.                                        11:55:48

 11    BY MR. L. WOOD:                                              11:55:50

 12          Q.    I'm not asking about multiple changes.           11:55:51

 13          A.    And this would have been one of those            11:55:53

 14    items that I shared.                                         11:55:55

 15          Q.    Right.   Yes, you would have told him            11:55:56

 16    "Look, he's told me 12 to 13.      But now I've got a        11:55:57

 17    report from him saying 18 to 19 that he's trying to          11:56:01

 18    verify," right?                                              11:56:02

 19          A.    Likely, yes.                                     11:56:04

 20          Q.    Because that's -- that's a big conflict.         11:56:04

 21    It's very significant to know whether they met at            11:56:05

 22    12 or 13 as he had earlier told you before the 27th          11:56:09

 23    of August, to then come up on the 27th of August             11:56:12

 24    and say "Hey, we think it was 18 to 19," right?              11:56:15

 25          A.    There is a difference.                           11:56:19

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   1          Q.   That's a big deal.    And that information       11:56:20

   2   you communicated to Elon Musk, true?                         11:56:22

   3          A.   Likely.   I don't know what words or what        11:56:24

   4   form, but yes, likely that --                                11:56:26

   5          Q.   You would have made the point that there         11:56:27

   6   had been a change, a significant change in the date          11:56:29

   7   of her age of when they met from prior to the 27th           11:56:31

   8   what he told you, and what he told you on the 27th,          11:56:35

   9   true?                                                        11:56:38

 10           A.   Likely.                                          11:56:39

 11                MR. L. WOOD:   What number are we up to          11:56:39

 12    now?                                                         11:56:39

 13                THE WITNESS:   66.                               11:56:39

 14                MR. L. WOOD:   66.                               11:56:39

 15                Off the record for a second.                     11:56:39

 16                (Exhibit 66 was marked for                       11:56:39

 17                identification.)                                 11:56:39

 18                THE VIDEOGRAPHER:    And we are going off        11:57:12

 19    the record at 11:56 a.m.                                     11:57:13

 20                (Recess taken.)                                  11:57:42

 21                THE VIDEOGRAPHER:    And we're back on the       11:57:43

 22    record at 11:56 a.m.                                         11:57:44

 23    BY MR. L. WOOD:                                              11:57:46

 24           Q.   Now, on -- I've handed you what has been         11:57:48

 25    marked for purposes of identification as                     11:57:50

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   1   Exhibit 66.                                                    11:57:51

   2               Are you familiar with that email                   11:57:52

   3   exchange?                                                      11:57:55

   4         A.    Yes.                                               11:57:56

   5         Q.    Chain.                                             11:57:56

   6               And did you review that yesterday?                 11:57:56

   7         A.    Yes.                                               11:58:00

   8         Q.    And this is another email that you had             11:58:02

   9   yourself compiled from your search back several                11:58:04

 10    weeks ago, right?                                              11:58:07

 11          A.    Correct.                                           11:58:08

 12          Q.    Now, on the 28th, Mr. Howard is providing          11:58:10

 13    you with additional information about Mr. Musk.        I       11:58:17

 14    mean, about Mr. Unsworth, but not information about            11:58:22

 15    the age of Tik when they met, true?                            11:58:25

 16          A.    Yeah.    I don't see anything talking about        11:58:30

 17    age here.                                                      11:58:33

 18          Q.    And you write back, and say "Thank you             11:58:37

 19    for this information," right?                                  11:58:40

 20          A.    Yes, I did.                                        11:58:46

 21          Q.    And then you say "We would like you to             11:58:48

 22    immediately move forward with "leaking" this                   11:58:50

 23    information to the UK press.      Obviously must be            11:58:55

 24    done very carefully."                                          11:58:58

 25                Have I read that correctly?                        11:58:59

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   1         A.   Correct.                                          11:59:01

   2         Q.   The "we" is you and Mr. Musk, true?               11:59:01

   3         A.   Yes.                                              11:59:06

   4         Q.   Mr. Musk wanted this information leaked           11:59:07

   5   to the UK press, true?                                       11:59:09

   6         A.   I believe so, yes.                                11:59:13

   7         Q.   In fact it was his idea, because this was         11:59:15

   8   an area outside of your life's experience dealing            11:59:17

   9   with the press.                                              11:59:21

 10               Mr. Musk was the one that said -- when            11:59:24

 11    you gave him the information, said "Hey, let's get           11:59:26

 12    it leaked to the UK press," true?                            11:59:29

 13               MR. SPIRO:    Objection; form.                    11:59:31

 14    BY MR. L. WOOD:                                              11:59:32

 15          Q.   True?                                             11:59:33

 16          A.   It was James Howard's idea.                       11:59:33

 17          Q.   No.    "We would like you to immediately          11:59:35

 18    move forward with leaking this information to the            11:59:37

 19    UK press."                                                   11:59:39

 20               That is you and Mr. Musk, right?                  11:59:40

 21          A.   In this in correspondence.      There was         11:59:42

 22    prior correspondence where he was the one that               11:59:43

 23    initiated the idea of using the press to balance             11:59:46

 24    the scales in this.                                          11:59:51

 25               MR. SPIRO:    "He" meaning who?                   11:59:52

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   1               THE WITNESS:   James Howard.                     11:59:55

   2   BY MR. L. WOOD:                                              11:59:54

   3         Q.    And that was in writing --                       11:59:55

   4         A.    Uh --                                            11:59:57

   5         Q.    You said in correspondence -- prior              11:59:57

   6   correspondence he was the one that initiated the             11:59:59

   7   idea of using the press to balance the scales?               12:00:02

   8         A.    I can't clearly state whether it was in          12:00:06

   9   writing or not.     I would have to go back and look,        12:00:08

 10    but he clearly was the one that initiated that               12:00:09

 11    idea.                                                        12:00:12

 12          Q.    Aside for the moment who initiated the           12:00:16

 13    idea --                                                      12:00:19

 14          A.    Um-hmm.                                          12:00:19

 15          Q.    -- let's assume that it was Mr. Howard as        12:00:19

 16    you said.                                                    12:00:20

 17          A.    Okay.                                            12:00:21

 18          Q.    You and Elon Musk said "Yes, go ahead and        12:00:22

 19    leak it," right?                                             12:00:26

 20          A.    Yes.                                             12:00:27

 21          Q.    You knew it was going -- you said "We            12:00:28

 22    agree to it," and Mr. Musk said that "I agree to it          12:00:30

 23    being leaked," right?                                        12:00:33

 24          A.    Yes.                                             12:00:35

 25          Q.    And who -- whose idea was it where you           12:00:36

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   1         Q.    Yeah.   "Share the facts" --                     12:02:48

   2         A.    As you said --                                   12:02:49

   3         Q.    Meaning, share these facts with the              12:02:50

   4   media, right?    That you bullet point above?                12:02:52

   5         A.    Yeah, I mean, let's see here.     I'm            12:03:03

   6   clearly responding to something that he said.                12:03:14

   7         Q.    Well, you're responding to his email             12:03:20

   8   below.     "Thank you for this information."                 12:03:22

   9               And then you say "We'd like to move              12:03:24

 10    forward with leaking the information to the UK               12:03:26

 11    press," which you say is an idea that he had raised          12:03:29

 12    with you, right?                                             12:03:32

 13          A.    Correct.                                         12:03:33

 14          Q.    "Obviously must be done very carefully."         12:03:33

 15    And then you say "The line of thinking at this               12:03:35

 16    point is as follows."     And is that then the facts         12:03:39

 17    that you wanted -- you and Mr. Musk had agreed               12:03:43

 18    should be leaked to the UK press?                            12:03:47

 19          A.    Yeah, what I'm questioning in my mind is         12:03:50

 20    was there a phone conversation in between what he            12:03:53

 21    and what I sent, which would have been me referring          12:03:57

 22    to the facts that he said.      I don't know.                12:04:00

 23          Q.    Mr. Musk may have had input in                   12:04:10

 24    collaborations, discussions with you about what              12:04:13

 25    facts or information were going to be shared in the          12:04:15

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   1   media leaks, true?                                           12:04:18

   2         A.   May have.                                         12:04:20

   3         Q.   Yes.   You don't deny that he did, do you?        12:04:21

   4         A.   Yeah, I mean, I don't know to what                12:04:25

   5   extent, but he may have had some input on that.              12:04:27

   6         Q.   Wouldn't that be consistent with how you          12:04:30

   7   all were collaborating about going back and forth            12:04:31

   8   in your discussions with Mr. Howard?                         12:04:34

   9         A.   Typically.                                        12:04:36

 10          Q.   And then it says "Share the facts, and as         12:04:37

 11    you said, that should be enough for a story."                12:04:41

 12               I've read that correctly, right?                  12:04:45

 13          A.   That is correct.                                  12:04:47

 14          Q.   Then you go to say "But we'd like to make         12:04:48

 15    this happen immediately."                                    12:04:51

 16               Have I read that correctly?                       12:04:52

 17          A.   Yes.                                              12:04:54

 18          Q.   And you are saying there what you knew is         12:04:54

 19    that you and Mr. Musk did want these leaks to                12:04:57

 20    happen immediately, true?                                    12:05:02

 21          A.   Yes.                                              12:05:05

 22               MR. L. WOOD:    Why don't we get the lunch        12:05:11

 23    and take a five-minute break.                                12:05:11

 24               THE VIDEOGRAPHER:     We are going off the        12:05:13

 25    record at 12:04 p.m.                                         12:05:15

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   1         Q.    You have not deleted anything, right?                12:18:49

   2         A.    Right.    No.                                        12:18:52

   3         Q.    So looking at the 28th at 9:55, it looks             12:18:53

   4   like Mr. Howard says "Jim, are you free for a                    12:19:00

   5   conversation"?                                                   12:19:03

   6               And you write back in ten minutes, and               12:19:05

   7   you say "Now works," right?                                      12:19:07

   8         A.    Correct.                                             12:19:12

   9         Q.    And then he asked you for more money.                12:19:13

 10    Can you authorize a further 12,000 U.S. dollars to               12:19:16

 11    expedite the second stages of the project as                     12:19:22

 12    discussed?                                                       12:19:27

 13          A.    Yes, I see that.                                     12:19:29

 14          Q.    And you said "Yes, we can get it out                 12:19:31

 15    tomorrow.    What is the timeline?"     Right?                   12:19:33

 16          A.    Um-hmm.                                              12:19:35

 17          Q.    He says "Jim, timeline is ASAP.      I am            12:19:37

 18    meeting Mike at 0800 GMT to begin the process.          It       12:19:41

 19    has to appear organic and not contrived."                        12:19:49

 20                Did you understand him to be referring to            12:19:53

 21    the media leaks?                                                 12:19:55

 22          A.    Yes.   Something involving the media,                12:19:58

 23    yeah.                                                            12:20:00

 24          Q.    "Priority is to divert the story away                12:20:01

 25    from the principal."                                             12:20:06

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   1               That would be referring to Elon Musk,            12:20:08

   2   right?                                                       12:20:09

   3          A.   Yup.                                             12:20:11

   4          Q.   "Priority is to divert the story away            12:20:11

   5   from the principal, and let the UK tabloids develop          12:20:15

   6   their story."                                                12:20:17

   7               Hoping to get a story about                      12:20:20

   8   Vernon Unsworth, right?                                      12:20:21

   9          A.   Correct.                                         12:20:24

 10           Q.   "And an unflattering story," true?               12:20:25

 11           A.   Right.   Just wherever the cards would           12:20:27

 12    fall in investigative work, gathering information            12:20:33

 13    and -- but yes, something that would be -- would             12:20:34

 14    have people question the motive for being in                 12:20:37

 15    Thailand.                                                    12:20:45

 16           Q.   And raise the possibility of sexual              12:20:45

 17    misconduct, including pedophilia?                            12:20:48

 18           A.   I mean, that would be among the things           12:20:56

 19    that people would question, I would assume, yes.             12:20:58

 20           Q.   And you wanted that story to be                  12:21:01

 21    published, and Mr. Musk wanted it to be published            12:21:03

 22    too.   True?                                                 12:21:06

 23           A.   When you say "that story."     I mean,           12:21:07

 24    it's --                                                      12:21:08

 25           Q.   Well, the points that you all talked             12:21:09

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   1   about on Exhibit 66.                                         12:21:11

   2         A.    Yeah.                                            12:21:13

   3         Q.    That's what you were talking about,              12:21:13

   4   right?                                                       12:21:15

   5         A.    Yeah, I mean, in general you have someone        12:21:16

   6   who has disrupted many industries, and you as a              12:21:18

   7   result has many people who seek to discredit him,            12:21:22

   8   and therefore any data point, good or bad, is blown          12:21:24

   9   extremely out of proportion in the media, and                12:21:29

 10    therefore, you know, my instinct to protect was              12:21:32

 11    that we needed to somehow balance, because there             12:21:39

 12    was a clear imbalance in what was in the media.              12:21:42

 13          Q.    The imbalance being Elon Musk was looking        12:21:48

 14    very bad?                                                    12:21:52

 15          A.    100 percent negative towards --                  12:21:53

 16          Q.    And Unsworth was looking very good as a          12:21:54

 17    victim?                                                      12:21:57

 18          A.    It was all negative -- or a lot of it was        12:21:57

 19    negative toward Elon.                                        12:21:58

 20          Q.    And you wanted to shift the balance to           12:22:00

 21    have more negative about Vernon Unsworth.                    12:22:01

 22          A.    To have a more balanced view.     If there       12:22:02

 23    was information to be found, part of it was to               12:22:04

 24    encourage investigative reporting to do, you know,           12:22:08

 25    part of the lifting here.                                    12:22:10

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   1   Bates 0201.                                                    12:26:25

   2              Are you with me?                                    12:26:28

   3         A.   Yes, I'm looking at it.                             12:26:30

   4         Q.   And then compare 66 with the bullet                 12:26:31

   5   points.                                                        12:26:34

   6         A.   Yes.                                                12:26:37

   7         Q.   Am I correct that Mr. Howard is sending             12:26:38

   8   to the Sun News in the UK almost -- almost                     12:26:43

   9   verbatim, the bullet points that are reflected in              12:26:47

 10    Exhibit 66 under "The line of thinking at this                 12:26:53

 11    point is as follows"?                                          12:26:59

 12          A.   Yeah.   Yes; very similar.                          12:27:01

 13          Q.   So when you say that you and Mr. Musk               12:27:06

 14    agreed that this information could be leaked,                  12:27:09

 15    you -- you both wanted it published to, as you say,            12:27:12

 16    balance the scales of the coverage, right?                     12:27:16

 17          A.   Yes.                                                12:27:21

 18          Q.   You weren't -- you weren't literally or             12:27:23

 19    anticipating or expecting it to be published.        You       12:27:25

 20    wanted it published, true?      You and Mr. Musk?              12:27:28

 21          A.   I'm not sure the difference between them.           12:27:31

 22          Q.   There may not be any.     The fact of the           12:27:33

 23    matter is you and Elon Musk wanted this information            12:27:34

 24    contained in Exhibit 66 and forwarded to the Sun as            12:27:38

 25    reflected on Exhibit 67, you and Mr. Musk wanted               12:27:43

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   1   this information to be public; to be written about            12:27:48

   2   by the media, true?                                           12:27:54

   3         A.   Yes.                                               12:27:55

   4         Q.   And then on the next page it appears that          12:28:05

   5   Mr. -- and correct me if I'm wrong -- it appears              12:28:07

   6   that Mr. Howard is telling you that he has now                12:28:10

   7   reached out to Mick Smith at the Daily Mail.                  12:28:13

   8              And he has a little text exchange with             12:28:18

   9   Mr. Smith above, right?                                       12:28:22

 10          A.   Yes.                                               12:28:24

 11          Q.   And did you understand that that was               12:28:24

 12    telling you in essence that "I've given the same              12:28:26

 13    information to Mr. Smith that I gave to the Sun.              12:28:29

 14    They're interested, but here is what he said."        And     12:28:31

 15    he sent you the text, right?                                  12:28:36

 16          A.   Yes, I believe so.                                 12:28:39

 17          Q.   And then you suggest in your text of               12:28:50

 18    8:29, another thought -- other thought.       "Maybe we       12:28:55

 19    consider the Australian press as well.       The UK           12:29:00

 20    press may be prone to protect one of their own."              12:29:05

 21               Have I read that correctly?                        12:29:08

 22          A.   Yes.                                               12:29:10

 23          Q.   And that is your suggestion, true?                 12:29:10

 24          A.   True.                                              12:29:12

 25          Q.   Did you and Mr. Musk discuss that and              12:29:12

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   1   So again, I -- could he have been a part of this             12:31:07

   2   conversation?    It is very possible.     I just don't       12:31:11

   3   clearly recollect.                                           12:31:14

   4         Q.   Can we agree that it would have been one          12:31:15

   5   of two things.    Either Mr. Musk suggested to you           12:31:18

   6   "See if he can get this in Australia," or you came           12:31:21

   7   up with the idea "Maybe we can get something done            12:31:27

   8   in Australia," true?                                         12:31:30

   9         A.   It could have been either of those.               12:31:32

 10          Q.   But either one -- Mr. Musk would have             12:31:34

 11    known that you were suggesting the avenue of also            12:31:36

 12    publishing in Australia, true?                               12:31:42

 13          A.   Likely.                                           12:31:44

 14          Q.   Why were you focusing the efforts to leak         12:31:50

 15    this information initially on the United Kingdom;            12:31:54

 16    UK?                                                          12:31:59

 17          A.   I mean, just that's where he was.       That's    12:32:01

 18    where we had reason to believe that he was looking           12:32:04

 19    for counsel.                                                 12:32:10

 20               I mean, that's, you know, what Howard was         12:32:11

 21    sharing with us.     That's where Howard was based out       12:32:14

 22    of.   That's where his kind of central focus was, so         12:32:18

 23    I think that's what influenced that.                         12:32:21

 24          Q.   Do you think the time zone on that --             12:32:34

 25    your email is May 29 at 7:52 p.m.       Do you think         12:32:35

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   1   all -- what was the ruse -- or lack of a better              12:34:02

   2   word -- about this representative of a UK charity?           12:34:06

   3              Who were you trying to say this was               12:34:09

   4   coming from somebody that represented a UK charity           12:34:11

   5   interested in Mr. Unsworth as an ambassador?                 12:34:15

   6         A.   In reviewing that -- so I was relying on          12:34:21

   7   James Howard to investigate this, using the, you             12:34:28

   8   know, norms and resources and rules and whatever             12:34:32

   9   that would be commonly expected in an                        12:34:39

 10    investigation.                                               12:34:42

 11               That is not my bailiwick, but -- let              12:34:43

 12    alone in another country, let alone across                   12:34:47

 13    countries.    And from what I understood, that was           12:34:51

 14    one of his methods to be able to gather                      12:34:55

 15    information.                                                 12:35:01

 16          Q.   And Mr. Howard was telling you that he            12:35:03

 17    also thought he could get information about                  12:35:06

 18    Mr. Unsworth's legal strategy through                        12:35:08

 19    Mr. Unsworth's law firm in the UK, true?                     12:35:13

 20    Mark Stephens?                                               12:35:16

 21          A.   We asked to verify whether or not there           12:35:20

 22    was counsel being retained.      There was no request        12:35:22

 23    for, you know, strategic information or -- we were           12:35:27

 24    asking for verification whether or not there was             12:35:34

 25    counsel.                                                     12:35:36

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   1         A.    No.   It sounds like something I would           12:36:56

   2   have used.                                                   12:36:59

   3         Q.    What did you mean when you tell him to           12:37:00

   4   be -- just to "make sure the team in Thailand keeps          12:37:03

   5   digging, creatively, extensively, and when                   12:37:06

   6   possible, aggressively."                                     12:37:10

   7               What are you suggesting that he's telling        12:37:11

   8   these people to do, since it's your phrase and not           12:37:13

   9   Mr. Musk?                                                    12:37:16

 10          A.    To me that is pretty straightforward; to         12:37:18

 11    go -- kind of think outside of the box and to it             12:37:20

 12    exhaust every resource, and to, as possible,                 12:37:23

 13    aggressively seek out, you know, the information.            12:37:30

 14          Q.    Why was it that important to you to make         12:37:34

 15    sure that this effort to leak information to the             12:37:38

 16    media -- strike that.                                        12:37:41

 17                Why was it so important to you to                12:37:43

 18    reiterate to Mr. Howard that the team in Thailand            12:37:47

 19    keep digging and dig creatively, extensively, and            12:37:52

 20    when possible, aggressively.                                 12:37:57

 21                Why was that so important to you?                12:37:57

 22          A.    Because he had provided a lot of                 12:38:02

 23    information at that point, and that information had          12:38:04

 24    at times varied, and we needed to -- you know, all           12:38:07

 25    along we told him that we wanted facts                       12:38:14

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   1   hired him.    He was not working for any law firm.           12:40:03

   2   BY MR. L. WOOD:                                              12:40:07

   3         Q.    All right.    I don't want to know anything      12:40:07

   4   that a lawyer said to you, and I don't know if               12:40:10

   5   it's -- you can tell me.                                     12:40:12

   6               First, yes or no, did you ever discuss           12:40:14

   7   with Mr. Musk the idea that you needed to get                12:40:16

   8   another or different investigator to flush out the           12:40:20

   9   truth, yes or no?                                            12:40:25

 10          A.    Yes.   Yes.   In early September when the        12:40:28

 11    facts had fluctuated enough, and -- and we were              12:40:30

 12    pressing him hard to substantiate some of the                12:40:34

 13    claims that he had made, including those about his           12:40:38

 14    age and he was still waffling between a marriage             12:40:41

 15    date and a -- and a "met date," and you know,                12:40:43

 16    things like that.     And records that existed about         12:40:45

 17    him verified in hotel stays in Pattaya and all that          12:40:50

 18    stuff.     When that stuff didn't materialize,               12:40:56

 19    there -- there was a discussion that you know,               12:40:57

 20    about do we need to find something; a different              12:41:04

 21    solution here.                                               12:41:07

 22          Q.    Who was involved in that discussion?             12:41:08

 23          A.    It would have been --                            12:41:10

 24          Q.    Just you and Mr. Musk?                           12:41:11

 25          A.    Yes.                                             12:41:12

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   1         Q.   What did he say?                                  12:41:14

   2         A.   Well, I mean, I don't recall the words            12:41:16

   3   that were said.                                              12:41:18

   4         Q.   Well, did he say "Get another                     12:41:18

   5   investigator"?                                               12:41:20

   6         A.   No.   He just -- it was questioning -- you        12:41:20

   7   know, at that point the validity of this guy,                12:41:22

   8   and -- and whether or not we needed a backup or a            12:41:27

   9   secondary investigator in the process.                       12:41:35

 10          Q.   Well, if your goal was to investigate to          12:41:37

 11    find out the truth, you would agree with me at this          12:41:39

 12    time when you-all were questioning to get another            12:41:45

 13    investigator, you and Mr. Musk were concerned that           12:41:48

 14    you weren't getting a straight story from                    12:41:50

 15    Mr. Howard, true?                                            12:41:53

 16          A.   True.                                             12:41:54

 17          Q.   So if you really wanted -- you had                12:41:55

 18    concerns about whether you were getting the truth            12:41:58

 19    from Mr. Howard, you tell me, right?                         12:41:59

 20          A.   Correct.                                          12:42:01

 21          Q.   Mr. Musk had that same concern, true?             12:42:02

 22          A.   True.                                             12:42:05

 23          Q.   And you-all had had that concern ever             12:42:05

 24    since his data being provided to you started to              12:42:07

 25    change, right?                                               12:42:11

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   1         A.    That's right.                                    12:42:12

   2         Q.    Like when it went from 12 or 13 prior to         12:42:12

   3   27th, to 18 to 19 on the 27th, right?                        12:42:16

   4         A.    Yes, though it continued to waffle even          12:42:19

   5   after the 27th --                                            12:42:22

   6         Q.    We can go into that at length --                 12:42:23

   7         A.    There were phone conversations --                12:42:23

   8         Q.    -- about waffling on the age and when            12:42:24

   9   they met and when they got allegedly married.                12:42:27

 10          A.    Okay.                                            12:42:29

 11          Q.    But right now I'm trying to just pin down        12:42:29

 12    in my mind's eye when you had this conversation              12:42:32

 13    with Mr. Musk, and the goal was let's find out the           12:42:34

 14    truth.     We need an investigation to learn the             12:42:38

 15    truth, right?    Right?                                      12:42:41

 16          A.    Correct.                                         12:42:43

 17          Q.    Both of you-all had serious doubts about         12:42:45

 18    whether you were in the hands of the right guy with          12:42:48

 19    Jim Howard, true?                                            12:42:50

 20                MR. SPIRO:    Objection.   Date?   When?         12:42:52

 21                MR. L. WOOD:    At the time they had the         12:42:53

 22    meeting about whether they needed to get another             12:42:55

 23    investigator?                                                12:42:57

 24                MR. SPIRO:    That was September.                12:42:57

 25                THE WITNESS:    Well, yeah, so early             12:42:57

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   1   September.                                                    12:42:58

   2               MR. L. WOOD:   Who cares.    I'm not asking       12:42:59

   3   about the date.    Early September.                           12:43:00

   4               MR. SPIRO:   All I'm saying is in a couple        12:43:03

   5   of your last questions, I just want to make sure              12:43:03

   6   the time is accurate.                                         12:43:04

   7               MR. L. WOOD:   I'm listening.    Nobody is        12:43:06

   8   trying to sneak anything in here --                           12:43:06

   9               MR. SPIRO:   No --                                12:43:08

 10                MR. L. WOOD:   -- on this side of the             12:43:08

 11    table.     Look, I'm saying that September -- you             12:43:09

 12    believed this conversation occurred in very early             12:43:11

 13    of September, right?                                          12:43:14

 14                THE WITNESS:   Yes.                               12:43:17

 15    BY MR. L. WOOD:                                               12:43:17

 16          Q.    Likely after you got the preliminary              12:43:17

 17    report of the 30th and the final report, or at                12:43:19

 18    least not preliminary report, on September 1?                 12:43:22

 19          A.    Yes.                                              12:43:25

 20          Q.    That's when you and Elon Musk sat down            12:43:26

 21    and said "Wait a minute.     This guy is all over the         12:43:29

 22    place.     Maybe we ought to get somebody else,"              12:43:30

 23    right?                                                        12:43:34

 24          A.    Yeah, I mean, I don't think there was             12:43:35

 25    like this one summit meeting that summed that up,             12:43:36

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   1   but there was -- there were a few conversations                12:43:38

   2   that -- that caused us to question, you know, the              12:43:41

   3   validity, and then what is the solution for this.              12:43:44

   4         Q.   And at least one of those conversations,            12:43:50

   5   if not more, had occurred when you got the                     12:43:51

   6   information saying 18 to 19.                                   12:43:55

   7              You told Mr. Musk without delay "We're              12:43:58

   8   getting different information now, Elon," right?               12:44:02

   9         A.   Yes.                                                12:44:06

 10          Q.   And that would have been reported to him            12:44:06

 11    within a day?                                                  12:44:09

 12          A.   Most likely, yes.                                   12:44:11

 13          Q.   By the 28th he knew there was a problem             12:44:13

 14    in the dates that you were getting on when they met            12:44:16

 15    and when they got married, right?                              12:44:18

 16          A.   You say a "problem," I mean...                      12:44:20

 17          Q.   Well, the date --                                   12:44:23

 18          A.   Yeah, he was waffling.                              12:44:23

 19          Q.   -- a serious discrepancy?                           12:44:23

 20          A.   He was waffling as far as when marriage             12:44:25

 21    versus met, yeah.     Yes, he was waffling back and            12:44:28

 22    forth there.                                                   12:44:31

 23          Q.   And not just waffling a little bit.       You       12:44:31

 24    recognized that there was a serious discrepancy in             12:44:34

 25    what he was telling you according to you on when               12:44:36

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   1   they met in terms of Tik's age, and you knew that            12:44:40

   2   on the 27th and 28th, and you discussed it with              12:44:45

   3   Mr. Musk, true?                                              12:44:48

   4         A.    I would have shared the information that         12:44:50

   5   was shared with me.                                          12:44:52

   6         Q.    On the 28th when you got it?                     12:44:53

   7         A.    Most likely, yes.                                12:44:56

   8               MR. L. WOOD:   Let me get, if you don't          12:44:57

   9   mind -- 17.    What number did you come up with?             12:44:57

 10                MR. M. WOOD:   68, yeah.                         12:44:57

 11                MR. L. WOOD:   68, thank you.                    12:44:57

 12                (Exhibit 68 was marked for                       12:44:57

 13                identification.)                                 12:44:57

 14    BY MR. L. WOOD:                                              12:45:51

 15          Q.    Exhibit 68.    Are you familiar with that        12:46:01

 16    document?                                                    12:46:03

 17          A.    I'm looking at it right now.                     12:46:06

 18                Yes, I am familiar with this document.           12:46:08

 19          Q.    And this was the August 30th project.            12:46:14

 20    Rowena preliminary report, true?                             12:46:18

 21          A.    Yes, that's --                                   12:46:22

 22          Q.    This was information received by you from        12:46:23

 23    Mr. Howard before Mr. Musk sent his email on the             12:46:27

 24    30th to Ryan Mac, true?                                      12:46:33

 25          A.    I don't know the time schedule of what           12:46:36

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   1         A.   Yes.                                              12:52:10

   2         Q.   Which meant it had to go to Elon Musk             12:52:10

   3   from you, right?                                             12:52:15

   4         A.   Yes.                                              12:52:15

   5         Q.   Did you ever refer to Mr. Unsworth as a           12:52:16

   6   child rapist?                                                12:52:19

   7         A.   I never used that term.                           12:52:22

   8         Q.   Neither did Mr. Howard, true?                     12:52:24

   9         A.   True.                                             12:52:27

 10          Q.   Just like he told you when you tried to           12:52:28

 11    write him on September the 6th and try to explain            12:52:29

 12    to him how Mr. Musk might have somehow confused or           12:52:32

 13    inferred or drawn the wrong conclusions about the            12:52:35

 14    information -- he made it clear to you -- clear              12:52:39

 15    as -- water.    "I never said child rapist."      And        12:52:41

 16    there's a big difference between saying somebody's           12:52:47

 17    18 or 19, and somebody saying that you are a child           12:52:51

 18    rapist.                                                      12:52:56

 19               His mistake is he acknowledged to you was         12:52:56

 20    the age 30 to 40, and you were upset because that            12:53:00

 21    put them meeting at age 29 to 30 instead of 18 or            12:53:03

 22    19, right?                                                   12:53:05

 23               MR. SPIRO:    Objection.   That question --       12:53:07

 24    BY MR. L. WOOD:                                              12:53:08

 25          Q.   I'm going to go through it with you in a          12:53:08

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   1         A.   Yeah, I'm looking, but I don't know of             12:54:03

   2   where it would say that.                                      12:54:08

   3         Q.   Well, look at 0443 if that helps.                  12:54:09

   4         A.   Okay.   I'm looking at it.                         12:54:12

   5         Q.   Third paragraph on the first right-hand            12:54:21

   6   column:    "Mr. Unsworth is 63 years old.     His wife,       12:54:21

   7   we believe, is 30.     We will confirm this in the            12:54:24

   8   next 48 hours, which would have put her at 18 to 19           12:54:28

   9   when they first met.     The target would have been 52        12:54:34

 10    years old at the time."                                       12:54:40

 11               Have I read that correctly?                        12:54:41

 12          A.   Yes.                                               12:54:43

 13          Q.   So the latest and greatest information             12:54:43

 14    you had on August the 30th from Mr. Howard was that           12:54:45

 15    he believed that Tik was 30, but he had to confirm            12:54:49

 16    that in the next 48 hours, but that if 30 was                 12:54:53

 17    correct, they would have met at age -- when she was           12:54:57

 18    age 18 to 19, true?                                           12:54:59

 19               MR. SPIRO:    Objection to form.                   12:55:02

 20               MR. L. WOOD:    True?                              12:55:02

 21               MR. SPIRO:    You can answer that.                 12:55:02

 22               THE WITNESS:    Yes.    I mean, based on what      12:55:03

 23    is written here, it's true.                                   12:55:03

 24    BY MR. L. WOOD:                                               12:55:04

 25          Q.   And then look over, if you would -- if             12:55:04

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   1   you look back at Exhibit 65, that was the

   2   green-orange-red report, right?

   3         A.   I'm looking at that.                               12:56:06

   4         Q.   He says in that report on page 2 on the            12:56:07

   5   27th of August, "The target is 63 years old.        His       12:56:10

   6   wife, we believe, is 30, which would have put her             12:56:12

   7   at 18 to 19 when they first met.      The target would        12:56:14

   8   have been 52 years old at the time."                          12:56:17

   9              That is the exact same information that            12:56:20

 10    he provided in the report on August 30th that he              12:56:23

 11    had earlier provided you on the 27th, true?                   12:56:26

 12          A.   True.                                              12:56:30

 13          Q.   And we can agree that if you first meet,           12:56:31

 14    for purposes of the question, at age 18 or 19, it             12:56:33

 15    is impossible that you got married seven years                12:56:40

 16    earlier than when you met, true?                              12:56:46

 17          A.   That is true.                                      12:56:47

 18               MR. L. WOOD:    Why don't we take our lunch        12:56:48

 19    break.                                                        12:56:50

 20               MR. SPIRO:    Good deal.                           12:56:51

 21               THE VIDEOGRAPHER:     Off the record at            12:56:51

 22    12:56 p.m.                                                    12:56:52

 23               (Recess taken.)                                    13:49:44

 24               THE VIDEOGRAPHER:     And we are back on the       13:50:38

 25    record at 1:50 p.m.                                           13:51:14

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   1         A.   Yes.                                               14:02:36

   2         Q.   It says "Sure, the report is large so I            14:02:36

   3   wanted to send in this format.      Any instructions          14:02:38

   4   from the principal?"                                          14:02:40

   5              Talking about any instructions from                14:02:41

   6   Mr. Musk, right?                                              14:02:44

   7         A.   Yes.                                               14:02:46

   8         Q.   And then it says "I'm proceeding with the          14:02:46

   9   UK surveillance as discussed."                                14:02:48

 10               Have I read that correctly?                        14:02:50

 11          A.   Yes.                                               14:02:53

 12          Q.   What was the UK surveillance?                      14:02:53

 13    Surveillance of whom or what?      What did you-all           14:02:54

 14    discuss about UK surveillance?                                14:03:00

 15          A.   In general, I mean, I don't know like the          14:03:04

 16    specifics of this discussion, but in general, the             14:03:08

 17    surveillance there was, was he in the UK?        Had he       14:03:11

 18    retained counsel?     That was really what it was.            14:03:16

 19          Q.   Mr. Birchall, he told you he was going to          14:03:23

 20    try and have a person at one point go over and try            14:03:23

 21    to get in the golf foursome with Mr. Unsworth,                14:03:29

 22    didn't he?                                                    14:03:33

 23          A.   I don't recall that.                               14:03:35

 24          Q.   And that if he couldn't do that, he was            14:03:36

 25    going to get someone to be in the -- I guess -- I             14:03:38

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   1         Q.    Did you want to try to get information on          14:04:53

   2   his litigation strategy?                                       14:04:55

   3         A.    We never asked for that.                           14:04:56

   4         Q.    Never used those words --                          14:04:58

   5         A.    Never.                                             14:04:59

   6         Q.    -- nor did he ever use those words                 14:05:00

   7   regarding trying to learn about the litigation                 14:05:02

   8   strategy of Mr. Unsworth.      Is that your testimony?         14:05:05

   9         A.    He, being --                                       14:05:08

 10          Q.    Mr. Howard?                                        14:05:09

 11          A.    Mr. Howard?    Whether or not he used those        14:05:10

 12    words, I'm not sure, but we never asked him to                 14:05:13

 13    discover strategy regarding his --                             14:05:15

 14          Q.    Did you put the brakes on him when you             14:05:19

 15    realized he was trying to surveil matters regarding            14:05:21

 16    Mr. Unsworth and his lawyers?      Did you say "Don't          14:05:24

 17    do that"?   Did you ever do that?                              14:05:27

 18          A.    No.   We asked him to provide general              14:05:30

 19    surveillance.                                                  14:05:35

 20                MR. SPIRO:    Just to clarify the record,          14:05:36

 21    the "we" -- are you talking about yourself?                    14:05:37

 22                MR. L. WOOD:   Hang on a second.     Let him       14:05:41

 23    answer the question.      You can clarify what you need        14:05:42

 24    on your part of the examination.                               14:05:46

 25    ///

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   1   BY MR. L. WOOD:                                              14:05:46

   2          Q.   Did you put the brakes on him when you           14:05:46

   3   realized he was trying to surveil matters regarding          14:05:48

   4   Mr. Unsworth and his lawyers?      Did you ever do           14:05:52

   5   that?                                                        14:05:56

   6          A.   No.   The assumption of any surveillance         14:05:56

   7   that was being done was that it was following any            14:05:58

   8   guideline that proper investigations should follow.          14:06:03

   9          Q.   But the surveillance that was being done         14:06:06

 10    was being done at the request and on the dime of             14:06:09

 11    Mr. Elon Musk, true?                                         14:06:13

 12                MR. SPIRO:   Objection on "the request           14:06:15

 13    of."                                                         14:06:16

 14                THE WITNESS:   The request was to confirm        14:06:17

 15    counsel as being secured, and there was no further           14:06:20

 16    guidance suggesting that he needed to surveil a              14:06:29

 17    lawyer or to surveil a meeting with a lawyer or              14:06:32

 18    overhear a conversation with a lawyer; that none of          14:06:35

 19    that happened.                                               14:06:41

 20    BY MR. L. WOOD:                                              14:06:44

 21           Q.   Did you provide Mr. Musk with the                14:06:44

 22    information that he was meeting with                         14:06:46

 23    Howard Stevens?                                              14:06:48

 24           A.   Likely.                                          14:06:49

 25                MR. SPIRO:   Howard Stevens?                     14:06:54

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   1              THE WITNESS:    It's Mark Stephens.               14:06:57

   2              MR. L. WOOD:    Mark Stephens.                    14:06:57

   3              MR. SPIRO:    Yeah.                               14:06:59

   4              MR. L. WOOD:    There are a lot of names.         14:06:59

   5              MR. SPIRO:    I know, that's just for your        14:07:01

   6   own...                                                       14:07:01

   7              MR. L. WOOD:    The firm was                      14:07:03

   8   Howard Kennedy.                                              14:07:03

   9              THE WITNESS:    Yes.                              14:07:04

 10               MR. L. WOOD:    That's where I got it.            14:07:04

 11               MR. SPIRO:    No, I know.                         14:07:05

 12               MR. L. WOOD:    If Mark is listening or           14:07:05

 13    watching, I hope he will forgive me.                         14:07:07

 14               THE WITNESS:    Likely that was information       14:07:10

 15    that I shared.                                               14:07:12

 16    BY MR. L. WOOD:                                              14:07:13

 17          Q.   You would have informed Mr. Musk of that          14:07:13

 18    inf
         formation?
         f
       information?                                                 14:07:14

 19          A.   Likely, yes.                                      14:07:16

 20          Q.   Relatively soon after you received it?            14:07:17

 21          A.   Typically within 24 hours was the                 14:07:21

 22    cadence.                                                     14:07:23

 23          Q.   And sooner if Mr. Musk's schedule                 14:07:24

 24    permitted.    Because you said you wanted to get the         14:07:25

 25    information from Mr. Howard to him along the way,            14:07:27

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   1   but on his schedule as soon as possible, true?               14:07:31

   2         A.   Sure, if possible.                                14:07:35

   3         Q.   And generally, that would have meant              14:07:36

   4   clearly at least no longer than 24 hours?                    14:07:39

   5         A.   Generally, yes.                                   14:07:41

   6         Q.   Generally sooner, though, true?                   14:07:43

   7         A.   If possible.                                      14:07:44

   8         Q.   And that was generally possible?                  14:07:45

   9              MR. SPIRO:    Conjecture.                         14:07:46

 10               MR. L. WOOD:    I'm sorry.    I didn't mean       14:07:46

 11    to say something funny, but if you want to laugh.            14:07:51

 12               I mean, look, you're the one telling me           14:07:51

 13    you tried to get it to him within 24 hours --                14:07:53

 14               THE WITNESS:    Yeah.                             14:07:55

 15               MR. L. WOOD:    -- if possible.    The fact       14:07:55

 16    is you wanted to get it to him as soon as                    14:07:56

 17    possible --                                                  14:07:58

 18               THE WITNESS:    Um-hmm.                           14:07:58

 19               MR. L. WOOD:    -- and usually you were           14:07:58

 20    able to get in touch with him pretty quickly after           14:07:59

 21    you had gotten information to tell him what you              14:08:03

 22    were learning, true?                                         14:08:06

 23               MR. SPIRO:    Objection; form.                    14:08:07

 24               THE WITNESS:    So I would in some cases          14:08:12

 25    either request a conversation, or send, you know, a          14:08:13

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   1         A.   I do see it, yes.                                 14:12:51

   2         Q.   "He has been a frequent visitor to                14:12:53

   3   Thailand since the 1980s.      Prior to meeting his          14:12:55

   4   current wife, we believe that Mr. Unsworth was               14:13:00

   5   living in the Pattaya Beach, which is a well-known           14:13:04

   6   tourist destination.                                         14:13:09

   7              "Pattaya Beach is synonymous with                 14:13:11

   8   prostitution and scam artists.      We are in the            14:13:15

   9   process of verifying this information, which was             14:13:16

 10    mentioned to the lead investigator by                        14:13:20

 11    Mr. Unsworth's mother-in-law."                               14:13:22

 12               Have I read that correctly?                       14:13:22

 13          A.   Yes.                                              14:13:25

 14          Q.   And now he's referencing Pattaya Beach.           14:13:26

 15    And then under "Thailand" on the next Bates, 0043,           14:13:27

 16    he tells you and Mr. Musk, at least in his report            14:13:33

 17    to you and Mr. Musk, "If this is the case that               14:13:38

 18    Mr. Unsworth chose to live in Pattaya Beach before           14:13:45

 19    moving to northern Thailand, then it would be a              14:13:48

 20    strong indicator as to his lifestyle interest."              14:13:52

 21               Have I read that correctly?                       14:13:55

 22          A.   Yes.                                              14:13:57

 23          Q.   Proceeding forward.     "If we can establish      14:13:59

 24    that Mr. Unsworth was a regular visitor to this              14:14:02

 25    part of Thailand, which is not known for its                 14:14:06

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   1   extensive cave networks, then this is something              14:14:08

   2   that may support the assumption that he is a 'sex            14:14:11

   3   pat.'"                                                       14:14:13

   4              Have I read that correctly?                       14:14:13

   5         A.   Yes.                                              14:14:18

   6         Q.   At least on the 30th of August, it was            14:14:19

   7   clear from this report, Exhibit 68, that he had              14:14:24

   8   not, in fact, confirmed that Mr. Unsworth had ever           14:14:31

   9   lived at Pattaya Beach.     He says "We believe it,          14:14:35

 10    but we are in the process of verifying it," and              14:14:39

 11    then in the second reference I read to you, both             14:14:41

 12    times it starts with "If this is the case," or "If           14:14:43

 13    we can establish," true?                                     14:14:45

 14          A.   Those are his words.                              14:14:48

 15          Q.   And he has not stated as a matter of fact         14:14:50

 16    that Vernon Unsworth ever lived in Pattaya Beach?            14:14:53

 17          A.   True, but it's important to note that             14:14:57

 18    there are numerous phone calls between each of               14:14:58

 19    these correspondence where he is much more                   14:15:01

 20    affirmative in his beliefs of her age and of                 14:15:04

 21    Unsworth's activities and of his time spent in               14:15:10

 22    Pattaya Beach.                                               14:15:14

 23               And I don't know if this is because               14:15:14

 24    him -- he needs to filter this through his, you              14:15:16

 25    know, supervisor or whatever.      It is a more              14:15:19

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   1   conservative version of what he was sharing                  14:15:23

   2   verbally.                                                    14:15:28

   3               And he was much more aggressive in his --        14:15:28

   4   in the verbal communication that we had with him.            14:15:32

   5         Q.    Now --                                           14:15:34

   6         A.    But yes, the words that you -- those are         14:15:34

   7   his words; the ones that you've confirmed.                   14:15:38

   8         Q.    Now, just reminding what you know; that          14:15:41

   9   you're under oath.                                           14:15:42

 10          A.    Yes.                                             14:15:42

 11          Q.    Did you discuss any part of your                 14:15:42

 12    testimony with Mr. Spiro or counsel during the               14:15:44

 13    recess?                                                      14:15:48

 14          A.    Did I discuss any part of my testimony           14:15:50

 15    that we had --                                               14:15:52

 16          Q.    Any part of your testimony.     Did you          14:15:54

 17    discuss it during the lunch break?                           14:15:56

 18          A.    Yes.                                             14:15:59

 19          Q.    Did you discuss the very issue that you          14:16:00

 20    just testified to about phone calls being more               14:16:01

 21    aggressive?                                                  14:16:05

 22          A.    We did not --                                    14:16:05

 23          Q.    Did you discuss it with Mr. Spiro during         14:16:05

 24    the break?                                                   14:16:10

 25                MR. SPIRO:   He's trying to --                   14:16:10

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   1   know that?                                                   14:16:35

   2         A.   No.                                               14:16:38

   3         Q.   Mr. Spiro knows that.     I want to know          14:16:38

   4   whether you discussed during the lunch break with            14:16:42

   5   Mr. Spiro or any other break during today's                  14:16:45

   6   testimony, this idea that Mr. Howard was more                14:16:49

   7   aggressive in the telephone calls than he was in             14:16:54

   8   the letters.                                                 14:16:57

   9         A.   No.    That is not something that was             14:16:58

 10    discussed.                                                   14:16:59

 11          Q.   You deny that under oath?                         14:17:00

 12          A.   Yes.                                              14:17:01

 13          Q.   Can you -- I think I know the answer to           14:17:07

 14    this but I'm going to ask it.                                14:17:13

 15               Did you have a telephone conversation             14:17:14

 16    with Mr. Howard on August the 30th?                          14:17:16

 17          A.   I mean, I don't remember off the top of           14:17:25

 18    my head, but it's certainly possible.                        14:17:27

 19          Q.   Can you give -- this is where I think I           14:17:33

 20    know the answer.                                             14:17:34

 21               Can you give me any details specific to           14:17:35

 22    time and conversation by phone on any conversation           14:17:38

 23    you claim to have had with Mr. Howard?       In other        14:17:43

 24    words, can you say "Mr. Wood, on August 29th, I              14:17:47

 25    remember speaking to him on the phone and this is            14:17:50

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   1   what he told me?"                                            14:17:52

   2              Can you do that on any telephone                  14:17:54

   3   conversation you claim to have had with Mr. Howard?          14:17:57

   4         A.   Not off the top of my head.                       14:18:00

   5         Q.   So the only thing that we have to                 14:18:07

   6   document information with certainty that you                 14:18:08

   7   received from Mr. Howard is what he put in writing           14:18:12

   8   to you, true?                                                14:18:17

   9              MR. SPIRO:    Objection as to form.               14:18:18

 10               THE WITNESS:    Yeah, as far as certainty         14:18:19

 11    goes, of course, yes.     I mean, we don't have the          14:18:23

 12    verbiage that was shared on the phone conversation.          14:18:27

 13    BY MR. L. WOOD:                                              14:18:30

 14          Q.   Right.    But while you may speculate as to       14:18:30

 15    why he may give you information different on the             14:18:33

 16    phone you say, or more aggressive on the phone than          14:18:36

 17    he did in his written words --                               14:18:39

 18          A.   Um-hmm.                                           14:18:41

 19          Q.   -- you don't have any idea why he would           14:18:41

 20    have done that, do you?                                      14:18:44

 21          A.   I -- I have an opinion.                           14:18:51

 22          Q.   But factual knowledge is what we are              14:18:52

 23    asking from you, sir.                                        14:18:56

 24          A.   Factual --                                        14:18:57

 25               MR. SPIRO:    Objection to that.                  14:18:58

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   1              THE WITNESS:    No.                               14:18:59

   2   BY MR. L. WOOD:                                              14:18:59

   3         Q.   Wouldn't you -- don't you generally               14:18:59

   4   consider in your business dealings that the written          14:19:02

   5   record is the highest and best evidence as opposed           14:19:04

   6   to someone's vague recollection of a conversation?           14:19:07

   7              MR. SPIRO:    Objection.                          14:19:11

   8              THE WITNESS:    Sure, but there is such           14:19:12

   9   thing as a verbal contract.                                  14:19:13

 10    BY MR. L. WOOD:                                              14:19:14

 11          Q.   I know there is such thing as a verbal            14:19:14

 12    contract, but if you really want to know down the            14:19:16

 13    road what was the best and highest evidence,                 14:19:17

 14    wouldn't you agree that if you've got the written            14:19:18

 15    word in front you and the only thing you compare             14:19:21

 16    that to is someone saying "Well, we discussed it by          14:19:24

 17    phone, but I can't remember when, and I can't                14:19:27

 18    really remember what we said," the written word is           14:19:29

 19    the highest and best evidence, wouldn't you agree            14:19:32

 20    with that?                                                   14:19:35

 21               MR. SPIRO:    Objection; form.                    14:19:36

 22    BY MR. L. WOOD:                                              14:19:36

 23          Q.   From your business experience?                    14:19:36

 24          A.   It's more specific.                               14:19:36

 25          Q.   It's more concrete in terms of proof of           14:19:38

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   1   what was said, isn't it, sir?                                14:19:40

   2         A.   Sure.                                             14:19:43

   3         Q.   And is there any reason -- did you                14:19:44

   4   instruct Mr. Howard to not put the most damning              14:19:46

   5   information in his written emails or reports?                14:19:52

   6         A.   I didn't instruct anything -- to what he          14:19:55

   7   would put in his reports.                                    14:19:57

   8         Q.   But he told you himself that he was               14:19:58

   9   trying to, and intended in his reports to give               14:20:00

 10    you-all of the information that he had collected to          14:20:02

 11    date, true?                                                  14:20:05

 12          A.   Yep.    Yes.                                      14:20:07

 13          Q.   Now, do you have any email or report --           14:20:11

 14    and when I say report, I'm talking more like                 14:20:16

 15    Exhibit 68 -- that makes reference to Mr. Unsworth           14:20:21

 16    and Pattaya Beach, other than the references we              14:20:25

 17    just went over in Exhibit 68?                                14:20:31

 18          A.   Other than this report that he provided?          14:20:40

 19          Q.   Yes, sir.      Do you have an -- other than       14:20:42

 20    the information about the Pattaya Beach that we              14:20:46

 21    just went over in Exhibit 68, do you have any                14:20:48

 22    written email or report, preliminary or otherwise,           14:20:54

 23    from Mr. Howard prior to September 1 where he makes          14:20:59

 24    any reference to Pattaya Beach?                              14:21:09

 25          A.   Not that I am aware of off the top of my          14:21:13

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   1   head.                                                        14:21:15

   2         Q.   Given that Mr. Musk very specifically             14:21:16

   3   said in the email to Mr. Mac -- what number is               14:21:18

   4   that? -- Exhibit 23.                                         14:21:22

   5         A.   I don't know that I have 23, but...               14:21:41

   6         Q.   44.                                               14:21:42

   7         A.   Oh, I've got 44.                                  14:21:43

   8         Q.   Bates 02706.                                      14:21:43

   9         A.   02706.   Yes --                                   14:21:56

 10          Q.   The page after that.                              14:21:56

 11          A.   Yep.   I'm looking at it.                         14:21:56

 12          Q.   Mr. Musk wrote, "He's an old single white         14:21:57

 13    guy from England who's been traveling to or living           14:22:01

 14    in Thailand for 30 to 40 years, mostly Pattaya               14:22:03

 15    Beach, until moving to Chiang Rai for a child bride          14:22:07

 16    who was about 12 years old at the time."                     14:22:13

 17               Have I read that correctly?                       14:22:15

 18          A.   Yes.                                              14:22:17

 19          Q.   Given that Mr. Musk is writing                    14:22:18

 20    specifically about Pattaya Beach, does that, in              14:22:21

 21    fact, lead you to believe that you had discussed             14:22:25

 22    with Mr. Musk prior to his email to Mr. Mac the              14:22:29

 23    information you had received earlier that day on             14:22:35

 24    August the 30th from Mr. Howard as set forth in              14:22:38

 25    Exhibit 68?                                                  14:22:43

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   1         A.    I believe what that shows is that we had          14:22:45

   2   definitely discussed Howard's efforts in Pattaya              14:22:48

   3   Beach, and that had been ongoing prior to this for            14:22:56

   4   some time.    I can't tell exactly how much time, but         14:23:02

   5   the Pattaya Beach subject had been discussed for at           14:23:09

   6   least days.                                                   14:23:17

   7         Q.    And what did he tell you about Pattaya            14:23:22

   8   Beach?     Because on the 30th, he's telling you he           14:23:24

   9   doesn't know, isn't he?     If.   If.   We believe, but       14:23:25

 10    we need to verify.                                            14:23:29

 11                When did he tell you prior to the 30th            14:23:30

 12    that he knew as a matter of fact that Mr. Unsworth            14:23:33

 13    had been traveling to or living in Thailand for 30            14:23:39

 14    to 40 years, and mostly Pattaya Beach?                        14:23:42

 15          A.    He actually told us that he had contacts          14:23:46

 16    in the British Embassy that had copies of travel              14:23:50

 17    records for Unsworth having frequented those                  14:23:56

 18    hotels, and he provided some periods of time when             14:24:00

 19    he had done that and over a number of years that              14:24:02

 20    that had happened.                                            14:24:04

 21          Q.    That was after September 1?                       14:24:06

 22                MR. SPIRO:   Objection.     Is that a             14:24:12

 23    question?                                                     14:24:12

 24    BY MR. L. WOOD:                                               14:24:12

 25          Q.    Do you know when he provided you with the         14:24:12

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   1   hotels -- I remember the picture with this pole.             14:24:13

   2   Do you remember that one?                                    14:24:15

   3         A.    I do.                                            14:24:15

   4         Q.    When did you get that?                           14:24:16

   5         A.    I'm not sure of the date on that.                14:24:17

   6         Q.    How did you get it?    By email or text?         14:24:19

   7         A.    Likely -- let's see, that would have             14:24:22

   8   been -- actually, I think he probably sent that via          14:24:22

   9   an email.                                                    14:24:32

 10          Q.    What date?                                       14:24:33

 11          A.    We can obviously look and --                     14:24:35

 12          Q.    Maybe this will help if you look at              14:24:38

 13    exhibit -- your text -- numbers -- text messages,            14:24:41

 14    Exhibit 67.                                                  14:24:47

 15          A.    I'm looking at it.                               14:24:50

 16          Q.    Take a look at Bates number --                   14:24:53

 17          A.    Yep.    I see it.                                14:24:59

 18          Q.    You see it?                                      14:25:00

 19          A.    Yep.                                             14:25:00

 20          Q.    Bates No. 0211?                                  14:25:00

 21          A.    Yes.                                             14:25:03

 22          Q.    Talking about on 0210 about the hotels,          14:25:05

 23    the investigators, we -- he says -- on looking at            14:25:11

 24    the top he's telling you on September the 3, "We             14:25:14

 25    have deployed times three investigators to Pattaya.          14:25:16

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   1   And I still believe there's a value in the UK                 14:25:20

   2   surveillance."                                                14:25:25

   3         A.   I see that.                                        14:25:26

   4         Q.   "Pattaya will take some time; probably             14:25:28

   5   seven days."    He goes on to then start talking              14:25:31

   6   about "Can you confirm the hotel names in Pattaya."           14:25:35

   7   Then he talks about the Penthouse Hotel, the                  14:25:39

   8   Dusit Thani or something.      Thani.   Penthouse Hotel       14:25:40

   9   is purely designed for sex."      And then on the next        14:25:45

 10    page sends you the picture, the room with the pole?           14:25:51

 11          A.   I see that.                                        14:25:55

 12          Q.   All of which -- excuse me, none of which           14:25:57

 13    he had verified as being someplace that                       14:26:00

 14    Mr. Unsworth had been to, but only telling you that           14:26:03

 15    he was investigating whether Mr. Unsworth had been            14:26:07

 16    there, true?                                                  14:26:10

 17          A.   I believe that's true.       I mean, I don't       14:26:13

 18    think he had an actual, like, hotel record of his             14:26:15

 19    stay.                                                         14:26:19

 20          Q.   Right.   And he didn't give you that               14:26:20

 21    information until September 4, four days or so                14:26:21

 22    after Mr. Musk made a statement of fact to Mr. Mac            14:26:27

 23    that said that Mr. Unsworth had been traveling to             14:26:33

 24    or living in Thailand for 30 to 40 years, mostly              14:26:37

 25    Pattaya Beach?                                                14:26:42

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   1              MR. SPIRO:    Just a moment.    It's not          14:26:50

   2   clear on here.                                               14:26:50

   3              Objection as to form; confusing.                  14:26:50

   4              MR. L. WOOD:    It's noted.                       14:26:50

   5              MR. SPIRO:    Yeah.                               14:26:50

   6   BY MR. L. WOOD:                                              14:27:05

   7         Q.   Answer my question, please, sir.                  14:27:06

   8         A.   Would you ask it again, please.                   14:27:07

   9         Q.   Sure.                                             14:27:08

 10               MR. SPIRO:    You can read it to him.             14:27:08

 11    BY MR. L. WOOD:                                              14:27:08

 12          Q.   He did not give you any information               14:27:09

 13    about -- well, the information that you say he gave          14:27:10

 14    to you about going to Penthouse Hotels or whatever.          14:27:15

 15    Let's see what you told me.                                  14:27:20

 16               He told you he had contacts in the                14:27:20

 17    British Embassy that had couples of travel records           14:27:27

 18    for Mr. Unsworth having frequented those hotels.             14:27:30

 19    He provided some period of time he had done that             14:27:34

 20    and over a number of years that had happened.                14:27:36

 21               And I said that was after September 1.            14:27:39

 22    And it was.    It was on September the 4th, right?           14:27:42

 23          A.   Yes.                                              14:27:48

 24          Q.   That was four or five days after Mr. Musk         14:27:49

 25    wrote as a statement of fact to Mr. Mac that                 14:27:56

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   1   Mr. Unsworth had been traveling to or living in              14:27:59

   2   Thailand for 30 to 40 years, mostly Pattaya Beach,           14:28:02

   3   right?                                                       14:28:05

   4               MR. SPIRO:   Objection to form.                  14:28:06

   5               THE WITNESS:   Yeah, I believe that he           14:28:07

   6   wrote what he believed to be the -- the facts that           14:28:09

   7   he understood at that point from Investigator                14:28:14

   8   Howard.                                                      14:28:17

   9   BY MR. L. WOOD:                                              14:28:17

 10          Q.    And the facts -- you're talking about            14:28:17

 11    Mr. Musk?                                                    14:28:19

 12          A.    Yes.                                             14:28:20

 13          Q.    But the facts that he would have                 14:28:20

 14    understood would have only been conveyed by you to           14:28:23

 15    Mr. Musk, right?                                             14:28:26

 16          A.    Yes.                                             14:28:28

 17          Q.    And the Pattaya Beach reference and the          14:28:29

 18    30 to 40 years reference is found in the                     14:28:31

 19    preliminary report, Exhibit 68.                              14:28:35

 20          A.    It is found there, but that wouldn't have        14:28:40

 21    been the first mention of it.                                14:28:41

 22          Q.    And I asked you again, because I've              14:28:44

 23    looked.    You gave me -- I trust you've given me all        14:28:46

 24    of the emails between you and Mr. Howard, either in          14:28:49

 25    your name or Jim Brickhouse's name, or any other             14:28:51

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   1   fake name that you came up with.      I've got them          14:28:55

   2   all, right?                                                  14:28:58

   3         A.   Yes.                                              14:28:59

   4         Q.   You can point me to any -- any reference          14:28:59

   5   to Pattaya Beach in all of your communications in            14:29:04

   6   writing with Mr. Howard prior to the preliminary             14:29:08

   7   report that he sent on August the 30th?                      14:29:12

   8         A.   Not in writing, no.                               14:29:16

   9         Q.   And when it was in writing on September           14:29:17

 10    the 30 -- on August the 30th, it was not verified,           14:29:24

 11    and it was qualified by "if" it turns out to be the          14:29:28

 12    case, true?                                                  14:29:33

 13               MR. SPIRO:    Objection as to form.               14:29:34

 14    BY MR. L. WOOD:                                              14:29:38

 15          Q.   You want me to read it again?                     14:29:38

 16          A.   He did state that they were in the                14:29:40

 17    process of verifying that.                                   14:29:41

 18          Q.   Did you tell Mr. Musk that we've got him          14:29:42

 19    working on verifying Pattaya Beach?                          14:29:45

 20          A.   I'm sure at some point that information           14:29:47

 21    was shared.    I mean, I didn't use those words, but         14:29:49

 22    I'm sure the discussion about Pattaya Beach was had          14:29:51

 23    at some point.    I'm also sure that wasn't the first        14:29:54

 24    revelation about Pattaya Beach.                              14:29:59

 25          Q.   But any revelation that you claim                 14:30:00

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   1   occurred about Pattaya Beach, you will tell me had           14:30:03

   2   to be by telephone, because there is it no                   14:30:06

   3   document --                                                  14:30:07

   4         A.   Absolutely.                                       14:30:07

   5         Q.   -- that ever mentions Pattaya Beach until         14:30:07

   6   August the 30th, true?                                       14:30:12

   7         A.   That's true.                                      14:30:12

   8         Q.   Can you even give me the date on which            14:30:15

   9   you say you had a conversation about Pattaya Beach           14:30:17

 10    prior to August the 30th?                                    14:30:19

 11          A.   Not with certainty I can't give you that          14:30:24

 12    date.                                                        14:30:26

 13          Q.   Can you give me --                                14:30:26

 14          A.   But I can certainly tell it was prior to          14:30:26

 15    that date.                                                   14:30:29

 16          Q.   But what was the Pattaya Beach                    14:30:30

 17    information?    Was it that we were looking into it          14:30:33

 18    like he said on the 30th, or are you telling me              14:30:36

 19    that prior to the 30th he told you unequivocally he          14:30:39

 20    lived most of the time in Pattaya Beach.       Which one     14:30:45

 21    is it?                                                       14:30:47

 22               MR. SPIRO:    Objection as to form.     He        14:30:48

 23    never said "we are looking into it."       That's not --     14:30:48

 24    you're misstating this.                                      14:30:51

 25               MR. L. WOOD:    Your form objection is            14:30:53

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   1   noted.                                                        14:30:54

   2   BY MR. L. WOOD:                                               14:30:54

   3         Q.   Answer my question.                                14:30:54

   4         A.   Can you please restate the question.               14:30:55

   5         Q.   Sure.   You say that he gave you                   14:31:11

   6   information about Pattaya Beach prior to the email            14:31:13

   7   preliminary report on August the 30th, right?                 14:31:18

   8   Right?                                                        14:31:19

   9         A.   Yes.                                               14:31:20

 10          Q.   You tell me that you are certain of that,          14:31:20

 11    but you can't -- well, you're telling me you can't            14:31:23

 12    give me the date of when he told that you in a                14:31:26

 13    telephone conversation, right?                                14:31:29

 14          A.   Not with certainty, no.                            14:31:30

 15          Q.   But you know that it occurred, you say,            14:31:32

 16    in a telephone conversation, right?                           14:31:34

 17          A.   Yes.                                               14:31:38

 18          Q.   You acknowledge that there is no written           14:31:38

 19    reference in any of his emails or reports, prior to           14:31:40

 20    the August 30th preliminary report that references            14:31:43

 21    Pattaya Beach, true?                                          14:31:47

 22          A.   That's right.                                      14:31:49

 23          Q.   What I'm trying to find out now is when            14:31:50

 24    he told you in the preliminary report his belief --           14:31:53

 25    again, we just went over it; 0442.       "He has been a       14:32:00

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   1   frequent visitor to Thailand since the 1980s."               14:32:40

   2              You think that's where Mr. Musk -- that           14:32:44

   3   you reported that to him, and that's where he got            14:32:45

   4   the reference in his email to Mr. Mac that he's an           14:32:49

   5   old single white guy from England who's been                 14:32:53

   6   traveling to or living in Thailand 30 to 40 years?           14:32:56

   7         A.   I just know that that information -- he           14:33:00

   8   wouldn't have come up with that on his own.        I'm       14:33:02

   9   sure derived from information shared from                    14:33:05

 10    Mr. Howard, whether -- much of this information had          14:33:08

 11    been discussed prior, and was an effort to organize          14:33:13

 12    his --                                                       14:33:16

 13          Q.   His information?                                  14:33:17

 14          A.   Yeah.                                             14:33:17

 15          Q.   Well, here it is.     That's what I want to       14:33:18

 16    talk to you about.     He says again, "Prior to              14:33:20

 17    meeting his current wife."      We're talking about          14:33:27

 18    Tik, right?                                                  14:33:29

 19          A.   Yes.                                              14:33:30

 20          Q.   "We believe that Mr. Unsworth was living          14:33:31

 21    in the Pattaya Beach."                                       14:33:35

 22               Have I read that correctly?                       14:33:36

 23          A.   I'm sorry.    Which page are you on?              14:33:40

 24          Q.   442 Bates.                                        14:33:42

 25          A.   Yes, I see that.                                  14:33:46

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   1         Q.   And then he says -- he talks about                14:33:47

   2   Pattaya Beach, and he says "We are in the process            14:33:49

   3   of verifying this information, which was mentioned           14:33:51

   4   to the lead investigator by Mr. Unsworth's                   14:33:56

   5   mother-in-law," right?                                       14:33:59

   6         A.   Yes.                                              14:34:03

   7         Q.   So he's telling you there that he has not         14:34:03

   8   verified it yet, right?                                      14:34:05

   9         A.   Yes, though he says "we believe" in the           14:34:09

 10    prior statement.    I mean, he --                            14:34:11

 11          Q.   You can believe anything, but you've got          14:34:12

 12    to go verify.     You would not publish as a fact            14:34:13

 13    someone's belief, would you?                                 14:34:16

 14               MR. SPIRO:    Objection.                          14:34:18

 15    BY MR. L. WOOD:                                              14:34:18

 16          Q.   That's not what Elon Musk did.      He didn't     14:34:18

 17    say "I believe he's been living there in -- mostly           14:34:21

 18    in Pattaya Beach."     He stated it as a fact, didn't        14:34:25

 19    he?                                                          14:34:28

 20               MR. SPIRO:    Objection to form.    Move to       14:34:29

 21    strike.                                                      14:34:30

 22               THE WITNESS:    He also didn't publish it.        14:34:31

 23    It was an off-the-record comment.                            14:34:32

 24    BY MR. L. WOOD:                                              14:34:34

 25          Q.   We're going to get into that in a little          14:34:34

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   1   bit.   I know you were ready to say that to me.              14:34:35

   2               But trust me, we're going to cover that          14:34:39

   3   before this seven hours is up, but that's not what           14:34:39

   4   I'm asking you about right now.                              14:34:41

   5          A.   Okay.                                            14:34:43

   6          Q.   But going back to the preliminary report,        14:34:45

   7   he again says at 443 --                                      14:34:47

   8          A.   Yep.                                             14:34:54

   9          Q.   "If this is the case that Mr. Unsworth           14:34:54

 10    chose to live in Pattaya Beach.      If we can               14:35:00

 11    establish that Mr. Unsworth was a regular visitor            14:35:05

 12    to this part of Thailand."                                   14:35:10

 13                Are you reading with me?                         14:35:11

 14           A.   I am.                                            14:35:13

 15           Q.   So it's clear, at least from the report          14:35:13

 16    portions that we've read, that there had been no             14:35:16

 17    confirmation as a matter of fact that Mr. Unsworth           14:35:19

 18    lived in Pattaya Beach.                                      14:35:22

 19                Would you agree with that?                       14:35:23

 20           A.   Based on this paragraph by itself,               14:35:25

 21    it's -- you know, it definitely questions the                14:35:27

 22    veracity of that.     Though his -- the conversations        14:35:31

 23    you had with him much more affirmative.       Much more.     14:35:36

 24           Q.   They were -- it sounds like they were in         14:35:40

 25    conflict with each other on several key points.              14:35:42

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   1   Wouldn't you agree?                                          14:35:45

   2         A.   Conflict, I don't -- I wouldn't agree             14:35:46

   3   with.   They conflicted, but I would -- I would              14:35:49

   4   agree that in some cases he verbally was much                14:35:51

   5   more -- I don't know if the word's "aggressive" or           14:35:57

   6   much more sure of certain things that he was                 14:36:04

   7   bringing to us than what the wording would                   14:36:08

   8   entail -- or would show.                                     14:36:11

   9         Q.   It was inconsistent.     Are you telling me       14:36:13

 10    that prior to August the 30th, that Mr. Howard had           14:36:16

 11    stated to you unequivocally, "We know that Vernon            14:36:19

 12    Unsworth lived in Pattaya Beach most of the time             14:36:23

 13    that he visited Thailand."                                   14:36:27

 14          A.   Yes.                                              14:36:28

 15          Q.   Did he tell you that?                             14:36:28

 16          A.   Not unequivocally, no.                            14:36:31

 17          Q.   No.    It was always that they were looking       14:36:32

 18    into it.   They believed it, but they had not                14:36:34

 19    verified it, true?                                           14:36:34

 20          A.   Sure.                                             14:36:35

 21          Q.   It wasn't a factual statement before              14:36:36

 22    August the 30th or on August the 30th, that yes, he          14:36:38

 23    lived there.     It was "We believe he did, but we're        14:36:41

 24    going to try to verify it, and if he did, we can             14:36:44

 25    maybe argue such and such," right?                           14:36:47

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   1         A.   I believe so, yes.                                14:36:49

   2         Q.   Isn't that the truth, sir?                        14:36:49

   3         A.   I believe so, yes.                                14:36:51

   4         Q.   That's the truth, isn't it?                       14:36:51

   5         A.   I believe so.                                     14:36:54

   6         Q.   He was never inconsistent about Pattaya           14:36:54

   7   Beach prior to the 30th?                                     14:36:56

   8         A.   To say he was never consistent is not             14:36:58

   9   true.                                                        14:37:00

 10          Q.   To say what?                                      14:37:01

 11          A.   That he was inconsistent about -- that he         14:37:02

 12    was not inconsistent about his portrayal of                  14:37:04

 13    Unsworth's activity in Pattaya Beach and other               14:37:06

 14    activities -- there were inconsistencies.                    14:37:13

 15          Q.   I'm not asking you about other                    14:37:15

 16    activities.    I'm asking about Pattaya Beach.               14:37:17

 17          A.   Yeah.   There were inconsistencies.               14:37:18

 18          Q.   But you've told me just within the last           14:37:20

 19    four questions -- we can read it back if we need             14:37:21

 20    to -- that he had never affirmatively stated to you          14:37:24

 21    on a phone call or in writing that he had                    14:37:27

 22    demonstrated as a fact that Vernon Unsworth lived            14:37:31

 23    in Pattaya Beach.                                            14:37:34

 24          A.   That's right --                                   14:37:35

 25          Q.   Is that true, sir?                                14:37:35

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   1         Q.    I don't care it's Excession --                    14:41:40

   2         A.    There's a difference between --                   14:41:42

   3         Q.    -- or SpaceX 6000 or --                           14:41:42

   4         A.    Or a public company as Tesla.     SpaceX is       14:41:44

   5   a completely -- it a 6,000-person organization with           14:41:44

   6   a dedicated IT team that monitors email.       It's a         14:41:47

   7   very big difference between Excession.                        14:41:50

   8         Q.    You and Mr. Musk made a conscious                 14:41:53

   9   decision and agreement:     Do not report anything            14:41:55

 10    about Mr. Howard to me in writing, true?                      14:41:58

 11          A.    There was no agreement made on that.      I       14:42:02

 12    was using my best judgment and chose to not send              14:42:05

 13    anything.                                                     14:42:09

 14          Q.    So did Elon just happen to say "Okay, I'm         14:42:09

 15    not going to send you anything in writing"?                   14:42:11

 16    Because he didn't write you about it.                         14:42:13

 17          A.    I think it was just a -- a general                14:42:17

 18    understanding that that was the best practice in              14:42:18

 19    this case.                                                    14:42:20

 20          Q.    An unspoken agreement as to the best              14:42:20

 21    practice.    The best practice being, don't put               14:42:23

 22    anything in writing about Howard's information,               14:42:27

 23    true?                                                         14:42:29

 24          A.    I mean, if you want to call it an                 14:42:30

 25    agreement --                                                  14:42:32

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   1   BY MR. L. WOOD:                                              14:48:11

   2         Q.   I think we're on the same page, here,             14:48:11

   3   Mr. Birchall.                                                14:48:12

   4         A.   Okay.                                             14:48:14

   5         Q.   I am trying to find out, because you knew         14:48:16

   6   that you had to give Mr. Musk accurate information.          14:48:19

   7   There was no room for error.      There can't be             14:48:22

   8   anything lost in the translation between you,                14:48:25

   9   Howard, and Mr. Musk.                                        14:48:27

 10               As the intermediary, you had to give him          14:48:28

 11    correct information, true?                                   14:48:32

 12          A.   As much as possible, yes.                         14:48:34

 13          Q.   And so you say "I may have told him they          14:48:36

 14    believe he lived in Pattaya Beach"?                          14:48:39

 15          A.   Those were their words, yes.                      14:48:40

 16          Q.   But you didn't tell him they had have             14:48:42

 17    established that he lived in Pattaya Beach.                  14:48:44

 18               You never told him anything like that,            14:48:45

 19    did you?                                                     14:48:48

 20          A.   No, I wouldn't have said that they had            14:48:49

 21    proof of that.     I would have said they believed           14:48:53

 22    that.                                                        14:48:54

 23          Q.   You would have said they told you they            14:48:54

 24    did not; that they were trying to get it, true?              14:48:56

 25          A.   That they believed that he lived there.           14:48:58

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   1               MR. SPIRO:     You're giving a summation.          15:25:23

   2   What is the question?                                          15:25:25

   3               MR. L. WOOD:    When I get through with my         15:25:27

   4   summation, object to the form.       Laughing is rude.         15:25:29

   5   I'm about to get to the point.                                 15:25:30

   6               MR. SPIRO:     It's not a laugh.                   15:25:32

   7               MR. L. WOOD:    Well, whatever you're              15:25:33

   8   doing.     I don't care.   Go ahead and do it.    Listen,      15:25:33

   9   here is my question.       I'm here to -- I want to get        15:25:33

 10    through.                                                       15:25:36

 11                MR. SPIRO:     I know.                             15:25:36

 12                MR. L. WOOD:    We may not.                        15:25:36

 13    BY MR. L. WOOD:                                                15:25:38

 14          Q.    I want to know, sir, what information?             15:25:38

 15    You've told me about Tik.      You've told me about            15:25:40

 16    Pattaya Beach.                                                 15:25:45

 17                Any other information that you were                15:25:46

 18    provided that established factually that                       15:25:49

 19    Vernon Unsworth "had engaged in a period of                    15:25:54

 20    exploring the world of underaged Thai girls."        Yes       15:25:58

 21    or no?                                                         15:26:01

 22          A.    Again, you are saying established                  15:26:02

 23    factually.    What I'm telling you is that he shared           15:26:05

 24    a lot of information, including travel habits to               15:26:07

 25    and from Thailand, having left his family in the               15:26:10

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   1   UK.   He shared --                                             15:26:13

   2         Q.   I am asking about underaged girls.       Stay       15:26:15

   3   on point so we can get done.                                   15:26:19

   4         A.   That's part of the story.      When you leave       15:26:20

   5   your family, you're more likely to go and do                   15:26:21

   6   nefarious things.     When you're visiting a remote            15:26:23

   7   area of a third-world country -- that's just part              15:26:28

   8   of the story that was told to us.                              15:26:30

   9         Q.   Are you telling me that if you leave your           15:26:31

 10    family and go to Thailand, that means you are                  15:26:33

 11    engaged in dealing with underaged girls?                       15:26:38

 12          A.   No.   I wouldn't say that.                          15:26:42

 13          Q.   I wouldn't think you were telling me                15:26:42

 14    that.                                                          15:26:43

 15          A.   No.   That information alone doesn't say            15:26:44

 16    that --                                                        15:26:47

 17          Q.   No.                                                 15:26:47

 18          A.   -- but that's part of what goes into --             15:26:47

 19          Q.   That would be rank speculation, wouldn't            15:26:50

 20    it?                                                            15:26:51

 21          A.   That was part of the information shared             15:26:52

 22    with us, that --                                               15:26:55

 23          Q.   That would be rank speculation to say               15:26:55

 24    that because he left his home and went to --                   15:26:56

 25          A.   Yeah --                                             15:26:58

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   1         Q.   -- Thailand he was involved with underage         15:26:58

   2   girls.                                                       15:27:01

   3         A.   In and of itself, yes.                            15:27:01

   4         Q.   Do you understand there is a difference           15:27:05

   5   between Pattaya being by reputation, a place for             15:27:09

   6   prostitution, and Pattaya Beach being a place of             15:27:13

   7   child prostitution?                                          15:27:20

   8              MR. SPIRO:    What was the question?              15:27:28

   9   BY MR. L. WOOD:                                              15:27:29

 10          Q.   Do you understand the difference between          15:27:29

 11    prostitution and child prostitution?                         15:27:31

 12          A.   I understand there is a difference.               15:27:35

 13          Q.   It is a big difference, isn't it?                 15:27:36

 14          A.   There is a big difference.                        15:27:37

 15          Q.   Yes, sir.    You're talking here about            15:27:39

 16    underaged Thai girls.     You're talking about girls         15:27:44

 17    under the age of 15, right?                                  15:27:46

 18          A.   Yes.                                              15:27:50

 19          Q.   18 and 19 is not an underage Thai girl,           15:27:51

 20    right?                                                       15:27:54

 21          A.   Correct.                                          15:27:54

 22          Q.   Look what he had written to you after he          15:27:56

 23    gave you Tik's name.     As of August 24, 2018, he           15:28:00

 24    told you "The target," that's Vernon Unsworth,               15:28:10

 25    right?                                                       15:28:12

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   1         A.   Right.                                            15:28:12

   2         Q.   And War Noon, which is Tik, right?                15:28:12

   3         A.   Yes.                                              15:28:17

   4         Q.   In effect he said that the target, Vernon         15:28:20

   5   and Tik -- read the next part for me.                        15:28:24

   6         A.   "Have been married for seven years."              15:28:30

   7         Q.   That would have put them getting married          15:28:32

   8   in 2011, right?                                              15:28:35

   9         A.   Yes, based on the date.                           15:28:38

 10          Q.   And then read for me what he told you             15:28:39

 11    that related to Tik's age.                                   15:28:43

 12          A.   28-year gap between them both.                    15:28:46

 13          Q.   Mr. Unsworth was 63, I believe he was             15:28:50

 14    telling you, right?                                          15:28:53

 15          A.   Yeah.                                             15:28:56

 16          Q.   So what is he telling you in that                 15:28:57

 17    statement on August 24 about Tik's age, when he              15:29:00

 18    said 28-years' gap between them both?                        15:29:04

 19          A.   In that statement you would -- assuming           15:29:12

 20    that Unsworth's age is 63, you would assume a                15:29:15

 21    mid-30s age.                                                 15:29:18

 22          Q.   35 if he was 63?                                  15:29:20

 23          A.   Correct.                                          15:29:23

 24          Q.   So he had told you on the 24th that the           15:29:25

 25    age differential was 28 years, and that Tik was 35,          15:29:27

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   1   I mean, that's what they said.                                 14:48:58

   2         Q.   And that they were trying to prove it?              14:48:58

   3         A.   Correct.                                            14:49:00

   4         Q.   As to whether it was true or not?                   14:49:01

   5         A.   Yes.                                                14:49:02

   6         Q.   And you would have told that to Mr. Musk.           14:49:03

   7   You would not have led him to believe they had                 14:49:04

   8   proven it as a fact when you knew that they were               14:49:08

   9   still trying to prove it, true?                                14:49:11

 10          A.   Yeah, I mean, it comes down to an issue             14:49:13

 11    of semantics, but I would have communicated that               14:49:16

 12    they believed that it was -- that it was a -- a                14:49:19

 13    legitimate thing.     That's what they believed.     And       14:49:20

 14    they were -- yes, they were working on proving it.             14:49:26

 15          Q.   And they were trying to prove it?                   14:49:28

 16          A.   Yes.    They had a team there working to            14:49:30

 17    prove it out --                                                14:49:31

 18          Q.   That's --                                           14:49:31

 19          A.   But they believed that --                           14:49:31

 20          Q.   That's all I wanted to establish.       You         14:49:31

 21    told Mr. Musk they believed he was in Pattaya                  14:49:33

 22    Beach?                                                         14:49:35

 23          A.   Yeah.                                               14:49:36

 24          Q.   Pattaya Beach is not a good place?                  14:49:36

 25          A.   Yeah.                                               14:49:38

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   1   and they met -- they married seven years earlier,            15:29:31

   2   which would have told you that Tik and Vernon got            15:29:35

   3   married when Tik was 28, true?                               15:29:39

   4         A.   True.   But you're pulling one time that          15:29:43

   5   you said this out of --                                      15:29:45

   6         Q.   Oh, I'm going to go through all of them.          15:29:47

   7   Don't you worry about that.                                  15:29:50

   8         A.   You don't know about all the phone                15:29:50

   9   conversations.                                               15:29:52

 10          Q.   Oh, I know by design, I don't, but I              15:29:53

 11    think I've got a pretty good idea.                           15:29:54

 12          A.   How could it be by design?                        15:29:55

 13          Q.   Because you intentionally didn't put it           15:29:58

 14    in writing.                                                  15:29:59

 15          A.   Well, I mean --                                   15:30:00

 16          Q.   So you want me to come in here -- do you          15:30:00

 17    want us to believe --                                        15:30:01

 18          A.   You put all your conversations in                 15:30:02

 19    writing?                                                     15:30:04

 20          Q.   On a -- yes.    On a matter like this,            15:30:04

 21    absolutely.                                                  15:30:06

 22          A.   Well, I --                                        15:30:06

 23          Q.   And if you didn't put it in writing as my         15:30:06

 24    employee, I'd fire you.     Because it's too critical        15:30:09

 25    of information to come back a year and some months           15:30:10

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   1   later and claim you don't remember what was said.            15:30:14

   2         A.   Yeah, I've never put phone conversations          15:30:17

   3   in writing.                                                  15:30:19

   4         Q.   Because you can't document it.                    15:30:20

   5         A.   Never put --                                      15:30:21

   6         Q.   I think others will understand.                   15:30:21

   7   Nonetheless, maybe I'm missing the point, but I              15:30:24

   8   don't think so.                                              15:30:26

   9              Let's go over -- the bottom line is you           15:30:26

 10    had information from him on the 24th to suggest              15:30:27

 11    that she was 35, and they got married when she was           15:30:29

 12    28, right?                                                   15:30:33

 13          A.   I do see that, yes.                               15:30:35

 14          Q.   Right.   Now, on the next email exchange          15:30:37

 15    you write -- because you've asked him the question,          15:30:41

 16    "Can we get a firm confirmation when they met --             15:30:56

 17    that they met while she was a minor?"                        15:30:58

 18               You see the question?                             15:31:00

 19          A.   Looking for that.     Yes, I see that.            15:31:07

 20          Q.   And then he writes back "Jim, I will              15:31:10

 21    inquire and confirm.     We are working a number of          15:31:13

 22    different inquiries, and I will have more                    15:31:17

 23    information over the weekend.      I am contactable any      15:31:18

 24    time.   Regards, James."                                     15:31:21

 25               Have I read that correctly?                       15:31:23

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   1         A.   Yes.                                              15:31:24

   2         Q.   And then what did you write him back and          15:31:25

   3   say on the 25th of August 24, or maybe the 24th,             15:31:26

   4   depending on the time frame -- I mean, the time              15:31:29

   5   zone.   What was your response?     Read it to me.           15:31:30

   6         A.   "Sounds good.    Also for successful              15:31:33

   7   confirmation of nefarious behavior, there is an              15:31:36

   8   additional 10K bonus.     Timing is important as you         15:31:37

   9   know.   Preferable in the next 36 to 48 hours."              15:31:41

 10          Q.   Did Mr. Musk know that you were offering          15:31:47

 11    a $10,000 bonus to Mr. Howard if he could confirm            15:31:47

 12    nefarious behavior by Vernon Unsworth?                       15:31:52

 13          A.   I'm not sure with certainty that he did.          15:31:56

 14    It's possible, but --                                        15:31:58

 15          Q.   Do you think it's likely that you would           15:31:59

 16    have told him "I've thrown in a bonus to try to get          15:32:00

 17    him to get this information and get it to us as              15:32:02

 18    quickly as possible"?                                        15:32:05

 19          A.   It's possible.                                    15:32:05

 20          Q.   Is it likely?                                     15:32:05

 21          A.   I mean, there are a lot of decisions that         15:32:06

 22    I make on my own that don't fall --                          15:32:07

 23          Q.   You've never done this before?                    15:32:10

 24          A.   Yes.   But there are one-off little parts         15:32:11

 25    of, you know, negotiations and day-to-day business           15:32:14

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   1   routines that I don't bounce off him.                        15:32:16

   2          Q.   Why would you give him a bonus?                  15:32:20

   3          A.   Incentive.                                       15:32:22

   4          Q.   Why would you just not pay him for --            15:32:23

   5          A.   Same reason an athlete gets a bonus.             15:32:24

   6          Q.   For -- well, for -- for producing                15:32:26

   7   results.    That's what they get a bonus for.                15:32:29

   8   Results beyond the ordinary, wouldn't you agree, so          15:32:32

   9   you get a bonus?                                             15:32:36

 10           A.   Giving an extraordinary effort.                  15:32:39

 11           Q.   But you weren't saying give us an                15:32:40

 12    extraordinary effort and we'll give you $10,000 --           15:32:43

 13           A.   That's a confirmation.                           15:32:47

 14           Q.   You said confirmation.    You didn't say         15:32:48

 15    get us the truth?                                            15:32:51

 16           A.   That's what a confirmation is.                   15:32:53

 17           Q.   Confirmation of nefarious behavior?              15:32:55

 18           A.   Confirmation is truth.                           15:32:58

 19           Q.   You wanted nefarious behavior confirmed.         15:32:59

 20    And if he could give you -- excuse me.                       15:33:01

 21                It's clear as a bell.    You're telling him      15:33:03

 22    if you get confirmation of nefarious behavior by             15:33:07

 23    Vernon Unsworth, there's another $10,000 in it for           15:33:12

 24    you.                                                         15:33:15

 25           A.   That's exactly what I wrote.                     15:33:15

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   1         Q.   Did you pay him the $10,000?                      15:33:17

   2         A.   No, I didn't.                                     15:33:19

   3         Q.   Because he didn't give you confirmation           15:33:20

   4   of nefarious behavior, did he?                               15:33:24

   5         A.   Correct.                                          15:33:26

   6         Q.   Sir, now, look up at Exhibit -- and               15:33:26

   7   hopefully we're moving to the point I was thought            15:33:28

   8   we'd get to earlier, but we'll get there.                    15:33:34

   9         A.   Do you bonus people in your law firm?             15:33:37

 10    You know why you do.                                         15:33:53

 11          Q.   Are you asking me questions?                      15:33:54

 12          A.   I am asking you questions.                        15:33:55

 13          Q.   When we're done with the deposition, I'm          15:33:55

 14    going to give you a freebie, and I'm going to let            15:33:57

 15    you ask me questions, but not during my time to              15:34:00

 16    question you.    Fair enough?                                15:34:04

 17          A.   Sure.                                             15:34:04

 18          Q.   And I'll be happy to answer that question         15:34:04

 19    for you.   You may not necessarily like it, but I'll         15:34:06

 20    tell you what I give bonuses for.       It wouldn't be       15:34:09

 21    for this kind of garbage.                                    15:34:12

 22          A.   Well, lawyers don't do this for a living.         15:34:14

 23    That's what investigators do for a living.                   15:34:15

 24          Q.   You don't do this for a living, but you           15:34:17

 25    took it upon yourself to throw out a $10,000 bonus           15:34:19

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   1         Q.    I'm going to give you the chance to grill        15:35:01

   2   me after we're done here.      I'm sure Alex wants it        15:35:04

   3   to stay with me asking you right now.                        15:35:07

   4               MR. SPIRO:   Well, it's coming off the           15:35:11

   5   tracks a little bit.                                         15:35:13

   6               MR. L. WOOD:   No, it's not.    It's             15:35:14

   7   staying -- let me tell you.      It's dead on the            15:35:14

   8   center of the tracks heading toward the courthouse.          15:35:15

   9               MR. SPIRO:   Okay.   So let's keep moving.       15:35:18

 10    Question-answer, question-answer.                            15:35:20

 11                MR. L. WOOD:   24.   73.                         15:35:22

 12                (Exhibit 73 was marked for                       13:37:33

 13                identification.
                   identification.)                                 13:37:33

 14    BY MR. L. WOOD:                                              15:36:07

 15          Q.    Are you familiar with Exhibit 73?                15:36:07

 16          A.    I am.                                            15:36:09

 17          Q.    And that's a fairly lengthy email thread.        15:36:09

 18    It starts on -- with an email dated September the            15:36:13

 19    4th where he writes you and says "Jim, I appreciate          15:36:16

 20    your need -- you need quick results.       I'm very          15:36:25

 21    confident that we will get what we need from                 15:36:29

 22    Pattaya."                                                    15:36:31

 23                Have I read that correctly?                      15:36:31

 24          A.    Yes.                                             15:36:33

 25          Q.    So as of September 4th, he hadn't gotten         15:36:33

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   1   that he thought he needed from Pattaya yet, right?           15:36:36

   2         A.   That is correct.                                  15:36:39

   3         Q.   What was the -- what was the -- back to           15:36:40

   4   your bonus offer, what was the time concern about            15:36:43

   5   24 to 36 hours?    What was the urgency?                     15:36:46

   6         A.   There's -- there's always a desire to get         15:36:53

   7   information faster.     I mean, that's just a general        15:36:55

   8   principal in Elon's world.                                   15:37:00

   9         Q.   In Elon's world.     So Elon was the one          15:37:01

 10    pushing for the urgency of results?                          15:37:03

 11          A.   No.    That trickles down to every -- every       15:37:05

 12    group that works for him.                                    15:37:07

 13          Q.   Had Elon told you to tell this guy to             15:37:09

 14    kind of hit the accelerator and get things done?             15:37:11

 15          A.   I knew Elon's expectations in all things,         15:37:14

 16    and therefore I was conveying what I felt needed to          15:37:16

 17    be conveyed.                                                 15:37:19

 18          Q.   And then he says down there "We know              15:37:22

 19    Vernon is a "bad boy," and we are close to having            15:37:23

 20    the evidence we need."                                       15:37:30

 21               Have I read that correctly?                       15:37:31

 22          A.   Yes.                                              15:37:33

 23          Q.   He still didn't have the evidence he              15:37:33

 24    needed, did he?                                              15:37:36

 25          A.   No.                                               15:37:38

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   1   history of not writing flattering pieces about him,          15:42:16

   2   didn't he?                                                   15:42:20

   3         A.    I don't know about his history.                  15:42:20

   4         Q.    You've never looked at Ryan Mac's history        15:42:22

   5   on Twitter when he's reporting about Mr. Musk?               15:42:23

   6         A.    No.                                              15:42:25

   7         Q.    Other than perhaps the article I gave you        15:42:26

   8   today from June of 2018?                                     15:42:28

   9         A.    No.   I mean, have I ever read one of his        15:42:30

 10    articles?    I probably have.    I just don't correlate      15:42:32

 11    him as specifically an enemy of Elon.                        15:42:35

 12          Q.    And here's what you said before the              15:42:38

 13    self-sabotage:    "You have not reported this."              15:42:40

 14                You are confirming the accuracy of               15:42:43

 15    Mr. Howard's statement that he had never reported            15:42:47

 16    that Mr. Unsworth was a child rapist, right?                 15:42:52

 17                You are saying to him, you have not              15:42:56

 18    reported that to me, right?                                  15:42:57

 19          A.    He had not used that term, yes.                  15:42:59

 20          Q.    And then you made it clear that you had          15:43:01

 21    not communicated it either, right?                           15:43:04

 22          A.    Yes, I'd never --                                15:43:07

 23          Q.    You had not communicated that to                 15:43:07

 24    Elon Musk, true?                                             15:43:09

 25          A.    I'd never used that term "child rapist."         15:43:10

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   1         Q.   You'd never communicated to Elon Musk             15:43:13

   2   that Mr. Unsworth was a child rapist, true?                  15:43:16

   3         A.   Never used that term.                             15:43:20

   4         Q.   So the answer is "Yes.     True, Mr. Wood"?       15:43:21

   5         A.   Yes.                                              15:43:22

   6         Q.   Right?   Okay, now, then you go back and          15:43:24

   7   you write another email.     See the one right above         15:43:33

   8   it, September 6?                                             15:43:38

   9         A.   I do see that, yes.                               15:43:40

 10          Q.   You want to go back now and revisit the           15:43:42

 11    discussion about the target, Mr. Unsworth, as a              15:43:44

 12    child rapist, right?                                         15:43:47

 13          A.   Well, you said September 6th.      Are you        15:43:49

 14    talking about September --                                   15:43:51

 15          Q.   Right here.                                       15:43:52

 16          A.   Oh, yes.    I do see that.                        15:43:53

 17          Q.   Bates 0370.                                       15:43:55

 18          A.   Yes.                                              15:43:58

 19          Q.   "Also, as you may expect, I have spent            15:43:59

 20    over the last 24 hours -- I have spent time over             15:44:06

 21    the last 24 hours compiling the information you've           15:44:07

 22    provided," right?                                            15:44:11

 23          A.   Yes.                                              15:44:15

 24          Q.   "Not to be beat a dead horse, but to              15:44:15

 25    briefly revisit the point below."                            15:44:19

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   1              The point below being "child rapist,"             15:44:21

   2   right?                                                       15:44:24

   3         A.   Yes.                                              15:44:25

   4         Q.   You repeat "You never did report that the         15:44:25

   5   target is a child rapist."                                   15:44:28

   6              Have I read that correctly?                       15:44:30

   7         A.   Yep.                                              15:44:31

   8         Q.   Now read the rest of your email for the           15:44:32

   9   record for me, please.                                       15:44:35

 10          A.   "However, you undoubtedly understand --           15:44:36

 11          Q.   A little slower.                                  15:44:38

 12          A.   "However, you undoubtedly understand              15:44:38

 13    where the principal is drawing this conclusion               15:44:40

 14    from.    You reported in multiple phone conversations        15:44:44

 15    that the age of the target's girlfriend, believed            15:44:47

 16    to be his wife at this time, would have put her in           15:44:48

 17    her teens when they were married, and that she was           15:44:51

 18    quoted in a Thai news article saying they first met          15:44:53

 19    seven years prior to that, which would have made             15:44:56

 20    her a very young teenager at the time.                       15:44:58

 21               "Some, all? of this information has now           15:45:01

 22    been proven to be wrong.     Why -- I'm sorry -- they        15:45:03

 23    aren't married, and her age is unconfirmed.        I also    15:45:06

 24    haven't seen the Thai article that you referenced.           15:45:09

 25               "So while I agree that the comments by            15:45:12

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   1   the principal were ill-advised, you can understand           15:45:14

   2   that using the data you provided would have allowed          15:45:17

   3   him to draw this conclusion without you explicitly           15:45:20

   4   reporting it as a fact."                                     15:45:24

   5         Q.    Did you have conversations with Mr. Musk         15:45:26

   6   that lead to you writing that email that you just            15:45:29

   7   read to me?                                                  15:45:32

   8         A.    No.                                              15:45:34

   9         Q.    So you are now trying to figure out where        15:45:34

 10    in the hell did Elon Musk come with the idea that            15:45:37

 11    he's a child rapist, right?                                  15:45:40

 12          A.    I'm trying to figure that out?                   15:45:42

 13          Q.    Yeah.                                            15:45:42

 14          A.    No.   I know why where he came -- came --        15:45:42

 15    how he came -- like, again, as I stated there --             15:45:44

 16          Q.    Keep going.                                      15:45:49

 17          A.    He didn't use the words "child rapist."          15:45:50

 18          Q.    Mr. Musk did.                                    15:45:52

 19          A.    I'm saying -- sorry.    Howard did not use       15:45:53

 20    the word "child rapist."                                     15:45:55

 21          Q.    He didn't say anything close to it.              15:45:56

 22                MR. SPIRO:    Let him finish.                    15:46:00

 23                THE WITNESS:    However, he, on multiple         15:46:00

 24    occasions, shared that he had met Tik as a young             15:46:02

 25    teenager.   And -- and so what I was saying is,              15:46:06

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   1   because of that information that was shared on               15:46:09

   2   multiple occasions --                                        15:46:11

   3   BY MR. L. WOOD:                                              15:46:13

   4         Q.    When he met her.                                 15:46:13

   5         A.    That's -- that is what would have led            15:46:14

   6   Mr. Musk to that conclusion, not to mention the              15:46:16

   7   added information about Pattaya and everything               15:46:20

   8   else.    And so that is where that conclusion came           15:46:23

   9   from.    It's a term that he used to sum up what --          15:46:25

 10          Q.    Who used?   Mr. Musk?                            15:46:28

 11          A.    Mr. Musk used to sum up Howard's                 15:46:32

 12    information.                                                 15:46:35

 13          Q.    And part of that information you're              15:46:35

 14    claiming is -- you're saying that you had provided           15:46:37

 15    Mr. Musk with information from Mr. Howard that Tik           15:47:07

 16    and Mr. Unsworth were married when Tik was in her            15:47:15

 17    teens.     Not met.   Married, right?                        15:47:24

 18          A.    Yes.                                             15:47:30

 19          Q.    So you're telling me that Mr. Howard told        15:47:30

 20    you they were married when she was how old?                  15:47:33

 21          A.    18 or 19.                                        15:47:37

 22          Q.    Not that they met when she was 18 or 19,         15:47:38

 23    but that they were married when she was 18 or 19,            15:47:40

 24    true?                                                        15:47:44

 25          A.    That's correct.    True.                         15:47:46

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   1         Q.   Being married to an 18 or 19-year-old is          15:47:47

   2   not a child.    She's not a child bride, is she?             15:47:50

   3         A.   That's --                                         15:47:55

   4         Q.   She's certainly not a 12-year-old child           15:47:55

   5   bride?                                                       15:47:58

   6         A.   That is true.                                     15:47:58

   7         Q.   So that statement by Mr. Musk was false,          15:47:59

   8   and had no factual foundation.                               15:48:02

   9              MR. SPIRO:    Objection.                          15:48:06

 10    BY MR. L. WOOD:                                              15:48:06

 11          Q.   Nobody ever told him --                           15:48:07

 12               MR. SPIRO:    Form.                               15:48:08

 13          Q.   Excuse me.                                        15:48:08

 14               Nobody ever told him -- not you, not              15:48:08

 15    Mr. Howard, nobody -- that in fact Tik and Vernon            15:48:11

 16    were married when she was 12 years old, true?                15:48:17

 17          A.   That is true.                                     15:48:21

 18          Q.   In fact, if you work back under your              15:48:27

 19    statement, if they got married when she was 18 or            15:48:30

 20    19 -- and that's what you were contending, right?            15:48:39

 21          A.   Yep.   Yes.                                       15:48:42

 22          Q.   That would not make him a child rapist,           15:48:42

 23    because she would be over the age of consent.                15:48:46

 24          A.   However, it was made clear that they met          15:48:52

 25    seven years prior to --                                      15:48:55

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   1   BY MR. L. WOOD                                               15:49:55

   2         Q.   So if she's 18 or 19, and they are                15:49:55

   3   married -- which would assume sexual intercourse,            15:50:03

   4   right?                                                       15:50:06

   5         A.   Most likely.                                      15:50:06

   6         Q.   He's not -- she's not a 12-year-old child         15:50:10

   7   bride, true?                                                 15:50:12

   8         A.   True.                                             15:50:12

   9         Q.   And that -- that fact of marriage at 18           15:50:12

 10    does not in any way support that he was a child              15:50:16

 11    rapist, true?                                                15:50:21

 12          A.   Someone being married at 18 does not              15:50:23

 13    suggest they are a child rapist in and of itself,            15:50:25

 14    correct.                                                     15:50:28

 15          Q.   And if you go back and assume that she            15:50:28

 16    was seven years -- that they had met seven years             15:50:33

 17    before they were married at age 18 or 19, that               15:50:38

 18    would be evidence that they met each other -- met            15:50:43

 19    each other when she was 11 or 12 years old, true?            15:50:46

 20          A.   True.                                             15:50:52

 21          Q.   To meet someone is not to have sexual             15:50:52

 22    intercourse with them, is it?                                15:50:55

 23          A.   Not -- no.                                        15:50:58

 24          Q.   And to meet someone at 11 or 12 years old         15:51:00

 25    does not support an accusation that having met her           15:51:04

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   1         A.    We're talking about child rapists.                 15:52:14

   2         Q.    How do you -- how does the logic that you          15:52:14

   3   set out in any way support that Elon -- that --                15:52:14

   4         A.    Well, you're saying the logic --                   15:52:21

   5         Q.    Excuse me.   I've got to finish.     No.           15:52:21

   6   You're trying to say what you thought might explain            15:52:21

   7   what Elon said and why he said it.                             15:52:26

   8               But you recognize that even your efforts           15:52:29

   9   to explain it do not in any way support Elon Musk's            15:52:30

 10    statement that Vernon Unsworth had a 12-year-old               15:52:35

 11    child bride and was a child rapist.                            15:52:41

 12                Can we agree on that?                              15:52:43

 13          A.    That's -- that's incorrect.     What I'm --        15:52:45

 14    I wasn't, again, trying to create a court of law               15:52:47

 15    argument there --                                              15:52:52

 16          Q.    I'm not suggesting that.                           15:52:53

 17          A.    I was trying to help James understand              15:52:54

 18    clearly and recall that he was the source of all               15:52:58

 19    information.                                                   15:53:00

 20                There was lot more information that what           15:53:00

 21    I outlined here that allowed those conclusions to              15:53:01

 22    be drawn.                                                      15:53:05

 23          Q.    Well, here's the chance to say it.                 15:53:05

 24    You-all are in a discussion about whether or not               15:53:05

 25    you said to Elon "Unsworth's a child rapist."          I       15:53:08

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   1   didn't say it.    You didn't tell him that.                  15:53:14

   2              You didn't communicate to Elon Musk that          15:53:14

   3   Vernon Unsworth's a child rapist, right?                     15:53:18

   4         A.   That's right.                                     15:53:20

   5         Q.   And you didn't communicate to Elon Musk           15:53:21

   6   that Mr. Howard said that Vernon was a child                 15:53:22

   7   rapist, did you?                                             15:53:25

   8         A.   No, I did not communicate that.                   15:53:28

   9         Q.   And you didn't communicate to Elon Musk           15:53:30

 10    that Vernon Unsworth married Tik when she was 12             15:53:33

 11    years old, did you?                                          15:53:36

 12          A.   No.                                               15:53:37

 13          Q.   And Mr. Howard never communicated to you          15:53:37

 14    at any time, that in fact, Tik and Vernon were               15:53:40

 15    married when she was 12 years old, right?                    15:53:45

 16          A.   Correct.                                          15:53:48

 17          Q.   Therefore you never communicated to               15:53:50

 18    Mr. Musk any information, from Mr. Howard or                 15:53:52

 19    otherwise, that would in any way remotely support            15:53:57

 20    the conclusion that Vernon and Tik were married              15:54:01

 21    when she was 12 years old, and that Vernon Unsworth          15:54:04

 22    a child rapist, true?                                        15:54:08

 23               MR. SPIRO:    Objection.                          15:54:10

 24               THE WITNESS:    I disagree with that.             15:54:10

 25    ///

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   1   BY MR. L. WOOD:                                              15:54:12

   2         Q.   Where -- I want to make sure I                    15:54:12

   3   understand.    Where do you disagree?                        15:54:13

   4         A.   So I --                                           15:54:14

   5         Q.   Where does it break down there?                   15:54:14

   6         A.   So I -- I -- I would -- there is some             15:54:17

   7   support for the first half of that statement --              15:54:18

   8         Q.   What support?                                     15:54:20

   9         A.   -- about the child bride.                         15:54:20

 10          Q.   What support?                                     15:54:22

 11          A.   What you just outlined would support not          15:54:25

 12    being a child bride by --                                    15:54:27

 13          Q.   12-year-old child bride.                          15:54:29

 14          A.   Exactly.    So that's what I'm saying.            15:54:31

 15    You're correct in that regard.      Some would say that      15:54:33

 16    an 18-year-old is a child bride, but that's                  15:54:35

 17    obviously by definition of the law.       Not the case       15:54:37

 18    in Thailand, however --                                      15:54:38

 19          Q.   I don't think it's the definition of the          15:54:41

 20    law in the United States.                                    15:54:42

 21               MR. SPIRO:    We're not going to submit to        15:54:44

 22    an argument about --                                         15:54:44

 23               MR. L. WOOD:    Well, he's the one that           15:54:45

 24    said it.   I'm just saying it for him.                       15:54:45

 25               THE WITNESS:    I'm just saying that some         15:54:47

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   1   would say that that's a child getting married.                15:54:47

   2               MR. L. WOOD:   He's struggling here.     Be       15:54:49

   3   careful.    I mean --                                         15:54:49

   4               MR. SPIRO:   Lin.   Lin.   Objection.             15:54:50

   5               THE WITNESS:   I'm stating --                     15:54:51

   6               MR. L. WOOD:   You're trying to justify --        15:54:51

   7               THE WITNESS:   No, I'm not trying to              15:54:53

   8   justify anything.                                             15:54:54

   9   BY MR. L. WOOD:                                               15:54:54

 10          Q.    All I want to know is where is my logic           15:54:54

 11    wrong?     Where did Elon Musk --                             15:54:55

 12          A.    I just finished saying your logic wasn't          15:54:59

 13    wrong.                                                        15:55:01

 14          Q.    Well, maybe I didn't hear you.                    15:55:01

 15          A.    About the child bride.                            15:55:01

 16                MR. SPIRO:   That's what he just said.            15:55:01

 17                MR. L. WOOD:   He said what?                      15:55:02

 18                THE WITNESS:   The child bride logic was          15:55:02

 19    not wrong.                                                    15:55:04

 20    BY MR. L. WOOD:                                               15:55:06

 21          Q.    Right.   But how do you make it right --          15:55:06

 22          A.    I'm saying the child rapist side of it is         15:55:08

 23    incorrect.    That there was a lot of information             15:55:10

 24    that would have led one to draw that conclusion.              15:55:12

 25          Q.    What information?                                 15:55:15

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   1               MR. SPIRO:   This has been asked and             15:55:17

   2   answered two times.                                          15:55:18

   3               MR. L. WOOD:   No, it has not.                   15:55:20

   4               MR. SPIRO:   Yes, it has been.                   15:55:20

   5               MR. L. WOOD:   This is the first time I've       15:55:20

   6   asked him.                                                   15:55:21

   7               He's sitting -- you're sitting here              15:55:21

   8   having an exchange with Mr. Howard, and you are              15:55:21

   9   discussing the statement by Elon Musk that                   15:55:26

 10    Vernon Unsworth was a child rapist, right?                   15:55:32

 11                THE WITNESS:   Yes.                              15:55:36

 12    BY MR. L. WOOD:                                              15:55:37

 13           Q.   And you write Mr. Howard, and he writes          15:55:37

 14    you.   And you say "I never told Elon that Unsworth          15:55:42

 15    was a child rapist."     And Howard said "I didn't           15:55:49

 16    tell anybody that -- I never told you that                   15:55:55

 17    Vernon Unsworth was a child rapist," right?                  15:55:57

 18                So what I -- am I right so far?                  15:56:00

 19           A.   Yes, that term was never used.                   15:56:03

 20           Q.   That's what he said to a member of the           15:56:06

 21    United States media, that Vernon Unsworth was a              15:56:07

 22    child rapist.                                                15:56:12

 23                What do you understand a child rapist to         15:56:13

 24    refer to?                                                    15:56:19

 25           A.   Someone who has sex with a child.                15:56:21

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   1         Q.    Defining a child as being at what age?           15:56:23

   2         A.    Oh, from what I understand it differs in         15:56:26

   3   different countries, but --                                  15:56:28

   4         Q.    In the U.S. of A?                                15:56:31

   5         A.    Under 18 years.    Is that wrong?                15:56:33

   6         Q.    So where do you come up with any support         15:56:39

   7   for Elon Musk making the outrageous and disgusting           15:56:44

   8   accusation that Mr. Unsworth was a child rapist?             15:56:49

   9         A.    I come up with --                                15:56:54

 10                MR. SPIRO:   Objection.                          15:56:56

 11                You -- can answer.    You know, I'm going        15:56:56

 12    to object to continued theatrics.       He's answered        15:56:56

 13    this question 20 times.                                      15:57:00

 14                MR. L. WOOD:   There's no theatrics.             15:57:00

 15                MR. SPIRO:   Twenty times, but you can           15:57:02

 16    answer the question.                                         15:57:02

 17                MR. L. WOOD:   I thought you liked to say        15:57:02

 18    50 times.                                                    15:57:05

 19                MR. SPIRO:   No.   This is wasn't 50 times.      15:57:07

 20                MR. L. WOOD:   Listen, you want to get           15:57:07

 21    done, you better -- you better get to it.                    15:57:07

 22                MR. SPIRO:   So let's do it one more time.       15:57:10

 23                Answer the question of what you think the        15:57:11

 24    basis was for him to say that.                               15:57:13

 25                MR. L. WOOD:   I didn't ask him that             15:57:14

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   1   question.    Hold on.    I want to make where --              15:57:17

   2               MR. SPIRO:   Do you find any support?     Any     15:57:19

   3   support.                                                      15:57:19

   4               MR. L. WOOD:   Let me just stop you.              15:57:19

   5               MR. SPIRO:   Yeah.                                15:57:21

   6               MR. L. WOOD:   It is not your turn.               15:57:21

   7               MR. SPIRO:   Okay.   I don't need --              15:57:23

   8               MR. L. WOOD:   You make objections.     And       15:57:24

   9   I'll ask the questions.                                       15:57:25

 10                MR. SPIRO:   I'm looking at the question          15:57:26

 11    you wrote.                                                    15:57:26

 12                MR. L. WOOD:   Right.   That's my job, not        15:57:26

 13    yours.                                                        15:57:29

 14    BY MR. L. WOOD:                                               15:57:29

 15          Q.    I want to find where you got any                  15:57:29

 16    information, what information it was, that would              15:57:34

 17    have in any way supported as true that                        15:57:38

 18    Vernon Unsworth was a child rapist.                           15:57:44

 19                Just tell me what it is.                          15:57:47

 20          A.    Yeah.   So if you go back and read a              15:57:52

 21    number of things that -- that Howard wrote, and if            15:57:54

 22    you knew all of what was said and what was                    15:57:58

 23    communicated, you would know that we had an                   15:58:00

 24    investigator telling us that -- that he spent -- or           15:58:03

 25    that he met a young Thai girl in a -- in Thailand,            15:58:06

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   1   known for what it's -- you know, for pedophilia and          15:58:11

   2   all that stuff, that he spent time with her as a             15:58:16

   3   young girl, and that he had frequented other                 15:58:21

   4   establishments in Pattaya that were known for those          15:58:23

   5   same things.                                                 15:58:27

   6              And so there was -- those were -- those           15:58:27

   7   are some of the few reasons that would have caused           15:58:29

   8   that conclusion to be drawn.      So that --                 15:58:34

   9         Q.   I'm still trying to look for child                15:58:38

 10    rapist.    Number one, rape would assume that he             15:58:41

 11    forced -- that he, because of her age, he would              15:58:44

 12    have to have sexual intercourse or anal intercourse          15:58:47

 13    or sodomy.    That would be the rape, right?                 15:58:50

 14          A.   Yes.                                              15:58:55

 15               MR. SPIRO:    You're defining the term as         15:58:57

 16    you're -- as you're going.      How --                       15:59:01

 17               MR. L. WOOD:    Why don't you just object         15:59:03

 18    and stop -- you know.     I don't mind you keeping           15:59:03

 19    laughing; that doesn't matter to me.                         15:59:05

 20               MR. SPIRO:    I'm not laughing.     I'm           15:59:07

 21    just -- it's a gasp.                                         15:59:07

 22               MR. L. WOOD:    Do that in front of the           15:59:07

 23    jury.   Do that in front of the judge.                       15:59:09

 24               It's a what?                                      15:59:10

 25               MR. SPIRO:    It is a gasp; it's not a            15:59:11

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   1   laugh.                                                       15:59:12

   2              MR. L. WOOD:    Oh, I know the difference         15:59:15

   3   between a gasp --                                            15:59:15

   4              MR. SPIRO:    You should.                         15:59:15

   5              MR. L. WOOD:    I would be gasping a lot if       15:59:15

   6   I were you today.     You too.   Let's ask questions         15:59:17

   7   and get answers.                                             15:59:17

   8              MR. SPIRO:    Go ahead.   Ask the questions.      15:59:18

   9   BY MR. L. WOOD:                                              15:59:18

 10          Q.   Mr. -- Mr. Birchall, I'm still not                15:59:18

 11    getting it.                                                  15:59:23

 12          A.   Okay.                                             15:59:24

 13          Q.   I'm looking for support on information            15:59:24

 14    that you got from Mr. Howard that could in some way          15:59:27

 15    be analyzed by Elon Musk to come to the conclusion           15:59:33

 16    that he had been told as a fact that                         15:59:38

 17    Vernon Unsworth was a child rapist?                          15:59:41

 18          A.   So I don't know if you want me to keep            15:59:46

 19    repeating what I've said previously.                         15:59:47

 20          Q.   I just want you to tell me.      I haven't        15:59:50

 21    heard an answer yet to child rapist.       I've heard --     15:59:50

 22    here's what you told me.                                     15:59:52

 23               That an investigator tells that he met a          15:59:54

 24    young Thai girl in Thailand.                                 15:59:58

 25               That would be Tik?                                15:59:59

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   1         A.    Yes.                                             16:00:01

   2         Q.    And the investigator is telling you              16:00:02

   3   different things about the time and her age when             16:00:05

   4   they met?                                                    16:00:09

   5         A.    In a region known for this behavior.             16:00:10

   6         Q.    Sir.   Pedophilia is not necessarily --          16:00:13

   7         A.    You asked the question.     I'm telling you.     16:00:16

   8         Q.    You are saying Thailand is known for             16:00:17

   9   child rape?                                                  16:00:20

 10          A.    Yes.                                             16:00:24

 11          Q.    So you got Mr. Unsworth meeting a young          16:00:25

 12    Thai girl in Thailand.                                       16:00:28

 13                How is she when they met?                        16:00:28

 14          A.    I mean, at times we believed around 12           16:00:30

 15    years old.                                                   16:00:35

 16          Q.    There were more statements that she was          16:00:37

 17    18 to 19, based on the age of 30.                            16:00:38

 18          A.    Written statements.                              16:00:41

 19          Q.    Yeah, but he was going back and forth            16:00:42

 20    with you.    He would say 18 or 19 at one point.             16:00:43

 21    Then he would tell you 12 at one point.       Then he        16:00:46

 22    would go 18 or 19 at one point.      And then he would       16:00:47

 23    go to 12 at one point.                                       16:00:50

 24                Is that the way it happened?                     16:00:52

 25          A.    Yes.   Not exactly that sequence, but --         16:00:53

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   1          Q.   But like that.   He was going back and            16:00:56

   2   forth between 12 and 18 and 19, right?                        16:00:57

   3          A.   There was some back and forth.                    16:01:01

   4          Q.   And you told Mr. Musk there was                   16:01:02

   5   discrepancies and there was back and forth and it             16:01:03

   6   was not the same, true?                                       16:01:05

   7          A.   Yes.   I communicated what was                    16:01:07

   8   communicated to me.                                           16:01:09

   9          Q.   Right.   Prior to when he made the                16:01:13

 10    statement about him being a child rapist, right?              16:01:15

 11           A.   Prior.   So that would have been prior            16:01:20

 12    to --                                                         16:01:22

 13           Q.   Prior to August the 30th.                         16:01:22

 14           A.   There was vacillation by Howard prior             16:01:25

 15    to -- to August 30th, though he had stuck to his              16:01:28

 16    guns that his belief was that it was the younger              16:01:36

 17    age.                                                          16:01:40

 18           Q.   The last communications he had, sir, put          16:01:43

 19    her at best 18 or 19, based on the age of Tik being           16:01:46

 20    either 30 -- there was another one at 35.                     16:01:49

 21           A.   Yeah, that's written communication.               16:01:54

 22           Q.   I understand that.    But you told Elon I'm       16:01:54

 23    getting mixed signals here.      He's telling me 12.          16:01:58

 24    Now he's written me and saying 18 or 19.       You know       16:01:59

 25    Mr. Musk about the problem, didn't you?                       16:02:03

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   1         A.   I would have communicated everything              16:02:08

   2   communicated to me, yes.                                     16:02:09

   3         Q.   You would have told him about that age            16:02:09

   4   problem about when they met or when they got                 16:02:11

   5   married before August the 30th when he wrote that            16:02:12

   6   email to Ryan Mac, true?                                     16:02:14

   7         A.   Again, I would have communicated all              16:02:17

   8   information.    To me -- and so I didn't single out          16:02:18

   9   that as an individual issue, but it would have been          16:02:25

 10    included in information that I shared.                       16:02:28

 11          Q.   Prior to August the 30th when he wrote            16:02:31

 12    and said he was a child rapist.                              16:02:32

 13          A.   I mean, again, if you're suggesting that          16:02:36

 14    I shared the report that was provided --                     16:02:39

 15          Q.   No, I'm not.                                      16:02:40

 16          A.   -- I don't know --                                16:02:40

 17          Q.   No, no --                                         16:02:42

 18          A.   I don't know that that --                         16:02:43

 19          Q.   I don't know if you did or not.       You         16:02:44

 20    don't -- you haven't told me that you did, but what          16:02:45

 21    you have told me is that you told Elon Musk before           16:02:48

 22    August the 30th --                                           16:02:51

 23          A.   There was some vacillation.                       16:02:52

 24          Q.   -- that you were getting 12, and you were         16:02:52

 25    getting 18 or 19, and her date -- her age had not            16:02:55

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   1   been verified.     You told that to Elon --                  16:02:58

   2         A.   There was some truth --                           16:02:58

   3         Q.   Excuse me.    You told that to Elon Musk          16:02:58

   4   before he wrote BuzzFeed on the 30th of August,              16:03:03

   5   true?                                                        16:03:05

   6         A.   Yes.                                              16:03:05

   7         Q.   All right.    Now, I want to go back and          16:03:07

   8   finish up where I was.                                       16:03:09

   9              So you write Mr. Howard, and you give him         16:03:10

 10    this -- we're still looking at Exhibit 73, okay.             16:03:23

 11               He writes you back.     Same day, right?          16:03:27

 12    Starts off "Jim, just to clarify the point you               16:03:46

 13    made."                                                       16:03:51

 14               You with me?                                      16:03:51

 15          A.   I am.                                             16:03:54

 16          Q.   Now he's giving you -- there's no                 16:03:55

 17    lawsuit.   Nobody's cross-examining anybody.       He        16:03:57

 18    says to you "Just to clarify the points you made.            16:04:02

 19    The investigation team in Chiang Rai was able to             16:04:05

 20    establish a number of important information."                16:04:13

 21               Have I read that correctly?                       16:04:14

 22          A.   Yes.                                              16:04:16

 23          Q.   Now read the next part for me that he             16:04:16

 24    wrote to you.                                                16:04:18

 25          A.   "I made the assumption based on what was          16:04:18

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   1   reported back to me that if her age is in fact 30             16:04:21

   2   and not 40, that she has been married, not legally,           16:04:25

   3   but in a religious context, for seven years.                  16:04:27

   4              "Plus we also know that she was dating             16:04:31

   5   Unsworth for at least a further three years prior             16:04:33

   6   to this.   Then she would have been in her late               16:04:36

   7   teenage years when they met.       I believe I told you       16:04:39

   8   that I thought this would have been about 19.                 16:04:42

   9   There's a big difference between 19 and 29, I                 16:04:44

 10    agree, and even bigger leap to being a child                  16:04:49

 11    rapist.                                                       16:04:52

 12               "I don't know how anyone could come to             16:04:52

 13    that conclusion, as neither of us have ever                   16:04:55

 14    mentioned child, children, or rape in our                     16:04:57

 15    conversations."                                               16:04:59

 16          Q.   That's good.    Is that true that neither          16:05:00

 17    one of you had ever mentioned children or rape in             16:05:02

 18    your conversations?                                           16:05:05

 19               MR. SPIRO:    Objection; asked and answered        16:05:05

 20    many times.                                                   16:05:06

 21               THE WITNESS:    Yeah.                              16:05:07

 22               MR. L. WOOD:    I just -- answer my                16:05:07

 23    question, sir.                                                16:05:07

 24               THE WITNESS:    To say children or -- child        16:05:07

 25    rapist was not mentioned in our conversations.                16:05:13

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   1   BY MR. L. WOOD:                                              16:05:15

   2         Q.   Exhibit 73, is it a true, accurate, and           16:05:15

   3   correct copy of the email exchange that you had              16:05:17

   4   with Mr. Howard, starting on the email of                    16:05:20

   5   September the 4th, ending with the last email --             16:05:27

   6   September 18th.                                              16:05:31

   7         A.   I believe so.                                     16:05:32

   8         Q.   Is that a true and correct copy of the            16:05:32

   9   email thread between the two of you?                         16:05:34

 10          A.   I believe so.                                     16:05:39

 11               MR. L. WOOD:    Let's take a break.               16:05:39

 12               THE VIDEOGRAPHER:     Going off the record        16:05:40

 13    at 4:04 p.m.                                                 16:05:41

 14               (Recess taken.)                                   16:16:24

 15               THE VIDEOGRAPHER:     And we're back on the       16:16:25

 16    record at 4:15 p.m.                                          16:16:34

 17    BY MR. L. WOOD:                                              16:16:56

 18          Q.   Mr. Birchall, after you received the              16:16:56

 19    email that we just went over from Mr. Howard, okay,          16:17:00

 20    that's at 0369 of Exhibit 73?                                16:17:02

 21          A.   Yeah.                                             16:17:12

 22          Q.   You wrote him back, did you not?                  16:17:12

 23          A.   I believe so, but I'll confirm that in a          16:17:14

 24    second.    Yeah, I'm looking -- I'm sorry.     So what       16:17:16

 25    was the date that you are referring to                       16:17:26

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   1   specifically?                                                 16:17:28

   2         Q.    September 6.   Bates 00368.                       16:17:30

   3         A.    Yes, I'm looking at that.                         16:17:33

   4         Q.    Second paragraph, you say "Regarding your         16:17:34

   5   follow-up comment.     We were told numerous times            16:17:37

   6   that they were married or formed a relationship in            16:17:41

   7   her late teens (you said 18), but that she was                16:17:45

   8   quoted in a newspaper saying they met seven years             16:17:51

   9   prior."                                                       16:17:56

 10                Have I read that correctly?                       16:17:56

 11          A.    Yes.                                              16:17:58

 12          Q.    So you were saying that when there was            16:17:58

 13    vacillation about her age, that you had been told             16:18:00

 14    by Mr. Howard that Vernon and Tik were married or             16:18:04

 15    formed a relationship, I guess similar to marriage,           16:18:12

 16    at her -- at the age of 18, true?                             16:18:18

 17          A.    True.                                             16:18:23

 18          Q.    And you never got any information to              16:18:28

 19    suggest that he married her or formed a                       16:18:30

 20    relationship with her earlier than her age being              16:18:33

 21    18, true?                                                     16:18:37

 22                MR. SPIRO:   Objection to form.    Formed a       16:18:38

 23    relationship with whom?                                       16:18:41

 24    BY MR. L. WOOD:                                               16:18:42

 25          Q.    Is that right, sir?                               16:18:42

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   1         A.   I believe so.                                     16:18:44

   2         Q.   Yeah.                                             16:18:46

   3         A.   I thought so.                                     16:18:46

   4         Q.   I want to get these.     So -- just so that       16:18:47

   5   I have covered my bases, Exhibit 73 is a true and            16:19:06

   6   correct and accurate copy of the email exchanges             16:19:13

   7   between you and Mr. Howard as reflected thereon,             16:19:15

   8   true?                                                        16:19:18

   9         A.   True.                                             16:19:19

 10          Q.   Exhibit 72 is a true and correct copy and         16:19:21

 11    accurate of the email exchanges contained therein            16:19:23

 12    between you and Mr. Howard, right?                           16:19:29

 13          A.   Yes.    I mean, I haven't inspected every         16:19:30

 14    word, but I believe so, yeah.                                16:19:33

 15          Q.   Is there any doubt?                               16:19:33

 16          A.   Well, I mean, we don't have time for me           16:19:35

 17    to inspect every word.                                       16:19:37

 18          Q.   Well --                                           16:19:37

 19          A.   Yes.    I believe that, yes.                      16:19:37

 20               MR. L. WOOD:    You may be able to help him       16:19:39

 21    by stipulating.                                              16:19:41

 22               MR. SPIRO:    Yeah, we --                         16:19:44

 23               MR. L. WOOD:    Can we just go through --         16:19:44

 24               MR. SPIRO:    The documents --                    16:19:45

 25               MR. L. WOOD:    -- and stipulate --               16:19:45

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   1   report.                                                      16:26:16

   2         A.    Yeah, again, I --                                16:26:17

   3         Q.    The truth of the matter is when you wrote        16:26:19

   4   him back on October 17th, you didn't want any more           16:26:20

   5   reports from him.     You were done with him?                16:26:22

   6         A.    Basically, yes.                                  16:26:24

   7         Q.    Had not gotten -- he had not earned his          16:26:26

   8   bonus, and his information, as you said on 10/2,             16:26:29

   9   had not ever been verified.                                  16:26:31

 10                You've given me absolutely nothing               16:26:34

 11    verified.   True?                                            16:26:38

 12          A.    True.                                            16:26:41

 13          Q.    One last thing.    The -- I know we talked       16:26:42

 14    about and you mentioned -- did you ever talk with            16:26:47

 15    Mr. Musk about his email to Ryan Mac of August the           16:27:37

 16    30th?   The one you said earlier had titled at the           16:27:40

 17    top "Off the record"?                                        16:27:45

 18          A.    Yes.    I believe at some point we had a         16:27:46

 19    conversation.                                                16:27:49

 20          Q.    What did he tell you?                            16:27:50

 21          A.    I mean, again, I wasn't in that, like,           16:27:51

 22    what you'd call this kind of crises room or                  16:27:53

 23    whatever to deal with any of the aftermath of that,          16:27:56

 24    so I can't -- I think it was a comment made                  16:28:02

 25    probably in the week or two after in one of our              16:28:06

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   1   know.                                                        16:29:05

   2   BY MR. L. WOOD:                                              16:29:05

   3         Q.    Well, strike that.    Withdraw that.             16:29:05

   4               The Ryan Mac email fell within the exact         16:29:07

   5   time frame of when you and Mr. Howard were seeking           16:29:11

   6   to get information, negative information, published          16:29:16

   7   about Vernon Unsworth, true?                                 16:29:19

   8         A.    If you say so, yes.                              16:29:24

   9         Q.    I don't want to do that.                         16:29:26

 10                MR. SPIRO:   We can stipulate to the             16:29:26

 11    dates.                                                       16:29:28

 12    BY MR. L. WOOD:                                              16:29:28

 13          Q.    We went over your text messages, and it          16:29:28

 14    was the 28th.                                                16:29:31

 15          A.    Yeah, I'm --                                     16:29:31

 16          Q.    Yeah.   The Ryan Mac email fell square           16:29:31

 17    into the time period when you and Mr. Musk had               16:29:34

 18    agreed --                                                    16:29:36

 19          A.    Got it.                                          16:29:37

 20          Q.    -- for Howard to try to get negative             16:29:38

 21    information about Vernon published in the media              16:29:40

 22    without any disclosure that it was coming from               16:29:45

 23    Elon Musk or one of his investigators, true?                 16:29:47

 24          A.    True.                                            16:29:56

 25          Q.    Okay.                                            16:29:56

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                             EXHIBIT 3




                             EXHIBIT 3



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   1                 UNITED STATES DISTRICT COURT
   2                CENTRAL DISTRICT OF CALIFORNIA
   3

   4

   5   VERNON UNSWORTH,
   6              Plaintiff,
   7              vs.                      Case No. 2:18-cv-8048
   8   ELON MUSK,
   9             Defendant.
       _______________________________________________________
 10

 11           VIDEOTAPED DEPOSITION OF VERNON UNSWORTH
 12                     BEVERLY HILLS, CALIFORNIA
 13                          AUGUST 14, 2019
 14

 15

 16

 17

 18

 19    Reported By:
       PATRICIA Y. SCHULER
 20    CSR No. 11949
 21    Job No. 41370
 22

 23

 24

 25

                                                                             1


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   1         A.   No.                                               10:08:29

   2         Q.   Now, when did you meet Tik?                       10:08:32

   3         A.   I met Tik on -- in February 2011.                 10:08:39

   4         Q.   How old were you in February of 2011?             10:08:48

   5         A.   I would be roughly -- trying to think             10:08:51

   6   back.   56, 57.                                              10:08:56

   7         Q.   And how old was Tik when you met her?             10:08:59

   8         A.   Approximately 32.                                 10:09:05

   9         Q.   So if I am doing my math right, you're            10:09:08

 10    approximately 24 years older than Tik; is that               10:09:11

 11    correct?                                                     10:09:14

 12          A.   Yes.                                              10:09:17

 13          Q.   And how old was your daughter, Danielle,          10:09:19

 14    when you began living with Tik?                              10:09:22

 15               MR. WOOD:    Have you asked had him when he       10:09:30

 16    began living with Tik?     I missed that.                    10:09:32

 17    BY MR. SCHWARTZ:                                             10:09:34

 18          Q.   Well, let's do that.     When did you begin       10:09:35

 19    living with Tik?                                             10:09:35

 20          A.   On a more sort of permanent basis, after          10:09:42

 21    we separated.                                                10:09:44

 22          Q.   What year was that?                               10:09:45

 23          A.   That was March 22, 2013.                          10:09:46

 24          Q.   How old was your daughter, Danielle, when         10:09:54

 25    you began living with Tik on a more permanent basis          10:09:58

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   1   in March 2013?                                               10:10:00

   2          A.   She would be nearly 18.                          10:10:03

   3          Q.   How did you and Tik meet?                        10:10:08

   4          A.   We met in a coffee shop in London.               10:10:11

   5          Q.   And how did it come about that you               10:10:14

   6   actually started talking to one another?       Did           10:10:16

   7   someone -- this wasn't a blind date, I assume.         You   10:10:19

   8   met her for the first time in that coffee shop?              10:10:21

   9               MR. WOOD:   Objection to the form of the         10:10:25

 10    question.                                                    10:10:26

 11    BY MR. SCHWARTZ:                                             10:10:27

 12           Q.   I'll withdraw it.    Let's just ask one          10:10:27

 13    question at a time.                                          10:10:27

 14                Just tell me:   What were the                    10:10:28

 15    circumstances under which you met Tik?                       10:10:30

 16           A.   I was in a coffee shop, having had a             10:10:31

 17    business meeting.     And she was in the same coffee         10:10:31

 18    shop on another table, and I asked her to join me.           10:10:37

 19           Q.   What caused you to want to ask a woman           10:10:50

 20    you had not met before in a coffee shop to join              10:10:53

 21    you?                                                         10:10:56

 22           A.   I can't really recall exactly how it             10:10:59

 23    happened, but just something that, spur of the               10:11:01

 24    moment, she looked up and she was on her own.        I       10:11:07

 25    was on my own.    I was having a coffee.     She was         10:11:10

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   1   came with you this time or that time?                         10:16:09

   2          A.   Because I was being honored at Buckingham         10:16:12

   3   Palace to receive my MBE.                                     10:16:17

   4          Q.   Does Tik have any children?                       10:16:27

   5          A.   She has a daughter called Panisa who is,          10:16:28

   6   I think she's either -- she is 13 or 14.       I am not       10:16:32

   7   sure of her exact age.                                        10:16:37

   8          Q.   She is not your daughter?                         10:16:39

   9          A.   She is not my daughter, no.                       10:16:40

 10           Q.   You are not legally married to Tik, are           10:16:47

 11    you?                                                          10:16:49

 12           A.   No, we are not married.                           10:16:49

 13           Q.   Have you ever had any kind of a                   10:16:51

 14    commitment ceremony or some other religious                   10:16:53

 15    ceremony to consummate or memorialize in some                 10:16:56

 16    fashion your relationship with Tik?                           10:17:02

 17           A.   No.                                               10:17:04

 18           Q.   All right.   Had you ever been to Thailand        10:17:05

 19    before you met Tik?                                           10:17:17

 20           A.   No.                                               10:17:18

 21           Q.   Your first trip to Thailand was in 2011,          10:17:27

 22    correct?                                                      10:17:31

 23           A.   July 2011.                                        10:17:32

 24           Q.   Why did you go to Thailand your first             10:17:33

 25    trip there?    Why did you go there?                          10:17:36

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   1         A.    Because Tik was on a six-month visa.      Her    10:17:40

   2   visa was ending, so I decided to go back with her            10:17:43

   3   in July 2011.                                                10:17:47

   4         Q.    And when you went back to Thailand --            10:17:48

   5   strike that.                                                 10:17:50

   6               How many times have you been to Thailand         10:17:55

   7   since 2011?                                                  10:17:57

   8         A.    I don't recall how many times; I can't           10:18:00

   9   put a number on it.                                          10:18:07

 10          Q.    Before the cave rescue, had anybody ever         10:18:15

 11    asked you why you spent so much time in Thailand?            10:18:18

 12          A.    No.                                              10:18:22

 13          Q.    So people were never curious why you were        10:18:23

 14    spending time in Thailand or why you were going              10:18:30

 15    there so often?                                              10:18:32

 16          A.    No.                                              10:18:35

 17          Q.    I believe you said yes, but maybe I              10:18:38

 18    misheard you.                                                10:18:40

 19                Have you ever been to Soi Su Nee,                10:18:41

 20    Thailand?                                                    10:18:43

 21                MR. WOOD:   I don't remember that.               10:18:45

 22    BY MR. SCHWARTZ:                                             10:18:45

 23          Q.    I'll spell it.   It's three words:     S-o-i,    10:18:47

 24    S-u, N-e-e.                                                  10:18:47

 25          A.    Soi?                                             10:18:54

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   1         Q.    Soi Su Nee.                                      10:18:55

   2         A.    No.                                              10:18:57

   3         Q.    Have you ever been to Pattaya, Thailand,         10:19:10

   4   or Pattaya Beach?                                            10:19:12

   5               MR. WOOD:   Which one do you want him to         10:19:15

   6   answer?                                                      10:19:16

   7   BY MR. SCHWARTZ                                              10:19:16

   8         Q.    Are those two different places?                  10:19:16

   9         A.    Yes.                                             10:19:20

 10          Q.    Let's talk about Pattaya, P-a-t-t-a-y-a,         10:19:21

 11    Thailand.                                                    10:19:22

 12                Have you ever been there?                        10:19:26

 13          A.    No.                                              10:19:27

 14          Q.    Have you been to the Su Nee Plaza in             10:19:29

 15    Pattaya?                                                     10:19:31

 16          A.    No.                                              10:19:33

 17          Q.    Strike the "in Pattaya," but have you            10:19:34

 18    ever been to Su Nee Plaza?                                   10:19:35

 19          A.    No.                                              10:19:37

 20          Q.    Have you ever been to the Penthouse              10:19:38

 21    Hotel?                                                       10:19:40

 22          A.    Where?                                           10:19:43

 23          Q.    In Thailand.                                     10:19:43

 24          A.    No.                                              10:19:45

 25                MR. WOOD:   Is that the one with the             10:19:46

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   1   the cave system, to the actual location where the            12:26:20

   2   boys and their coach were found?                             12:26:21

   3         A.   Many, many times.                                 12:26:24

   4         Q.   What was that area called?                        12:26:25

   5         A.   It was a section just after Pattaya               12:26:28

   6   Beach.                                                       12:26:30

   7         Q.   Were you the first person to map that             12:26:32

   8   area of the cave system?                                     12:26:34

   9         A.   No.                                               12:26:37

 10          Q.   Who was?                                          12:26:37

 11          A.   The French team on their survey, which            12:26:38

 12    they did back in 1986, '87.                                  12:26:41

 13          Q.   So the June 24, 2018 -- is that the date          12:26:46

 14    you first learned that the boys had gone missing?            12:26:57

 15          A.   Yes.                                              12:27:01

 16          Q.   And all of the boys and their coach were          12:27:02

 17    successfully rescued.     The last one that was out,         12:27:05

 18    so to speak, was July 10, 2018; is that right?               12:27:08

 19          A.   Yes.                                              12:27:11

 20          Q.   So the cave rescue occurred over a period         12:27:12

 21    of approximately 17 days; is that right?                     12:27:17

 22          A.   18 days.                                          12:27:20

 23          Q.   18 days.    Okay.                                 12:27:20

 24               And is it true that a lot of people               12:27:24

 25    contributed to the cave rescue?                              12:27:25

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   1         A.   Yes, very much so.                                  12:27:29

   2         Q.   How many?                                           12:27:32

   3         A.   Well over 10,000 people, which included             12:27:33

   4   volunteers and cave rescuers -- well, rescuers in              12:27:33

   5   general.                                                       12:27:38

   6         Q.   How many divers assisted with the cave              12:27:38

   7   rescue?                                                        12:27:41

   8         A.   I can't put an exact figure on that.       Do       12:27:46

   9   you mean just the divers that were involved in the             12:27:48

 10    extraction, or do you mean the divers as a whole in            12:27:51

 11    terms of the whole operation?                                  12:27:56

 12          Q.   I mean in the whole operation, and if you           12:27:57

 13    can't give me the precise number, that's okay, but             12:27:59

 14    can you estimate the number of divers?                         12:28:02

 15          A.   I can't give you an exact number.                   12:28:04

 16          Q.   More than 100?                                      12:28:05

 17          A.   I would be guessing.                                12:28:08

 18          Q.   More than 10?                                       12:28:12

 19          A.   More than 10.                                       12:28:14

 20          Q.   And then in terms of --                             12:28:15

 21          A.   Let me finish.                                      12:28:16

 22          Q.   I'm sorry.                                          12:28:17

 23          A.   You have to appreciate that it was not              12:28:17

 24    just the UK divers.     It was the Thai Navy SEALs,            12:28:18

 25    and there was other divers involved, so I cannot               12:28:21

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   1   put an exact number on that.                                 12:28:24

   2         Q.   Is it fair to say -- correct to say that          12:28:26

   3   there were many divers involved in locating the              12:28:28

   4   boys in the cave?                                            12:28:32

   5         A.   When you say "many," what I can say is            12:28:37

   6   that some of the divers never got past Chamber 3,            12:28:40

   7   and it only the most experienced divers that got             12:28:43

   8   past from Chamber 3 to where the boys were found.            12:28:48

   9         Q.   All right.                                        12:28:51

 10          A.   So I can't put a number on that.                  12:28:51

 11          Q.   Is it correct that people came from all           12:28:54

 12    over the world to assist in the rescue?                      12:28:56

 13          A.   Yes.                                              12:28:59

 14          Q.   And they were --                                  12:29:00

 15          A.   From at least 24 countries.                       12:29:00

 16          Q.   You didn't see everybody who was trying           12:29:04

 17    to help with the cave rescue, did you?                       12:29:07

 18          A.   No.                                               12:29:10

 19          Q.   And you didn't see what everyone who was          12:29:10

 20    trying to help with the cave rescue did, right?              12:29:12

 21          A.   No.                                               12:29:15

 22          Q.   And you certainly personally don't know,          12:29:16

 23    and certainly at the time the cave rescue ended did          12:29:18

 24    not know, what every person at the rescue site was           12:29:23

 25    doing during the rescue, right?                              12:29:26

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   1   We are off the video record.                                 12:33:09

   2               (Lunch recess taken.)                            12:33:11

   3               (Recess taken.)                                  13:28:00

   4               THE VIDEOGRAPHER:    The time is 1:27 p.m.       13:28:04

   5   We are back on the video record.                             13:28:05

   6   BY MR. SCHWARTZ:                                             13:28:08

   7         Q.    Good afternoon, Mr. Unsworth.     A few days     13:28:09

   8   after the cave rescue, CNN interviewed you about             13:28:12

   9   the rescue, right?                                           13:28:12

 10          A.    Yes.                                             13:28:15

 11          Q.    And tell me how that interview came              13:28:15

 12    about?     This was, I think the rescue was ended on         13:28:18

 13    July 10th.    The interview was on the 13th.                 13:28:22

 14                How did this July 13, 2018, CNN interview        13:28:25

 15    come about?                                                  13:28:28

 16          A.    CNN contacted myself via my partner Tik,         13:28:29

 17    and the interview was arranged.                              13:28:33

 18          Q.    Before you sat down for the interview --         13:28:42

 19    well, actually, how many days went by -- or how              13:28:44

 20    much time went by when CNN asked to interview you            13:28:48

 21    and you sat down on July 13th for the interview?             13:28:53

 22          A.    I can't recall.                                  13:28:58

 23          Q.    Was it several days?    Was it after the         13:28:59

 24    cave rescue?                                                 13:29:04

 25          A.    It was after the cave rescue, so it can't        13:29:05

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   1   be too many days if we're talking the 10th.        It        13:29:07

   2   happened on the 13th, so there can't be much                 13:29:10

   3   difference in the time for the request to the                13:29:14

   4   actual interview taking place.                               13:29:17

   5         Q.    Before CNN interviewed you, did you know         13:29:20

   6   that the interview was going to be videotaped?               13:29:23

   7         A.    No.                                              13:29:27

   8         Q.    Was the entirety of the July 13 interview        13:29:29

   9   with CNN recorded, or just parts of it?                      13:29:34

 10          A.    So far as I recall, the whole lot was            13:29:38

 11    recorded.    That is what I recall; that is what I           13:29:42

 12    can say as I sit here today.                                 13:29:45

 13          Q.    Were you all excited about the fact that         13:29:47

 14    CNN wanted to interview you about the cave rescue?           13:29:49

 15          A.    No.                                              13:29:53

 16          Q.    Were you nervous at all about the CNN            13:29:53

 17    interview?                                                   13:29:55

 18          A.    No.                                              13:29:56

 19          Q.    Did you have an agent or a publicist at          13:29:56

 20    that point?                                                  13:29:59

 21          A.    No.                                              13:30:00

 22          Q.    Do you have one now?                             13:30:00

 23          A.    No.                                              13:30:03

 24          Q.    Did you speak to anyone -- well, I'll            13:30:04

 25    back up again.                                               13:30:06

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   1                How did you know where and when to be for        13:30:07

   2   the CNN interview?                                            13:30:09

   3          A.    That was arraigned through Tik, my               13:30:11

   4   partner.     So they arranged to meet at a specific           13:30:12

   5   place, which was in Wai Krai, which was at the                13:30:18

   6   Amazon coffee shop.                                           13:30:19

   7          Q.    Did you have any -- you personally have          13:30:21

   8   any conversations or other communications with                13:30:22

   9   anyone at CNN before you showed up on July 13 for             13:30:26

 10    the interview?                                                13:30:30

 11           A.    Not that I recall.                               13:30:32

 12           Q.    Did anyone from CNN -- well, withdraw the        13:30:36

 13    question.                                                     13:30:38

 14                 Tell me what the CNN person or persons           13:30:39

 15    told Tik about wanting to interview you.       In other       13:30:43

 16    words, what did she relay to you that they had told           13:30:47

 17    her?                                                          13:30:50

 18           A.    So far as I can recall, Tik just advised         13:30:51

 19    or told me or asked me that CNN wanted to do an               13:30:53

 20    interview, would I be happy to do the interview,              13:30:57

 21    and that was arranged.                                        13:30:58

 22           Q.    And you can just take me back to this            13:31:02

 23    point.      Is she just standing there on her phone           13:31:04

 24    talking to CNN and telling you what she is hearing,           13:31:07

 25    or did she have a conversation, end the call, and             13:31:10

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   1   report it to you?                                            13:31:12

   2         A.   As I sit here today, I can't recall               13:31:14

   3   exactly what happened; whether she made contact              13:31:16

   4   with me later.    I can't recall.                            13:31:19

   5         Q.   Either way, at some point you told her            13:31:22

   6   that she should tell CNN that you were willing to            13:31:24

   7   participate in the interview; is that right?                 13:31:27

   8         A.   Yes.                                              13:31:29

   9         Q.   And you said that she asked you or she            13:31:30

 10    said -- I don't know if these were her words or she          13:31:34

 11    is repeating CNN, whether you'd be happy to do an            13:31:37

 12    interview with CNN.                                          13:31:40

 13               Is that something that she said or CNN            13:31:40

 14    said?                                                        13:31:43

 15          A.   She relayed to me whether I would be              13:31:45

 16    happy to do an interview with CNN.                           13:31:47

 17          Q.   And did you tell Tik that you would, in           13:31:49

 18    fact, be happy to do with an interview CNN?                  13:31:52

 19          A.   I answered that before.                           13:31:57

 20          Q.   I just -- okay.                                   13:31:59

 21               Before the July 13 interview with CNN,            13:32:00

 22    did you know whether CNN was going to ask you                13:32:02

 23    anything about Mr. Musk?                                     13:32:06

 24          A.   No.                                               13:32:09

 25          Q.   At the location where CNN interviewed you         13:32:10

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   1   about the cave rescue on July 13th, was CNN                   13:32:13

   2   interviewing other people?                                    13:32:15

   3         A.   Not that I know of.                                13:32:18

   4         Q.   So as far as you know, you were the only           13:32:20

   5   person CNN was interviewing at that on location               13:32:22

   6   about the cave rescue?                                        13:32:24

   7         A.   Yes.                                               13:32:28

   8         Q.   So let's now move forward in time.       You       13:32:29

   9   arrive at the CNN interview.      Did they put any            13:32:32

 10    makeup on you?                                                13:32:36

 11          A.   No.                                                13:32:38

 12          Q.   Did they ask you to sit in an area until           13:32:41

 13    they were ready for you to come and sit with the              13:32:43

 14    interviewer?                                                  13:32:46

 15          A.   They just made arrangements for me to sit          13:32:47

 16    where the interview was going to be taking place.             13:32:49

 17          Q.   And after the interview was over, did CNN          13:32:54

 18    give you a copy of it, like in a written form or              13:32:56

 19    video?                                                        13:32:59

 20          A.   Nope.                                              13:33:00

 21          Q.   So what I want to do -- and we can do              13:33:01

 22    this many different ways.      I want to play for you         13:33:08

 23    the clip from CNN where you spoke.       And so we have       13:33:11

 24    it on a laptop here.     And what I would like to have        13:33:16

 25    happen here is I want to turn it around so you can            13:33:20

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   1   see it while we play it.                                     13:33:22

   2              MR. SCHWARTZ:    So is that -- can we             13:33:24

   3   disconnect that?    Then hand it to me.     Hopefully he     13:33:25

   4   will just hit the play button there?                         13:33:33

   5              And what we will do is we have this flash         13:33:36

   6   drive, and we'll give it to the court reporter so            13:33:40

   7   she can keep it in the transcript so it will be              13:33:42

   8   part of the record.     And I'm getting a thumbs-up          13:33:44

   9   sign from Counsel.                                           13:33:48

 10               All right.    So I am going to play --            13:33:49

 11    hopefully this will go.     This is not loud enough.         13:33:49

 12    Maybe it is; maybe it isn't.       Let's stop for a          13:33:49

 13    second.   Why is this -- all right.      So how do we        13:33:49

 14    make this louder?     That is as loud as it goes?            13:33:49

 15               THE WITNESS:    I can hear it.                    13:33:49

 16               MR. SCHWARTZ:    Can you hear it okay?            13:33:49

 17               THE WITNESS:    Yeah.                             13:34:32

 18               MR. SCHWARTZ:    Good.   And I guess a good       13:34:32

 19    aspect of it is, it does appear that CNN is there            13:34:32

 20    is putting closed captions or something on it.               13:34:36

 21               MR. WOOD:    Yeah.                                13:34:39

 22               MR. SCHWARTZ:    All right.    Let's all be       13:34:39

 23    as quiet as we can so we can hear it, and here we            13:34:41

 24    go.                                                          13:34:45

 25               (Video playing).                                  13:34:47

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   1   BY MR. SCHWARTZ:                                              13:35:40

   2         Q.   I don't why CNN -- I want to show you              13:35:41

   3   both of them.    So why don't you just come around if         13:35:43

   4   you can?                                                      13:35:47

   5              MR. WOOD:    So 14 is the one you just             13:35:48

   6   played?                                                       13:35:48

   7              MR. SCHWARTZ:    13.                               13:35:48

   8              MR. WOOD:    So now you're going to do 14?         13:35:48

   9              MR. SCHWARTZ:    No, that was 13, and now          13:35:48

 10    what we will do is 14.     It's -- you'll see it.     I       13:35:57

 11    don't know why CNN did it that way.                           13:36:00

 12               MR. WOOD:    If we understood why CNN does         13:36:02

 13    what CNN does, we would all be very, very wealthy.            13:36:04

 14               (Exhibit 13 was marked for                         13:36:16

 15               identification.)                                   13:36:16

 16               (Exhibit 14 was marked for                         13:36:18

 17               identification.)                                   13:36:18

 18               MR. SCHWARTZ:    So now this will be 14.           13:36:18

 19    Let's take a look.                                            13:36:19

 20               (Video playing.)                                   13:37:06

 21    BY MR. SCHWARTZ:                                              13:37:14

 22          Q.   And then -- okay.      So let's go through         13:37:17

 23    that a little bit.                                            13:37:22

 24               You remember giving -- sitting for that            13:37:23

 25    interview a year ago July?                                    13:37:25

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   1          A.   Yes.                                              13:37:27

   2          Q.   The first statement you see from the              13:37:28

   3   reporter from CNN in that clip is "We just talked             13:37:31

   4   about this before.     What are your thoughts on              13:37:34

   5   Elon Musk's idea," correct?                                   13:37:40

   6          A.   That is what was stated on the video,             13:37:44

   7   yes.                                                          13:37:47

   8          Q.   Correct.   That is the reporter asking            13:37:47

   9   that to you, correct?                                         13:37:49

 10           A.   Yes.                                              13:37:50

 11           Q.   I am focusing on the portion of the               13:37:52

 12    reporter's question that says "We just talked about           13:37:55

 13    this before."                                                 13:37:57

 14                What had you and the CNN reporter just            13:37:58

 15    talked about?                                                 13:38:00

 16           A.   Sitting here now, I can't recall what was         13:38:03

 17    talked about.                                                 13:38:05

 18           Q.   Do you recall anything you and the CNN            13:38:07

 19    reporter talked about that she is referring to when           13:38:09

 20    she says "We just talked about this before.        What       13:38:13

 21    are your thoughts on Elon Musk's idea"?                       13:38:17

 22           A.   No.                                               13:38:22

 23           Q.   Well, sometimes reporters will have               13:38:22

 24    conversations with their subjects, they'll talk               13:38:24

 25    about something, and then they'll decide to put it            13:38:26

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   1   on tape.                                                     13:38:29

   2               And for whatever reason, maybe human             13:38:31

   3   nature being what it is, when the tape rolls, they           13:38:35

   4   say "We just talked about this," and then they ask           13:38:37

   5   the question.                                                13:38:40

   6               Is that what happened?    In other words,        13:38:41

   7   right before the tape, the camera turned on, the             13:38:42

   8   reporter from CNN and you had been talking about             13:38:46

   9   Elon Musk's idea?                                            13:38:51

 10                MR. WOOD:   Objection as to form.                13:38:54

 11                THE WITNESS:   So far as I recall, there         13:38:56

 12    was no break in the interview.      So I can't -- I          13:38:58

 13    don't recall what was talked about before the                13:39:03

 14    comment was made there.                                      13:39:07

 15    BY MR. SCHWARTZ:                                             13:39:08

 16           Q.   So are you saying -- well, clearly, the          13:39:09

 17    reporter is -- I'm sorry.      I did not want to             13:39:11

 18    interrupt you.                                               13:39:13

 19           A.   I have just confirmed that I don't recall        13:39:14

 20    what was talked about before that part of the                13:39:17

 21    interview.                                                   13:39:20

 22           Q.   But there was a conversation, was there          13:39:21

 23    not?                                                         13:39:23

 24           A.   If there was a conversation, I cannot            13:39:25

 25    recall what the conversation was about.                      13:39:27

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   1              MR. WOOD:    He is asking about that one,         15:40:21

   2   and this one is going to stay here.       Did you -- did     15:40:27

   3   he get No. 20?                                               15:40:32

   4              MR. SCHWARTZ:    That's the one right here.       15:40:32

   5              MR. WOOD:    He's asking you to look at 19        15:40:32

   6   and 20.    It's inside that.                                 15:40:34

   7              THE WITNESS:    I prefer the big writing.         15:40:40

   8              MR. WOOD:    Oh, yeah.   So do I.                 15:40:42

   9   BY MR. SCHWARTZ:                                             15:40:52

 10          Q.   So now we have the three tweets that he           15:40:53

 11    sent on Exhibit 19, and the fourth tweet of the day          15:40:58

 12    on Exhibit 20.                                               15:41:05

 13               Have you read them?                               15:41:06

 14          A.   Yes.                                              15:41:07

 15          Q.   Taking all these tweets together from             15:41:11

 16    that day, tell me everything that is false and               15:41:14

 17    harmful to you about them.                                   15:41:16

 18               MR. WOOD:    I'm going to object to the           15:41:19

 19    form of the question because it is compound.        Maybe    15:41:20

 20    if you broke it down, like what is false, and then           15:41:23

 21    we can talk about that.                                      15:41:25

 22    BY MR. SCHWARTZ:                                             15:41:26

 23          Q.   Fair enough.    Tell me everything that is        15:41:27

 24    false.                                                       15:41:27

 25          A.   Okay.   We take the first tweet regarding         15:41:29

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   1   the water level was actually very low and still not          15:41:32

   2   flowing.    The "not flowing" part of that is totally        15:41:36

   3   100 percent wrong.                                           15:41:43

   4         Q.    And I apologize --                               15:41:45

   5         A.    No.    Excuse me.                                15:41:47

   6         Q.    No, I'll explain.    I asked you the wrong       15:41:47

   7   question.    I need to withdraw the question.                15:41:49

   8               So what I want to ask you is:     Tell me        15:41:51

   9   everything about these tweets, about you,                    15:41:55

 10    Vernon Unsworth, that is false?                              15:41:58

 11          A.    About me?                                        15:42:05

 12          Q.    Yes.   That concerns you, is about you,          15:42:07

 13    that is false.                                               15:42:09

 14          A.    There is nothing in this first tweet that        15:42:21

 15    is about me.                                                 15:42:24

 16                MR. WOOD:    The first tweet is this one.        15:42:26

 17                THE WITNESS:   I don't understand.     Sorry.    15:42:29

 18    BY MR. SCHWARTZ:                                             15:42:30

 19          Q.    I'm sorry.   Let me withdraw the question        15:42:31

 20    again.     I didn't want to ask if I -- my question          15:42:31

 21    was about the first tweet.      I misspoke.   I              15:42:34

 22    apologize.                                                   15:42:37

 23                Tell me everything about you in these            15:42:37

 24    four tweets that is false.      Could be in any one of       15:42:40

 25    four of them that is either about you, concerning            15:42:46

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   1   you, of you, in reference to you in any way?                 15:42:49

   2              MR. WOOD:    Or if the stain or the gist is       15:42:54

   3   about him.                                                   15:42:57

   4              MR. SCHWARTZ:    Exactly.                         15:42:58

   5              MR. WOOD:    I'm not sure he understands          15:42:58

   6   that.   And I think we set this out pretty clearly           15:43:00

   7   in our complaint.                                            15:43:03

   8              MR. SCHWARTZ:    All right.    Let's try it       15:43:04

   9   that way. see what happens, and if we need to ask a          15:43:07

 10    different question, we will.                                 15:43:10

 11               MR. WOOD:    Yeah.   I just think you're          15:43:11

 12    moving into an area where --                                 15:43:11

 13               MR. SCHWARTZ:    I understand.    Let's see       15:43:14

 14    what we can do.                                              15:43:14

 15               MR. WOOD:    -- it's difficult for a lay          15:43:14

 16    witness to understand exactly what you are asking.           15:43:15

 17    BY MR. SCHWARTZ                                              15:43:16

 18          Q.   Well, how about if I do it this way --            15:43:19

 19          A.   Well, if you look at the first tweet.             15:43:20

 20          Q.   Sorry.   Go ahead.                                15:43:22

 21          A.   I never saw this British expat guy who            15:43:23

 22    lives in Thailand (SUS) at any point in the caves.           15:43:25

 23    I've given you the answer to that.                           15:43:28

 24          Q.   Can you just repeat.     I'm not sure what        15:43:32

 25    you are referring to when you say that.                      15:43:33

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   1         A.   I mentioned, and my answer was, the                 15:43:36

   2   reason he didn't see me was because it was the                 15:43:38

   3   early hours of the morning of the --                           15:43:42

   4         Q.   Ah.                                                 15:43:44

   5         A.   -- 10th of July --                                  15:43:44

   6         Q.   Okay.                                               15:43:44

   7         A.   -- and quite rightly I was trying to get            15:43:44

   8   some well-earned sleep after finishing day two of              15:43:49

   9   the rescue.                                                    15:43:52

 10               So that's the reason why he never saw me.           15:43:54

 11    With regards "SUS," I regard that as "suspect."        I       15:43:57

 12    don't know what he was really -- or why he was                 15:44:02

 13    really referring to that -- obviously because I                15:44:04

 14    live in -- part of the year in Thailand.                       15:44:07

 15               There is nothing in here, in the second             15:44:11

 16    tweet, the water level that's actually about me.               15:44:13

 17    There is nothing there that I can see relative to              15:44:16

 18    me as an individual, because all he says "If not               15:44:22

 19    true, then I challenged him to show the final                  15:44:26

 20    rescue video."                                                 15:44:29

 21               Well, that's not necessarily about me               15:44:30

 22    personally, nothing harmful about that particular              15:44:33

 23    tweet, okay?                                                   15:44:37

 24               And then the part that is harmful to me             15:44:37

 25    is "Sorry, pedo guy."                                          15:44:37

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   1         Q.   Again, I just -- counsel asked that I             15:44:58

   2   focus your attention on what is false, and that may          15:45:01

   3   be false too.    You used the word "harmful."                15:45:03

   4         A.   It is false.                                      15:45:06

   5         Q.   I understand, but you used the word               15:45:06

   6   "harmful."    I just want to make sure we're focusing        15:45:07

   7   at this -- in this question is:      Is there anything       15:45:09

   8   in here about you that is false.      And your answer        15:45:12

   9   may be the same.                                             15:45:15

 10               I just didn't want you to have answered a         15:45:17

 11    different question.     We're focusing on falsity --         15:45:20

 12          A.   I think we're clear on the part of being          15:45:22

 13    false, not harmful; is that correct?                         15:45:24

 14          Q.   Tell you what.                                    15:45:31

 15               MR. WOOD:    Why don't you just tell him --       15:45:31

 16               THE WITNESS:    There is nothing there --         15:45:31

 17    there is nothing there --                                    15:45:31

 18               MR. SCHWARTZ:    I'm sorry.    Only one           15:45:35

 19    person can talk at a time.                                   15:45:36

 20               MR. WOOD:    First he's asking you is there       15:45:37

 21    anything -- and now you're looking at the last               15:45:37

 22    tweet, Vernon, first -- and it may be the same               15:45:40

 23    thing -- what is false in this tweet?                        15:45:44

 24               And I am talking about one at the bottom          15:45:47

 25    of 814, and that's Exhibit 18.      That's the one he's      15:45:49

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   1   asking you about.                                              15:45:53

   2               MR. SCHWARTZ:   Exhibit 19.                        15:45:53

   3               MR. WOOD:    I'm sorry.   19.                      15:45:55

   4               THE WITNESS:    False about me?                    15:45:56

   5   BY MR. SCHWARTZ:                                               15:45:58

   6         Q.    Yes.                                               15:46:01

   7         A.    There is nothing -- there is nothing in            15:46:01

   8   there that is effectively false about me, other                15:46:02

   9   than the comment "Sorry, pedo guy."                            15:46:04

 10          Q.    And then the question that prompted all            15:46:08

 11    this was:   Taking all four of these tweets                    15:46:11

 12    together, is there anything false in them about                15:46:14

 13    you, that concerns you, or attenuated to.        I just        15:46:18

 14    want to make sure you've told me everything.        You        15:46:22

 15    haven't said anything about the last tweet, and I              15:46:23

 16    want to make sure you do that.                                 15:46:26

 17          A.    I was going to go on to that.                      15:46:29

 18          Q.    Okay.                                              15:46:29

 19          A.    But there's the two things, but you                15:46:29

 20    didn't let me finish with the fourth tweet.        So we       15:46:30

 21    got "Sorry, pedo guy," and then "Bet ya a signed               15:46:34

 22    dollar that it's true."     So that's harmful.                 15:46:36

 23          Q.    You're answering harmful; we're focusing           15:46:42

 24    on falsity.                                                    15:46:46

 25          A.    Not false.                                         15:46:47

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   1         Q.    When you say "not false," what do you            15:46:48

   2   mean?                                                        15:46:50

   3         A.    I am saying it's -- sorry.     It's false.       15:46:51

   4         Q.    What's false?                                    15:46:54

   5         A.    So "Bet you a signed dollar it's true" is        15:46:55

   6   false.     I'm not a pedo.                                   15:46:58

   7         Q.    Ah, okay.    So is it correct, you are           15:47:01

   8   assuming that the statement "Bet ya a signed dollar          15:47:04

   9   it's true," that "it's" is a reference to pedo guy?          15:47:09

 10          A.    Yes.                                             15:47:13

 11          Q.    Okay.   So --                                    15:47:13

 12                MR. WOOD:    Do you have -- I'm just asking      15:47:13

 13    for purposes of clarity and context.       Do you have       15:47:15

 14    the tweet that Mr. Musk was responding to when he            15:47:19

 15    made that statement about "Bet ya a signed dollar            15:47:22

 16    it's true"?                                                  15:47:23

 17                MR. SCHWARTZ:    I don't.                        15:47:25

 18                MR. WOOD:    I think that would help             15:47:25

 19    everybody to clearly understand what he was                  15:47:26

 20    referring to.                                                15:47:28

 21    BY MR. SCHWARTZ:                                             15:47:32

 22          Q.    All right.   So let's take it from the top       15:47:33

 23    again.     Now I want to ask about harm because of           15:47:33

 24    what your lawyer said.       Let's do harm -- falsity        15:47:36

 25    separate from harm.                                          15:47:38

                                                                        265


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   1              So looking at the four tweets of                  15:47:39

   2   July 15, 2018, on Exhibits 19 and 20, is there               15:47:42

   3   anything in there about you that is harmful to you?          15:47:49

   4         A.   Yes.   In the first tweet the S-U-S, SUS,         15:47:55

   5   suspect, "Sorry, pedo guy," and "Bet ya a signed             15:47:59

   6   dollar it's true."     All three harmful.                    15:48:06

   7         Q.   Had you heard the term "Bet ya a signed           15:48:52

   8   dollar," "Bet ya a signed quid it's true" before             15:48:54

   9   you saw the July 15 tweet that used that term?               15:48:59

 10          A.   No.                                               15:49:04

 11          Q.   Did it have any meaning to you when you           15:49:06

 12    saw it?                                                      15:49:09

 13          A.   To me it referred to the fact that he             15:49:11

 14    referred to me as "pedo guy."                                15:49:13

 15          Q.   And before July 15, 2018, had you ever            15:49:20

 16    heard the words, or word or expression, "pedo guy,"          15:49:25

 17    P-E-D-O guy?                                                 15:49:30

 18          A.   No.                                               15:49:35

 19          Q.   Do you know whether Mr. Musk deleted the          15:49:59

 20    July 15 tweets on Exhibits 19 and 20?                        15:50:03

 21          A.   I believe there was reference to the fact         15:50:13

 22    that he had deleted them.      I believe there is            15:50:15

 23    reference, but that's all I know.                            15:50:17

 24          Q.   When did you learn that Mr. Musk had              15:50:23

 25    deleted the July 15 tweets?                                  15:50:29

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                             EXHIBIT 4




                             EXHIBIT 4



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 1
 2                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
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         ------------------------)
 7                               )
                                 )
 8       VERNON UNSWORTH,        )
                                 )
 9                Plaintiff      )
                                 )
10       vs.                     ) Case No. 2:18-cv-08048
                                 )
11                               )
         ELON MUSK,              )
12                               )
                  Defendant      )
13                               )
         ------------------------)
14
15
16
            Videotape Deposition of VANESSA JULIET UNSWORTH
17
18
                        On Tuesday, 27th August 2019
19
20
21
         Taken at the offices of:
22
                   Howard Kennedy LLP
23                 1 London Bridge
                   London SE1 9BG
24                 United Kingdom
25


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 1                             UNSWORTH - WILSON
 2                 A.       Portugal was summer holidays.           We
 3       also sort of looked after a villa for a friend of
 4       ours who when he was not there, we used to go over
 5       and just check that it was okay, so we used to go
 6       to Portugal a lot.
 7                 Q.       Was it just ----
 8                 A.       Just family time.
 9                 Q.       Family time?
10                 A.       Yes, family holidays.
11                 Q.       From the time you met Vernon in
12       1987 to the time of your separation in 2013, did
13       Vernon ever travel abroad without you?
14                 A.       From 2011.
15                 Q.       From 2011?
16                 A.       Yes.
17                 Q.       Where did Vern go in 2011?
18                 A.       He went to Thailand.
19                 Q.       To your knowledge, was that his
20       first visit to Thailand?
21                 A.       Yes.     Yes, it was.
22                 Q.       Do you know what Vernon was doing
23       in Thailand in 2011?
24                 A.       No.     I think he had gone over
25       there -- I know that he was plotting the caves.


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 1                              UNSWORTH - WILSON
 2       well.     Yes, it has impacted.               It makes you think.
 3       It makes you very uncomfortable at work.                         It
 4       impacts everything to do with your life,
 5       basically.        You know, your life just lives this
 6       event.     The more people talked about it, the more
 7       people contacted you, the more you had to think
 8       about it more.        Yes, it caused many sleepless
 9       nights.     It made me very upset.                 It made me un --
10       I did not go out as much as I would have normally.
11       It has a really detrimental effect on your own
12       mental health and your self esteem.
13       BY MR. WILSON:
14                  Q.        Thank you for that.                   Earlier in the
15       deposition you mentioned the accusations as being
16       Mr. Musk accused Vernon of being a paedophile, a
17       child rapist and taking a 12-year-old child bride?
18                  A.        Hmm.
19                  Q.        To your knowledge, are each of
20       those accusations false?
21                  A.        Totally false.
22                  Q.        Thank you for talking with me this
23       morning.        We are going to let Mr. Spiro ask you
24       some questions.
25                  A.        Thank you.


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                             EXHIBIT 5




                             EXHIBIT 5



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 1
 2                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 3
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 7                               )
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 8       VERNON UNSWORTH,        )
                                 )
 9                Plaintiff      )
                                 )
10       vs.                     ) Case No. 2:18-cv-08048
                                 )
11                               )
         ELON MUSK,              )
12                               )
                  Defendant      )
13                               )
         ------------------------)
14
15
16
            Videotape Deposition of WORANAN RATRAWIPHAKKUN
17
18
                      On Wednesday, 28th August 2019
19
20
         Taken at the offices of:
21
                   Howard Kennedy LLP
22                 1 London Bridge
                   London SE1 9BG
23                 United Kingdom
24
25


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 1                         RATRAWIPHAKKUN - WILSON
 2                 Q.       Okay, thank you.              Tik, can you tell
 3       me where you were born?
 4                 A.       Chiang Rai Province, Mae Sai
 5       District.
 6                 Q.       Where do you live now?
 7                 A.       In Huai Krai Subdistrict.
 8                 Q.       Could you spell that for the
 9       record, please?
10                 THE WITNESS:       H-U-A-I K-R-A-I.
11                 Q.       H-U-A-I K-R-A-I, Huai Krai.
12                 A.       Yes.
13                 Q.       When were you born?
14                 A.       18th of May 1978.
15                 Q.       18th of May 1978?
16                 THE WITNESS:       No.
17                 THE INTERPRETER:           Sorry, November.
18       BY MR. WILSON:
19                 Q.       Tik, you brought with you a few
20       documents today; right?
21                 A.       Yes.
22                 Q.       If the reporter would please mark
23       this Exhibit 52.
24               (Exhibit 52 marked for identification)
25                 Q.       Do you recognise this document?


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 1                         RATRAWIPHAKKUN - WILSON
 2                 A.       Daughter.
 3                 Q.       How old is she?
 4                 THE WITNESS:      Now she 15.
 5                 Q.       And how old are you?
 6                 THE WITNESS:      40.
 7                 Q.       Do you have a relationship to any
 8       of the parties in this case?
 9                 A.       Do you mean Vernon?
10                 Q.       Vernon, yes.         You have a
11       relationship with Vernon?
12                 THE WITNESS:      Yes.
13                 Q.       Do you refer to him as Vernon or
14       Vern?
15                 THE WITNESS:      I call him Vern.
16                 Q.       Vern?
17                 THE INTERPRETER:         Vern.
18       BY MR. WILSON:
19                 Q.       How did you meet Vern?
20                 THE WITNESS:      We meet in London.
21                 Q.       When was that?
22                 THE WITNESS:      February 2011.
23                 Q.       How did you meet him?
24                 THE WITNESS:      We just meet by accident
25       like in coffee shop.


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 1                           RATRAWIPHAKKUN - WILSON
 2                  Q.        What were you doing in London?
 3                  THE WITNESS:        I just go out to travelling
 4       ----
 5                  A.        (Through interpreter) I just came
 6       here to visit.
 7                  Q.        You were just travelling in London?
 8                  A.        Yes.
 9                  Q.        Did you ever begin -- strike that.
10       How would you describe your relationship with
11       Vern?
12                  A.        You mean since we met?
13                  Q.        Yes.
14                  THE WITNESS:        He come to see me in the
15       coffee shop and ask me to join coffee.                     So we go
16       talking.        We good friends.
17                  A.        (Through the interpreter) So we
18       became friends.
19                  THE WITNESS:        Vern take care of me, see
20       London.     He take me go out to see some things.                     He
21       want to see Thailand with me.
22                  Q.        Are you in a romantic relationship
23       with Vern?
24                  A.        Yes.
25                  Q.        When did the romantic part of your


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                                                                         12



 1                         RATRAWIPHAKKUN - WILSON
 2       relationship begin?
 3                  A.      About April.           In April 2011.
 4                  Q.      And I believe you just testified
 5       that he wanted -- Vern wanted to come see Thailand
 6       with you?
 7                  A.      Yes.
 8                  Q.      Did you invite him to Thailand?
 9                  A.      Yes, I did, and I wanted him to
10       come and spend some times here in Thailand first
11       and then we will see if he can stay.
12                  Q.      When was the first time that Vern
13       visited with you in Thailand?
14                  A.      July 2011.
15                  Q.      To your knowledge, had Vern ever
16       been to Thailand before July 2011?
17                  A.      No, he had never been out of
18       England at that time.          The first time he went to
19       Thailand.
20                  Q.      How long did Vern spend in Thailand
21       in 2011?
22                  A.      He initially got the 60-day visa to
23       visit Thailand and then later on he extended his
24       visa in Myanmar to come back to spend another 30
25       days.    Initially, he got a 60-day visa to stay in


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 1                         RATRAWIPHAKKUN - WILSON
 2       him.
 3                 Q.       When Vern is in Thailand, where
 4       does he stay?
 5                 A.       My house.
 6                 Q.       Where is your house?
 7                 A.       House number 99 M1.
 8                 THE WITNESS:       M3.
 9                 THE INTERPRETER:           M3, sorry, Huai Krai,
10       Mae Sai, Chiang Rai.
11       BY MR. WILSON:
12                 Q.       Do you and Vern travel together
13       outside of Huai Krai?
14                 A.       Yes, we mostly, you know, stay
15       together and go places together.
16                 Q.       To your knowledge, does Vern travel
17       around Thailand without you?
18                 THE WITNESS:       No.
19                 Q.       You recall the cave rescue about a
20       year ago?
21                 A.       Hmm.
22                 THE INTERPRETER:           About two years.
23                 Q.       How did you become involved in the
24       cave rescue?
25                 A.       (Through the interpreter) Like


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 1                         RATRAWIPHAKKUN - WILSON
 2                 A.       Yes.     It is meant that my husband
 3       was homosexual.
 4                 Q.       To your knowledge, is there any
 5       truth that Vern is a paedophile?
 6                 A.       No, there is no fact, nothing about
 7       that.
 8                 Q.       To your knowledge, is there any
 9       truth to the statement that Vern is a child
10       rapist?
11                 A.       No, it is not true.
12                 Q.       To your knowledge, has Vern ever
13       married a child bride?
14                 A.       No.     If that child you mean was me,
15       I am not a child.         I am 40 years old.
16                 Q.       Accusations of these kind,
17       paedophilia, child rape, marrying a child bride,
18       are they the types of statements that would tend
19       to cause people in Thailand to shun Vern?
20                          MR. SPIRO:         Objection - form,
21       relevance.
22                 A.       Yes, it affect not just for Thai
23       people.    If he posted on Twister, 30, 40 million
24       people follow him, and some people, you know, who
25       read this from social media as well.                     People,


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 1                         RATRAWIPHAKKUN - WILSON
 2       of the governor of the province.                  If Elon Musk
 3       accepted these comments, which are true, and if he
 4       stopped at that point, it should not have anything
 5       else, but when he accuse of someone being a
 6       paedophile, it is causing a difficulty in our
 7       lives.
 8       BY MR. WILSON:
 9                 Q.       Just one more question for you.               To
10       your knowledge, has Vern ever visited any area in
11       Thailand known for sex trafficking?
12                 A.       No.    He normally travel with me.
13       Once he did not go with me when he went to the
14       cave in Nan province with Rob.                He went one time
15       with Rob one year before the rescue and one year
16       after the rescue, and then one trip that he went
17       to Laos for his passport.            He went to Laos twice.
18       The first trip we went together, but the second
19       trip I did not go, because at the time we wanted
20       to save some cost.        That is the trip when, you
21       know, he went alone, but apart from that he always
22       go, you know, everywhere with me.
23                 Q.       So, to your knowledge, there has
24       only been two instances when Vern has travelled
25       without you within Thailand: once with Rob Harper


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 1                          RATRAWIPHAKKUN - SPIRO
 2       to see another cave in Thailand and once to try to
 3       extend his visa?
 4                 A.       That is right.
 5                          MR. WILSON:          Thank you.         Mr. Spiro
 6       has some questions for you.
 7                          QUESTIONS BY MR. SPIRO
 8       BY MR. SPIRO:
 9                 Q.       Hi, good morning, how are you?
10       I am going to ask you some questions.                    You can
11       follow in English, obviously.              You speak some
12       English; right?
13                 THE WITNESS:      Yes.
14                 Q.       Can you read English?
15                 THE WITNESS:      Little bit.
16                 THE INTERPRETER:         A little bit.
17       BY MR. SPIRO:
18                 Q.       Like a book, a magazine, a
19       newspaper?
20                 THE WITNESS:      (Witness nods).
21                 Q.       You can read?          That is a yes?
22                 THE WITNESS:      Yes.
23                 Q.       You were asked some questions about
24       Exhibit 53, which was that article.                    Did you have
25       an opportunity to review that before you testified


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                             EXHIBIT 6




                             EXHIBIT 6



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                                Deposition of:
                              Samuel Teller
                            September 30, 2019


                               In the Matter of:

              Unsworth, Vernon v. Musk, Elon




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                                  #:1524                       September 30, 2019
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                                                                     Page 1

 1                          UNITED STATES DISTRICT COURT
 2                         CENTRAL DISTRICT OF CALIFORNIA
 3
 4        _____________________________
                                                  )
 5        VERNON UNSWORTH,                        )
                                                  )
 6                        Plaintiff,              )
                                                  )
 7                  vs.                           )   No. 2:18-cv-08048-SVW (JC)
                                                  )
 8        ELON MUSK,                              )
                                                  )
 9                        Defendant.              )
          _____________________________)
10
11
12
13
14                  VIDEOTAPED DEPOSITION OF SAMUEL W. TELLER
15                            Los Angeles, California
16                           Monday, September 30, 2019
17                                     Volume I
18
19
20
21        Reported by:
          NADIA NEWHART
22        CSR No. 8714
23
24
25

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1              A    SpaceX and Tesla.
2              Q    Not the Boring Company?
3                   THE REPORTER:      "Not the" what company?
4                   MR. WOOD:    Boring, B-o-r-i-n-g.
5                   THE WITNESS:     It's a little tech- -- no,
6          my sal- -- my salary came from SpaceX and Tesla,
7          although I did work for the Boring Company.               So I
8          was -- I'd say I was a de facto employee of the
9          Boring Company, but maybe not in a technical sense.
10         BY MR. WOOD:
11             Q    Right.   Technical -- they don't -- they don't
12         sign your paycheck, but you did work for Boring too?
13             A    That is correct.
14             Q    And do you work for Mr. Musk in any capacity
15         other than your job with SpaceX, Tesla and whatever
16         you do for Boring Company?
17             A    I'm employed by SpaceX and Tesla, but I
18         worked for Mr. Musk in kind of a general capacity in
19         ways that weren't always strictly encompassed by the
20         business of those companies.
21             Q    I think I'm correct that it was Mr. Musk that
22         described you as basically his chief of staff?
23             A    Is that a question?
24             Q    Yes.
25             A    Oh, yeah, yeah.       That's correct.

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1              Q    You would agree --
2              A    Yeah.
3              Q    -- that in your capacity knowing that you
4          were working, as you've told me for SpaceX, Tesla
5          and Boring Company, you were serving as Mr. Musk's
6          chief of staff, true?
7              A    That's correct.
8              Q    How long did you serve him in that capacity?
9              A    A little under five years.
10             Q    Starting when?
11             A    August 2014.
12             Q    And August 2014, was that your first
13         employment for Mr. Musk in connection with either
14         SpaceX, Tesla or Boring Company?
15             A    Yes.
16             Q    I know you had a startup.              What was -- tell
17         me about the name of that company.
18             A    I've been involved in a few companies before
19         then, so I'm not sure what you're referring to, but
20         I'm happy to walk you through my career or -- yeah.
21             Q    I don't want to have to take up much time --
22             A    Happy to.
23             Q    -- but it probably would be helpful.              Let me
24         ask you, did -- did you graduate from college?
25             A    I did.

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1              A    Not exactly.
2              Q    Who would be the person that you would say
3          was the most responsible for Mr. Musk's public
4          relations efforts?
5              A    I -- well, I was the person who was probably
6          most responsible, but I was not the only one who had
7          significant responsibility.
8              Q    Right.     But the buck generally in an
9          organization has to stop somewhere?
10             A    Yeah, we're not a normal organization.
11             Q    Well, those are your words, not mine.             But
12         whatever, normal or abnormal organization, when it
13         comes to PR matters during the five years you were
14         there --
15             A    Sure.
16             Q    -- other than Mr. Musk, the public relations
17         buck basically stops with you, true?
18             A    As it relates to Mr. Musk, yes.
19             Q    Each of the companies has their own public
20         relations?
21             A    Correct.
22             Q    And you would be involved in knowing about
23         their activities, true?
24             A    Correct.
25             Q    But you and you alone would be involved in

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                                   Samuel Teller
                                  #:1528                       September 30, 2019
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1          as of July the 10th a fair amount of negative press
2          about how public Mr. Musk had been his efforts to
3          help the children in Thailand?
4                A     I'm -- I'm not -- I'm not trying to be
5          difficult.          I just actually don't remember the
6          specific timeline of like what -- where July 10th
7          was in the sequence.
8                Q     Let's do it this way.
9                A     Yeah.
10               Q     Would you admit or concede that prior to the
11         "pedo guy" Tweet, Exhibit 38 --
12               A     Yeah.
13               Q     -- that there had been a fair amount of
14         negative press about how public Elon Musk had been,
15         posting videos and other information on his Twitter
16         account, in terms of putting out there his efforts
17         to help the children?            He had gotten a significant
18         amount of negative publicity for doing that, hadn't
19         he?       Not -- excuse me, not for -- not for his
20         efforts to build the -- the tube, but for his
21         publicly talking about it so much.
22               A     Yes.     There was -- there was some public
23         criticism of him and our team for -- in the way that
24         you described, in addition to, I think, you know,
25         quite a bit of public praise for the kind of

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1              Q     You said you -- you thought the -- the act
2          of -- or conveying that it didn't mean pedophilia
3          might have been conveyed by deleting the Tweet and
4          apologizing, and I don't follow the logic.              I'm just
5          trying to explore it.
6              A     The -- if you say something that you don't
7          mean or that's misunderstood, you can clarify it or
8          you can delete it.         It's -- those are two ways to
9          handle a situation like this.
10             Q     Did Mr. Musk ever attempt to clarify what he
11         meant when he Tweeted "pedo guy," to your knowledge?
12                   MR. SPIRO:     Objection as to form.
13                   THE WITNESS:      When do you mean?      Sorry.
14         BY MR. WOOD:
15             Q     Anytime.     Are you aware of Mr. Musk ever
16         attempting to clarify what he meant when he Tweeted
17         "pedo guy," that is, that he didn't mean pedophile?
18         Did he ever attempt to clarify that, to your
19         knowledge?
20             A     I don't remember.         I don't have a specific
21         memory.
22             Q     The only thing you remember that suggests to
23         the contrary where you came up with this creepy old
24         man is from the last week or so --
25             A     Yeah.

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1              Q    -- either social media or news coverage where
2          they were writing about Mr. Musk's declaration that
3          he filed in this case in support of his motion for
4          summary judgment, true?
5              A    I believe so.
6              Q    That would have been the first time you, as
7          his former chief of staff, had ever heard that there
8          was some meaning about creepy old guy to the use of
9          the pedo guy phrase by Mr. Musk other than
10         pedophile, true?
11             A    Possibly, but I can't be certain.            I don't
12         remember every --
13             Q    We're here -- we're here -- we're here today
14         to do our best.
15             A    Sure.
16             Q    Do you have any recollection prior to the
17         publicity over Mr. Musk's declaration and motion for
18         summary judgment in the last couple of weeks --
19             A    Uh-huh.
20             Q    -- of Mr. Musk ever conveying to you or
21         anyone else, to your knowledge, that pedo guy -- the
22         reference to pedo guy meant creepy old man and not a
23         pedophile?
24             A    I don't have a specific memory of that.
25                  MR. WOOD:    All right.         Why don't we take a

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1          break.    We've been going for a while.
2                   THE VIDEOGRAPHER:         We're going off the record
3          at 10:45 a.m.       This is the end of media one.
4                   (Recess.)
5                   THE VIDEOGRAPHER:         We're on the record at
6          10:59 a.m.       This is the beginning of media two in
7          the deposition of Samuel Teller.
8                   THE WITNESS:        Sorry.     Is this a --
9          BY MR. WOOD:
10             Q    It's also a real -- it's also a -- a
11         streaming of your video to my office.
12             A    Got it.     Okay.
13                  MR. WOOD:     Back on the record.
14             Q    Exhibit 78 is a true and correct copy of the
15         e-mail chain that we've earlier discussed, true?
16             A    As far as I know.
17             Q    Okay.     You have no reason to doubt that it's
18         accurate?
19             A    I have no reason to doubt that it's accurate.
20             Q    Now, you have received, I'm sure, litigation
21         hold notices, true?
22             A    Ever?
23             Q    During the last year and a half of this
24         litigation that we went over in that list, you --
25         you have been made aware that you are under a

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1          mouth.    He was -- he was -- he was upset.            He felt
2          like he had been attacked unfairly.
3              Q    We will go through the articles before the
4          day is out, but this may be able to help short
5          circuit some of it.
6                   Mr. -- before he Tweeted "pedo guy," the
7          truth is, Mr. Teller, that Elon Musk was very upset
8          about the media coverage criticizing his efforts
9          with the tube to assist the children in Thailand;
10         isn't that the truth?
11             A    I believe he was unhappy with some of the
12         coverage.
13             Q    He was unhappy with all of the coverage that
14         criticized his efforts with the tube, including the
15         coverage that was suggesting that it was a PR stunt.
16         You know that, don't you, sir?
17             A    Certainly.
18             Q    And that was before Mr. Unsworth ever said a
19         word to CNN.     The coverage had already started
20         unrelated to Mr. Unsworth, true?
21             A    Yeah.
22             Q    Mr. -- from your five years as chief of staff
23         or close to five years, you were aware of how
24         sensitive Elon Musk is to criti- -- public
25         criticisms of himself, aren't you?

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1          involving the Thai government, so it was just we
2          were de facto interacting with the government.
3              Q     Through this entrepreneur?
4              A     Through James and someone on his team whose,
5          name, I think, was Nuttapon and maybe -- maybe a few
6          others.     We were also in touch with someone in the
7          American government.
8              Q     I'm just trying to find out if you yourself,
9          based on your knowledge of the efforts -- and you --
10         you kept up with what was going on when they were
11         trying to build this tube, didn't you?
12             A     Generally, yeah.
13             Q     And Elon Musk was Tweeting almost daily about
14         it, true?
15             A     Yeah.
16             Q     With videos and pictures, right?
17             A     Yes.
18             Q     So much so that there was a question raised
19         in the communications team that he may be going
20         overboard in trying to publicly show what he was
21         doing, which might not look so good while others
22         were busy at work in Thailand trying to save the
23         kids.
24                   Do you remember that problem?
25             A     I was -- yeah.     We were also at work trying

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1                   And we actually talked to -- we talked to the
2          gent- -- one of the gentlemen I mentioned earlier.
3          We talked to a couple members of the military.                One
4          of them asked for a photo with Elon.            And then after
5          a cer- -- after some period of time, Elon and I went
6          to -- with his security team, we went to a hotel to
7          sleep.
8              Q    And what was the name of the hotel?
9              A    I don't remember.
10             Q    And how long did you stay at the hotel?
11             A    I think it was maybe like five hours or six
12         hours or something.       We -- we had to -- we were
13         leaving quite early the next morning, so we --
14             Q    For Shang- -- Shanghai?
15             A    For Shanghai, yes.         Yeah, I believe.      Yeah,
16         exactly.    We went to Shanghai and then Beijing.
17             Q    You went to Shanghai with Mr. Musk?
18             A    I did.
19             Q    So at the time you left the cave to go get
20         your five hours or so of sleep before you go to
21         Shanghai, what had you learned about the status of
22         the children that were trapped in the cave and that
23         had not been rescued, how many?
24             A    Well, you -- you told me earlier it was five.
25             Q    I -- I didn't tell you.

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1              A    That's not true.
2              Q    I'm a good guy.
3              A    That's not true.
4              Q    Just -- I'm not trying to interrupt you.                   It
5          gets a little stilted at times because --
6              A    Sure.
7              Q    -- you break up your answers a little bit.
8              A    Sure.
9              Q    But -- but I'm with you.               We're going to let
10         you get it all out.
11             A    The -- I apologize for interrupting you.
12             Q    That's okay.
13             A    I don't remember what the question was,
14         sorry.
15             Q    There had been --
16             A    Oh --
17             Q    Look, there's some negative publicity from
18         the BBC about the Thai rescue chief saying that the
19         sub was not practical, right?
20             A    Yes.
21             Q    And that's the subject of a -- what looks
22         like a fairly early morning e-mail from Mr. Musk
23         when he's in Shanghai after he gets a text from his
24         girlfriend.      And then Steve Davis responds about it
25         to BBC blog, and he quotes from it.                 And he's

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1          talking about the head of the rescue mission says
2          that he (as read):
3                   "Acknowledges the help of Mr. Musk
4                   and his team, but the equipment they
5                   brought to help us is not practical
6                   with our mission.         Even though their
7                   equipment is technologically
8                   sophisticated, it doesn't fit with
9                   our mission to go in the cave,"
10                  okay?
11                  Was this your effort to counter that
12         publicity by creating this statement or
13         forwarding -- referencing this statement to these
14         members of the media about the prime minister's
15         press briefing?
16             A    Generally, yes.
17             Q    Okay.     You never made any efforts -- this --
18         I'm sorry.       I may have asked this, but I didn't
19         check it off in the break.
20                  You didn't make any efforts to do any due
21         diligence to check out James Howard or James
22         Howard-Higgins or Phoenix Security or whatever his
23         company's name was, did you?
24             A    I did not.
25             Q    You all had never heard of him before until

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1          So I think this is totally accurate.
2              Q    Did any of the SpaceX team members, when you
3          were there, ever try to meet with Rick Stanton?                  I
4          know I asked you about Mr. Musk.                What about any of
5          the SpaceX people?       Did they ever try to meet with
6          Mr. Stanton and go over the tube?
7              A    You'd have to ask them.            I don't know.
8              Q    You were there.       Did you see him do it?
9              A    I was there briefly.          So I didn't see anyone
10         after --
11             Q    You were there with Mr. Musk, sir.
12             A    I was there briefly with Mr. Musk.              The rest
13         of our team -- some people were there before us.
14         Most of them stayed after us.              So there was a lot of
15         time they could have asked to meet Mr. Stanton
16         without us being there to observe it.
17             Q    The well written article that Mr. Musk is
18         referring to is the article that was referenced in
19         Exhibit 93, is it not?
20             A    I -- I believe it is.
21             Q    And Mr. Musk re-Tweeted that article's link,
22         did he not?
23             A    I believe he did.
24             Q    He wanted people to read it, true?
25             A    I believe he did.

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1                Q   And he felt that it was helpful to his public
2          image with respect to having -- trying to recover
3          from having made the pedo guy accusation, true?
4                A   I believe he thought it was helpful -- it
5          would be helpful in having the public understand the
6          truth.
7                Q   And he thought that this article, upon
8          review, was the truth; is that what you're telling
9          me?
10               A   Generally, I believe that represents Elon's
11         view, but again, you'd have to ask him.
12               Q   Does it represent your view based on your
13         involvement and knowledge?
14               A   I'd have to take five minutes to read it to
15         give you a yes or no.
16               Q   Okay.   Yeah.     I mean, listen, if you want to
17         do that and need to, I'm happy to do that.
18               A   Do you want me to?          Okay.
19                   MR. SPIRO:      Tell him the good news?
20                   MR. WOOD:    What am I doing?
21                   MR. SPIRO:      You got your three days.
22                   MR. GRUNBERG:       Motion for was extension
23         granted.
24                   MR. WOOD:    Good.       Good news.     It still didn't
25         change the hearing though.

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1              Q    Hey, do you know what?            Let me withdraw that
2          question because, you know -- because I don't want
3          to disrespect your right to read it, but I really
4          don't think it's entirely necessary --
5              A    Okay.
6              Q    -- for purposes of what I want to ask you
7          about.
8                   This article, sir, that Mr. Musk thought
9          conveyed the truth, right?
10             A    I believe that was his view, but I can't
11         speak for him.
12             Q    But certainly an article that he wanted
13         hopefully to be reviewed and -- by a large number of
14         people and put on his Twitter, right?
15             A    Yes.
16             Q    Which at the time, would you agree, had a
17         little over 22 million followers?
18             A    I don't remember, but that sounds right.
19             Q    Yeah.   And this article discusses the "pedo
20         guy" Tweet, does it not?
21             A    I believe it does, yes.
22             Q    Look at the page TESLA 01568.
23                  Really, actually, 1567.            Back to the black
24         mark (as read):
25                  "Cave rescuer Elon Musk.               It was a

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1                   e-mail" -- "I sent you an off the
2                   record e-mail which clearly and
3                   unambiguously said off the record."
4                   Have I read that correctly?
5              A    Yes.
6              Q    And then he states (as read):
7                    "If you want to publish off the
8                   record comments and destroy your
9                   journalistic credibility, that's up
10                  to you."
11                  Have I read that correctly?
12             A    Yes.
13             Q    He left it up to Mr. Mac whether to publish
14         it or not under the threat, as he saw it, that if he
15         did so, it would destroy Mr. Mac's journalistic
16         credibility, true?
17             A    I mean, that was -- that was the gist of what
18         he said, yes, sir.       But that was after --
19             Q    That was before the publication.
20             A    Before the publication, but it was after Mac
21         suggested that --
22             Q    -- he was going to publish it?
23             A    Yes.
24             Q    Yeah.   And he said it's up to you, right?
25             A    Those -- those were his words.

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                             EXHIBIT 7



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                                Deposition of:
                              David Arnold
                               October 1, 2019


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                                                                     Page 1

 1                          UNITED STATES DISTRICT COURT
 2                         CENTRAL DISTRICT OF CALIFORNIA
 3
 4        _____________________________
                                                  )
 5        VERNON UNSWORTH,                        )
                                                  )
 6                        Plaintiff,              )
                                                  )
 7                  vs.                           )   No. 2:18-cv-08048-SVW (JC)
                                                  )
 8        ELON MUSK,                              )
                                                  )
 9                        Defendant.              )
          _____________________________)
10
11
12
13
14
15                    VIDEOTAPED DEPOSITION OF DAVID ARNOLD
16                            Los Angeles, California
17                            Tuesday, October 1, 2019
18                                     Volume I
19
20
21        Reported by:
          NADIA NEWHART
22        CSR No. 8714
23
24
25

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1              Q    Are you -- what is your age?
2              A    34.
3              Q    What is your present employment?
4              A    Currently unemployed.
5              Q    And how long has that been your status?
6              A    Since middle of June.
7              Q    Of this year?
8              A    Yes.
9              Q    Where were you employed prior to the middle
10         of June of this year?
11             A    Tesla.
12             Q    Tesla?
13             A    Yes.
14             Q    Okay.    And how long had you been employed at
15         Tesla --
16             A    I started at --
17             Q    -- prior --
18             A    Sorry.
19             Q    That's okay.     -- prior to June of this year
20         when you left?
21             A    I started at Tesla in January of 2017.
22             Q    And where were you employed prior to Tesla?
23             A    Virgin America.
24             Q    How long at Virgin America?
25             A    May 2015 up until January 2017.

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1              Q    Do you know Ben Wilson?
2              A    Ben Wilson?      I don't --
3              Q    Ben -- I'm sorry.          I misspoke.        Long day.
4                   Do you know Ben Smith?
5              A    At BuzzFeed?
6              Q    Yes.
7              A    Yes.
8              Q    How long have you known Mr. Smith?
9              A    It goes back a few years.                He worked in --
10         covered New York politics for a while when I was
11         involved in New York politics.                  So I -- I'd say
12         maybe ten years.
13             Q    Do you find him to be a solid newsman?
14             A    We've had a good relationship.
15             Q    Do you believe he's a solid journalist?
16             A    Yes.
17             Q    Are you familiar with the phrase "off the
18         record"?
19             A    Yes.
20             Q    Are you familiar with the phrase "on
21         background"?
22             A    Yes.
23             Q    Are you familiar with the phrase "for
24         attribution"?
25             A    Yes.

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1              A    Yes.
2              Q    It talks about Tesla at length --
3              A    Correct.
4              Q    -- does it not?
5                   It talks about SpaceX at length, does it not?
6              A    Yes.
7              Q    And then there are references to Boring
8          Company, true?
9              A    I -- I believe so, yes.
10             Q    So now you've kind of got wrapped up in one
11         bundle, Exhibit 63, an article which is critical of
12         Mr. Musk, right?
13             A    Yes.
14             Q    Critical of his Tesla public relations team,
15         yes?
16             A    Yes.
17             Q    Likewise, critical of his SpaceX
18         communications team, true?
19             A    Yes.
20             Q    I can't recall, as I sit here, but I'm kind
21         of guessing that whatever it said about Boring, it
22         was not favorable to Boring.
23             A    I don't recall, but I think that's -- that's
24         fair.
25             Q    So now you've got in one bundled article

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1          criticisms of all the companies' PR and Mr. Musk
2          individually, right?
3              A    Yes.
4              Q    Given that acknowledgment, you would have
5          expected this article to be either reviewed by
6          Mr. Musk or for someone in his various
7          communications teams to have brought it to his
8          attention, true?
9              A    True.
10             Q    Thank you.     When you said that you have a
11         breakdown between -- and I know it was an estimate
12         so I'm not trying to -- to play hard with you on
13         your testimony.       You said somewhere in the
14         neighborhood of 70 to 80 percent of your
15         communications with Mr. Musk were by e-mail?
16             A    Correct.
17             Q    About 20 to 30 percent in person?
18             A    Yes.
19             Q    And then a minimal amount by text?
20             A    Correct.
21             Q    In your experience in dealing with Mr. Musk,
22         how, if any way, did you decide which method of
23         communication?      And here's what I'm trying to get at
24         directly so that it's clear.
25                  It sounds like that you rarely texted him; is

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1              Q    And then we get -- and Elon Musk says (as
2          read):
3                    "Completely agree.          I was told
4                   about a lot of bad things this guy
5                   did and was upset that no one cared
6                   to investigate, so responded in what
7                   I felt was off the record.             In the
8                   past, BuzzFeed has respected e-mails
9                   prefaced with 'off the record' but
10                  this time they did not.            It was
11                  still one of the dumbest things I've
12                  ever done and this distraction
13                  couldn't come at a worse time."
14                  Have I read that correctly?
15             A    Correct.
16             Q    Do you, sir, have any knowledge yourself --
17         beyond Mr. Musk's statement that BuzzFeed had
18         respected e-mails prefaced with "off the record" in
19         the past, do you have any knowledge beyond that,
20         firsthand or secondhand, that BuzzFeed and/or Ryan
21         Mac had ever in the past respected a communication
22         from Elon Musk that was unilaterally sent with an
23         "off the record" statement and there being no
24         agreement by the reporter?
25                  Do you have any such knowledge?

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1              A    Not specifically with respect to BuzzFeed but
2          with other publications.
3              Q    But that's the key here.                When we talk about
4          "off the record," we have to -- in terms of looking
5          at whether Mr. Musk was reasonable in expecting that
6          it wouldn't be published, we can't just look across
7          the board and say, well, other people have done it.
8                   In order to be confident that it was going to
9          be respected in this instance, there has to be an
10         established relationship upon which Mr. Musk could
11         reasonably expect that his confidence would be
12         respected, true?
13                  MR. SPIRO:     Objection as to form.
14                  THE WITNESS:      I don't agree with that with
15         respect to Elon Musk.         And -- and the reason is
16         because he is a very high profile public figure.
17         And I think, you know, it's one thing if a reporter,
18         you know, burns me, Dave Arnold, a communications
19         person working at Tesla or any other company.                  I
20         think it's different in my mind.
21                  If you're Elon -- Elon Musk -- it was
22         surprising to me that they took something that he
23         felt was off the record and put it on the record,
24         because I mean, you know, you're damaging that
25         relationship.

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1              Q    But that was their right, BuzzFeed and Ryan
2          Mac's right to decide, true?
3                   MR. SPIRO:     Objection as to form.
4          BY MR. WOOD:
5              Q    If they thought that they were going to bust
6          whatever relationship someone thought existed with
7          Elon Musk, that was their right to say we don't
8          care.    We're going to publish it, true?
9                   MR. SPIRO:     Objection --
10         BY MR. WOOD:
11             Q    Isn't that true, sir?
12                  MR. SPIRO:     Objection as to form.
13                  THE WITNESS:      It is up to them if they want
14         to publish it.
15         BY MR. WOOD:
16             Q    And on the flip side, in order to determine
17         what level of confidence Mr. Musk claims to have
18         placed in BuzzFeed and Ryan Mac, we've got to find
19         some basis upon which he could say that he had
20         confidence.    He just can't manufacture it.            You
21         can't send something to someone who's essentially a
22         stranger to you and give them a unilateral dictate
23         to maintain your confidence without knowing that you
24         are taking a chance that that person might not
25         respect the confidence; isn't that true?

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1                   MR. SPIRO:     Objection to the form.
2                   If you can understand that.
3          BY MR. WOOD:
4              Q    Isn't that the truth, sir?
5              A    Could you please repeat the question.
6              Q    Yes, sir.    I'll read it back.         In order --
7          and I said, on the flip side, in order to determine
8          what level of confidence Mr. Musk claims that he
9          placed in BuzzFeed and Ryan Mac, we've got to find
10         some basis upon which he can say that he had
11         confidence.     He just can't manufacture it.
12                  You can't send something to someone who's
13         essentially a stranger to you and give them a
14         unilateral dictate to maintain your confidence
15         without knowing that you were taking a chance that
16         that person might not respect the confidence; isn't
17         that true, sir?
18                  MR. SPIRO:     Same objections.
19         BY MR. WOOD:
20             Q    It's just common sense.
21             A    I --
22                  MR. SPIRO:     Same -- another objection.
23                  THE WITNESS:      He's, of course, taking a
24         chance, but I think -- I mean, I would imagine he'd
25         based that on his dealings with media, you know,

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1          that he's been doing for years.
2          BY MR. WOOD:
3              Q    No, I don't care what media he was doing for
4          years.    If he had a relationship of years with this
5          fellow at QUORA, I understand that he might
6          reasonably expect that if he sends him something
7          that says off the record, that based on their
8          relationship, he would expect it would be kept off
9          the record.
10                  Do you follow me?
11             A    I -- I can only speak to how I would do it.
12             Q    Well, that's just it.            This isn't about how
13         you or even Mr. Musk would do it.                 This is about how
14         a reasonable person would do it.                 It's an objective
15         standard.     And a reasonable person wouldn't run
16         around and provide confidential information to
17         someone who was a -- as a practical matter, a
18         stranger to them, whether they're in the media or
19         not.
20                  Don't you agree, sir?
21                  MR. SPIRO:     Objection as to form.
22                  THE WITNESS:      I -- I don't think it's an
23         unreasonable expectation on his part to think that
24         that -- when he said this is off the record, it was
25         going to be off -- of the record.                 You know, was

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1          it -- could he have been more careful and -- and
2          asked in advance for, you know, a formal agreement?
3          Yes.     And is that what I would have done as a
4          communications person?         Yes.
5                    But I think based on -- I've seen him send
6          "off the record" e-mails to other reporters.
7          BY MR. WOOD:
8              Q     That doesn't mean it's right.
9              A     Unilaterally, out of the blue, and it's
10         honored.     And in my own experience, when I've sent
11         off the record e-mails unilaterally to reporters, I
12         can't think of a time when that hasn't been
13         respected by a reporter.
14             Q     Have you -- so I want a name or two so that I
15         can speak with them.        Give me the name of a
16         journalist that you had no relationship with except
17         potentially an adverse relationship, where you
18         unilaterally, on your own, sent very sensitive
19         information where you claimed off the record without
20         first getting an agreement from that person that it
21         would be off the record.          Name one.
22             A     Off the top of my head, I can't.          I send
23         hundreds of e-mails.
24             Q     I'm not asking you to go through it.            We're
25         going to take another break.             I'm going to ask you

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1          article.
2                Q   We'll let the finder of fact read this e-mail
3          and decide.
4                A   Okay.
5                Q   But your opinion is you -- you don't believe
6          it was direct.
7                A   No.
8                Q   Was it indirect?
9                A   In fact, the -- the reason that Joe Rogan was
10         discussed, because it was a three-hour format, and
11         Elon is generally in his element when he has an
12         opportunity to speak at length about things and
13         really get into detail rather than, you know, a -- a
14         sort of quick five-minute interview or something
15         that's going to be focused on one topic.              That's my
16         memory of why ultimately, he did Joe Rogan.
17               Q   Thank you.     Mr. Musk didn't fall off the
18         space rocket yesterday.            He's been around dealing
19         with the media for quite a number of years, hasn't
20         he?
21               A   Yes.
22               Q   And Mr. Musk knows that when he says
23         something, it is potentially news, true?
24               A   Yes.
25               Q   And, therefore, Mr. Musk has to be careful

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1          both in what he says and who he says it to.
2                   Do you agree?
3              A    Yes.
4                   MR. WOOD:    Let me have the Ryan Mac article,
5          the September 4th article.
6                   Do you have the exhibit notebook?            It's going
7          to be in there.      Sorry for the delay.
8                   Do you have all the exhibits?
9                   THE REPORTER:      I hope so. I'll check at the
10         end.
11                  MR. WOOD:    From the very beginning of time?
12         I'm talking about Exhibit 1.
13                  THE REPORTER:      No, no.        I don't have all of
14         them.
15                  MR. WOOD:    Let me have that real quick.               I
16         will find it.     What number?
17                  MR. GRUNBERG:      23.
18                  MR. WOOD:    Do we have a copy of this?            It
19         should be in that stack there.              There you go.     23.
20                  Do we have two copies?
21             Q    I'm going to hand you what has been
22         previously identified as Exhibit 23.
23                  Are you familiar with that article?
24             A    I am.
25                  MR. WOOD:    Here you go, Alex.

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1              Q    That's -- that's the article.           That's the
2          September 4, 2018 article we've been discussing,
3          right?
4              A    Correct.
5              Q    Look at the next to the last page of that
6          article where he includes in the article Mr. Musk's
7          e-mail of August 30th, 20- -- 2018 at 6:43 p.m.
8              A    I'm sorry.     You said the second to the last
9          page?
10             Q    Well, the next to the last page.           I'm sorry.
11             A    Got it.
12             Q    Here are the e-mails that Ry- -- Elon Musk
13         sent to BuzzFeed News reporter Ryan Mac.
14                  Do you see where I'm looking?
15             A    Yes.
16             Q    Now, before we look at that, if you're going
17         to -- if you're Elon Musk -- as you've said, he has
18         a high, high profile.         He's one of the wealthiest
19         men in the world, true?
20             A    Yes.
21             Q    Generally considered by his followers to be a
22         genius, right?
23             A    Yes.
24             Q    Worth, according to Forbes, at or and above
25         $20 billion, right?

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1                A   Correct.
2                Q   The guy that's going to take us to Mars and
3          save our civilization; that's kind of his tag, isn't
4          it?
5                A   Correct.
6                Q   The guy that's going to clean up the
7          environment and build -- I call them the glorified
8          golf carts, but I like -- I like a good Chevy.                But
9          he's the guy that's going to build the -- the
10         electric vehicle, right?
11               A   Right.
12               Q   When he talks, it's news?
13               A   Correct.
14               Q   So he's got to be careful, right?
15               A   Yes.
16               Q   And part of being careful, you have to
17         consider the nature of what he's saying, don't you?
18               A   Yes.
19               Q   And what he said about Vernon Unsworth was an
20         accusation of the most heinous conduct in our
21         civilized society, a child rapist, true?
22               A   It's -- it's a serious accusation.
23               Q   No, no, please, sir.          I know serious
24         accusations.       This was a heinous accusation.
25               A   You said the most heinous accusation.

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1                Q   It was a heinous accusation.
2                A   I'd say it is -- it is a heinous accusation.
3                Q   Not many are worse, wouldn't you agree?
4                A   Yes.
5                Q   And here he is with a reporter who has,
6          within two months, produced an article profiling
7          Mr. Musk and his companies in a way that is critical
8          of all four, right?
9                A   Yes.
10               Q   And he doesn't take the time to pick up the
11         phone or send an e-mail saying, can we have an off
12         the record conversation?          He doesn't do that, does
13         he?
14               A   He does not.
15               Q   That would have been the prudent thing to do,
16         wouldn't it?
17               A   That would have been the most prudent thing
18         to do, yes.
19               Q   Yes.   And he then doesn't do that.          But he
20         starts off and he says (as read):
21                    "Off the record."
22                   Follow me when I read (as read):
23                    "I suggest that you call people you
24                   know in Thailand, find out what's
25                   really going on and stop defending

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1                   child rapists you fucking asshole."
2                   Have I read that correctly?
3              A    Yes.
4              Q    Now, even if you've got some level of
5          confidence that somebody's, from a historical
6          standpoint, going to keep your confidence, you're
7          pushing the line when you call them a fucking
8          asshole in the first sentence, aren't you, sir?
9              A    Yes.
10             Q    It's hard to realize -- it's hard to envision
11         anybody reasonably expecting that someone who he has
12         no relationship of trust with is going to keep
13         information unilaterally off the record from Elon
14         Musk when he addresses them in the first sentence as
15         a fucking asshole.       Don't you agree with me?
16             A    It makes it harder, yes.
17             Q    You agree with me, don't you, sir?
18             A    Could you restate the question.
19             Q    Yes.   It's hard to envision anybody
20         reasonably expecting that a reporter who he has no
21         established relationship of trust with is going to
22         keep information confidential and off the record at
23         his unilateral request when he starts off giving the
24         information in the first sentence calling the
25         reporter a fucking asshole, true?

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1                   MR. SPIRO:     Objection to form.
2                   THE WITNESS:      I think if -- if I sent that
3          e-mail, that would be true.             I think it is, again,
4          as I said earlier, different for Elon Musk.
5          BY MR. WOOD:
6              Q    When you send that e-mail, with all due
7          respect, sir, nobody really cares about your
8          statements.       You're just Dave Arnold, just like I'm
9          Lin Wood.       It doesn't make news necessarily what
10         Dave Arnold says, does it?
11             A    No.
12             Q    But when it comes from Elon Musk on a subject
13         matter that has been out front as one of the most
14         covered news events in recent weeks and months, the
15         chances of that being news to be published are
16         significantly higher than it's just from the average
17         Joe or Dave Arnold or Lin Wood, don't you agree?
18             A    That's true.
19             Q    And you're calling the reporter a fucking
20         asshole.       I mean, would you walk up to somebody that
21         you really don't know or know somebody that says
22         something critical about you and say, hey, I want to
23         tell you a secret that you better keep, you fucking
24         asshole?
25                  Would you really expect them to keep that

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1          secret?
2                    MR. SPIRO:     Objection to form.
3          BY MR. WOOD:
4                Q   Mr. Arnold, would you reasonably expect that
5          person to keep that secret?
6                A   If it were me saying it, no.
7                Q   If anybody reasonably were to do that, you
8          wouldn't expect that person to believe that that
9          person was going to keep a secret?
10               A   I mean, again, I think it's -- it's different
11         for Elon.
12               Q   No, it's not.       It's worse for Elon.
13                   MR. SPIRO:     Objection; argumentative.
14                   MR. WOOD:    I'm not through.             Don't interrupt
15         me.
16                   MR. SPIRO:     You are badgering the witness
17         again.
18                   MR. WOOD:    Don't interrupt me.             State your
19         objection after I've asked -- finished asking my
20         question.
21               Q   It's worse with Mr. Musk.               The chances of
22         publication are greater because it's coming from
23         Elon Musk than if it's coming from Dave Arnold,
24         true?
25                   MR. SPIRO:     Objection as to form.

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1          BY MR. WOOD:
2              Q    Because he makes news, you don't.
3              A    I --
4                   MR. SPIRO:     Objection to form.
5                   THE WITNESS:      I don't agree.        The thing to
6          balance here is that there's bigger risk for the
7          publication if they burn him.
8          BY MR. WOOD:
9              Q    But that's their risk.
10             A    That's, I think, a significant risk.             As you
11         said, he's one of the biggest newsmakers in the
12         world.    And if you, as a publication, cut off --
13         essentially run the risk of cutting off your access
14         to one of the biggest newsmakers in the world,
15         that's a serious risk.
16             Q    It's a risk that -- that only BuzzFeed has
17         the right to assess and evaluate and decide, right?
18             A    Correct.
19             Q    But I want to talk about Mr. Musk.            When
20         Mr. Musk, with his high profile nature, knowing that
21         he's got to be careful about what he says and
22         careful about who he says it to because he knows
23         that when he speaks, it can make news and he knows
24         he's talking about an event of such public interest
25         as the Thai cave rescue, it's Mr. Musk that has a

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1          responsibility to reasonably ensure that his
2          statements, especially when they are heinous
3          accusations of child rapist against an individual,
4          he's the one that's got a higher duty to make sure
5          that he takes the steps to get an agreement that
6          it's not going to be published before he types it
7          out in an e-mail, true?
8                   MR. SPIRO:     Objection as to form and --
9                   THE WITNESS:      I think he has a higher duty to
10         ensure that it's not -- do what he can to ensure
11         it's not printed, and I think putting "off the
12         record" on there is a clear way of doing that.
13         BY MR. WOOD:
14             Q    It's one way, but it's not a good way.
15             A    That's --
16             Q    The only -- the only reasonable protection at
17         a minimum to get protection before you run your
18         mouth and accuse somebody of being a child rapist in
19         this kind of public event when you're Elon Musk is
20         to first look over at the reporter and say I'm going
21         to tell you what you need to learn about
22         Mr. Unsworth, but you're going to have to agree to
23         do it off the record and not for publication.               That
24         is the reasonable step in this type of a situation,
25         isn't it, sir?

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1              A    It would be the most prudent thing to do,
2          yes.
3              Q    Thank you.     And he didn't do it.             In fact,
4          Exhibit 42 -- do you have 42?
5                   MR. GRUNBERG:       She has it.
6                   MR. WOOD:     Do you have 42?             Thank you.
7              Q    The court reporter has handed you Exhibit 42,
8          Mr. Arnold.       And it starts with an e-mail from
9          Mr. Mac, August the 29th, and he's asking him about
10         a Tweet.    I don't know if you recall this or not but
11         you probably looked at it.             Mr. Musk Tweeted --
12         where is the Tweet?        Exhibit 41.
13                  Mr. Musk had Tweeted on the 29th at 2:41 a.m.
14         in response to a Tweet by Drew Olanoff at Yoda.
15         Drew Olanoff Tweets (as read):
16                  "One other thing Elon.             Your
17                  dedication to facts and truth would
18                  have been wonderful if applied to
19                  that time when you called someone a
20                  pedo."
21                  Have I read that correctly?
22             A    Yes.
23             Q    And then what does Elon Musk reply on
24         Twitter?
25             A    He says (as read):

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1                    "You don't think it's strange he
2                   hasn't sued me?       He has offered
3                   freely" -- "he was offered free
4                   legal services and you call yourself
5                   at Yoda."
6              Q    And then you're aware of the fact that I
7          replied to this Tweet by Mr. Musk, and I said (as
8          read):
9                    "Elon Musk should check his mail
10                  before he Tweets."
11                  And I attached to that Tweet in defense of my
12         client and the implications of Mr. Musk's Tweet
13         about him the letter that I had sent to him on
14         August the 6th advising him that a lawsuit was being
15         considered and giving him an opportunity to discuss
16         how to correct the record.
17                  Do you remember that?
18             A    I -- I have a vague recollection of that.
19             Q    Yeah.
20             A    I don't remember the specifics.
21             Q    And that spurred Ryan Mac on the 29th to
22         write Mr. Musk and say (as read):
23                  "There's a letter dated August 6th
24                  sent to your Los Angeles home and
25                  discusses legal proceedings against

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1                   you for libel.       Given the Twitter
2                   conversation yesterday" --
3                   Which I think you would agree is a reference
4          to the conversation on Exhibit 41, right?
5              A    Correct.
6              Q    (As read):
7                    "I was hoping you could talk about
8                   the letter and whether you had seen
9                   it yet.    I'm happy to chat on the
10                  phone if you want to call me."
11                  And then he gives Mr. -- he gives Mr. Musk
12         his phone number, right?           Do you see that?
13             A    I do.
14             Q    But Mr. Musk didn't call him.           Mr. Musk
15         writes him back and says (as read):
16                   "Have you actually done any
17                  research at all?"
18                  That's a little bit insulting, isn't it?
19             A    I --
20             Q    Come on.
21             A    I --
22             Q    (As read):
23                   "Have you real-" -- "have you
24                  actually done any research at all?"
25                  That's demeaning, isn't it?

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1              A    I wouldn't necessarily take it that way.
2              Q    Now you go with "necessarily."           When I'm
3          sitting there saying I want to talk to you about a
4          subject matter and you write me back and say, have
5          you done any research at all, you're demeaning me in
6          the sense of suggesting that I don't know what
7          I'm -- I'm talking about, right?
8              A    I have a thick skin.           I don't take that
9          particularly -- I'm not offended by --
10             Q    The average person might feel differently?
11             A    Perhaps.
12                  MR. SPIRO:     Objection to form.
13         BY MR. WOOD:
14             Q    Now he goes on to say (as read):
15                  "For example, you incorrectly state
16                  that he's a diver, which shows that
17                  you know essentially nothing and
18                  have not even bothered to research
19                  basic facts."
20                  Now, that is insulting, isn't it?
21             A    Yes.
22             Q    So now he comes back to -- it's a reasonable
23         request from Mr. Mac that he made initially.
24                  Wouldn't you agree?
25             A    I think it's a pretty pro forma e-mail.

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1              Q    Standard handling, isn't it?
2              A    Yes.
3              Q    Nothing offensive about it to Mr. Musk,
4          wouldn't you agree?
5              A    Yes.
6              Q    And then Musk goes back and insults the man,
7          doesn't he?
8              A    Some might see it as insulting, but yes.
9              Q    You see it as insulting, don't you?
10             A    Yes.
11             Q    And then Mr. Mac writes him and says (as
12         read):
13                  "Hey Elon.     Thanks for getting back.
14                  Actually he prefers to be called a
15                  spelunker."
16                  Do you know what a spelunker is?
17             A    Cave diving?
18             Q    No.
19             A    Then no.
20             Q    A cave diver is a cave diver.           Mr. Unsworth
21         has never represented himself to be a cave diver.
22         He does diving, but he's a cave explorer.              He goes
23         in and explores caves and maps them.             He's a
24         spelunker.      He's a caver.
25                  He writes back and says (as read):

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1                    "Hey Elon.      Thanks for getting
2                   back.   Actually, he prefers to be
3                   called a spelunker, and we've
4                   confirmed that he actually does do
5                   cave diving, but do you have any
6                   comment on the letter you received?"
7                   Now, that is also a pro forma.           In fact, it's
8          almost like Mr. Mac professionally ignored the
9          insult and still made a reasonable request to get
10         Mr. Musk to talk with him.
11                  Do you agree?
12             A    Yes.
13             Q    And then he doesn't hear anything, and he
14         writes back, and he says (as read):
15                  "Hey Elon.     Just wanted to make sure
16                  I did my due diligence to research
17                  basic facts and follow up here."
18                  Do you see that?
19             A    Yes.
20             Q    Very appropriate professional e-mail from
21         Mr. Mac despite the insults, right?
22             A    It's a professional e-mail.
23             Q    And then Elon Musk writes the e-mail that we
24         just talked about that starts off (as read):
25                   "I suggest you call people you know

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1                   in Thailand and find out what's
2                   really going on and stop defending
3                   child rapists, you fucking asshole."
4                   Now, he has added a significant insult on top
5          of an already insulting e-mail, true?
6              A    Yes.
7              Q    Nobody would reasonably expect writing to a
8          reporter like this that this person is going to
9          honor your unilateral off the record, are they, sir?
10                  MR. SPIRO:     Objection, again, to form.
11         BY MR. WOOD:
12             Q    Unless their ego is so great that they think
13         they're so omnipotent and powerful that people will
14         do whatever they say without question.
15             A    Again, it is insulting, I agree, but I think
16         you balance that versus the risk to the publication
17         of losing access to the -- that is the mental
18         calculus that I would do on this, but --
19             Q    I know that.      But I -- but we're talking
20         about the calculus that should be done on Elon
21         Musk's part.    He had no business reasonably
22         expecting that this publication was going to honor
23         his unilateral demand that it be off the record when
24         he already knows they have criticized him in a
25         significant article and he has gone out of his way

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1          to insult the reporter to the point of calling him a
2          fucking asshole.
3                   That's not a reasonable expectation under
4          these facts, is it, sir?
5              A    I think if he wanted it to be on the record,
6          he wouldn't --
7                   MR. SPIRO:     Objection to form.
8                   THE WITNESS:      -- have said "off the record."
9          BY MR. WOOD:
10             Q    Oh, I don't think -- I don't know whether
11         Mr. Musk wanted it to be -- I would assume that he
12         in his own world believed that he could say off the
13         record and people would do whatever Elon Musk said.
14         I don't doubt that.        But that's not the real world.
15                  When you ask somebody to keep your confidence
16         and you're getting ready to say something that is a
17         heinous accusation against a private individual, you
18         are taking a major chance that your confidence will
19         not be honored if you are insulting the person
20         you're asking to keep your confidence not once but
21         twice and the second one being -- calling them a
22         fucking asshole, wouldn't you agree?
23             A    I would agree you're taking a chance.             I
24         wouldn't classify it as a major chance, in the -- in
25         the case of Elon Musk.

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1              Q    When you start calling people a fucking
2          asshole, the chances of that person saying, you
3          know, basically, fuck you, Elon Musk.             I don't care
4          who you are.    You insult me like this, I have no
5          obligation not to publish.             I'm going to publish.
6                   He actually increases the chance of
7          publication by calling this reporter a fucking
8          asshole, doesn't he?
9                   MR. SPIRO:     Objection as to form.         He can't
10         possibly answer that question.
11         BY MR. WOOD:
12             Q    Doesn't he?
13             A    I -- it's a risk.
14             Q    It gets bigger when you call the reporter a
15         fucking asshole, doesn't it, sir?
16                  MR. SPIRO:     Objection to form.
17                  THE WITNESS:      I think the fact that he said
18         it off the record and he's Elon Musk --
19         BY MR. WOOD:
20             Q    It wasn't off the record to Ryan Mac.             He
21         called Ryan Mac essentially in an e-mail to his face
22         a fucking asshole.        That certainly increased the
23         chances that Ryan Mac might publish that
24         information, didn't it?
25                  MR. SPIRO:     Objection.

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1                   THE WITNESS:      I think that's fair.
2          BY MR. WOOD:
3              Q    Thank you.     And then Mac writes him back and
4          says (as read):
5                    "I didn't agree for the
6                   conversation to be off the record
7                   but appreciate the response."
8                   Very professional.
9                   And then he goes on to say (as
10                  read):
11                   "To follow up, I've tried to report
12                  out some of the accusations on" --
13                  "on my own but have not found
14                  anything to corroborate the claims.
15                  Are you able to share anything that
16                  you found about Elon" -- "about
17                  Vernon Unsworth?"
18                  And then it goes on to say some specifics
19         about what Musk had accused him of and says -- and
20         then, again, asks him about the August 6th letter.
21         And Elon Musk writes back and says (as read):
22                  "We haven't had a conversation at
23                  all."
24                  And they had not, had they?             They had an
25         e-mail communication.
                               .         But, you know, as you sit

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1          here today, that you would tell me, Mr. Wood, I read
2          this and I agree a hundred percent with you.               Elon
3          Musk and Ryan Mac never reached any agreement to
4          keep any information off the record.
5                    You would tell me that, wouldn't you?
6                    MR. SPIRO:     Objection to form.
7                    THE WITNESS:      They did not reach an agreement
8          in advance, no.
9          BY MR. WOOD:
10               Q   There wasn't even an agreement sought.            There
11         was just one demanded by Mr. Musk, wasn't it?
12               A   I wouldn't --
13                   MR. SPIRO:     Objection to form.
14                   THE WITNESS:      -- qualify it as demanded.
15         When I say "off the record" to reporters, I wouldn't
16         say I'm demanding that.            I'm --
17         BY MR. WOOD:
18               Q   You're asking for it to be?
19               A   No.    You're -- it's standard practice.
20               Q   No, it's not.       And you know that's not the
21         truth, sir.
22               A   I --
23               Q   Ben Smith is going to tell you in a minute
24         when we go over his e-mails that you're wrong, isn't
25         he?

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1              Q    Take out the "haphazardly," and you would
2          agree with me; would that be true?
3              A    Would you repeat it, then.
4              Q    Yeah.   You're working me hard, Mr. Arnold.
5                   Mr. Musk had an absolute responsibility to
6          consider the consequences of what he was saying as
7          they might impact Vernon Unsworth before he goes out
8          and utters them through e-mail, making these heinous
9          accusations of Mr. Unsworth without even trying to
10         get an agreement that it would be off the record.
11         He's got to consider the consequences to the person
12         he's talking about, doesn't he, sir?
13             A    The question keeps changing.            I mean, you
14         added "without seeking an agreement."
15             Q    He didn't seek an agreement.
16             A    He did not, but I think stating "off the
17         record" up front, again --
18             Q    It's his desire for it to be confidential.
19             A    He --
20             Q    It's a one-way street.            If I say, hey, I'm
21         going to tell you a secret.            I've expressed the idea
22         that I'm going to tell you a secret, right?               And
23         most people, maybe if you know them well enough and
24         they're friends, you're comfortable saying I want to
25         tell you a secret and then you tell it.              You don't

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1          wait for them to say I'll keep it because you know
2          who they are and you trust them, right?
3              A    Yes.
4              Q    But if I talk to somebody I don't really know
5          that has just finished calling me a fucking asshole,
6          I am acting in my own peril when I look over in
7          response and go, I'm going to tell you a secret.
8          Don't tell anybody.        Wouldn't you agree that -- from
9          that, sir, from just a common sense standpoint?
10                  MR. SPIRO:     Objection to form.
11                  THE WITNESS:      It is a risk in that regard.
12         BY MR. WOOD:
13             Q    So you do agree with me from a common sense
14         standpoint, don't you?
15             A    With respect to that specific example that
16         you just gave; however, I think journalistic
17         practices are slightly different, and I think it's
18         a -- it's a norm to say "off the record" and then
19         have that be on it.
20             Q    It's what?
21             A    A norm.
22             Q    That's just your opinion, and you know that
23         many members of the journalistic community disagree
24         with you, including the man you tried to talk out of
25         publishing it, Ben Smith, a man you respect as a

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1          journalist --
2              A    He disagreed with --
3              Q    -- over ten years, right?
4              A    He disagreed with me in this, yes.
5              Q    Right.     He's the editor.            Let's get that on
6          the record.       Look at -- look at Exhibit -- have we
7          marked 107?
8                   THE REPORTER:       Yes.
9          BY MR. WOOD:
10             Q    Take a look at 107.
11                  So Ryan Mac reaches out to you on September
12         the 4th, 2018, 1:04 p.m.            (as read):
13                   "Hey Dave, I hope you had a nice
14                  long weekend.       I just wanted to give
15                  you a heads-up.        They're working on
16                  a story about Elon and some
17                  accusations he made to me about the
18                  British diver Vernon Unsworth.                  Elon
19                  e-mailed me last week with some new
20                  accusations that we intend to
21                  publish.     I wanted to see if Tesla
22                  PR had any response to that.               In
23                  addition, we wanted to pose the
24                  following question:           Does Tesla and
25                  its board believe that Elon Musk is

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1              A    I believe the latter.
2              Q    He just told you to call the editor?
3              A    Yeah.
4              Q    So you followed his instructions, and you
5          sent an e-mail to Ben Smith that we just went over,
6          right?
7              A    Yes.
8              Q    And Ben Smith responded and said -- and you
9          knew Ben?
10             A    I did.
11             Q    He said (as read):
12                   "Hi Dave, happy to chat.               But
13                  you've been doing this long enough
14                  to know that you agree to the terms
15                  of a conversation in advance."
16                  Then he gives you his phone number and says
17         (as read):
18                  "If you want to give me a call right
19                  now, Ben."
20                  Have I read that accurately?
21             A    Correct.
22             Q    There's no doubt about what Ben Smith was
23         telling you there, is there, sir?
24             A    That is what he said, yes.
25             Q    He's saying you've been around this business

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1          long enough to know better.
                                     .            You know that you agree
2          to the terms of a conversation in advance.              That's
3          what he's conveying to you straight up, isn't it?
4              A    That is what he said, yes.
5              Q    And then you say (as read):
6                    "See below.     I'll call you."
7                   And that's to Juleanna Glover, right?
8              A    Correct.
9              Q    Did you call Mr. Smith back?
10             A    I did.
11             Q    What did you all say?
12             A    I don't remember the specifics of the
13         conversation, but I believe I -- I told him I was
14         confused about, you know, why they put this on the
15         record when it was stated that it was off the
16         record -- when Elon stated it was off the record.
17                  And I believe I said, you know, "I'm
18         particularly confused about this given that, you
19         know, I myself have said off the record to BuzzFeed
20         reporters before and -- and that's been totally
21         fine."
22             Q    And Ben Smith told you what?
23             A    He said, you know --
24             Q    You know better?
25             A    I'm paraphrasing -- no.            He -- I don't

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1          recall.     I think he said, you know, thanks, but
2          we're publishing it anyway.
3              Q     He pretty much repeated what he -- he
4          conveyed to you pretty much what he had conveyed in
5          the e-mail?
6              A     I don't recall exactly, but I expect that he
7          did, yes.
8              Q     Yeah, that you ought to know better?
9              A     I think he -- we differed in an opinion on
10         this matter.
11             Q     But he said, "You ought to know better."
12             A     He said that in an e-mail.
13             Q     And that's the gist of what he said in the
14         conversation.     He didn't change his position one
15         bit, did he?
16             A     I can't recall exactly what his response was.
17             Q     He didn't change his position --
18             A     He did not.
19             Q     -- one bit, did he?
20             A     No.
21                   MR. WOOD:     108.
22                   THE REPORTER:        109.
23                   MR. WOOD:     109.
24                   (Exhibit 109 was marked for identification
25                  by the court reporter and is attached hereto.)

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1          BY MR. WOOD:
2              Q     Do you know what is contained in the blank --
3          is there any lawyer on this e-mail 109 on the -- it
4          says "Elon Musk to Dave Arnold, Sam Teller and Todd
5          Maron."
6                    Who's Todd Maron?
7              A     He was with Tesla's general counsel at the
8          time.
9              Q     Okay.   That helps me.           Is that a true and
10         correct copy of -- well, you've already
11         stipulated --
12                   MR. SPIRO:     Yes.
13                   MR. WOOD:    -- right?
14             Q     I mean, you report back to Elon Musk.
15         Essentially, you're telling him it didn't work;
16         they're going to publish, right?
17             A     Oh, at the very top?
18             Q     Yeah.   The report you wrote to Elon Musk and
19         essentially you said --
20             A     Yeah.
21             Q     -- I talked to him.           It didn't work.   They're
22         going to publish, right?
23             A     Yep.
24             Q     Even after you tried to argue with Ben Smith
25         this idea that you claim you unilaterally said a

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1          number of things off the record to BuzzFeed
2          reporters, Ben Smith didn't bite for it, did he?
3              A     No.
4              Q     Didn't -- you didn't convince Ben Smith at
5          all about saying that to him, did you?
6              A     I did not.
7                    MR. WOOD:    110.
8                    (Exhibit 110 was marked for identification
9                   by the court reporter and is attached hereto.)
10                   MR. WOOD:    And while I've got you, because it
11         may be the last one, 111.
12                   (Exhibit 111 was marked for identification
13                  by the court reporter and is attached hereto.)
14                   MR. WOOD:    What number are we up to?
15                   THE REPORTER:       110 and 111.
16         BY MR. WOOD:
17             Q     Do you see Exhibit 110?
18             A     Yes.
19             Q     That is, in fact, an e-mail that you sent to
20         Sarah O'Brien?
21             A     Correct.
22             Q     You had talked to Ryan Mac?
23             A     It appears so, yes.
24             Q     (As read):
25                    "Ugh, Ryan Mac is not relenting.           I

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                             EXHIBIT 8




                             EXHIBIT 8



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                                Deposition of:
                               Steven Davis
                               October 1, 2019


                               In the Matter of:

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 1                          UNITED STATES DISTRICT COURT
 2                         CENTRAL DISTRICT OF CALIFORNIA
 3
 4        _____________________________
                                                  )
 5        VERNON UNSWORTH,                        )
                                                  )
 6                        Plaintiff,              )
                                                  )
 7                  vs.                           )   No. 2:18-cv-08048-SVW (JC)
                                                  )
 8        ELON MUSK,                              )
                                                  )
 9                        Defendant.              )
          _____________________________)
10
11
12
13
14
15                  VIDEOTAPED DEPOSITION OF STEVEN M. DAVIS
16                            Los Angeles, California
17                            Tuesday, October 1, 2019
18                                     Volume I
19
20
21        Reported by:
          NADIA NEWHART
22        CSR No. 8714
23
24
25

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1              A    Approximately five years.
2              Q    Why -- I don't want to go into your personal
3          business but if you can tell me if you don't mind,
4          why the move from D.C. to Vegas?
5              A    So I'm a dual employee of SpaceX and The
6          Boring Company.      And The Boring Company has a
7          project in Las Vegas that was relevant for me to be
8          local for.
9              Q    What -- how long have you worked for -- you
10         work for SpaceX and Boring?
11             A    Correct.
12             Q    Let me break them down in case there's a
13         difference.      How long have you worked for SpaceX?
14             A    Since 2003.
15             Q    And how long have you worked for Boring?
16             A    2018.
17             Q    What has your -- can you give me an overview
18         of your history at SpaceX in terms of the positions
19         you've held since you joined it in 2003.
20             A    Yeah.    Earlier, I was a guidance navigation
21         and control engineer.        Then I became an engineer on
22         the Dragon spacecraft.         And then my official title
23         is director of advanced projects, which kind of
24         means projects off the beaten path for SpaceX.
25             Q    And then if you would, tell me what you do

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1          for The Boring Company in terms of your position.
2              A    At Boring Company, I'm the president.
3              Q    And who do you answer to for Boring Company?
4              A    For Boring Company, I answer to Elon Musk.
5          At SpaceX, my manager is Hans Koenigsmann.
6              Q    I'm sorry.     At SpaceX, your manager is who?
7              A    Hans Koenigsmann.
8              Q    Prior to joining SpaceX in 2003 -- did I get
9          that right?
10             A    Uh-huh.
11             Q    Where were you employed?
12             A    SpaceX was my first job.
13             Q    Had you just graduated?
14             A    Correct.
15             Q    Where did you graduate from, and what was
16         your degree?
17             A    It was a grad degree at Stanford in aerospace
18         engineering.
19             Q    And your undergraduate degree was in?
20             A    In business and engineering from Penn.
21             Q    My son, who is co-counsel on this case with
22         me went, to Tech --
23             A    Wait.     Is it --
24             Q    No, no.     My son is much better looking than
25         Jonathan.     My son is not, here but may be on the --

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1              A     -- assuming we're talking about the Lauren
2          Caplan who lives in Denver.
3              Q     C-a-p-l-a-n?
4              A     Correct.
5              Q     And does she work, in any way, with
6          Mr. Musk's organizations?
7              A     Not to my knowledge.
8              Q     Is she a personal friend of yours?
9              A     Yeah.    She's a good friend.
10                   THE REPORTER:       97.
11                   MR. WOOD:    97.
12                   (Exhibit 97 was marked for identification
13                  by the court reporter and is attached hereto.)
14                   THE WITNESS:       Should I read this or --
15         BY MR. WOOD:
16             Q     Hang on a second.         Okay.        Now, the court
17         reporter has handed you what has been marked for
18         purposes of identification Exhibit 97 to your
19         deposition.       And I would ask you to take a moment
20         and look at that document.
21             A     Okay.
22             Q     Before --
23                   THE WITNESS:       Do you want me to pass this to
24         you?
25                   MR. WOOD:    He's got a copy.             He's got a copy.

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1                    Before I examine Mr. Davis on that, can we
2          put into the record our agreed upon stipulation
3          yesterday that the authenticity, including whether
4          the documents are true and accurate and correct
5          copies, that you have stipulated on behalf of
6          Mr. Musk the authenticity as to any document
7          produced by SpaceX, Tesla or Mr. Musk and I would
8          assume to the extent there may be some from Boring
9          Company?
10                   MR. SPIRO:     Agreed.
11                   MR. WOOD:     Great.      That will save us some
12         technicalities.
13             Q     And then you provided us -- I need to get
14         those texts.
15                   MR. SPIRO:     They're right there.
16                   MR. WOOD:     The texts that we got this
17         morning.     I'll come back to the texts.
18                   MR. SPIRO:     But yes, we -- we would stipulate
19         that those are from Mr. Davis' phone this morning.
20                   MR. WOOD:     Yeah.      That's -- let me get to
21         that in a sec.        I jumped ahead of myself looking for
22         them.
23             Q     Mr. Davis, let me go back to Exhibit 97 for a
24         moment.
25                   This e-mail was sent to you by Lauren Caplan,

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1          a friend, on -- it appears to be 7/5/2018 at around
2          6:09 p.m.; is that right?           Is that right?
3              A    Yes.   This says July 5th 2018 at 6:09 p.m.
4              Q    At the time that you received this e-mail
5          from Ms. Caplan, had you already received any
6          instructions -- instructions from Mr. Musk, or did
7          he get in touch with you in effect after this?
8              A    I don't know that -- the timing between that
9          and when Elon first reached out.
10             Q    You don't know whether the Bloomberg report
11         "Elon Musk Team is Talking With Thai Officials For
12         Cave Rescue," you don't know if that report was
13         published before you were asked to help by Mr. Musk
14         or whether Mr. Musk reached out to you was after
15         that publication?
16             A    I can't definitively give you a before or
17         after on those two things.
18             Q    Or even essentially contemporaneously, you
19         don't know?
20             A    No, I -- I wouldn't want to guess.
21             Q    The article says that -- that?
22                  "Elon Musk was in talks with Thai
23                  authorities about aiding in the
24                  rescue of a boys' soccer team, said
25                  a spokesman for the billionaire."

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1                   Again, do you know what -- the identities of
2          any Thai authorities that are being referenced there
3          that were allegedly being in discussions with
4          Mr. Musk?
5              A    I don't.
6              Q    And then it says (as read):
7                    "Musk companies could try" --
8                   strike that.
9                   (As read):
10                  "Musk companies could help by trying
11                  to locate the boys' precise location
12                  using SpaceX exploration
13                  Technologies Corp. or Boring Company
14                  technology, pumping water or
15                  providing heavy-duty battery packs
16                  known as Tesla Inc."
17                  Have I read that correctly?
18             A    Yeah, that's what it says.
19             Q    At this point in time -- well, who is -- when
20         it says "SpaceX Exploration Technologies
21         Corporation," is that SpaceX?
22             A    That's correct.
23             Q    Okay.   It looks like at least the initial
24         report, according to this document, said that you --
25         Mr. Musk was going to initially consider assistance

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1          in locating the boys' precise location, right?
2              A    Yes.   That's what the article says.
3              Q    Pumping water, right?
4              A    Uh-huh, yes, that's what the article says.
5              Q    Or providing heavy-duty battery packs known
6          as Tesla, Inc., right?
7              A    Yes, that is what the article says.
8              Q    The initial article that is at least on its
9          face based on comments from a spokesman for the
10         billionaire -- and the billionaire I'm sure refers
11         to Mr. Musk -- does not make any reference to
12         building any type of a pod.
13                  Would you agree with that?
14             A    I agree the article does not reference a pod.
15             Q    What -- when -- and again, how long have you
16         known Lauren Caplan?
17             A    I'm guessing seven years; sounds about right.
18             Q    What type of work does Ms. Caplan do?
19             A    She's an attorney.
20             Q    Well, she has my sympathies.           She's an
21         attorney in Denver?
22             A    Yes.
23             Q    Can you tell us if you would -- read for us
24         what Ms. Caplan wrote to you on July the 5th as part
25         of attaching this reference to the Bloomberg

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1          restroom.
2                   MR. SPIRO:     All right.
3                   THE VIDEOGRAPHER:         We're going off the record
4          at 11:24 a.m.      This is the end of media three.
5                   (Recess.)
6                   THE VIDEOGRAPHER:         We're on the record at
7          11:39 a.m.      This is the beginning of media four in
8          the deposition of Steven Davis.
9          BY MR. WOOD:
10             Q    Mr. Davis, do you have in front of you now
11         what has been marked for purposes of identification
12         as Exhibit 99?
13             A    Yes.
14             Q    This is the beginning of what you've produced
15         during the deposition.          This is text communications
16         between you and Sam Teller --
17             A    Yes.
18             Q    -- related to the Thai rescue efforts, right?
19             A    Yes.
20             Q    And I asked you, do you have your phone so we
21         could get times.
22             A    Yes.
23             Q    I need to get a date first on the first page
24         of Exhibit 99.       In fact, I don't see any dates as to
25         when these -- these text exchanges occurred.               Can

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1          you look at your phone and tell me that.
2              A    I talked to consul, which is -- the first one
3          is July 10th, 2018 sent at 12:12 a.m.                  Also,
4          remember I'm -- I was sending these from eastern
5          time.
6              Q    Yeah.   Oh, eastern time.               Yeah, so eastern
7          time.    You sent this on July 10th 2018 at 12:12 a.m.
8          eastern time?
9              A    Correct.
10             Q    Thank you.     And you say (as read):
11                   "I talked to consul."
12                  That's the guy in L.A.?             Or I don't mean guy,
13         I guess, man or woman in L.A.?
14             A    I believe so.
15             Q    Was it a man?
16             A    Yes.
17             Q    And you said (as read):
18                  "He claims he will call PM and try
19                  to get it reversed."
20                  Have I read that correctly?
21             A    Correct.
22             Q    Tried to get -- well, are we talking about
23         the prime minister of Thailand, PM?
24             A    Yes.
25             Q    And then you say (as read):

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1                    "And try to get it reversed."
2                   What were you trying to get the prime
3          minister to reverse?
4              A    I'm not positive, but looking at future
5          texts, somebody who refers, as he called it,
6          impractical, and I assume it was getting that
7          statement reversed.
8              Q    And what time did Mr. Musk say that would
9          be -- (as read):
10                  "Thank you.      That would be best"?
11             A    Oh, this is not a text with Elon.
12             Q    I'm sorry, Mr. Teller.
13             A    Same time, 12:12 a.m.
14             Q    And your times are showing up as eastern
15         time?
16             A    Correct.
17             Q    Regardless of where he is, you're talking
18         about when you received it?
19             A    I believe that's how it worked, yes.
20             Q    And then you -- what time did you write (as
21         read):
22                   "He said it was a 'one second
23                  comment' where the word
24                  'impractical' slipped out.             Not sure
25                  I believe that"?

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1          called the consul to talk about the one second -- or
2          the comment where impractical slipped out.
3                   Does this make you believe that this is the
4          subject matter of your conversation with the consul,
5          that is the article where BBC said Elon's Musk --
6          (as read):
7                   "Elon Musk offer 'not practical,'
8                   for cave mission Thai rescue chief
9                   says"?
10             A    I don't remember if this referred to this.
11         But I remember there was an article, which could be
12         this, that mentioned impractical, and that's what
13         was being responded to.
14             Q    Or not practical?
15             A    Or not practical.
16             Q    Okay.    And then you said (as read):
17                  "The Thai prime minister's office
18                  had been planning to issue a thank
19                  you statement so they are actually
20                  scrambling and aren't happy about it
21                  and diplomats are calling them
22                  concerned as well."
23                  What time did you send that text to
24         Mr. Teller?
25             A    I'm trying to find -- oh, the one that begins

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1          with the PM office had been planning, is 12:19 a.m.
2              Q    And again, your recollection is such that
3          looking at this text chain that -- I mean, yes, this
4          text chain that you were -- when you say "they
5          aren't happy about it," are we talking about some
6          article where a Thai official had said that the tube
7          was not practical?       Are we still talking about the
8          same thing?
9              A    Correct.   There was an article where someone
10         said publicly that it was not practical.
11             Q    And then is it Mr. Teller that says back to
12         you (as read):
13                  "The SpaceX mini sub is a
14                  technically sound solution for
15                  rescuing the Thai children, the
16                  design of which was informed by
17                  feedback from divers and rescuers on
18                  the ground.     Thankfully, the current
19                  rescue method is working well, and
20                  the mini sub is a practical backup
21                  in case of a contingency"?
22                  Have I read Mr. Teller's text correctly?
23             A    Correct.
24             Q    Was that a text that you interpreted to be
25         what he wanted to have put out publicly?

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1                   it right now, the ungrateful ass-"
2                   "asshole."
3              Q    Who is he calling an ungrateful asshole?
4              A    That, I'm not sure.
5              Q    Somebody in the governor's office that said
6          it was not practical?
7              A    I'm not sure.
8              Q    Why is there such a concern about the
9          comments from a Thai official that the tube was not
10         practical?     Why is there this effort to try and
11         somehow respond to that comment?                 Does that have
12         anything to do with saving the kids?
13             A    One more time.
14             Q    Does it have anything whatsoever to do with
15         efforts to save these children and their coach, to
16         be going back and forth about being unhappy with
17         some Thai governor's office official publicly
18         stating that the tube was "not practical"?
19             A    No.   That's separate from saving the kids.
20             Q    This part is separate, because this part
21         deals with publicity regarding the tube, doesn't it?
22             A    I don't -- I don't know about that.               But
23         it -- you had mentioned this happened after the
24         kids, correct?
25             Q    You told me that.         I -- I asked the question.

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1              A    Oh, I didn't know the dates.            I thought you
2          had mentioned that.
3              Q    Well, I'm -- I'm just relying on your
4          testimony.     I'm not here to testify.
5              A    This is, obviously, separate from physically
6          saving the kids.
7              Q    So what is this?        I -- it looks to me, you
8          know, to be an effort to get publicity over a
9          response to the governor's -- or someone in the
10         governor's office publicly stating that the tube was
11         not practical.     Is it something other than what it
12         appears to be?
13             A    No.   It sounds like someone made a negative
14         statement, and we were not happy that a negative
15         statement was made.
16             Q    And you wanted to get something out publicly
17         to refute it or respond to it or even to pressure
18         the governor into changing it, am I right?
19             A    That, I don't remember.            I'm looking at it
20         and trying to remember.          All I remember, that we
21         weren't happy about it.          And then --
22             Q    Do you want to answer my question, or do I
23         need to restate it?
24             A    Yeah, please restate.
25             Q    Was it clear that Mr. Teller, at least since

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1          you were texting with him -- although he says that
2          he was in touch with Elon Musk, was it clear that
3          the focus of these texts were on responding to the
4          public statement by someone in the governor's office
5          that the tube was not practical?
6              A    Statement -- yes.        And I don't remember the
7          details, but a negative statement was made publicly,
8          and we were responding to it.
9              Q    And you were spending some time on this.
10         There's more texts on -- on this issue than there
11         was on the efforts to build the tube, from what I'm
12         looking at --
13             A    I mean, that's --
14             Q    -- from you.
15             A    I mean, that's not accurate but --
16             Q    It is accurate.       Do you want to count them?
17             A    Oh, no, from --
18             Q    Do you want to challenge me on the accuracy?
19         And I'll tell you to count them.                You spent a lot
20         more time texting about the publicity regarding the
21         "not practical" comment than what you gave me
22         earlier in Exhibit 98 where you're talking about
23         helping these kids.
24             A    Correct.   With Sam and Elon, there were more
25         texts -- well, at least from a number wise on that.

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1                   action."
2                   What are you talking about here?
3              A    We're responding to a negative statement.
4              Q    This is your -- you're spending your time
5          coming up with at least a three-prong plan to try to
6          refute publicly the statement of the prime -- of the
7          Thai government -- governor official, if not the
8          governor, that the tube -- Mr. Musk's tube was not
9          practical, right?
10             A    Yes.   This is all in response to that
11         comment.
12             Q    And then you go on (as read):
13                    "Prime minister will be holding
14                  press conference and will say what
15                  we want."
16                  Have I read that correctly?
17             A    Yes.
18             Q    How do you know he was going to say what you
19         and Mr. Musk or Mr. Teller wanted him to say?
20             A    That, I don't remember.
21             Q    And then you say (as read):
22                  "Can't be verbatim from Army, so
23                  maybe," colon.
24                  What do you mean can't be verbatim from Army?
25         That they can't give -- the Army is not going to

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1          give the verbatim statement that you and Mr. Musk
2          and Mr. Teller wanted them to give?
3              A    I'm not sure.
4              Q    You can't deny that, though, can you?
5              A    That the text says that?
6              Q    You can't deny that the reference means that
7          you were saying the -- the Army cannot state
8          verbatim what Musk and SpaceX wanted to be said, am
9          I right?
10             A    One more time.
11             Q    Look at it, where you say it, sir.            (As
12         read):
13                    "PM will be holding press
14                  conference and will say what we
15                  want.   Can't be" -- "be verbatim
16                  from Army, so maybe."
17                  And then you suggest what the Army could say,
18         is that -- am I right?
19             A    I assume what this is saying, that the
20         statement shouldn't be the same as the Army's
21         statement.
22             Q    Got you.   You wanted to make sure that the
23         Army and the prime minister didn't give verbatim
24         statements, because that would look a little bit
25         suspicious, wouldn't it?

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1              A    I don't remember the logic at the time, but
2          that -- that's how I read this.
3              Q    Maybe Mr. Teller would.
4              A    Sure.
5              Q    Or Mr. Musk.     Wouldn't you agree?
6              A    I don't know.
7              Q    Well, they were the principals involved in
8          trying to make the decisions on how to respond to
9          the statement by the Thai official about the tube
10         was not practical.       It would -- the people calling
11         the shots -- with your help but calling the shots --
12         would have been Elon Musk and Sam Teller, true?
13             A    All of us were involved.
14             Q    Except I didn't get to ask Elon Musk about
15         any of this either, because it was not produced
16         before I took Mr. Musk's deposition.            But it was
17         available at all times on your phone for the past at
18         least year, plus, right?
19             A    Yes.    It's on my phone.
20             Q    And would have been easily provided to
21         counsel for Mr. Musk or Mr. Musk if you had been
22         asked to give it to them, true?
23             A    It's been on my phone for the past year is
24         correct.
25             Q    And I've already covered that.           So,

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1              A     I respond fast when Elon asks me to do
2          things.
3              Q     So that's a fair assumption on my part,
4          wouldn't you agree?
5              A     I would either produce fast or I would make
6          an error.        Those are one of the two options.
7              Q     The chances of you making an error where you
8          totally omit all of your texts in response to a
9          request for them coming from Elon Musk is slim to
10         none, isn't it, sir?
11             A     Yes, yeah.
12             Q     Now, you go on and you say (as read):
13                    "Powerwall donation already known
14                   and will be mentioned," right?
15             A     Is that 99?
16             Q     Yes.     Last page of 99.
17             A     Yes.
18             Q     And then you say -- and that's a -- so you're
19         trying to get publicly out there that Musk had made
20         some offer or donation of the Powerwall, right?
21             A     We had donated Powerwalls, and it says it
22         would be mentioned in one of these statements.
23             Q     You wanted that out there publicly?
24             A     We wanted it to be mentioned in the
25         statement.

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1              Q    Public statements.
2              A    I want to make sure before I say yes, I
3          understand.
4              Q    What -- you -- you and Sam Teller were
5          discussing public statements that you were hoping to
6          have issued by certain individuals, including a
7          mention publicly of the Powerwall donation.
8                   Isn't that clear as a bell, sir?
9              A    The Powerwall donation was going to be
10         included in -- in a statement, that's correct.
11             Q    A public statement.          You wanted statements
12         issued publicly, didn't you?
13             A    It would be included in the public statement,
14         yes.
15             Q    Because you wanted those statements to be
16         published or to be public, to respond to the public
17         statements by the Thai official that the tube was
18         not practical, right?
19             A    I -- I do not know the exact correlation, but
20         that was going to be included in the statement.
21             Q    And then you say (as read):
22                   "Once the kids are out, we should
23                  demo the sub in the cave."
24                  Have I read that correctly?
25             A    Yes.

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1                   factory."
2                   Have I read that correctly?
3              A    Yes.
4              Q    So here's Teller trying to tell you what he
5          would like and Musk would like to have the prime
6          minister of Thailand say publicly, true?
7              A    It sounds like this is all working on one
8          statement, correct.
9              Q    And you and, I assume, Mr. Teller who's in
10         touch with Mr. Musk, you were urging the prime
11         minister to say that SpaceX is awesome, right?
12             A    Yes.   That would be part of the statement.
13             Q    You were urging the prime minister to include
14         in his public statement that the SpaceX engineers
15         were helpful, right?
16             A    Yes.
17             Q    You were trying to get the prime minister, in
18         his public statement, to say that the pod was not
19         necessary because this went well, this being the
20         actual rescue efforts, right?
21             A    Yes.
22             Q    You wanted the prime minister -- you were
23         urging -- Mr. Musk and Mr. Teller, through you,
24         wanted the prime minister to be urged to say
25         publically that the pod was not necessary because

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1          this went well, but it's a useful and cool design,
2          right?
3                A   Yes.
4                Q   And then he tells you that they're about to
5          announce publicly a Tesla Shanghai factory, right?
6                A   Yes.
7                Q   This text is all about public statements and
8          publicity, isn't it, sir?
9                A   The first part is about one public statement,
10         and the other is about the opening of a Tesla
11         factory.
12               Q   Which was getting ready to be publicly
13         announced, right?
14               A   The factory?
15               Q   Yes.
16               A   Yes.
17               Q   So it was all -- all of this text that I've
18         just been over that starts at "okay" and ends at
19         "Shanghai factory," this is about publicity, isn't
20         it?
21               A   Two separate ones, but yes.
22               Q   Two different types of publicity.           One about
23         trying to get publicity favorable on the Musk SpaceX
24         efforts, right?
25               A   One was about a public statement for --

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1              Q     Tesla and Musk -- I mean, SpaceX and Musk and
2          their efforts to help.
3              A     One was a public statement about the
4          Thailand, and one was about Tesla.
5              Q     Now, when you say "Thailand," you're talking
6          about it was a public statement about SpaceX's
7          exercise or efforts in Thailand?
8              A     Oh, correct.
9              Q     Okay.    And then you respond -- I guess -- I
10         have to assume -- if you don't remember or it's
11         different, tell me -- when he says (as read):
12                   "About to announce Tesla's Shanghai
13                   factory."
14                   You go, with an exclamation mark (as
15                   read):
16                   "Holy crap!"
17             A     Correct.
18             Q     And was the "holy crap" related to the Tesla
19         Shanghai factory announcement, or was it related to
20         the efforts to get the PM, the prime minister, to
21         say positive favorable things in the words of
22         SpaceX?
23             A     I don't know what I was thinking about at the
24         time, but reading that, Shanghai factory was pretty
25         exciting.

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1              Q    So you believe it was related -- "holy crap"
2          was related solely to the announcement of the Tesla
3          Shanghai factory?
4              A    It looks like it.         It's pretty amazing.
5              Q    It's pretty amazing at the time that these 12
6          children and their coach -- after having been lost
7          and stranded in the cave since June of 23rd, it's
8          pretty amazing that the people on the ground, the
9          divers, the support personnel had saved every one of
10         their lives.       That was pretty amazing, wasn't it?
11             A    It is.
12             Q    It probably beats out an amazement of the
13         opening of a Tesla Shanghai factory, wouldn't you
14         agree?
15             A    They're both amazing.
16             Q    And in the process, you understand, of trying
17         to save these children, the people on the ground,
18         the divers, the rescue personnel --
19             A    Uh-huh.
20             Q    -- you know for a fact, do you not, that one
21         Thai Navy SEAL diver died in his efforts to help
22         these kids?
23             A    I do.
24             Q    Now, you then have what I will promise you I
25         can barely read because it's so small -- and if you

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1          have trouble reading it, I would urge you to pull it
2          up on your cell phone.
3                   What is the next entry underneath -- there's
4          one, two, three, four separate entries underneath
5          "holy crap."
6                   Would you read that to me, please, into the
7          record verbatim.
8              A    So it's within these small text messages?
9              Q    Yes, after "holy crap."
10             A    It says (as read):
11                   "Okay.     One moment.        If you could
12                  add something along the lines of the
13                  SpaceX mini subs are technically
14                  sound and practical solution for
15                  rescuing the Thai children design of
16                  which was informed by feedback from
17                  divers and rescuers on the ground."
18                  End of that first blurb.                Second
19                  blurb (as read):
20                  "Mainly to stress that the mini sub
21                  would have worked and was designed
22                  with feedback from the divers," end
23                  of blurb.     "Thank you so much."               End
24                  of blurb.     Then it says (as read):
25                   "Conveyed to the secretary general

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1                   of the prime minister."
2                   And then next blurb (as read):
3                   "Deepest apology once again to
4                   Mr. Elon Musk and his team for this
5                   unpleasant incident."
6              Q    Is the unpleasant incident referring to the
7          statement by the Thai governor or someone in his
8          office that the tube was not practical?
9              A    I'm not sure.       It --
10             Q    So you're writing stuff and you don't know
11         what the hell you're talking about?
12             A    Yeah.   It was a long time ago.
13             Q    Do you think you knew at the time you wrote
14         it what you were talking about?
15             A    I hope so.
16             Q    Do you think Sam Teller and Elon Musk might
17         be able to enlighten me as to what they believe this
18         discussion was about if I had had the chance to ask
19         them?
20             A    I don't know.
21             Q    We don't know now, do we, because I didn't
22         have a chance to ask them, but we'll address that.
23                  There's something else on this document page
24         that's very small after "holy crap."             And I'd like
25         to see your phone if you don't mind, and you can

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1              A    I think it's reasonable.
2              Q    Thank you.      And then he says (as read):
3                     "Who is?"
4                   And you respond, so you had to understand
5          what he was asking.         And you say (as read):
6                   "Florence X Li."
7              A    Correct.
8              Q    Right.     And she's a SpaceX employee?
9              A    Correct.
10             Q    And she's involved in the press release or
11         dealing with the press on the issue of the tube,
12         true?
13             A    I don't remember exactly what she's doing at
14         the time, but I -- I responded that she was the
15         point on press.
16             Q    Press on what?
17             A    That, I'm not sure.            I assume all of this.
18             Q    The Thai rescue efforts?                 The tube?   She's
19         not the point person on point about the -- or is she
20         the person on point about the Shanghai Tesla
21         factory?
22             A    No.   She does not have anything to do with
23         that.
24             Q    She doesn't have anything to do with Tesla?
25             A    Correct.

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1              Q     So it had to be with respect to the tube,
2          wouldn't you agree?
3              A     I want to just make sure -- she would --
4          she -- while I was asleep, she would have taken
5          any -- any like requests or comment that was made.
6              Q     About the tube?
7              A     The tube?   Sorry --
8              Q     The tube, your tube.
9              A     Oh, the pod.
10             Q     The pod, excuse me.          It's been called a
11         variety of things.        It looked like a tube to me, but
12         I'll call it a pod.
13             A     Any requests would have gone to her while I
14         was asleep.
15             Q     Have you ever talked with her recently?
16             A     Florence -- Flo works for The Boring Company.
17                   MR. WOOD:   Well, I've never had her
18         identified in any shape, form or fashion in this
19         litigation.     So put that on your list too, Alex,
20         please.
21             Q     And then you write -- she writes (as read):
22                    "Teller writes great."
23                   And then you said (as read):
24                    "Need input.      What's the action?"
25                   This is on July 10th, 2018 at 5:13 a.m.,

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1          right?
2                A   Correct.
3                Q   And he says (as read):
4                     "On press?"
5                    What -- what are you all talking about here?
6                A   It says we are looking for a statement to be
7          put out.
8                Q   A written statement from the prime minister,
9          right?
10               A   Correct.
11               Q   And then you say (as read):
12                    "Consul texted.       Will be on website
13                   soon," right?
14                   Talking about on the website of what?
15         SpaceX?
16               A   I don't know which website he was referring
17         to.
18               Q   No.   You're the one that says it.
19               A   I don't know what website I was referring to.
20               Q   Well, do you think it would have been on some
21         Musk or SpaceX or Boring Company website?
22               A   That seems highly unlikely.
23               Q   Well, why in the world would you note -- are
24         you saying that the consul said that he was going to
25         have the prime minister's written statement put on a

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1          Sam Teller?
2              A    Sure.     You could ask him.
3              Q    And then you go (as read):
4                    "Sure.     Just gathering info."
5                   And then he responds (as read):
6                    "E," Elon, "will call the prime
7                   minister if necessary."
8                   To get the statement done, right?
9              A    That, I don't know.
10             Q    Well, you said (as read):
11                   "Don't think we would need to."
12                  Don't think you need to contact the prime
13         minister, why?       Why not?
14             A    I don't remember what was happening at this
15         time.
16             Q    I think you're talking about trying to get
17         into the cave, sir, or the -- as you call it, the
18         mysterious swimming pool fixture, because he goes on
19         to say, Mr. Teller (as read):
20                  "We can say what we want to test it
21                  so that we know it's viable for
22                  future use, et cetera.             Thanks."
23                  Have I read that correctly?
24             A    Yes.
25             Q    And you said (as read):

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1                    "Has to be same cave?            To the boys
2                   spot?"
3              A    Correct.
4              Q    You're talking about trying to get
5          permission, if necessary, from the prime minister to
6          get the tube into the cave to potentially go to the
7          spot where the boys were found, true?
8              A    I agree that this part is about testing the
9          pod.
10             Q    In the cave potentially to the spot where the
11         boys were found, right?
12             A    Correct on these, yes.
                                      yes
13             Q    And then he says (as read):
14                   "That's what he said.            It's not
15                  possible, then let's tell him with a
16                  next best option."
17                  He's clearly referring to Elon Musk at that
18         point, isn't he, sir?
19             A    That, I'm not sure.
20             Q    He goes back and you go (as read):
21                  "Yup."
22                  And then he says (as read):
23                  "Armor on phone with E.            Sounds like
24                  talking him out of it," right?
25             A    Yes.

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1              Q    Talking Elon Musk out of the idea of trying
2          to put this tube back into the cave to go to where
3          the spot where the boys were, right?
4              A    I don't know for sure, but that is
5          reasonable.
6              Q    Well, if you keep reading on, sir, it says
7          (as read):
8                   "Best offer I have heard so far is
9                   that they will put it in s plane."
10                  What's S plane?
11             A    My --
12             Q    Same plane?
13             A    My guess is a typo for "a."
14             Q    (As read):
15                  "Putting it in a plane, fly to
16                  Bangkok and train in the Navy
17                  pools."
18                  And he says (as read):
19                   "I," and then he says, "Sounds
20                  cool," right?
21             A    Yes.
22             Q    Who is Boom?
23             A    That, I don't know.
24             Q    Because you write back and say (as read):
25                   "Boom said" --

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1              A     The goal was to help.
2              Q     You don't go out -- sir, answer my question.
3          Let me rephrase it -- state it again.
4                    The goal was never supposed to be about
5          getting photographs or videos to publicize your
6          voluntary efforts to save someone's life to garner
7          positive publicity, is it, sir?
8              A     Say it one more time.
9              Q     I'll give you one more time if it helps.
10             A     Sure.
11             Q     The goal should never have been about getting
12         photographs or videos to publicize someone's
13         voluntary efforts to save another's life just for
14         positive publicity.
15                   Do you agree, sir?
16             A     I do.    The goal was to help.
17             Q     It should be to help, not to get publicity,
18         true?
19             A     The goal was to help, yeah.
20             Q     Is the answer yes, then?                Is that what you're
21         telling me?       Yes, Mr. Wood, the goal is always to --
22         to help, not to get publicity; is that what you're
23         saying?
24             A     That's correct.
25             Q     Thank you.     And then you -- Musk 3222, which

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                             EXHIBIT 9



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· · · · · · · · ·UNITED STATES DISTRICT COURT

· · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

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· · ·VERNON UNSWORTH,

· · · · · · · ·Plaintiff,

· · · · · · · ·vs.
· · · · · · · · · · · · · · · · ·Case No. 2:18-cv-8048-svw
· · ·ELON MUSK,

· · · · · · · ·Defendant.
· · ·_______________________________________________________
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· · · · · · · ·VIDEOTAPED DEPOSITION OF ARMOR HARRIS

· · · · · · · · · · ·BEVERLY HILLS, CALIFORNIA

· · · · · · · · · · · · ·SEPTEMBER 9, 2019

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· · ·Reported By:
· · ·PATRICIA Y. SCHULER, CSR No. 11949
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· · ·Job No.: 45747
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                                 ARMOR HARRIS
                                                                    September 09, 2019

·1· · · · · · ·Do you see that?
·2· · · · A.· ·Um-hmm.
·3· · · · Q.· ·I'm just giving you some context here.
·4· · · · A.· ·Um-hmm.
·5· · · · Q.· ·Down about halfway, there's a message
·6· ·from you later that same day, it looks like, that
·7· ·says -- to a number -- I'm not sure what number
·8· ·that is -- "We can't accommodate Elon's request to
·9· ·send them into the cave with the pod."
10· · · · · · ·Do you see that?
11· · · · A.· ·Um-hmm.
12· · · · Q.· ·Tell me about that request.
13· · · · A.· ·So it was after the -- all the kids were
14· ·out.
15· · · · · · ·Elon had asked if it was possible to take
16· ·the pod in there all the way and see if it would be
17· ·able to make it through the passages.
18· · · · · · ·The conditions in the cave had gotten
19· ·significantly worse.
20· · · · · · ·The water level was much higher, and the
21· ·dive section was much longer.
22· · · · · · ·So it would have required staging tanks,
23· ·and it would have been a pretty complicated
24· ·operation.
25· · · · · · ·And it just was not worth doing at that

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                                 ARMOR HARRIS
                                                                    September 09, 2019

·1· ·time because the kids were out.
·2· · · · Q.· ·Do you know why Elon made that request?
·3· · · · A.· ·I do not know.
·4· · · · Q.· ·Did he make that request to you
·5· ·personally?
·6· · · · A.· ·No.
·7· · · · · · ·He made it to whoever (310)245-2197 is.
·8· · · · · · ·And then they asked me about it.
·9· · · · Q.· ·And you said "We can't ask them to go in
10· ·there and risk their lives for a demo," right?
11· · · · · · ·I guess you're talking about the
12· ·divers --
13· · · · A.· ·Right.
14· · · · Q.· ·-- is that right?
15· · · · A.· ·Yeah.
16· · · · · · ·And the reason for this was what I was
17· ·saying.· It won't make it any more useful for
18· ·future scenarios with different geology.
19· · · · · · ·Like just proving that it can work in
20· ·this cave doesn't make it any more or less useful
21· ·for future cave rescue operations that have
22· ·different geology, like different geometry in the
23· ·passageways.
24· · · · · · ·Yeah.
25· · · · Q.· ·Got it.

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                                 ARMOR HARRIS
                                                                    September 09, 2019

·1· ·giving us, you know, suggestions and criteria for
·2· ·what the pod should be able to do.
·3· · · · Q.· ·Okay.
·4· · · · A.· ·I remember Ben was one of them, but I
·5· ·don't remember the names of any of the other ones.
·6· · · · · · ·It all kind of blends together in my
·7· ·head.
·8· · · · Q.· ·Yeah.
·9· · · · · · ·It's a lot of people, right?
10· · · · · · ·I mean, a lot of people were involved in
11· ·the rescue effort?
12· · · · A.· ·Yeah.
13· · · · Q.· ·So did you ever talk to Mr. Musk about
14· ·Vernon Unsworth?
15· · · · A.· ·No.
16· · · · Q.· ·No communication with him at all about
17· ·Vernon?
18· · · · A.· ·No.
19· · · · Q.· ·Did he ever -- he never asked you for
20· ·information about Vernon Unsworth?
21· · · · A.· ·No.
22· · · · Q.· ·He never asked you if you had seen him on
23· ·the site?
24· · · · A.· ·No.
25· · · · Q.· ·He never asked you if you had heard

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·1· ·whether
     whether he was kicked off the rescue or asked to
·2· ·leave?
·3· · · · A.· ·No.
·4· · · · · · ·Not from Elon.
·5· · · · Q.· ·Not from Elon?
·6· · · · A.· ·No.
·7· · · · Q.· ·Did anybody ever ask you on his behalf
·8· ·what you knew about Vernon?
·9· · · · A.· ·No.
10· · · · · · ·Well --
11· · · · Q.· ·I mean, besides the litigation,
12· ·obviously.· This is all binding you up in that.
13· · · · A.· ·Yeah.
14· · · · Q.· ·I mean more kind of contemporaneously.
15· · · · A.· ·Yeah.· So putting us in a compartment.
16· · · · Q.· ·Sure.
17· · · · A.· ·Yeah.· There might have been like a, you
18· ·know, "Hey, we met this guy.· We talked to him-type
19· ·thing" from one of the folks back in California
20· ·like Sam or Steve Davis.
21· · · · · · ·Sam Teller or Steve Davis.
22· · · · · · ·I recall them asking "Hey, you met
23· ·Vernon.· You talked to him.
24· · · · · · ·What's -- why is he saying this stuff?"
25· · · · Q.· ·Yeah.· What did you say when they asked

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·1· ·you that?
·2· · · · A.· ·I said no, I had not.
·3· · · · Q.· ·You had not met him; hadn't talked to
·4· ·him?
·5· · · · A.· ·Yeah.
·6· · · · Q.· ·Did you say anything about "Oh, I think
·7· ·he got kicked off the rescue or asked to leave" or
·8· ·anything like that?
·9· · · · A.· ·No.
10· · · · Q.· ·After you heard about these comments that
11· ·Mr. Unsworth made: "Stick it where it hurts" --
12· ·once you got back to the U.S., was there ever any
13· ·discussion around that time about those comments?
14· · · · A.· ·No.
15· · · · Q.· ·It didn't come up with anybody?
16· · · · A.· ·No.
17· · · · Q.· ·Did you talk to people about the work on
18· ·the pod and what it was like in Thailand?
19· · · · · · ·Did that come up with people?
20· · · · A.· ·I mean, sure, amongst coworkers and
21· ·family members and friends.
22· · · · · · ·But nothing public or nothing on social
23· ·media or anything like that.
24· · · · Q.· ·Sure.· But you know, it was -- I mean, it
25· ·was probably a pretty amazing experience, right, to

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